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10
11
                         UNITED STATES BANKRUPTCY COURT
12
            CENTRAL DISTRICT OF CALIFORNIA—NORTHERN DIVISION
13
14     In re:                                    Case No.: 9:23-bk-10174-RC
15
       JONATHAN ALAN STEIN,                      Chapter 7
16
17                                  Debtor.      Adversary Case No.: 9:23-ap-______-RC
       ________________________________
18                                               COMPLAINT FOR
19     Gabrielino-Tongva Tribe,                  DETERMINATION THAT DEBT IS
                                                 EXCEPTED FROM DISCHARGE
20                                               UNDER 11 U.S.C. § 523, AND
                                    Plaintiff,
21                                               DENIAL OF DISCHARGE UNDER
                vs.                              11 U.S.C. § 727
22
23     Jonathan Alan Stein, Esq.,                Hearing Date and Time:

24                                                   Date:     [To be Set]
                                    Defendant.
25                                                   Time:     [To be Set]
                                                     Crtrm.:   1575
26                                                   Judge:    Hon. Ronald A. Clifford III
27
28
                                                 1
         ADVERSARY COMPLAINT FOR DETERMINATION THAT DEBT IS EXCEPTED FROM
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 1     TO THE HONORABLE RONALD A. CLIFFORD, III, TO DEBTOR, AND
 2     TO ALL INTERESTED PARTIES:
 3              Plaintiff-Creditor, Gabrielino-Tongva Tribe (“Plaintiff”), complains
 4     (“Complaint”) of Defendant-Debtor, Jonathan Alan Stein, Esq. (“Defendant”)
 5     alleging respectfully as follows:
 6                                           I.    JURISDICTION
 7              1.    On March 10, 2023, Defendant filed a voluntary petition (“Petition”)
 8     for relief under Chapter 7 of Title 11 of the United States Code (“Bankruptcy
 9     Code”) in the United States Bankruptcy Court for the Central District of California,
10     Northern Division. Pursuant to Local Bankruptcy Rule 7008-1, this is a core
11     proceeding under 28 U.S.C. § 157(b)(2). Plaintiff consents to jurisdiction of this
12     Court, including entry of final orders and judgment by the Court, under Rule 7008
13     of the Federal Rules of Bankruptcy Procedure.
14              2.    The meeting of creditors under Section 341(a) of the Bankruptcy Code
15     (“341 Meeting”) was set for April 24, 2023.
16              3.    On April 29, 2023, the 341 Meeting was continued to May 15, 2023.
17              4.    On May 21, 2023, the 341 Meeting was continued to July 17, 2023.
18              5.    As of the date of this Complaint, Defendant has not been granted a
19     discharge with respect to Petition.
20              6.    This Complaint is timely because the deadline to object to discharge or
21     to challenge dischargeability is on June 23, 2023. (See, e.g., Doc 4.) 1
22              7.    This Complaint initiates an adversary proceeding in which Plaintiff
23     seeks a determination as to the dischargeability of the debt owed by Defendant to
24     Plaintiff under Bankruptcy Code §§ 523(a)(2)(A), 523(a)(4), and 523(a)(6), and a
25     denial of Defendant’s discharge under Bankruptcy Code §§ 727(a)(3) and (4). This
26     Complaint will determine, among other things, the dischargeability of a debt under
27
       1
        References to docket numbers and claim numbers are to the Bankruptcy Case unless specified otherwise,
28     as is certain, below.
                                                         2
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 1     Rules 4004, 4007, and 7001 of the Federal Rules of Bankruptcy Procedure.
 2           8.      The adversary proceeding initiated by the Complaint arises under title
 3     11, United States Code, and in In re Stein, 9:23-bk-10174-RC, a Chapter 7 case
 4     commenced in the United States Bankruptcy Court for the Central District of
 5     California (“Bankruptcy Case”). The Court has jurisdiction under 11 U.S.C. §§ 523
 6     and 727, and 28 U.S.C. §§ 157 and 1334.
 7           9.      Venue is proper under 28 U.S.C. § 1409 because the Bankruptcy Case
 8     is pending before this Court.
 9           10.     Plaintiff has standing to bring this action because Plaintiff is a creditor
10     in the Bankruptcy Case under 11 U.S.C. § 101(10).
11                                         II.     PARTIES
12           11.     Plaintiff is an unincorporated association duly organized and existing
13     pursuant to the laws of the State of California and doing business in Riverside
14     County, California. Plaintiff is a creditor of Defendant. (See, e.g., Claim 1; Doc
15     21.) Plaintiff is a former client of Defendant owning a money judgment against
16     Defendant entered August 27, 2019 (“Judgment”) in Superior Court of California
17     County of Los Angeles Case No. BC361307 (“Nonbankruptcy Action”).
18           12.     Defendant is an individual over the age of eighteen whose principal
19     residence is in Santa Barbara County, California. Defendant is an attorney licensed
20     by the State of California to practice law in the State of California. Defendant’s
21     state bar license identification number is: 123894.
22                                          III.   FACTS
23           13.     On August 7, 1986, Defendant is admitted to the State Bar of
24     California.
25           14.     “In 2001, [Defendant] and Plaintiff entered into a Development
26     Agreement by which [Defendant] would work to achieve formal federal recognition
27     and development of a casino (‘SMDC Agreement’).” (Doc 21-1, at 43.)
28     “[Defendant] held himself out as the Tribal Development Officer, CEO of the
                                                    3
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 1     GTGA, and on occasion he held himself out as [Plaintiff’s] lawyer. All of
 2     [Plaintiff’s] books and records were kept at Stein’s Law Offices, which is also
 3     where SMDC was located.”2 “Defendants engaged in a pattern and practice of
 4     unauthorized and bad faith conduct designed to undermine and usurp the authority
 5     of the Tribal Council and GTGA and to obtain control of [Plaintiff’s] property.”
 6     “Despite his resignation, [Defendant] refused to return all of [Plaintiff’s]
 7     documents, including Tribal birth and bloodline records, and kept the records at his
 8     Law Offices. After his resignation, [Defendant] continued to act as though he had
 9     authority over tribal affairs. Specifically, he continued to access and make changes
10     to [Plaintiff’s] financial accounts on his own volition and without tribal authority.”
11     (Id., at 43–44.)
12              15.   “When [Plaintiff’s] Tribal Council met with [Defendant], the Tribal
13     Councilmembers openly disliked and distrusted him.” (Id., at 49.) “The SMDC
14     Agreement gave [Defendant] a significant ownership interest in any future Tribal
15     casino gaming by [Plaintiff]. It also guaranteed him $25,000 a month as
16     compensation (deferred until funds were available) and a 10% of the ‘net win,’
17     from certain casino earnings. [Defendant] presented the SMDC Agreement to
18     [Plaintiff], with no other lawyer (other than [Defendant]) present, sometime in
19     February and March of 2001.” (Id., at 50.)
20              16.   “The Tribal Councilmembers were told that they would be removed
21     from the Tribal Council if they failed to sign the SMDC Agreement. So, [Plaintiff]
22     executed the SMDC Agreement in March of 2001, without the benefit of counsel
23     (other than [Defendant]) or understanding of it. They described this as being ‘under
24     duress’ and believed that [Defendant’s] presence was intended to encourage the
25     signing of the Agreement.” (Id., at 51.)
26              ///
27
       2
        GTGA is the Gabrielino Tribal Gaming Authority. SDMC is St. Monica Development Company, LLC,
28     an adjudicated alter ego of Defendant Stein in the Nonbankruptcy Action.
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            ADVERSARY COMPLAINT FOR DETERMINATION THAT DEBT IS EXCEPTED FROM
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 1           17.    “[Defendant] purposely lied to [Plaintiff] that Otto was their lawyer in
 2     order to induce [Plaintiff] to sign the SMDC Agreement, without the benefit of
 3     counsel, and in order to take advantage of [Plaintiff].” (Id.) “During trial,
 4     [Defendant’s] only explanation was that a lawyer named Ed Hamburger served as
 5     counsel for [Plaintiff], but none of the Tribal Councilmembers recall him and
 6     Dunlap specifically recalled that Hamburger was not involved with [Plaintiff].
 7     Other than [Defendant’s] testimony during trial, there is no record of Mr.
 8     Hamburger ever agreeing to be legal counsel for [Plaintiff].” (Id., at 51–52.)
 9           18.    “When it became clear that Tribal Councilmembers would lose against
10     the Morales Family faction in Dunlap, et al. v. Morales, et al., [Defendant]
11     withdrew as counsel for Dunlap. Eventually the individual Tribal Councilmembers
12     lost all of their claims. As a result, the Plaintiffs (Dunlap, Alcala, Carmelo and
13     Perez) owed the Morales Family faction the costs and fees of the litigation. The
14     costs were expensive and led Dunlap to eventually file for personal bankruptcy.”
15     (Id., at 53–54.)
16           19.    “When there were settlement negotiations of the judgment in Dunlap,
17     et al. v. Morales, et al., [Defendant] insisted on personally negotiating any possible
18     settlement of the judgment—even long after he substituted out as counsel of
19     record.” (Id., at 54.)
20           20.    “[Defendant] told Polanco that the Tribal Council would do anything
21     he asked and never failed to follow his advice on any issue.” (Id., at 55.) “An
22     argument arose between [Defendant] and Dunlap when Dunlap requested that
23     [Plaintiff] use [Investor] funds to hire an Indian Law expert who could help the
24     Tribe achieve federal recognition.” (Id., at 59.) “So, while [Defendant] did not
25     think [Investor] funds could fund federal recognition, he thought they could fund
26     [Defendant] and SMDC.” (Id., at 63.) “Tribal Councilmembers denied that they
27     instructed [Defendant] not inform the membership about the $21 million.” (Id.)
28           ///
                                                  5
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 1           21.    Between October to November 2006, Defendant drafted “letters to the
 2     Tribal membership during the dispute. The letters contained several material lies . .
 3     .. So, [Defendant] deliberately lied to the Tribal membership in order to gain
 4     political support for himself and undermine the Tribal Council in their dispute with
 5     him.” (Id., at 64 (cleaned up).)
 6           22.    “[Defendant] claimed that he told [Investor] about the opinion in
 7     August but there was no evidence that he did so. [Defendant] simply ignored that
 8     opinion and published his law review article that was based on the false premise
 9     that [Plaintiff] was state recognized and that the State of California could allow it to
10     engage in gaming without federal recognition. [Defendant’s] inability to represent
11     [Plaintiff’s] interest forthrightly and to do what was in the best interest of the
12     [Plaintiff] was exemplified by his stubbornness in pursuing a strategy that one of
13     the foremost experts on California law told him was untenable and wrong.” (Id., at
14     65–66.)
15           23.    “In addition to writing a letter to the Tribal membership with material
16     misrepresentations, [Defendant] also took significant steps to cut off all
17     communications between [Plaintiff’s] leadership, its Tribal Council and its Tribal
18     membership. He did so by cutting off access to cell phones, emails and website to
19     the Tribal Councilmembers. On the stand, [Defendant] admitted that he did so.
20     Essentially, he interfered with the Tribal Councilmembers ability to communicate
21     with the entire membership and, in effect, to explain their side of the story, as he
22     continued a one-sided dialogue with the Tribal membership.” (Id., at 66.)
23           24.    “[Defendant Employee] claimed that returning the records to the Tribal
24     Council would be ‘stealing’ because she mistakenly believed that they belonged to
25     [Defendant] and not [Plaintiff] or Tribal Council. [Defendant Employee], who kept
26     the individual membership records of all of the members (which showed their
27     familiar relationships and percentage of Native American heritage relationship to
28     [Plaintiff]), agreed that the original membership files) came from Dunlap.” (Id., at
                                                   6
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 1     67 (cleaned up).) “[Plaintiff’s] membership records were highly confidential
 2     documents, individually belonging to the members, but collectively belonging to
 3     [Plaintiff].” (Id.)
 4            25.    On November 2, 2006, the Nonbankruptcy Action commences.
 5            26.    “After resigning, and after [Nonbankruptcy Action] had already been
 6     initiated, [Defendant] began efforts to mount a recall election of the Tribal Council.
 7     However, that recall was never held. Having failed to orchestrate a coup,
 8     [Defendant] pretended that the Tribal council had abandoned the Tribe and
 9     recruited a group of members so that they could start their own competing tribal
10     group, using all of the tribal records he had withheld from [Plaintiff].” (Id., at 68.)
11            27.    “On December 17, 2006, after [Defendant’s] relationship with
12     [Plaintiff] had been terminated and after [Nonbankruptcy Action] was already being
13     vigorously litigated, [Defendant] registered an unincorporated association using
14     [Plaintiff’s] exact name—the ‘Gabrielino-Tongva Tribe’ . . . [Defendant] admitted
15     that he was responsible for causing the new tribe to file a statement of
16     unincorporated association usurping [Plaintiff’s] name. [Defendant] chose to
17     register the Candelaria Faction with the same name that had been used by [Plaintiff]
18     while all sides were still deeply involved in this instant litigation. He also admitted
19     that he brought that idea to the Candelaria Faction but wanted to file such a
20     document in part so that [Plaintiff’s] mail could continue to be directed to his Law
21     Offices’ address and to [Stein Employee]. That imposter entity which was first
22     registered in December of 2006 by [Defendant] and Candelaria continued to exist
23     until the instant trial in this [Nonbankruptcy Action] started. The imposter entity
24     was created by [Defendant] and existed for the sole reason of attempting to deceive
25     the Tribal members and the public about the true identify of [Plaintiff], and to take
26     all of [Plaintiff’s] legal rights and obligations.” (Id., at 68–69 (cleaned up).)
27            28.    On June 23, 2011, Defendant’s signature appears on a document
28     entitled “Premarital Agreement Between Linda Hong Sun and Jonathan A. Stein.”
                                                   7
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 1           29.     On May 24, 2013, Defendant’s signature appears on the articles of
 2     organization of Santa Barbara Milpas Property Company, LLC (“Milpas
 3     Company”) filed with the office of the Secretary of State of California.
 4           30.     On July 18, 2013, a grant deed is recorded on behalf of Milpas
 5     Company, “Attn: Linda Hong Sun Stein.”
 6           31.     On June 20, 2016, the first part of the trifurcated Nonbankruptcy
 7     Action trial begins and the jury is sworn.
 8           32.     “[O]n July 5, 2016, a jury found that Plaintiff Tribe, and not the
 9     Candelaria Faction, was the real party in interest in this case and had standing to
10     assert its fourteen claims against Stein and SMDC. (And that Stein/SMDC could
11     assert its claims against it.)” (Doc 21-1, at 70.) “At [Stein’s] request, the second
12     part of the trial proceeded as a bench trial. During the next two years, the case was
13     suspended for various reasons, mainly the health issues of [Defendant].” (Id., at
14     44–45.)
15           33.     For the year ending December 31, 2016, Defendant and Linda Hong
16     Sun Stein (“Spouse”) report losses of Milpas Company in the ratio of 0.499951 and
17     0.500049.
18           34.     On February 2, 2017, Defendant’s signature appears on a document
19     entitled “Uniform Residential Loan Application” (“First Murrell Mortgage
20     Application”) for property located at 2520 Murrell Road, Santa Barbara, California
21     93109 (APN: 041-291-025) (“Murrell”). Defendant declares on First Murrell
22     Mortgage Application that Defendant is not a party to a lawsuit.
23           35.     On February 27, 2017, Defendant’s signature appears on a document
24     entitled “Uniform Residential Loan Application” (“Second Murrell Mortgage
25     Application”) for Murrell. The Second Murrell Mortgage Application provides:
26               (a) Title will be held in the name of Defendant and Spouse;
27               (b) Defendant is a “Partner” in Milpas Company (since May 24, 2013); and
28               (c) Defendant’s declaration that Defendant is not a party to a lawsuit.
                                                    8
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 1           36.    On March 2, 2017, a grant deed is recorded on behalf of Defendant and
 2     Spouse for Murrell.
 3           37.    On July 22, 2018, Spouse is listed on Milpas Company’s statement of
 4     information filed with the office of the Secretary of State of California.
 5           38.    On September 27, 2018, Bankruptcy Case creditor Glenn Golden files
 6     a complaint in the United States District Court, Southern District of Iowa (Case No.
 7     4:18-cv-00331-RGE-HCA) (“Iowa Action”) against Defendant alleging a single
 8     cause of action for professional negligence. (See, e.g., Doc 37, at 15; Doc 1–Iowa
 9     Action.)
10                         $20 Million Compensatory Damage Award
11           39.    “In the end, the Court [in Nonbankruptcy Action] was unpersuaded
12     that the document represented work which Stein had done for [Plaintiff] (only) and
13     for which he was entitled to compensation pursuant to the SMDC Agreement or
14     otherwise.” (Doc 21-1, at 72.)
15           40.    “Second, [Defendant] owed [Plaintiff] fiduciary duties as (a) an
16     attorney, and (b) also as an officer of [Plaintiff] who had a ‘trust relationship’ with
17     [Plaintiff]; (c) among those duties were the duties of loyalty, confidentiality, candor
18     and complete disclosure, which includes warning the client (or beneficiary) against
19     himself just, as he would warn against a third party—all of which he breached with
20     respect to [Plaintiff].” (Id., at 74–75.)
21           41.    “In sum, these conflicts were based on [Defendant] acting as the legal
22     representative of SMDC during the entire course and scope of his relationship with
23     [Plaintiff], including 1) when he entered into the SMDC Agreement, where he
24     represented both [Plaintiff] and SMDC (both sides of the Agreement) and 2) every
25     time he drafted a resolution, when he represented the interests of both [Plaintiff]
26     and SMDC when either reviewing or drafting each of those resolutions. He also
27     had a conflict every time he advocated for gaming in California without federal
28     recognition. [Defendant] failed to tell [Plaintiff] that this advice was motivated by
                                                   9
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 1     his financial interest in the SMDC agreement which would be extinguished if
 2     [Plaintiff] achieved federal recognition because it would not survive scrutiny by the
 3     NIGC under the sole proprietorship rule.” (Id., at 76–77.)
 4           42.    In the Nonbankruptcy Action, “[t]he [Superior] Court [found] that the
 5     clear and convincing evidence proved that Stein’s conduct—individually and
 6     through his alter ego, SMDC, and through his d.b.a., Law Offices, was fraudulent,
 7     despicable, oppressive and malicious.” (Id., at 77.)
 8           43.    “[Defendant] committed many incidences of fraud. [Defendant’s] fraud
 9     against [Plaintiff] began with the inception of his relationship with them.” (Id.)
10           44.    “[Defendant] told the Tribal Council that Otto would serve as their
11     general counsel for purposes of reviewing and advising on the SMDC Agreement
12     entering into that relationship with SMDC and [Defendant]. Yet Otto told
13     [Defendant], via email, telephone and letter that he would not serve in such a role.
14     The fraud continued when [Defendant] gave [Plaintiff] advice concerning whether
15     they were a state recognized tribe, and whether that status could give them a right to
16     engage in gaming in California without federal recognition. It continued after their
17     relationship ended, when this litigation had already started. [Defendant] took the
18     identity of [Plaintiff] using membership records without permission, and registered
19     a different, group with the Secretary of State with the exact same name as
20     [Plaintiff], as an unincorporated association, and then tried to settle the
21     [Nonbankruptcy Action]. Evidence of fraud is extensive and at the center of this
22     case.” (Id., at 77–78 (emphasis added).)
23           45.    “[Defendant] engaged in oppressive and malicious conduct.
24     [Defendant] set up [Plaintiff’s] offices in his Law offices and gave his law office
25     manager, [Stein Employee], the job of Tribal Administrator, in order to control
26     [Plaintiff] and its legal and financial affairs. And when the Tribal councilmembers
27     confronted Stein in those offices, Stein threatened them, threw objects at them, and
28     cast them out of their own offices. In the Court’s view, among the worst things
                                                  10
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 1     Stein did was his failure to return [Plaintiff’s] original birth and family records to
 2     [Plaintiff] after Stein was fired/resigned. Stein kept [Plaintiff’s] membership and
 3     family records thus preventing [Plaintiff] from pursuing federal recognition (a 25-
 4     30 year process). To this day, almost 15-20 years later, Stein has not returned the
 5     records.” (Id., at 78 (emphasis added).)
 6           46.    “[Defendant] is a recidivist in targeting Native Americans for
 7     exploitation. Repeated actions are worse than and can be punished more severely
 8     than isolated incidents. [Plaintiff] was not the first Native American group which
 9     was targeted by [Defendant’s] misconduct. [Defendant] preyed upon Native
10     American groups, including the Morales Family faction, whom he tried to convince
11     to join him in his endeavors, and when he could not persuade them, he later sued
12     them to gain access to their records. And after he had a falling out with [Plaintiff],
13     he recruited a different group, the Candelaria Faction, to use as a vehicle for his
14     casino development plans. [Defendant] used his status as a lawyer, a position of
15     trust, as a weapon against a less sophisticated client. The Tribal Councilmembers
16     were relatively poor and unsophisticated, and they trusted [Defendant’s] advice and
17     his position as a high-status lawyer. Further, [Defendant] used litigation as a
18     weapon, including against the Morales Family faction, and against [Plaintiff].
19     [Defendant] oppressed [Plaintiff] by using attachment proceedings, including false
20     statements in the applications, during the litigation in order to deprive [Plaintiff] of
21     its assets and by prolonging this litigation to deprive [Plaintiff] from freedom to
22     move on as a political entity pursuing their ultimate goal, federal recognition.” (Id.,
23     at 79–80 (cleaned up).)
24           47.    On November 8, 2018, court orders issue in the Nonbankruptcy Action
25     and are served by mail on Defendant (“Nov. 8, 2018 Order”), providing as follows:
26             (a) “Pursuant to CCP §632 and CRC Rule 3.1590(a), the court issues a
27                  Tentative Decision as follows:
28                  1. On the Fourth Amended Complaint at case number BC361307:
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 1                       a. On all causes of action, in favor of Plaintiff [] and against
 2                           Defendants Jonathan Stein, Law Offices of Jonathan Stein,
 3                           and St. Monica Development Company, LLC (SMDC),
 4                           jointly and severally.
 5                       b. On all causes of action, the court declares as follows:
 6                                1) Defendants Jonathan Stein and the Law Offices of
 7                                   Jonathan Stein violated California Rules of
 8                                   Professional Conduct Rules 3-300 [] and 3-310 [] and
 9                                   3-100 [];
10                                2) At the election of Plaintiff, the SMDC Development
11                                   Agreement is rescinded and void.
12                       c. On all causes of action, the Court enjoins and restrains
13                           Defendants from:
14                                1) Retaining possession, custody or control of any files,
15                                   documents or other property of [Plaintiff], including
16                                   but not limited to (a) [Plaintiff’s] membership records,
17                                   whether in hard copy or electronic form, (b)
18                                   [Plaintiff’s] financial records, whether in hard copy or
19                                   electronic form, (c) [Plaintiff’s] internet domain
20                                   name, www.tongvatribe.org, and (d) [Plaintiff’s]
21                                   website;
22                                2) Using any of [Plaintiff’s] confidential information,
23                                   including but not limited to its membership records or
24                                   financial information;
25                                3) Contacting or soliciting any member of [Plaintiff] for
26                                   any purpose relating to any tribal membership or
27                                   casino gaming project;
28
                                                 12
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 1                               4) Disclosing or disseminating any of [Plaintiff’s]
 2                                  confidential information, including but not limited to
 3                                  its membership information or financial information;
 4                               5) Destroying, discarding, altering or otherwise making
 5                                  unavailable to [Plaintiff] or its agents any
 6                                  documentary, computer or other evidence relevant to
 7                                  this litigation in Defendants’ and/or their agents’
 8                                  possession, custody or control;
 9                               6) Holding themselves out to be the offices of or
10                                  affiliated in any manner with [Plaintiff], including but
11                                  not limited to (a) receiving telephone calls for
12                                  [Plaintiff], (b) answering their telephones as
13                                  [Plaintiff] or as any affiliate of [Plaintiff], or as any
14                                  other person, entity, or organization using the words
15                                  “Gabrielino-Tongva Tribe,” “Gabrielino-Tongva,”
16                                  “Gabrielino Tribe,” “Gabrielino,” “Tongva Tribe,”
17                                  “Tongva,” or other phrase likely to create the
18                                  impression that Defendants have any relationship
19                                  whatsoever to [Plaintiff], (c) using [Plaintiff’s]
20                                  stationery, or any other stationery that uses the words
21                                  “Gabrielino-Tongva Tribe,” “Gabrielino-Tongva,”
22                                  “Gabrielino Tribe,” “Gabrielino,” “Tongva Tribe,”
23                                  “Tongva,” and (d) using [Plaintiff’s] logo; and
24                               7) Using [Plaintiff’s] membership records, or any
25                                  document derived therefrom, to contact any member
26                                  or members of [Plaintiff].
27                               8) Executing upon any order/writ for any of Plaintiff’s
28                                  property.
                                                13
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 1                       d. On all causes of action, the Court commands/orders
 2                           Defendants to:
 3                                1) Deliver to [Plaintiff] all of [Plaintiff’s] information in
 4                                   documentary or electronic form, or any other form,
 5                                   including but not limited to any and all originals and
 6                                   copies of [Plaintiff’s] membership records and
 7                                   financial records;
 8                                2) Deliver to [Plaintiff] all of [Plaintiff’s] computers,
 9                                   disks and electronic equipment in the form and
10                                   condition in which they were taken from [Plaintiff];
11                                3) Deliver all of the above within 30 days of service of
12                                   this Judgment.
13                       e. On the first through sixth, ninth; eleventh, twelfth and
14                           fifteenth causes of action, in favor of Plaintiff [] and against
15                           Defendants Jonathan Stein, Law Offices of Jonathan Stein,
16                           and St. Monica Development Company, LLC, jointly and
17                           severally, in the amount of $20,411,067.23 [$21,000,000
18                           minus $800,000 (Libra), minus $161,067.23 (Tribe payments)
19                           minus $50,000 ([Defendant Agent] payment)].
20                       f. On the tenth cause of action, in favor of Plaintiff [] and
21                           against Defendants Jonathan Stein, Law Offices of Jonathan
22                           Stein, and St. Monica Development Company, LLC, jointly
23                           and severally, the court declares:
24                                 1) Pursuant to the jury’s verdict in the first phase of trial,
25                                   Plaintiff is the real party in interest with standing to
26                                   pursue the litigation;
27                                 2) Pursuant to the jury’s verdict in the first phase of trial,
28                                   Bernard Acuna, Linda Candelaria, Martha Gonzales-
                                                 14
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 1                                     Lemos, Laurie Salse, and Suzanne Rodriguez are not
 2                                     the Plaintiff [], the real party in interest.
 3                       g. On the fourteenth cause of action, in favor of Plaintiff [] and
 4                           against Defendants Jonathan Stein, Law Offices of Jonathan
 5                           Stein, and St. Monica Development Company, LLC, jointly
 6                           and severally, the court finds that:
 7                                  1) Defendants Jonathan Stein, Law Offices of Jonathan
 8                                     Stein, and St. Monica Development Company, LLC,
 9                                     are alter egos of each other;
10                                  2) Defendants Jonathan Stein, Law Offices of Jonathan
11                                     Stein, and St. Monica Development Company, LLC,
12                                     jointly and severally, are responsible for the
13                                     obligations of each other.
14                       h. Plaintiff shall recover attorney fees and costs as provided by
15                           law.
16                       i. Defendants Jonathan Stein, Law Offices of Jonathan Stein,
17                           and St. Monica Development Company, LLC, acted with
18                           malice, oppression, and fraud.
19                 2. On the First Amended Complaint at case no. SC091644, on all
20                     causes of action, in favor of Defendants Virginia Carmelo, Martin
21                     Alcala, Edgar Perez, Shirley Machado, Adam Loya, Samuel
22                     Dunlap, Elizabeth Aronson, and Richard G. Polanco and against
23                     Plaintiff St. Monica Development Company, LLC. Plaintiff shall
24                     take nothing.
25                 4. On the First Amended Cross-complaint at case no. SC091644, on
26                     all causes of action, in favor of Cross-defendants Jonathan Stein,
27                     Law Offices of Jonathan Stein, and St. Monica Development
28                     Company, LLC, Bernard Acuna, Linda Candelaria, Martha
                                                  15
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 1                      Gonzales-Lemos, Laurie Salse, and Suzanne Rodriguez and against
 2                      Cross-complainant Sam Dunlap. Cross-complainant shall take
 3                      nothing.
 4                  5. On the Complaint at case no. SC092615, on the second through
 5                      fourth causes of action only, in favor of Defendants Virginia
 6                      Carmelo, Martin Alcala, Edgar Perez, Shirley Machado, Adam
 7                      Loya, Samuel Dunlap, Elizabeth Aronson, and Richard G. Polanco
 8                      and against Plaintiff [Stein Agent]. Plaintiff [Stein Agent] shall
 9                      take nothing.
10             (b) The [Nonbankruptcy Action] Court also orders:
11                  1. A second phase for punitive damages trial on December 10, 2018,
12                     9:30 a.m., Dept. 28.
13                  2. Defendants Jonathan Stein, Law Offices of Jonathan Stein, and St.
14                     Monica Development Company, LLC, shall disclose their financial
15                     records to Plaintiff no later than November 15, 2018.
16                  3. All counsel and the parties themselves are ordered to appear.
17                  4. Defendant Jonathan Stein’s personal accountant(s) and the Law
18                     Offices of Jonathan Stein and St. Monica Development Company,
19                     LLC’ s business accountant (s) are ordered to appear. [Fns.
20                     omitted.]”
21           48.    “On December 3, 2018, the Court [in the Nonbankruptcy Action]
22     issue[s] a First Amended Tentative Decision and Orders finding for [Plaintiff] on all
23     fourteen causes of action against Stein and SMDC, including a finding of malice,
24     oppression and fraud; finding for [Plaintiff] as to Stein and SMDC’s claims; and
25     finding for [Plaintiff] as to [Defendant Agent’s] claims.” (Doc 21-1, at 45.)
26           ///
27           ///
28           ///
                                                 16
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 1           49.    On December 5, 2018, the following occurs:
 2             (a) “[T]he Court [in the Nonbankruptcy Action] issue[s] additional orders,
 3                  including an order that Plaintiff’s counsel draft a proposed statement of
 4                  decision.” (Id.)
 5             (b) Defendant communicates with David Allan Klass, CPA (Cal. Bar No.
 6                  24926) and Steven Tangherlini discussing “Alex [Brucker] is the best
 7                  ERISA Attorney for his needs.”
 8           50.    On December 21, 2018, articles of incorporation of Law Offices of
 9     Jonathan Stein, P.C. (“Law Offices”) are filed with the office of the Secretary of
10     State of California.
11           51.    On December 27, 2018, Defendant’s signature appears on a document
12     entitled “Law Offices of Jonathan Stein Amendment to the Law Offices of Jonathan
13     Stein, P.C. Defined Benefit Pension Plan.”
14           52.    On January 10, 2019, Defendant’s signature appears as co-borrower on
15     a “Uniform Residential Loan Application” (“Kirk Mortgage Application”) for
16     property at 5222 Kirk Drive, Santa Barbara, California 93111 (APN: 065-072-009)
17     (“Kirk”). The Kirk Mortgage Application provides:
18             (a) Spouse is borrower;
19             (b) Title held in name of Defendant and Spouse;
20             (c) Spouse is self-employed at 500 North Milpas, Santa Barbara, California
21                  93103 (“Milpas Property”);
22             (d) Defendant is self-employed at “Jonathan Stein Law” (for 33 years); and
23             (e) Defendant’s declaration that Defendant is not a party to a lawsuit.
24           53.    On February 6, 2019, Defendant has email from E. Mark Fishman,
25     MSPA, FCA, MAA (Owner and Enrolled Actuary) of Actuaries Unlimited, Inc.
26     (“TPA”).
27           ///
28           ///
                                                 17
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 1           54.    On February 22, 2019, a grant deed is recorded on behalf of Defendant
 2     and Spouse for Kirk. “The date is significant because [Defendant] provided
 3     responses to punitive damages questions, under penalty of perjury on February 16,
 4     2019, after he had formed an intent to purchase another property, but he did not feel
 5     obliged to disclose this in discovery which was designed to uncover evidence of his
 6     net worth.” (Doc 21-1, at 84.)
 7           55.    On March 12, 2019, Law Offices files a statement of information with
 8     the office of the Secretary of State of California.
 9           56.    On April 5, 2019, the third part of the Nonbankruptcy Action trial is
10     held—punitive damages. “Before the hearing, the Court [in Nonbankruptcy
11     Action] ordered Defendants Stein, Law Offices, and SMDC to disclose their
12     financial records to Plaintiff but those parties failed to do so.” (Id., at 45–46.)
13     “Moreover, as for Stein/SMDC’s remaining claims of account stated and quantum
14     meruit, they are similarly extinguished because Stein failed to proffer persuasive
15     evidence that he did the work that he claimed to have done. He submitted two
16     documents which were incomplete and heavily redacted. (Exhs. 1550-1562.) As
17     produced during trial, those documents had no indicia of reliability and failed to
18     persuade the Court.” (Id., at 46.)
19           57.    “During the punitive damages phase of the trial, [Defendant] failed to
20     provide evidence of his assets and failed to be candid about his assets under oath.
21     [Defendant] provided scant evidence of his net worth. This conduct is consistent
22     with his conduct throughout the course of this litigation and this trial. Indeed,
23     [Defendant] refused to take the stand or appear on April 5, 2019, to answer
24     questions regarding his financial condition so [Plaintiff] had no meaningful
25     opportunity to cross-examine him on this topic. Rather, during the punitive damage
26     discovery phase, his attorney provided a chart that aimed to show his net worth, but
27     that chart was without any backup or foundation and was unreliable.” (Id., at 80.)
28           ///
                                                  18
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 1           58.    “As the finder of fact, the Court [in the Nonbankruptcy Action]
 2     reasonably deduced and considered all the facts available regarding [Defendant’s]
 3     veracity and credibility and his prior statements regarding his net worth and decided
 4     that [Defendant] was untruthful about ability to pay a judgment or punitive
 5     damages. In his discovery responses during the punitive damages phase,
 6     [Defendant] failed to describe the income he gets from his father-in-law, Chinese
 7     assets in America, or any of the very high net value items he was engaged in which
 8     he described to the Court on the record on July 22, 2016. Because [Defendant] is
 9     not forthcoming about the value of those holdings, the Court reasonably placed a
10     value of at least twice as much of the litigation in California, equaling $3 million a
11     year. The Stein Family has substantial real estate holdings and properties. On
12     April 5, 2019, [Plaintiff] filed a Request for Judicial Notice attaching documents
13     that tend to show that Stein has significant property holdings, in his own name, in
14     California. The Court took judicial notice. Those documents show that
15     [Defendant] provided less than candid responses and perhaps perjured himself when
16     he provided those responses to the punitive damages discovery served on him by
17     [Plaintiff]. For example, in response to Interrogatory Question 11 which requested
18     information regarding any loan which he or his wife, singly or jointly received to
19     pay for the real property located in Ashland Avenue in Santa Monica, California,
20     [Defendant] provided a verified response, under penalty of perjury that ‘he has
21     never had an ownership interest in 2215 Ashland Avenue in Santa Monica, CA.’
22     But that property is currently owned by [Spouse]. And, according to the inter-
23     spousal transfer deed, which [Defendant] attached to those same discovery
24     responses where he denies ownership, [Defendant] did indeed own that property
25     and transferred it to his wife on May 7, 2012—that is, during the pendency of this
26     litigation which started in November of 2006. The Ashland Avenue address is the
27     same address that [Defendant] listed in verified responses to Form Interrogatories in
28     this action in 2015. He obviously owned it and lived in it during the pendency of
                                                 19
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 1     this action. Whether he currently owns it or merely transferred it to his wife for
 2     zero consideration as recorded on the inter-spousal transfer deed reflected well on
 3     his financial condition.” (Id., at 82–83.)
 4               59.   “[Defendant] has repeatedly stated that all of these properties are
 5     largely in his wife’s name or belong to his wife’s family and not to him. He has
 6     lived at these properties, does not report that he paid any rent to live in these
 7     properties, and whether or not they are in his name or not, all of these real estate
 8     holdings are part of what he can rely on for his lifestyle and make a living. Lastly
 9     on this topic, [Defendant] has been less than candid about his assets during the
10     punitive damages phase of this trial and he continues to accumulate assets. He is
11     undeterred from his lawless behavior, evasiveness, and untruthfulness to opposing
12     parties and to the Court.” (Id., at 84–85.) “The Court believes a $7 million punitive
13     award is appropriate—that is a third of the compensatory damages awarded here.
14     [Defendant] is neither sorry nor contrite and has no misgivings about anything that
15     occurred here. He refuses to change his conduct. Clearly, he is undeterred.” (Id.,
16     at 85.)
17               60.   On April 11, 2019, Defendant communicates with TPA.
18                                             Judgment
19               61.   On August 27, 2019, Judgment enters and a statement of decision
20     (“SOD,” and hereafter with Judgment, “Judgment”) issues in Nonbankruptcy
21     Action. A true and correct copy of the Judgment, which tracks the Nov. 8, 2018
22     Order, is attached hereto as Exhibit A and is expressly incorporated by reference
23     herein. The Judgment provides Defendant to “pay Plaintiff [] punitive damages in
24     the amount of $7 million.” (Doc 21-1, at 37 (emphasis added).) A true and
25     correct copy of the SOD, which is 138 pages in length, is attached hereto as Exhibit
26     B and is expressly incorporated by reference herein.
27               ///
28               ///
                                                    20
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 1                62.     The Judgment 3 further provides:
 2                  (a) Conflicts. “[Defendant] was obliged to advise [Plaintiff] that he had
 3                        an adverse interest pursuant to Rule 3-3L0 (B) (1) of the Rules of
 4                        Professional Conduct and was required to provide a written disclosure
 5                        to [Plaintiff]. He did not. Thus, [Defendant] violated his fiduciary
 6                        duty.” (Doc 21-1, at 92.)
 7                  (b) “[Plaintiff Expert] opined that [Defendant] also violated Rule 3-300 of
 8                        the Rules of Professional Conduct by failing to advise [Plaintiff] that
 9                        by acquiring a financial interest adverse to the Tribe, [Defendant] must
10                        give the Tribe a meaningful opportunity to consult with another lawyer
11                        (or to provide the Tribe the same advice as he would provide as against
12                        a third person). [Defendant] did not. Thus, [Defendant] violated his
13                        fiduciary duty.” (Id.)
14                  (c) “[Plaintiff’s Expert] also opined that [Defendant] violated Rules 3-
15                        310(A) and 3-310 (B)(1) of the Rules of Professional Conduct, which
16                        require a lawyer to advise any client that he has a legal, financial,
17                        business or personal relationship with another party in the same matter.
18                        In this case, [Plaintiff’s Expert] noted that [Defendant] admitted that he
19                        had relationship with both SMDC and [Plaintiff] and (according to
20                        Stein’s own testimony) provided concurrent advice to both as to the
21                        SMDC Agreement or any of its amendments. Pursuant to Rule 3-
22                        310(A), [Defendant] was required to provide written disclosures to
23                        both but did not. [Plaintiff’s Expert] opined that [Defendant] also
24                        violated Rule 3-310(B)(3) which prohibits a lawyer who has a legal,
25                        business, financial, personal or professional relationship with another
26                        person or entity that the attorney knows or reasonably should know
27
28     3
           Inclusive of SOD.
                                                       21
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 1                 would be affected substantially by resolution of the matter.” (Id., at
 2                 92–93.)
 3            (d) “[Plaintiff’s Expert] opined that [Defendant] also violated Rule 3-
 4                 310(B)(4) which requires a written disclosure when an attorney has a
 5                 legal, business, financial, professional interest in the subject of a matter
 6                 or representation. [Defendant] made no such disclosures.” (Id., at 93.)
 7            (e) “[Plaintiff’s Expert] opined that [Defendant] also violated Rules 3-
 8                 310(C)(1) and (2) which prohibits concurrent representation (SMDC
 9                 and [Plaintiff]) when they had adverse or potentially adverse interests
10                 and requires that [Defendant] provide not just written disclosures, but
11                 written consents from the clients. [Defendant] neither made
12                 disclosures nor obtained consents.” (Id.)
13            (f) “Most of these conflicts were based on [Defendant’s] own testimony
14                 that he was acting as the legal representative of SMDC during the
15                 entire course and scope of his relationship with [Plaintiff], including
16                 when he entered into the SMDC Agreement, where he represented
17                 both [Plaintiff] and SMDC, and every time he drafted a resolution,
18                 when he represented the interests of both [Plaintiff] and SMDC when
19                 either reviewing or drafting each of those resolutions.” (Id.)
20            (g) “[Defendant] also had a conflict every time he advocated for engaging
21                 in gaming in California without federal recognition as he failed to tell
22                 [Plaintiff] that his advice was motivated by his interest in the SMDC
23                 Agreement that would be extinguished if [Plaintiff] achieved federal
24                 recognition.” (Id., at 94.)
25            (h) Fiduciary duty. “[Defendant] acted on his own interest and against
26                 [Plaintiff’s] interest for the reason that it would be (in the long run)
27                 more financially advantageous to him, despite [Plaintiff’s] repeatedly
28                 stated wishes for federal recognition. Moreover, all of [Defendant’s]
                                                 22
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 1                 behavior was against the interests of [Plaintiff] and was not dependent
 2                 on [Defendant’s] conduct as a lawyer, but as a fiduciary with divided
 3                 loyalties. For example: [Defendant] sent letters to [Plaintiff’s]
 4                 membership, without Council’s consent or knowledge; [Defendant]
 5                 froze [Plaintiff’s] bank account; and [Defendant] demanded that
 6                 [Investor] pay him instead of [Plaintiff], even though the [Investor]
 7                 Agreement was for the benefit of [Plaintiff].” (Id., at 95.)
 8             (i) Malpractice. “[Defendant] breached his ethical duties, willfully
 9                 concealed information from [Plaintiff], and attempted to mislead
10                 [Plaintiff] (about [Defendant’s] relationship with [Plaintiff] as a
11                 lawyer, and about Otto being a lawyer for [Plaintiff]).” (Id., at 96.)
12             (j) Business torts. “[Defendant] is liable for the tort of conversion of
13                 [Plaintiff’s] property.” (Id.) “[Defendant] admitted that he retained
14                 possession of [Plaintiff’s] membership and financial records and other
15                 business records after his relationship with [Plaintiff] had
16                 unambiguously terminated.” (Id., at 97.) “[Defendant] used that
17                 information, computers, and documents for his own purposes,
18                 including sending letters to financial institutions and to the
19                 membership to disparage the Tribal Council and gain support for
20                 himself.” (Id.)
21             (k) “[Defendant] is liable for the tort of misappropriation of trade secrets
22                 in the form of confidential membership records.” (Id., at 98.)
23                 “Accordingly, these were [Plaintiff’s] trade secrets, and not
24                 [Defendant’s] or SMDC’s work product. Yet, [Defendant] maintained
25                 possession of these records and refused to turn them over to [Plaintiff]
26                 when it asked for them.” (Id., at 99.)
27           ///
28           ///
                                                23
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 1             (l) “[Defendant] and SMDC are liable for the tort of breach of
 2                  confidences of [Plaintiff].” (Id.) “After [Defendant’s] relationship
 3                  with [Plaintiff] ended, [Defendant] admitted that he used [Plaintiff’s]
 4                  membership records for the benefit of Stein and SMDC, and contrary
 5                  to the rights of [Plaintiff] and GTGA. So he breached the confidences
 6                  of [Plaintiff].” (Id., at 100.)
 7             (m) “[Defendant] is liable for the tort of intentionally interfering with
 8                  economic and prospective relationships of [Plaintiff].” (Id.) “Here,
 9                  [Defendant]/SMDC interfered with [Plaintiff’s] contract with
10                  [Investor].” (Id., at 101.) “[Defendant] disrupted the relationship with
11                  [Investor] intentionally, when the dispute between [Defendant] and
12                  [Plaintiff] first came to a head. [Defendant] did not get to spend
13                  [Investor] money as he wanted, so [Defendant] threatened to send the
14                  money back to [Investor], rather than continue working with
15                  [Plaintiff]. He followed through on that threat by interfering with
16                  [Investor] deal. [Defendant’s] attorney, Sulzer, testified that once a
17                  dispute with [Plaintiff] started, [Defendant]/SMDC wanted [Investor]
18                  to pay [Defendant] any monies owed by [Plaintiff] (the monthly fee).
19                  [Defendant]/SMDC insisted that [Defendant] and SMDC be first in
20                  line for payment. By insisting to not go away until those monies were
21                  paid, even though he had no right to payment from [Investor] funds (a
22                  fact he was well aware of), [Defendant] interrupted the [Investor]
23                  Agreement. Because [Investor] did not deviate from the original
24                  intention of its agreement with [Plaintiff] (which had nothing to do
25                  with payment to [Defendant]) and did not want to pay [Defendant],
26                  [Defendant’s] threat came to fruition.” (Id.)
27           ///
28           ///
                                                      24
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 1            (n) “[Defendant] wanted [Plaintiff] and [Investor] to promise to use those
 2                 subsequent tranches to pay him, or else he would disrupt the
 3                 relationship.” (Id., at 102 (emphasis in original).)
 4            (o) “[Defendant]/SMDC breached the Agreement by pursuing only one of
 5                 the two material promises made in the SMDC Agreement, that is, the
 6                 casino. Indeed, [Defendant]/SMDC abandoned the second promise,
 7                 pursuit of federal recognition. [Defendant] did so without telling
 8                 [Plaintiff] that federal recognition was against [Defendant]/SMDC’s
 9                 interest because federal recognition would cause the NIGC to
10                 invalidate [Defendant]/SMDC’s 10% gaming receipts incentive in the
11                 SMDC Agreement . . . By never intending to perform on the SMDC
12                 Agreement as to federal recognition, [Defendant] breached it.” (Id., at
13                 104.)
14            (p) “Additionally, [Defendant]/SMDC breached the SMDC Agreement by
15                 the following conduct:
16                 a. usurping the authority of the Tribal Council . . .
17                 b. terminating the Tribe’s outside counsel . . .
18                 c. terminating or attempting to terminate Aronson . . .
19                 d. refusing to explore federal recognition . . .
20                 e. trying to force tribal council members to resign and attempting to
21                    gain sole signatory authority of Tribe investment monies . . .
22                 f. attempting to claim reimbursement of unreasonable expenses . . .”
23                    (Id., at 104–105.)
24            (q) “[Defendant] violated Penal Code §502(c) and committed computer
25                 fraud.” (Id., at 106.)
26            (r) “[Defendant]/SMDC is liable for the tort of unfair competition in
27                 violation of Business and Professions Code §17200 . . . Here, the claim
28                 against [Defendant]/SMDC is based on a number of other claims stated
                                                25
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 1                 against [Defendant], including unlawfully retaining [Plaintiff’s] books
 2                 and records, misappropriation of trade secrets, and fraud.” (Id., at
 3                 107–108.)
 4            (s) Fraud. “[Defendant] fraudulently claimed that the Candelaria Faction
 5                 was the real Tribe. Since October 2006, [Defendant] began making
 6                 representations to the members of [Plaintiff] which he knew were
 7                 false, that is, that the faction of [Plaintiff] represented by Linda
 8                 Candelaria was the real tribe. Even after the jury found that Plaintiff
 9                 Tribe was the real party in interest, [Defendant] continued to represent
10                 that:
11                 a. Plaintiff’s Tribal Council members abandoned [Plaintiff].
12                 b. The entity that he registered with the Secretary of State in
13                    December 2006 and shared a similar name with Plaintiff was the
14                    duly elected tribal entity, and that Plaintiff was a false entity.
15                 c. The Candelaria Faction which was first registered (by [Defendant])
16                    in December 2006 continued to exist until the trial started.
17                 d. The Candelaria Faction was created by [Defendant] and existed for
18                    the sole reason of attempting to succeed to all of the legal rights and
19                    obligations of Plaintiff.
20                 e. [Defendant] and SMDC negotiated and entered into a settlement
21                    agreement in this litigation (later voided) with the Candelaria
22                    Faction.” (Id., at 113–114.)
23            (t) “[Defendant] knew that all of these representations were false. He
24                 made these representations in order to defraud and confuse Gabrielinos
25                 who were members of Plaintiff and Gabrielinos who were not in order
26                 to dissuade them from joining Plaintiff. [Defendant] had no reasonable
27                 basis for believing that these representations were true. He made them
28                 knowingly in order to deceive and defraud Plaintiff's tribal members,
                                                  26
         ADVERSARY COMPLAINT FOR DETERMINATION THAT DEBT IS EXCEPTED FROM
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 1                 other Gabrielinos who were potential members, the public at large,
 2                 former investors, potential investors and the Court. [Defendant] made
 3                 these false representations in order to usurp all of Plaintiff Tribe’s legal
 4                 rights and obligations. [Defendant] damaged [Plaintiff] by deceiving
 5                 [Plaintiff’s] members about the split between Stein and [Plaintiff]
 6                 thereby causing [Investor], who had committed to supporting
 7                 [Plaintiff], from withdrawing its financial and other support. The loss is
 8                 more than $18,000,000 which had been pledged by [Investor] but was
 9                 lost because of [Defendant] fraudulent conduct. [Plaintiff] also suffered
10                 through loss of reputation as it was forced to deny charges from
11                 [Defendant] that the Tribal Council members had stolen money from
12                 [Plaintiff].” (Id., at 114–115 (cleaned up).)
13            (u) “[Defendant] also committed fraud by attaching to [Investor]
14                 Agreement dated May 20, 2006, as Exhibit B, a document which
15                 purports to be California Senate Bill 175, as allegedly introduced and
16                 amended by Senator Vincent. Exhibit B to [Investor] Agreement led
17                 [Plaintiff] (via Council Chair Carmelo) to believe that it could game in
18                 California because actual legislation had been introduced on its behalf.
19                 However, [Defendant] failed to disclose to [Plaintiff] that two days
20                 after [Investor] Agreement was executed, on May 22, 2006, the
21                 California Legislative Counsel of California issued an opinion to
22                 Senator Vincent finding that ‘the Legislature has no power to authorize
23                 a non-federally recognized Indian tribe to operate slot machines,
24                 lottery games, and banking and percentage card games in California,
25                 even if the state gives the tribe the designation of a state-recognized
26                 tribe[.]’ The opinion concluded with footnote 7, which explained that
27                 ‘the state of California may recognize a tribe that is not federally
28                 recognized, but it has not done so.’ Accordingly, [Defendant’s]
                                                 27
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 1                 repeated representation that [Plaintiff] was ‘state recognized’ was not
 2                 true. [Defendant] knew about this opinion and yet failed to rectify this
 3                 representation he made to [Investor] and to [Plaintiff].” (Id., at 115–
 4                 116 (cleaned up).)
 5            (v) “On July 15, 2006, [Defendant] wrote to the Tribal Council to
 6                 complain about ‘a lot of alleged misconduct on the part of the Tribe,’
 7                 and in a short statement, item number 6, he stated that ‘we recently
 8                 suffered a huge defeat in Sacramento . . . we previously assured [the
 9                 investors] that SB 175 was authored by Senator Vincent and would be
10                 introduced publicly, a major step toward the casino. In the August 9
11                 report, we are likely going to state that Sen. Vincent refused to author
12                 SB 175 and it will not be publicly introduced.’ Accordingly, Stein
13                 knew that his prior representation that SB 175 was authored was a lie.
14                 In fact, he admitted the above in Exhibit 54. In that email, he admitted
15                 that despite the fact that he represented to [Investor] that the legislation
16                 was authored and introduced by a lawmaker, he had lied. On the stand
17                 at trial, [Defendant] admitted that he drafted the document attached as
18                 an exhibit. Moreover, the statements he made in that email were
19                 untrue. It was [Defendant] who had made that representation on behalf
20                 of [Plaintiff]. [Plaintiff] did not know whether SB 175 had been
21                 introduced by Senator Vincent until [Defendant] in that email told
22                 them that he had lied to [Investor] (purportedly) on their behalf.” (Id.,
23                 at 116–117 (cleaned up).)
24            (w) “[Defendant] also committed fraud by all of the following conduct:
25                 a. accusing the Tribal Council of stealing funds, and freezing their
26                    banking accounts when he had no good faith basis for doing so and
27                    after he had ceased to have any actual authority over any aspect of
28                    [Plaintiff].
                                                 28
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 1                  b. causing Ms. Candelaria to file the Statement of Unincorporated
 2                     Association with the Secretary of State on December 18, 2006,
 3                     claiming she was the representative of [Plaintiff], when he had no
 4                     good faith bases of believing that she had a right to do so.
 5                  c. telling the Tribal Council who executed the SMDC Agreement in
 6                     March of 2001 that Otto had agreed to review the Agreement and to
 7                     act as their lawyer, and had approved of the SMDC Agreement as a
 8                     transaction on their behalf when he knew that was a lie.
 9                  d. failing to advise [Plaintiff] (fraud by omission) that the SMDC
10                     Agreement would be rejected by the NIGC if it ever achieved
11                     federal recognition. ([Defendant], by his own description, was an
12                     expert on tribal gaming, yet he failed to advise [Plaintiff] on this
13                     basic fact because it was against [Defendant’s] own interest.)” (Id.,
14                     at 117 (cleaned up).)
15           63.    On October 24, 2019, a statement of information of Milpas Company
16     is filed with the office of the Secretary of State of California. Defendant and
17     Spouse deny filing this.
18           64.    On November 8, 2019, Defendant appeals the Judgment.
19           65.    On March 30, 2020, Golden v. Clear Advantage Mktg., No. 4:16-cv-
20     00529-JAJ-CFB, 2020 U.S. Dist. LEXIS 88130 (S.D. Iowa Mar. 30, 2020) issues.
21           66.    On October 29, 2020, an order issues in Nonbankruptcy Action
22     providing that Defendant’s lawyers “jointly and severally, must pay Plaintiff
23     $16,000 in sanctions.”
24           67.    On November 24, 2020, the Law Offices file a statement of
25     information of no change with the office of the Secretary of State of California.
26           68.    On January 29, 2021, Defendant has email from TPA.
27           69.    On October 14, 2021, Gabrielino-Tongva Tribe v. Stein, 2021 U.S.
28     Dist. LEXIS 199237 (C.D. Cal. Oct. 14, 2021) issues.
                                                 29
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 1                                      First Bankruptcy
 2           70.   On November 8, 2021, Defendant commences United States
 3     Bankruptcy Court for the Central District of California Case Number 9:21-bk-
 4     11117-DS (“First Bankruptcy”) (Doc 1–First Bankruptcy).
 5           71.   On November 22, 2021, Defendant makes certain representations
 6     regarding expenses in First Bankruptcy (Doc 17–First Bankruptcy).
 7           72.   On December 9, 2021, Defendant testifies in First Bankruptcy under
 8     Section 341(a) of the Bankruptcy Code.
 9           73.   On January 18, 2022, Hon. Deborah J. Saltzman states at the hearing
10     on a motion to dismiss for abuse (Doc 88–First Bankruptcy) in First Bankruptcy as
11     follows:
12            (a) “As I said at the beginning of this hearing, this is the sort of motion at
13                 this stage of the case that I think it is a very difficult one to make and
14                 to prevail on. At the same time, this is a motion that I think was
15                 getting less attention, because the record that has been laid out, even
16                 taking into the account the opposition, is pretty striking.
17            (b) When I looked at the case law -- you know, first, I think that everyone
18                 agrees that the question of whether this is a case that’s filed in bad faith
19                 is really the crux of the inquiry for the Court.
20            (c) And the case law sets forth a number of factors that a court can
21                 consider when assessing whether a case has not been filed in good
22                 faith, and these are the factors the Court considered in connection with
23                 the motion to dismiss.
24            (d) Does the Debtor have only one asset? What is the extent of the secured
25                 creditor’s lien encumbering that asset? Whether there are any other
26                 employees? Whether there is any cash flow and available income to
27                 fund a plan or to make adequate protection payments?
28
                                                 30
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 1            (e) The number of unsecured creditors and the extent of their claims.
 2                 Issues of wrongdoing by the Debtor or its principals. The -- what I
 3                 refer to as 'me debtor syndrome,' where a one-asset entity is formed on
 4                 the eve of a foreclosure to essentially protect property from being
 5                 levied upon. And, finally, does bankruptcy offer the only possibility of
 6                 forestalling the loss of property?
 7            (f) These are factors that are set forth in a variety of cases. I think this
 8                 particular list is from the BAP case, the (indiscernible), Inc. case.
 9            (g) At this stage of the case, the factors are kind of all over the place, but
10                 the Court has a few observations, in particular, about ones that are
11                 fairly striking. There’s more than one asset involved here. I don’t
12                 think that we could refer to this as a single-asset case. There’s, you
13                 know, a couple of pieces of real property. There are speculative claims
14                 at this point. It’s difficult to value this early in the case.
15            (h) While this may be more important in a single-asset case, the extent of
16                 the ORAP lien here is, is important to note, and I think important when
17                 it’s happening, whether this is a case that’s been filed in good faith.
18                 The third factor on (indiscernible), it’s not really particularly
19                 applicable here.
20            (i) Factor four, cash flow, sources of income to fund a plan. This, again, I
21                 think where we are early in the case, where the Court doesn’t have
22                 much in the way of admissible evidence on income, and the ability to
23                 fund a plan. I had essentially asked for proof from counsel for the
24                 Debtor, and a couple of comments from the Debtor, but I don’t have a
25                 lot of information here about the Debtor’s new employment here.
26            (j) On unsecured claims, I see 17 scheduled unsecured claims. It appears
27                 to be mostly attorneys who have rendered services in prior actions.
28                 There are also some unsecured claims of the moving party here and the
                                                  31
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 1                 joining party here that are scheduled. The unsecured claims, I think
 2                 they’re under two-percent of the total claims here.
 3             (k) Again, it’s early in the case, and I’m not sure where that factor really
 4                 falls. I think at this stage it probably falls in -- on the side of the
 5                 Movant herein, in terms of whether this is a good-faith case.
 6             (l) But where I have to stop and take notice is the sixth factor, and
 7                 that is, allegations of wrongdoing by the Debtor. I don’t think I
 8                 have ever seen a motion to dismiss, certainly not one this early in a
 9                 case, with such a record of allegations of wrongdoing, followed
10                 with court orders of numerous other courts bolstering those
11                 allegations.
12             (m) It is true that, you know, certainly when someone files a motion, they
13                 can pick out the ugliest quotes, right, from a court order, but I don’t see
14                 anything in those court orders that would suggest that these quotes are
15                 taken so out of context or so chopped up, that they wouldn’t support
16                 the allegations of wrongdoing by this Debtor.
17             (n) Judge Scarsi’s opinion in connection with the removal, I don’t see
18                 language like this in court orders typically, and it’s definitely
19                 something that the Court has to take notice of right now.
20             (o) Calling this Debtor a recidivist in targeting Native American tribes
21                 litigation, referencing post-judgment misconduct, including
22                 multiple attempts to take jurisdiction from the state court by filing
23                 cases in other courts. A sanctions order to this magnitude from
24                 the district court in connection with removal of an action is far
25                 from the norm, and it’s something that really does cause a court to
26                 sit up and take notice.
27           ///
28           ///
                                                  32
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 1             (p) I see nothing in the opposition that would really suggest that this --
 2                  these allegations are not correct. It is true, as Mr. Manasserian pointed
 3                  out earlier, that it is a classic bad-faith situation, where we see a
 4                  Chapter 11 case being filed as an effort to get around a bonding
 5                  requirement.
 6             (q) And looking at the record of the state court activity, coupled with
 7                  the removal and Judge Scarsi’s findings, I don’t see how a
 8                  bankruptcy court could come to any other conclusions looking at
 9                  the activity here.”
10           74.    On January 31, 2022, (i) Hon. Deborah J. Saltzman dismisses First
11     Bankruptcy (Doc 93–First Bankruptcy), and (ii) Hon. Mark C. Scarsi dismisses
12     litigation filed against Plaintiff by Defendant, Spouse, Law Offices of Jonathan
13     Stein, P.C., Defined Benefit Plan, and Arka Inc. Profit-Sharing Plan, filed in the
14     United States District Court for the Central District of California, Case Number
15     2:21-cv-05653-MCS-DFM (“ERISA Action”) (Doc 32–ERISA Action).
16           75.    On February 6, 2022, Defendant communicates with TPA.
17           76.    On March 7, 2022, an order regarding summary adjudication issues in
18     the Iowa Action (Doc 461–Iowa Action).
19           77.    On May 19, 2022, an order issues in the Nonbankruptcy Action,
20     providing as follows:
21             (a) “First, the work product doctrine presumes an actual attorney-client
22                  relationship. Under the ‘dominant purpose’ test, the emails show that
23                  [Defendant’s] dominant purpose was not to represent a client, but
24                  instead to conceal his assets from [Plaintiff’s] impending collection
25                  efforts. Trial in this action ended in November 2018 and the Court
26                  entered judgment against [Defendant] in August 2019. [Defendant]
27                  has not shown that his activity during the post-judgment phase
28                  comports with the policy underlying the work product doctrine, which
                                                  33
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 1                 is to protect attorneys’ thoughts and impressions while preparing for
 2                 trial.
 3            (b) Second, [Defendant’s] claim that he was engaging ‘consulting
 4                 experts’ is not credible. The trial in this action has concluded.
 5                 The emails were sent on December 5, 2018, soon after the Court
 6                 found [Defendant] liable on all of [Plaintiff’s] causes of action and
 7                 issued a compensatory damages award of over $20 million against
 8                 [Defendant]. The Court also issued the following order regarding
 9                 the punitive damages phase of the trial: ‘Defendant Jonathan
10                 Stein’s personal accountant(s) and the Law Offices of Jonathan
11                 Stein and St. Monica Development Company, LLC’s business
12                 accountant(s) are ordered to appear.’ However, ‘Neither
13                 Defendants nor their accountants appeared at the punitive
14                 damages hearings (even though the Court cautioned that
15                 voluntary non-appearance would likely have a detrimental effect
16                 on the punitive damages phase).’ If [Defendant] had in fact
17                 retained Klass as an accountant, then Klass was required to
18                 personally appear for punitive damages phase of the trial.
19            (c) Third, the express language of the emails shows that [Defendant]
20                 was not seeking expert consulting services, but instead services
21                 designed to conceal his personal assets and evade the Court’s
22                 judgment. [Defendant’s] acts after the emails confirm this. Two
23                 weeks after the emails, [Defendant] (1) converted his law practice
24                 into a professional corporation; (2) assigned 99% of [Defendant’s]
25                 rights to a lawsuit against a third party in Iowa, worth over $1.5
26                 million, to his wife, as her ‘sole and separate property,’ for no
27                 consideration; and (3) purchased residential property in Santa
28
                                               34
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 1                  Barbara by placing 99% of ownership in the name of his wife, as
 2                  her ‘sole and separate property,’ also for no consideration.”
 3           78.    On June 6, 2022, Plaintiff is mailed Defendant’s claim of exemption in
 4     the Nonbankruptcy Action.
 5           79.    On June 8, 2022, an order issues in Nonbankruptcy Action providing
 6     as follows: “The Court issues and will hold a bench warrant for the arrest of
 7     David A. Klass, and sets bail at $20,000.00, for Mr. Klass’ failure to appear for
 8     his Court-ordered examination on June 7, 2022.”
 9           80.    On June 14, 2022, Defendant testifies under California Code of Civil
10     Procedure (“CCP”) § 708.110 in the Nonbankruptcy Action.
11           81.    On August 8, 2022, Defendant testifies under CCP § 708.110 in the
12     Nonbankruptcy Action.
13           82.    On November 18, 2022, Superior Court of California County of Santa
14     Barbara Case No. 21CV00198 (“SB UVTA”) issues an order denying Defendant’s
15     motion to expunge lis pendens.
16           83.    On December 16, 2022, Defendant makes certain representations in
17     open court in SB UVTA. For example, “there has been no payment of expenses by
18     the 1 percent interest to the cotenant.”
19           84.    On January 31, 2023, Spouse testifies under CCP §§ 708.120, 708.130
20     in the Nonbankruptcy Action.
21           85.    On February 28, 2023, Spouse testifies under CCP §§ 708.120,
22     708.130 in the Nonbankruptcy Action.
23           86.    On March 1, 2023, an order in the Nonbankruptcy Action issues on
24     Plaintiff’s Motion for Terminating Sanctions and Motion to Transfer from Santa
25     Barbara County to Los Angeles County, as follows: “Third Party Claimants Arka
26     Inc. Profit-Sharing Plan; [Spouse]; Arka, Inc.; and Law Offices of Jonathan Stein,
27     P.C., Defined Benefit Plan, jointly and severally, must pay sanctions to [Plaintiff]
28     and its counsel, Chora Young & Manasserian LLP, jointly and severally, in the
                                                  35
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 1     amount of $21,840.”
 2           87.    On March 24, 2023, Defendant makes certain representations on
 3     Defendant’s Forms (Doc 13).
 4           88.    On March 31, 2023, judgment enters in United States District Court for
 5     the Central District of California Case Number 2:22-cv-00919-FMO. (See, e.g.,
 6     Doc 124–First Bankruptcy.)
 7           89.    On May 30, 2023, an order issues in the Nonbankruptcy Action
 8     granting Plaintiff’s motion for order deeming Defendant a vexatious litigant
 9     and for prefiling order.
10           90.    On June 1, 2023, an order issues in the Nonbankruptcy Action,
11     providing as follows:
12             (a) “After consideration of all of the evidence and arguments at the
13                  indirect contempt trial, the Court withdraws the OSC re: Contempt.
14             (b) However, the matter is referred to the State Bar of California as the
15                  court will be filing a Discipline Referral.”
16                                 IV.   CAUSES OF ACTION
17                                 FIRST CAUSE OF ACTION
18                 NON-DISCHARGEABILITY OF PLAINTIFF’S CLAIM
19                     SECTION 523(a)(2)(A) OF BANKRUPTCY CODE
20           91.    Plaintiff adopts, alleges, and incorporates expressly by reference
21     paragraphs 1 through 90, inclusive, of this Complaint above as though fully
22     articulated individually here in this first cause of action under Bankruptcy Code §
23     523(a)(2)(A).
24           92.    In the Nonbankruptcy Action, the Judgment found and concluded,
25     among other things, that Defendant committed a fraud upon Plaintiff, and the
26     intended and actual effect of that fraud was to deprive Plaintiff of property.
27           ///
28           ///
                                                 36
         ADVERSARY COMPLAINT FOR DETERMINATION THAT DEBT IS EXCEPTED FROM
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 1           93.     As a direct, proximate, and foreseeable result of Defendant’s fraud and
 2     deprivation of Plaintiff’s property, and the malice with which such actions were
 3     committed, Plaintiff has been damaged and was awarded damages in the principal
 4     amount of $27,411,067.23. This amount is exclusive of interest, attorney fees, and
 5     costs for which Defendant is liable, and which Plaintiff is entitled to recover from
 6     Defendant in the Nonbankruptcy Action (and which additional sums Plaintiff
 7     further requests of this Court be added to the $27,411,067.23 adjudged to be a debt
 8     of Defendant that is non-dischargeable). Plaintiff’s claim against Defendant arising
 9     from the Nonbankruptcy Action is $37,065,922.66 as of the Petition date. (See,
10     e.g., Claim 1.)
11           94.      As the Judgment confirms, the fraud committed against Plaintiff by
12     Defendant has already been conclusively determined. Accordingly, under 11
13     U.S.C. § 523(a)(2)(A), Plaintiff respectfully requests that the Court determine the
14     entirety of the existing award and any ultimate future awards, judgment, fees and
15     costs, and prejudgment interest thereon (and such other and further sums arising
16     from the awards, Judgment, and orders of the court) in the Nonbankruptcy Action to
17     be adjudged and determined by this Court to be non-dischargeable debts of
18     Defendant.
19           95.     The debt owed to Plaintiff, as evidenced by the Judgment, is non-
20     dischargeable as it is a debt for money and property obtained by false
21     representations and actual fraud within the meaning of 11 U.S.C. § 523(a)(2)(A).
22                               SECOND CAUSE OF ACTION
23                  NON-DISCHARGEABILITY OF PLAINTIFF’S CLAIM
24                       SECTION 523(a)(4) OF BANKRUPTCY CODE
25           96.     Plaintiff adopts, alleges, and incorporates expressly by reference
26     paragraphs 1 through 95, inclusive, of this Complaint above as though fully
27     articulated individually here in this second cause of action under Bankruptcy Code
28     § 523(a)(4). This is not the “honest but unfortunate” debtor.
                                                 37
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 1           97.    In the Nonbankruptcy Action, the Judgment found Defendant to owe
 2     and have intentionally breached Defendant’s fiduciary duties to Plaintiff while
 3     engaged in fraud, and the intended and actual effect of the breaches and fraud were
 4     to cause substantial harm to Plaintiff, including, without limitation, to deprive
 5     Plaintiff of property.
 6           98.    As a direct, proximate, and foreseeable result of Defendant’s
 7     intentional breaches of fiduciary duties owed to Plaintiff and including, without
 8     limitation, such acts which constituted fraud committed against Plaintiff,
 9     deprivation of Plaintiff’s property, and the malice with which such actions were
10     committed, Plaintiff has been damaged and was awarded damages in the principal
11     amount of $27,411,067.23. This amount is exclusive of interest, attorney fees, and
12     costs for which Defendant is liable, and which Plaintiff is entitled to recover from
13     Defendant in the Nonbankruptcy Action (and which additional sums Plaintiff
14     further requests of this Court be added to the $27,411,067.23 adjudged to be a debt
15     of Defendant that is non-dischargeable). Plaintiff’s claim against Defendant arising
16     from the Nonbankruptcy Action is $37,065,922.66 as of the Petition date. (See,
17     e.g., Claim 1.)
18           99.      As the Judgment confirms, the intentional breaches of fiduciary duty
19     (including the fraud committed against Plaintiff and the deprivation of Plaintiff’s
20     property) committed by Defendant have already been conclusively determined.
21     Accordingly, under 11 U.S.C. § 523(a)(4), Plaintiff respectfully requests that the
22     Court determine the entirety of the existing and any ultimate awards, judgment, fees
23     and costs, and prejudgment interest thereon (and such other and further sums arising
24     from the awards, Judgment, and orders of the court) in the Nonbankruptcy Action to
25     be adjudged and determined by this Court to be non-dischargeable debts of
26     Defendant.
27           ///
28           ///
                                                 38
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 1           100. As evidenced by the Judgment, the debt owed to Plaintiff is non-
 2     dischargeable because Defendant was acting in a fiduciary capacity, and the debt is
 3     for fraud and embezzlement, as defined in Bankruptcy Code § 523(a)(4).
 4     Defendant was acting in a fiduciary capacity. Defendant was in an attorney-client
 5     relationship with Plaintiff. Defendant was entrusted with property of Plaintiff.
 6     Defendant misappropriated property of Plaintiff. Defendant had actual intent to
 7     deprive Plaintiff of Plaintiff’s property rights.
 8                                 THIRD CAUSE OF ACTION
 9                 NON-DISCHARGEABILITY OF PLAINTIFF’S CLAIM
10                      SECTION 523(a)(6) OF BANKRUPTCY CODE
11           101. Plaintiff adopts, alleges, and incorporates expressly by reference
12     paragraphs 1 through 100, inclusive, of this Complaint above as though fully
13     articulated individually here in this third cause of action under Bankruptcy Code §
14     523(a)(6). This is not the “honest but unfortunate” debtor.
15           102. In the Nonbankruptcy Action, the Judgment found Defendant to have
16     acted willfully and maliciously in committing a fraud upon and intentionally
17     breaching fiduciary duties to Plaintiff, the intended and actual effect of such
18     actions/breaches were to injure Plaintiff's property, embezzle, and misappropriate it.
19           103. As a direct, proximate, and foreseeable result of Defendant’s
20     intentional breaches of fiduciary duties owed to Plaintiff, the acts which constituted
21     fraud against Plaintiff, deprivation of Plaintiff’s interests in property, and a willful
22     and malicious injury to Plaintiff's property, Plaintiff has been damaged and was
23     awarded damages in the principal amount of $27,411,067.23. This amount is
24     exclusive of interest, attorney fees, and costs for which Defendant is liable, and
25     which Plaintiff is entitled to recover from Defendant in the Nonbankruptcy Action
26     (and which additional sums Plaintiff further requests of this Court be added to the
27     $27,411,067.23 adjudged to be a debt of Defendant that is non-dischargeable).
28     Plaintiff’s claim against Defendant arising from the Nonbankruptcy Action is
                                                   39
         ADVERSARY COMPLAINT FOR DETERMINATION THAT DEBT IS EXCEPTED FROM
        DISCHARGE UNDER 11 U.S.C. § 523, AND DENIAL OF DISCHARGE UNDER 11 U.S.C. § 727
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 1     $37,065,922.66 as of the Petition date. (See, e.g., Claim 1.)
 2           104. The debt owed to Plaintiff, as evidenced by the Judgment, is non-
 3     dischargeable as it is a debt for willful and malicious injury to Plaintiff and
 4     Plaintiff's property within the meaning of Bankruptcy Code § 523(a)(6). Defendant
 5     intended Defendant’s actions, and their result. For example, Defendant “never
 6     intend[ed] to perform on the SMDC Agreement as to federal recognition.” (Doc
 7     21-1, at 104.) His actions were willful, deliberate, and intentional. He had a
 8     subjective motive and knew the harm was substantially certain to occur because of
 9     his conduct. Defendant’s actions were malicious. He committed wrongful acts
10     intentionally, which caused injury to Plaintiff. There is and was no excuse for his
11     conduct. Punitive damages were awarded against Defendant. For further example:
12                 a. “[Defendant] engaged in oppressive and malicious conduct.
13                    [Defendant] set up [Plaintiff’s] offices in his Law Offices and gave
14                    [Stein Employee] the job of Tribal Administrator, in order to control
15                    [Plaintiff] and its legal and financial affairs. And when the Tribal
16                    Councilmembers confronted [Defendant] in those offices, [Defendant]
17                    threatened them, threw objects at them, and cast them out of their own
18                    offices. In the Court’s view, among the worst things [Defendant] did
19                    was his failure to return [Plaintiff’s] original birth and family records
20                    to [Plaintiff] after [Defendant] was fired/resigned. [Defendant] kept
21                    [Plaintiff’s] membership and family records thus preventing [Plaintiff]
22                    from pursuing federal recognition (a 25-30 year process). To this day,
23                    almost 15-20 years later, [Defendant] has not returned the records.”
24                    (Doc 21-1, at 78.)
25                 b. “[Defendant] breached his ethical duties, willfully concealed
26                    information from [Plaintiff], and attempted to mislead [Plaintiff].”
27                    (Id., at 96.)
28           ///
                                                   40
         ADVERSARY COMPLAINT FOR DETERMINATION THAT DEBT IS EXCEPTED FROM
        DISCHARGE UNDER 11 U.S.C. § 523, AND DENIAL OF DISCHARGE UNDER 11 U.S.C. § 727
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 1           105. As the Judgment confirms, the malicious and willful acts of
 2     Defendant—as demonstrated by Defendant’s intentional breaches of fiduciary duty
 3     (including, without limitation, the fraud committed against Plaintiff and embezzling
 4     Plaintiff’s property)—have already been conclusively determined. Accordingly,
 5     under 11 U.S.C. § 523(a)(6), Plaintiff respectfully requests that the entirety of the
 6     existing award and any ultimate awards, judgment, fees and costs, and prejudgment
 7     interest thereon (and such other and further sums arising from the awards,
 8     Judgment, and orders of the court) in the Nonbankruptcy Action be adjudged and
 9     determined by this Court to be non-dischargeable debts of Defendant.
10                              FOURTH CAUSE OF ACTION
11                       OBJECTION TO DEBTOR’S DISCHARGE
12                      SECTION 727(a)(3) OF BANKRUPTCY CODE
13           106. Plaintiff adopts, alleges, and incorporates expressly by reference
14     paragraphs 1 through 105, inclusive, of this Complaint above as though fully
15     articulated individually here in this fourth cause of action under Bankruptcy Code §
16     727(a)(3).
17           107. Defendant has not maintained adequate books and records from which
18     Debtor’s financial condition can be ascertained. There is no justification for
19     Defendant’s failure and refusal to keep adequate books and records.
20           108. Defendant has concealed, destroyed, falsified, and/or failed to keep or
21     preserve information from which Defendant’s financial condition and/or business
22     transactions might be ascertained.
23           109. Defendant has not been cooperative with creditors. Defendant has
24     intentionally withheld records, books, documents, and/or other papers relating to
25     Defendant’s property and/or financial affairs.
26           110. Considering the foregoing, Defendant’s discharge must be denied
27     under 11 U.S.C. § 727(a)(3).
28
                                                 41
         ADVERSARY COMPLAINT FOR DETERMINATION THAT DEBT IS EXCEPTED FROM
        DISCHARGE UNDER 11 U.S.C. § 523, AND DENIAL OF DISCHARGE UNDER 11 U.S.C. § 727
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 1                                FIFTH CAUSE OF ACTION
 2                       OBJECTION TO DEBTOR’S DISCHARGE
 3                      SECTION 727(a)(4) OF BANKRUPTCY CODE
 4           111. Plaintiff adopts, alleges, and incorporates expressly by reference
 5     paragraphs 1 through 110, inclusive, of this Complaint above as though fully
 6     articulated individually here in this fifth cause of action under Bankruptcy Code §
 7     727(a)(4).
 8           112. Defendant has a pattern of misleading conduct.
 9           113. Defendant has a reckless indifference to the truth.
10           114. Defendant has made false oaths in his bankruptcy filings.
11           115. Defendant has made false oaths concerning Defendant’s property.
12           116. Defendant has knowingly and fraudulently made false oaths and/or
13     accounts in the Bankruptcy Case.
14           117. Defendant has failed to provide records which are necessary for the
15     Chapter 7 trustee and creditors to properly understand Defendant’s financial
16     condition and/or recent business transactions.
17           118. Considering the foregoing, Defendant’s discharge must be denied
18     under 11 U.S.C. § 727(a)(4).
19                                V.   PRAYER FOR RELIEF
20           WHEREFORE, Plaintiff prays for judgment on the Complaint as follows:
21         1.       For a determination of the amount owing by Defendant to Plaintiff as
22      evidenced by the Judgment, plus additional awards, fees and costs, and
23      prejudgment interest thereon, and such other and further sums arising from the
24      awards, Judgment, and orders of the Court in the Nonbankruptcy Action
25      (collectively, the “Debt”).
26         2.       On the First Cause of Action, for judgment against Defendant,
27      determining that the Debt owed to Plaintiff is not dischargeable in this Bankruptcy
28      Case, under 11 U.S.C. § 523(a)(2)(A);
                                                42
         ADVERSARY COMPLAINT FOR DETERMINATION THAT DEBT IS EXCEPTED FROM
        DISCHARGE UNDER 11 U.S.C. § 523, AND DENIAL OF DISCHARGE UNDER 11 U.S.C. § 727
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 1         3.        On the Second Cause of Action, for judgment against Defendant,
 2      determining that the Debt owed to Plaintiff is not dischargeable in this Bankruptcy
 3      Case, under 11 U.S.C. § 523(a)(4);
 4         4.        On the Third Cause of Action, for judgment against Defendant,
 5      determining that the Debt owed to Plaintiff is not dischargeable in this Bankruptcy
 6      Case, under 11 U.S.C. § 523(a)(6);
 7         5.        On the Fourth Cause of Action, for judgment against Defendant,
 8      denying Defendant a discharge in this Bankruptcy Case, under 11 U.S.C. §
 9      727(a)(3);
10         6.        On the Fifth Cause of Action, for judgment against Defendant, denying
11      Debtor a discharge in this Bankruptcy Case, under 11 U.S.C. § 727(a)(4);
12         7.        For an award of attorney fees as allowable by law in an amount the
13      Court determines to be reasonable;
14                      a. E.g., Judgment [Doc 21-1, at 36];
15                      b. E.g., CCP § 685.040;
16         8.        For costs of suit; and
17         9.        For such other and further relief as the Court deems just and proper.
18
       Dated: June 23, 2023              CHORA YOUNG & MANASSERIAN LLP
19
20
                                         By:   /s/ Nikko S. Stevens, Esq.
21
                                               Paul P. Young, Esq., CFE
22                                             Joseph Chora, Esq.
23                                             Nikko S. Stevens, Esq.
                                               Attorneys for Creditor and
24                                             Plaintiff Gabrielino-Tongva Tribe
25
26
27
28
                                                  43
         ADVERSARY COMPLAINT FOR DETERMINATION THAT DEBT IS EXCEPTED FROM
        DISCHARGE UNDER 11 U.S.C. § 523, AND DENIAL OF DISCHARGE UNDER 11 U.S.C. § 727
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                 EXHIBIT A
Judgment in Nonbankruptcy Action, LASC Case No. BC361307
                  Entered Aug. 27, 2019




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 6                                                               Neli M. Raya

 7


 8                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                        FOR THE COUNTY OF LOS ANGELES
10

11   GABRIELINO-TONGVA TRIBE,             ) Case No.: BC361307
                                          )
12               Plaintiff,               )
                                          ) JUDGMENT
13                                        )
           vs.
                                          )
14                                        )
     ST. MONICA DEVELOPMENT, et al.,
                                          )
15                                        )
                  Defendants.             )
16                                        )
     -----------------)
17

18         It is hereby ORDERED, ADJUDGED and DECREED:
19   1.    On the Fourth Amended Complaint 1 at case number BC361307:
20


     1
       On August 20, 2007, a Cross-complaint was filed by Cross-complainants
     Jonathan Stein, Law Offices of Jonathan Stein, St. Monica Development
     Company, LLC (SMDC) against Cross-defendants Gabrielino/Tongva Nation,
     Virginia Carmelo, Martin Alcala, Edgar Perez, Shirley Machado Adam Loya,
     Samuel Dunlap, Elizabeth Aronson and Richard G. Polanco, alleging the
     following causes of action: Breach of Contract (SMDC Agreement); breach of
     contract (FPPC contract); intentional interference with contractual
     relations; negligent interference with contractual relations; fraudulent
25
     conveyance; account stated; quantum meruit; declaratory relief (SMDC
     Agreement); total indemnity; equitable indemnity and apportionment;
     contribution; declaratory relief (indemnification). However, there are no


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       1         a.    On all causes of action, in favor of Plaintiff
       2
           Gabrielino-Tongva Tribe (the "Tribe") and against Defendants
       3
           Jonathan Stein, Law Offices of Jonathan Stein, and St. Monica
       4
           Development Company, LLC ("SMDC"), jointly and severally.
       5
                 b.    On all causes of action, the Court declares as
       6
           follows:
       7
                       1) .   Defendants Jonathan Stein and the Law Offices of
       8
           Jonathan Stein violated California Rules of Professional
       9
           Conduct, Rules 3-300 (avoiding interests adverse to client), 3-
  10
           310 (avoiding the representation of adverse interests) and 3-100
  11


  12
           (confidential information of client);

  13                   2)     At the election of Plaintiff, the SMDC

  14       Development Agreement is rescinded and void.

  15             c.    On all causes of action, the Court enjoins and

  16       restrains Defendants from:
  17                   1)     Retaining possession, custody or control of any
  18
           files, documents or other property of the Tribe, including but
  19
           not limited to (a) the Tribe's membership records, whether in
  20
           hard copy or electronic form,       (b) the Tribe's financial records,
  21
a:;
           whether in hard copy or electronic form,         (c) the Tribe's

           internet domain name, www.tongvatribe.org, and (d) the Tribe's

<,.O
           website;
  24

 25
           proofs of service of summons and complaint of such Cross-complaint upon any
           Cross-defendant.



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   1                 2)      Using any of the Tribe's confidential
   2       information, including but not limited to its membership records
   3
           or financial information;
   4
                     3)      Contacting or soliciting any member of the Tribe
       5
           for any purpose relating to any tribal membership or casino
       6
           gaming project;
       7
                     4)      Disclosing or disseminating any of the Tribe's
       8
           confidential information, including but not limited to its
       9
           membership information or financial information;
 10
                     5)      Destroying, discarding, altering or otherwise
 11


 12        making unavailable to the Tribe or its agents any documentary,

 13        computer or other evidence relevant to this litigation in

 14        Defendants' and/or their agents' possession, custody or control;

 15                  6)      Holding themselves out to be the offices of or
 16        affiliated in any manner with the Tribe; including but not
 17        limited to (a) receiving telephone calls for the Tribe,
 18
           (b) answering their telephones as the Tribe or as any affiliate
 19
           of the Tribe, or as any other person, entity, or organization
 20
           using the words "Gabrielino-Tongva Tribe," "Gabrielino-Tongva,"
 21
,co
           "Gabrielino Tribe," "Gabrielino," "Tongva Tribe," "Tongva," or

           other phrase likely to create the impression that Defendants

,:,0
           have any relationship whatsoever to the Tribe,    (c) using the
 24
           Tribe's stationery, or any other stationery that uses the words
 25
           "Gabrielino-Tongva Tribe," "Gabrielino-Tongva," "Gabrielino


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                1   Tribe," "Gabrielino," "Tongva Tribe," "Tongva," and (d) using
                2   the Tribe's logo;
                3
                              7)     Using the Tribe's membership records, or any
                4
                    document derived therefrom, to contact any member or members of
                5
                    the Tribe; and
                6
                              8)     Executing upon any order/writ for any of
                7
                    Plaintiff's property.
                8
                         d.   On all causes of action, the Court commands/orders
                9

                    Defendants to:
      10

                              1)     Deliver to the Tribe all of the Tribe's
      11


      12            information in documentary or electronic form, or any other

      13            form, including but not limited to any all originals and copies

      14            of the Tribe's membership records and financial records;

      15                      2)     Deliver to the Tribe all of the Tribe's
     16             computers, disks and electronic equipment in the form and
      17            condition in which they were taken from the Tribe;
     18
                              3)     Deliver all of the above within 30 days of
     19
                    service of this Judgment.
     20
                         e.   On the first through sixth, ninth, eleventh, twelfth
     21
t.4'
<::>;,              and fifteenth causes of action, in favor of Plaintiff
1'}2
,:;;a
                    Gabrielino-Tongva Tribe and against Defendants Jonathan Stein,
;~3
f-,_,.,,.,f<,
,:,0                Law Offices of Jonathan Stein, and St. Monica Development
     24
                    Company, LLC, jointly and severally, in the amount of
     25




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            1   $20,411,067.23 [$21,000,000 minus $800,000 (Libra), minus
            2
                $161,067.23 (Tribe payments) minus $50,000 (Crane payment)].
            3
                        f.   On the tenth cause of action, in favor of Plaintiff
            4
                Gabrielino-Tongva Tribe and against Defendants Jonathan Stein,
            5
                Law Offices of Jonathan Stein, and St. Monica Development
            6
                Company, LLC, jointly and severally, the Court declares:
            7
                             1)   Pursuant to the jury's verdict in the first phase
            8
                of trial, Plaintiff is the real party in interest with standing
            9

                to pursue the litigation;
     10
                             2)   Pursuant to the jury's verdict in the first phase
     11

     12         of trial, Bernard Acuna, Linda Candelaria, Martha Gonzales-

     13         Lemos, Laurie Salse, and Suzanne Rodriguez are not the Plaintiff

     14         Gabrielino-Tongva Tribe, the real party-in-interest.

     15                 g.   On the fourteenth cause of action, in favor of
     16         Plaintiff Gabrielino-Tongva Tribe and against Defendants
     17         Jonathan Stein, Law Offices of Jonathan Stein, and St. Monica
     18
                Development Company, LLC, jointly and severally, the Court finds
     19
                that:
     20
                             1)   Defendants Jonathan Stein, Law Offices of

                Jonathan Stein, and St. Monica Development Company, LLC, are

 -~             alter egos of each other;
~3
[•   ....
<.✓.:J
                             2)   Defendants Jonathan Stein, Law Offices of
     24
                Jonathan Stein, and St. Monica Development Company, LLC, jointly
     25




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      1   and severally, are responsible for the obligations of each
      2   other.
      3
                  h.    Plaintiff Gabrielino-Tongva Tribe shall recover
      4
          attorney fees and costs as provided by law.
      5
                  i.    Defendants Jonathan Stein, Law Offices of Jonathan
      6
          Stein, and St. Monica Development Company, LLC, acted with
      7
          malice, oppression, and fraud.
      8
          2.      On the Cross-complaint filed on September 26, 2017 at case
      9

          number BC361307, 2 on all causes of action, in favor of Cross-
 10
          defendants Virginia Carmelo, Martin Alcala, Edgar Perez, Shirley
 11


 12       Machado, Adam Loya, Samuel Dunlap, Elizabeth Aronson, and

 13       Richard G. Polanco and against Cross-complainants Jonathan

 14       Stein, Law Offices of Jonathan Stein, and St. Monica Development

 15       Company, LLC.       Cross-complainants shall take nothing.

 16       3.      On the First Amended Complaint at case number SC091633, 3 on
 17       all causes of action, in favor of Defendants Virginia Carmelo,
 18
          Martin Alcala, Edgar Perez, Shirley Machado, Adam Loya, Samuel
 19
          Dunlap, Elizabeth Aronson, and Richard G. Polanco and against
 20
          Plaintiff St. Monica Development Company, LLC.              Plaintiff shall
 21
:;;       take nothing.
;;2
c,o




          2
              Defendant Gabrielino-Tongva Tribe was dismissed on April 30, 2008.
 25
          1
           Defendant Sheppard Mullin Richter and Hampton, LLP was dismissed on
          December 1, 2011.



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   1       4.    On the First Amended Cross-complaint at case number
   2
           SC091644, on all causes of action, in favor of Cross-defendants
    3
           Jonathan Stein, Law Offices of Jonathan Stein, and St. Monica
   4
           Development Company, LLC, Bernard Acuna, Linda Candelaria,
    5
           Martha Gonzales-Lemos, Laurie Salse, and Suzanne Rodriquez and
    6
           against Cross-complainant Sam Dunlap.          Cross-complainant shall
    7
           take nothing.
    8
           5.    On the Complaint at case number SC092615, 4 on the second
    9
           through fourth causes of action only, in favor of Defendants
 10
           Virginia Carmelo, Martin Alcala, Edgar Perez, Shirley Machado,
 11

 12
           Adam Loya, Samuel Dunlap, Elizabeth Aronson, and Richard G.

 13        Polanco and against Plaintiff The Crane Group, Inc.             Plaintiff

 14        shall take nothing.

 15        6.    Defendants Jonathan Stein, Law Offices of Jonathan Stein,
 16        and St. Monica Development Company, LLC, jointly and severally,
 17        shall pay Plaintiff Gabrielino-Tongva Tribe punitive damages in
 18
           the amount of $7 million.
 19
           DATED:      August 27, 2019
 20




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,.,.,.
ir;::; -


~~4

 25
           4
             Defendants Gabrielino-Tongva Tribe and Gabrielino Tribal Gaming Authority
           were dismissed on October 19, 2011.


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                     EXHIBIT B
Statement of Decision in Nonbankruptcy Action, LASC Case No. BC361307
                          Entered Aug. 27, 2019




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 8                SUPERIOR COURT OF THE STATE OF CALIFORNIA

 9                      FOR THE COUNTY OF LOS ANGELES

10
     GABRIELINO-TONGVA TRIBE,          )     Case No.: BC361307
11                                     )
                Plaintiff,             )
                                       )    STATEMENT OF DECISION; APPENDIX
12
          vs.                          )    OF EVIDENCE
                                       )
13                                     )
     ST. MONICA DEVELOPMENT, et al.,
                                       )
14                                     )
                Defendants.
                                       )
15                                     )
                                       )
16

17        Pursuant to Code of Civil Procedure §632, the Court issues

18   the following Statement of Decision in support of its Judgment

19   (filed concurrently herewith} after court trial:

                                       I.

                                 INTRODUCTION

     Case Number BC361307

23   1.   In the Original Complaint at case number BC361307 filed on

24   November 2, 2006, Plaintiff Gabrielino-Tongva Tribe ("Tribe")




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  1    commenced action against Defendants Jonathan Stein; Law Offices

  2    of Jonathan Stein ("Law Offices"); St. Monica Development

  3    Company, LLC ("SMDC"); and Does 1 through 100.

  4    2.      The Fourth Amended Complaint alleges causes of action for:

  5    (1) conversion (all Defendants);           (2) breach of fiduciary duty

  6    (all Defendants);       (3) misappropriation of trade secrets (all

  7    Defendants);      (4) breach of confidence (all Defendants);

  8    (5} intentional interference with economic relationships (all

  9    Defendants);      (6) negligent interference with economic

10     relationships (all Defendants);           (7) breach of contract

11     (Defendant SMDC and Does);         (8)   breach of the implied covenant of

12     good faith and fair dealing (Defendant SMDC and Does);               (9)   legal

13     malpractice (Defendants Stein, Law Offices and Does);

14     (10) declaratory relief (all Defendants);            (11) violation of

15     Penal Code §502(c)       (all Defendants);     (12) unfair competition

16     (all Defendants);       (13) rescission per California Rules of

17     Professional Conduct, Rule 3-300 (Defendants Stein and Law

18     Offices);      (14} alter ego liability (all Defendants); and

19     (15)    fraud (all Defendants).

;ii)   3.      On the Cross-complaint filed on September 26, 2017 at case

il     number BC361307, 1 Cross-complainants Jonathan Stein, Law Offices

~-~    of Jonathan Stein, and St. Monica Development Company, LLC sued

23

24
       1
           Cross-defendant Gabrielino-Tongva Tribe was dismissed on April 30, 2008.




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 1   Cross-defendants Virginia Carmelo, Martin Alcala, Edgar Perez,

 2   Shirley Machado, Adam Loya, Samuel Dunlap, Elizabeth Aronson,

 3   and Richard G. Polanco. 2

 4   Case Number SC091644

 5   4.    On the First Amended Complaint at case no. SC091644, 3

 6   Plaintiff St. Monica Development Company, LLC sued Defendants

 7   Virginia Carmelo, Martin Alcala, Edgar Perez, Shirley Machado,

 8   Adam Loya, Samuel Dunlap, Elizabeth Aronson, and Richard G.

 9   Polanco.

10   5.    On the First Amended Cross-complaint at case no. SC091644,

11   Cross-complainant Sam Dunlap sued Cross-defendants Jonathan

12   Stein, Law Offices of Jonathan Stein, and St. Monica Development

13   Company, LLC, Bernard Acuna, Linda Candelaria, Martha Gonzales-

14   Lemos, Laurie Salse, and Suzanne Rodriguez.

15   Case Number SC092615

16   6.    On the Complaint at case no. SC092615, 4 Plaintiff The Crane

17   Group, Inc.    ("Crane") sued Defendants Virginia Carmelo, Martin

18   Alcala, Edgar Perez, Shirley Machado, Adam Loya, Samuel Dunlap,

19   Elizabeth Aronson, and Richard G. Polanco.




      All Cross-defendants were Tribal Council members except Aronson and Polanco.
     Aronson was the Tribe's lawyer and Polanco was the Tribe's lobbyist.
     3
       Defendant Gabrielino-Tongva Tribe was dismissed on April 30, 2008.
23   Defendant Sheppard Mullin Richter and Hampton, LLP was dismissed on
     December 1, 2011.
     4
24     Defendants Gabrielino-Tongva Tribe and Gabrielino Tribal Gaming Authority
     were dismissed on October 19, 2011.




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 1                                     II.

 2                                BACKGROUND

 3   7.    Plaintiff Tribe is a Native American Tribe recognized in

 4   California and governed by a Tribal Council.       At all times

 5   relevant, the Tribe has sought recognition as a federal tribe

 6   and to develop a casino gaming project.

 7   8.    Stein created SMDC and is the sole member.      Stein controls

 8   Law Offices and is its sole attorney.

 9   9.    In 2001, SMDC and the Tribe entered into a Development

10   Agreement by which SMDC would work to achieve formal federal

11   recognition and development of a casino ("SMDC Agreement").

12   Stein served as an officer of the Tribe and of the Gabrielino

13   Tribal Gaming Authority ("GTGA").       He held himself out as the

14   Tribal Development Officer, CEO of the GTGA, and on occasion he

15   held himself out as the Tribe's lawyer.      All of the Tribe's

16   books and records were kept at Stein's Law Offices, which is

17   also where SMDC was located.

18   10.   The SMDC Agreement contained provisions that the Tribe

19   would not have an attorney-client relationship with Stein or Law

     Offices.   Despite those provisions, Stein performed legal work

     for the Tribe and was its de facto general counsel during the

2t   entirety of their relationship.

23   11.   As part of the services performed under the SMDC Agreement,

24   Stein hired Crane to lobby for the Tribe in Washington, D.C.




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 1   12.     Defendants engaged in a pattern and practice of

 2   unauthorized and bad faith conduct designed to undermine and

 3   usurp the authority of the Tribal Council and GTGA and to obtain

 4   control of the Tribe's property.

 5   13.     Due to his misconduct, Stein eventually was forced to

 6   resign.     Despite his resignation, Stein refused to return all of

 7   the Tribe's documents, including Tribal birth and bloodline

 8   records, and kept the records at his Law Offices.     After his

 9   resignation, Stein continued to act as though he had authority

10   over tribal affairs.     Specifically, he continued to access and

11   make changes to the Tribe's financial accounts on his own

12   volition and without tribal authority.

13   14.     The first part of the trifurcated trial began in June of

14   2016.     Defendant claimed that Plaintiff Tribe was not uthe real

15   Tribe" and that another group of individuals, led by alleged

16   tribal council members Bernard Acuna, Linda Candelaria, Martha

17   Gonzales-Lemos, Laurie Salse, and Suzanne Rodriguez was uthe

18   real tribe.n     On July 5, 2016, the jury rejected Defendants'

19   claim and found that the Plaintiff Tribe was the real party in

4~   interest and therefore the Tribe had standing to legally assert

~    its fourteen claims against Stein and SMDC.     And, of course,

     Stein and SMDC could assert claims against the Tribe.

23   15.     At Defendants' request, the second part of the trial

24   proceeded as a bench trial.     During the next two years, the case




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 1   was suspended for various reasons, mainly the health issues of

 2   Stein.   On December 3, 2018, the Court issued a First Amended

 3   Tentative Decision and Orders finding for the Tribe on all

 4   fourteen causes of action against Stein and SMDC, including a

 5   finding of malice, oppression and fraud; finding for the Tribe

 6   as to Stein and SMDC's claims; and finding for the Tribe as to

 7   Crane's claims.

 8   16.   On December 5, 2018, the Court issued additional orders,

 9   including an order that Plaintiff's counsel draft a proposed

10   statement of decision.   Since the litigation spanned nearly

11   twelve years, and the trial involved a number of different

12   factual and legal issues, Plaintiff also prepared an appendix of

13   evidence, which the Court has adopted and attached hereto.     The

14   Appendix of Evidence ("Appendix") contains citations to evidence

15   presented as exhibits or testimony during the trial.    Although

16   the pagination of the Appendix is misnumbered (two page ones},

17   the paragraphs therein are sequentially numbered.    The Appendix

18   is voluminous, but not exhaustive.    Each of the paragraphs

19   summarizing evidence is referenced as a numbered "separate fact"

     and is cited in this Statement of Decision as a "SF 1 ".

     17.   The third part of the trial was the punitive damages phase

     held on April 5, 2019.   Before the hearing, the Court ordered

23   Defendants Stein, Law Offices, and SMDC to disclose their

24   financial records to Plaintiff but those parties failed to do




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 1   so.   Only a few documents were disclosed and they were

 2   incomplete.     The Court also ordered a) all counsel and the

 3   parties themselves to appear at future hearings; and b)

 4   Defendant Stein's personal accountant(s) and the Law Offices and

 5   SMDC's business accountant(s) to appear at future punitive

 6   damages hearings.     Neither Defendants nor their accountants

 7   appeared at the punitive damages hearings (even though the Court

 8   cautioned that voluntary non-appearances would likely have a

 9   detrimental effect on the punitive damages phase).

10   18.   Stein and SMDC filed but never served what would have been

11   the operative Cross-complaint in this action (Cross-complaint

12   dated August 20, 2007), so SMDC's claims fail for that reason.

13   Additionally, as described more fully below, the Court found

14   that the SMDC Agreement was voidable by the Tribe and subject to

15   rescission.     Accordingly, Stein/SMDC's breach of contract cause

16   of action is extinguished as a matter of law.      Moreover, as for

17   Stein/SMDC's remaining claims of account stated and quantum

18   meruit, they are similarly extinguished because Stein failed to

19   proffer persuasive evidence that he did the work that he claimed

~    to have done.     He submitted two documents which were incomplete

ft   and heavily redacted.     (Exhs. 1560-1562.)   As produced during

zi   trial, those documents had no indicia of reliability and failed

23   to persuade the Court.     Without more than that, Stein failed to

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 1   carry his burden that he was entitled to quantum meruit or an

 2   account stated.

 3   19.     Crane's claims similarly fail because Crane failed to

 4   submit competent, persuasive evidence that it had done any work

 5   for the Tribe and because Crane's contract explicitly stated

 6   that no money would be due (would only be triggered) if the

 7   Tribe received more than $2 million dollars in investment funds,

 8   which it did not.      In fact,   the Tribe only received one tranche

 9   from investors below $2 million.

10                                       III.

11                               FINDINGS OF FACT

12   Stein's Relationship As the Tribe's Lawyer

13   20.     Stein's relationship with the Tribe began around 2000.           Sam

14   Dunlap ("Dunlap"), a current and now long-standing member of the

15   Tribe and sometimes member of Tribal Council, met Stein in early

16   2000.     {SF 11.)   Stein approached Dunlap with an idea of setting

17   up a casino gaming operation in Los Angeles by helping the

18   Gabrielino people gain federal recognition.        (SF 14.}    Dunlap is

19   a registered Gabrielino-Tongva Native American who was friendly

     with many of the Gabrielino families in Southern California.

     21.     Stein represented himself as a sophisticated transactional

     lawyer, experienced in tribal gaming and financing.           (SF 12.)

23   Thus, Dunlap believed that Stein's proposed development work

24   with the Tongva was within the scope of legal work and




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 1   representation.    (SF 110.)   And, nothing Stein ever did or said

 2   contradicted that belief.

 3   22.   For example, on at least one occasion, Stein sent Dunlap a

 4   legal invoice from the Law Offices for services rendered in

 5   connection with a meeting and legal research, which he conducted

 6   pursuant to that meeting.      (SF   1,s, 6.)   Soon after that, Stein

 7   sent Dunlap a letter, on a different law firm letterhead (Arter

 8   Hadden, LLP), explaining that the prior legal invoice was "sent

 9   in error" and no payment was expected, at that time.           The Stein

10   letter retracting demand for payment clarified that:

11         Payment on Stein Structure Financings is often made in
           whole or part from the proceeds of the financing.
12         Until that happens, I keep internal records of my
           time, to be fair and accurate in setting the legal
13         costs for each separate financing transaction.  If the
           transaction fails to go through, this time is often
14         written off.  (SF 17 (emphasis added).)

15   23.   During this time, Dunlap and Stein had no contractual

16   agreement whatsoever.     (SF 18.)     But, they were clearly forming

17   and stating an intention of what the relationship (between the

18   Tribe and Stein) would be.     While he was on the witness stand,

19   Stein acknowledged that when he first encountered the Tongva, he

     had an intention of entering into an attorney-client

ti   relationship with them.     And he wanted to be their lawyer and

     help them achieve federal recognition.          (SF ,3.)   He claimed

23   that he later changed his mind about this, but as discussed

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  1    herein, there is no evidence he ever explained this to the

  2    Tribe.

  3    24.   From November of 2000 to March of 2001, Dunlap and Stein

  4    worked together to court a faction of Gabrielinos (Coastal

  5    faction of the Gabrielino-Tongva Tribe), who were led by

  6    patriarch Jim Velasquez.     (SF 1113, 14.)     That entity is the

  7    predecessor to the instant Plaintiff Tribe.         (SF 1,15-18, 22.)

  8    When the group's Tribal Council met with Stein, the Tribal

  9    Councilmembers openly disliked and distrusted him.         But the

10     patriarch Velasquez coerced them and strong-armed them to accept

11     Stein and his ideas.      (SF 114.)     By February of 2001, Stein had

12     drafted the SMDC Agreement,     (with the assistance of an attorney

13     from Seyfarth Shaw LLP) to formalize the relationship between

14     Stein and the Tribe.      (SF 1117, 18.)

15     Stein Personally Drafted Much of the SMDC Agreement with Another

16     Lawyer.

17     25.   During trial, Stein's long-time lawyer, Ken Sulzer

18     ("Sulzer"), formerly of Seyfarth Shaw, testified that Stein and

19     a law partner named Thomas Watt worked on the draft of the SMDC

2.:~   Agreement.    (SF 118.)   According to Sulzer, "Mr. Stein and

2J     Mr. Watts [sic] worked through it a lot, I worked through it

4J2.   some."    (Id.)   As for the Tribal resolutions adopting the

23     agreement, Sulzer said that it was his "best recollection that

24     Mr. Stein and Mr. Watts [sic] worked on them together . . . . "




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 1   (Id.)     On cross-examination, Sulzer had no explanation about

 2   Exhibit 6, which is the letter that Stein addressed to Sulzer,

 3   Sam Dunlap and other lawyers transmitting a draft SMDC Agreement

 4   with the Tribe nearly a year before the SMDC Agreement was

 5   actually finalized in 2001.        That letter stated that "Ken and

 6   Lee are seeing this [Agreement] for the first time" -         implying

 7   that only Stein had seen and drafted the original agreement.

 8   {SF 132.}     Mr. Watt is not copied in that correspondence.

 9   26.     Pursuant to the SMDC Agreement, Stein through SMDC, would

10   serve as the Tribe's developer, assist it in achieving federal

11   recognition and develop a casino in Los Angeles County.

12   (SF 120.)     The SMDC Agreement gave Stein a significant ownership

13   interest in any future Tribal casino gaming by the Tribe.         It

14   also guaranteed him $25,000 a month as compensation (deferred

15   until funds were available) and a 10% of the "net win" from

16   certain casino earnings.     (SF 121.)

17   Execution of the Original SMDC Agreement in 2001

18   27.     Stein presented the SMDC Agreement to the Tribe, with no

19   other lawyer (other than Stein) present, sometime in February

     and March of 2001.     {SF 129.)    The Tribal Councilmembers did not

     understand the SMDC Agreement as presented to them.         They were

     not given the necessary time to read the document and/or to take

23   a copy of it home to review.        {SF 130.)   Therefore, they did not

24   have a meaningful opportunity to have a lawyer (or anybody else)




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  1    help them review the document.      The Tribal Councilmembers were

  2    told that they would be removed from the Tribal Council if they

  3    failed to sign the SMDC Agreement.        (SF 131.)   So, the Tribe

  4    executed the SMDC Agreement in March of 2001, without the

  5    benefit of counsel (other than Stein) or understanding of it.

  6    They described this as being "under duress" and believed that

  7    Stein's presence was intended to encourage the signing of the

  8    Agreement.    (Id.)

  9    28.    Stein attempted but was unsuccessful in getting an attorney

10     to represent the Tribe in connection with the SMDC transaction.

11     At least one attorney, Stephen Otto, Esq.       ("Otto"), declined any

12     involvement in writing and orally multiple times.         (SF 1127 I

13     28.)    Otto disclaimed his role because Stein had prepared a

14     tribal resolution appointing him Tribal General Counsel despite

15     the fact that Otto had earlier explicitly declined to accept

16     that position, via telephone, email and letter.         (SF 128.)      Otto

17     sent a second letter to the entire Tribal Council because Stein

18     had failed to share Otto's earlier letter and multiple other

19     communications declining involvement with the Tribe.         Stein

2~     purposely lied to the Tribe that Otto was their lawyer in order

2'.E   to induce the Tribe to sign the DMDC Agreement, without the

       benefit of counsel, and in order to take advantage of the Tribe.

23     29.    During trial, Stein's only explanation was that a lawyer

24     named Ed Hamburger served as counsel for the Tribe, but none of




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  1    the Tribal Councilmembers recall him and Dunlap specifically

  2    recalled that Hamburger was not involved with the Tribe.

  3    (SF 132.)    Other than Stein's testimony during trial, there is

  4    no record of Mr. Hamburger ever agreeing to be legal counsel for

  5    the Tribe.

  6    Stein Acts As the Tribe's General Counsel and Provides Legal

  7    Services.

  8    30.   The SMDC Agreement provided that Stein was not the Tribe's

  9    attorney and that no attorney-client relationship was created

10     between them.     However, Stein and his Law Offices provided an

11     array of legal services to the Tribe.       (SF 135.)    For example,

12     as noted above,    (and as indicated by Otto's letter to the tribal

13     council) Stein drafted and prepared the resolution appointing

14     Otto general counsel of the Tribe, without Otto's consent.

15     Stein also drafted the resolutions of the Tribe's alleged

16     adoption of the SMDC Agreement.       (SF 128.)    Stein prepared those

17     resolutions before the Tribe adopted the SMDC Agreement, so,

18     from the outset, and even before the SMDC Agreement was

19     executed, Stein performed legal services for the Tribe.         Also,

       Sulzer confirmed that Stein prepared the Tribe's resolutions

2:1:   adopting the SMDC Agreement.    (SF   1117, 18.)    Tribal

       Councilmembers believed Stein drafted many of the Tribe's

23     resolutions.    (SF 178.)   As explained later, Stein admitted to

24     drafting certain resolutions during the trial.




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 1   31.    Also, among other things, Stein hired, fired and directly

 2   and vigorously supervised all of the Tribe's various lawyers.

 3   (SF 1110.)     About a month or two after the SMDC Agreement was

 4   executed, he hired Rae Lamothe ("Lamothe") as the Tribe's

 5   General Counsel.      (SF 139.)    Lamothe served part-time and did

 6   only the legal work delegated to her by Stein.         (SF 140.)

 7   32.    Around August of 2002, Stein advised the individual members

 8   of the Tribal Council that they should sue the Morales Family

 9   faction of the Gabrielino-Tongva in order to gain access to the

10   membership information of the Morales organization.

11   38.)     The Morales Family faction was a significant group of

12   competing Gabrielinos.      Dunlap, et al. v. Morales, et al., LASC

13   case number BC280605, was conceived, initiated and litigated by

14   Stein.     (Id.)   Stein is listed as the attorney of record for

15   Dunlap in that case.      (SF ~45.}     Lamothe is listed as the

16   attorney of record for Martin Alcala ("Alcala"), Virginia

17   Carmelo ("Carmelo") and Edgar Perez ("Perez").         (SF 145.)   Stein

18   advised that the Tribe, as an entity, should not be a party to

19   the litigation.      (SF 141.)    Together, Stein and Lamothe

4~   prosecuted the action against the Morales Family faction.

     33.    When it became clear that Tribal Councilmembers would lose

     against the Morales Family faction in Dunlap, et al. v. Morales,

     et al., Stein withdrew as counsel for Dunlap.         (SF 142.)

     Eventually, the individual Tribal Councilmembers lost all of




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  1    their claims.   As a result, the Plaintiffs (Dunlap, Alcala,

  2    Carmelo and Perez) owed the Morales Family faction the costs and

  3    fees of the litigation.   (SF 143.)    The costs were expensive and

  4    led Dunlap to eventually file for personal bankruptcy.

  5    34.   When there were settlement negotiations of the judgment in

  6    Dunlap, et al. v. Morales, et al., Stein insisted on personally

  7    negotiating any possible settlement of the judgment -     even long

  8    after he substituted out as counsel of record.     (SF ~44.)

  9    35.   Even after Dunlap filed for bankruptcy, on November 30,

10     2005, Stein sent an e-mail to Lamothe explaining that while they

11     should allow Dunlap's bankruptcy counsel to "be attorney of

12     record" for the bankruptcy, Stein would supervise Lamothe in

13     representing the Tribe's interest in Dunlap's bankruptcy.

14     (SF ~44.)   Thus, again, Stein was acting as the Tribe's general

15     counsel, allegedly worried about the Tribe's interest, even if

16     they arose in an individual member's bankruptcy proceeding.

17     The Tribal Council Moves Forward in Other Ways with Stein's

18     Legal Advice and Guidance.

19     36.   Despite the Tribal Council's legal problems with the

i:fl   Morales Family faction, they were seemingly moving forward on

~ft    other fronts.   Stein hired Richard Polanco ("Polanco"), a former

:1i    state legislator, as the Tribe's political advisor and lobbyist.

23     (SF ~48.)   When Stein approached Polanco, Stein represented

24     himself as the Tribe's lawyer and developer and as someone with




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 1   capacity to hire and fire all professionals and consultants for

 2   the Tribe, including lawyers.        Stein told Polanco that the

 3   Tribal Council would do anything he asked and never failed to

 4   follow his advice on any issue.         (SF 146.)     Polanco believed

 5   that Stein drafted the contract between the Tribe and Polanco.

 6   (SF 147.)

 7   37.   In October 2005, the Tribe held official elections for its

 8   Tribal Council.      The following individuals were formally elected

 9   to the Tribal Council:      Dunlap, Carmelo, Perez, Shirley Machado,

10   Alcala and Adam Loya.      (SF 153.)        They had acted as members of

11   the Tribal Council before elections and in fact had signed many

12   resolutions on behalf of the Tribe.            Many of those resolutions,

13   which were drafted by Stein or Lamothe at Stein's request,

14   purported to amend and/or reaffirm the original SMDC Agreement.

15   38.   Carmelo, who served as the Tribal Council Chair since 2002,

16   testified that despite voting on a number of resolutions that

17   were supposed to amend or modify the SMDC Agreement, she had

18   never once reviewed the original SMDC Agreement until the

19   instant litigation.      (SF 154.)     Before that, she had only

     reviewed amendments and modifications, but not the original SMDC

     Agreement.   (Id.)

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1       Stein Developed a New Legal Theory to Circumvent the National

2       Indian Gaming Commission's Rules.

3       39.   In March or April of 2004, Stein claimed the Tribe was

4       state recognized.     Stein provided the Tribal Council with a long

 5      legal memorandum arguing that a state recognized Tribe did not

 6      need federal recognition to conduct legal gaming operations in

 7      California.      Stein stated that the Tribe only needed state

 8      approval of the gaming.      {SF 1149-51.)

 9      40.   The legal memorandum was 120 pages and widely circulated by

10      Stein.   {Id.)     In fact, he presented a version of the memorandum

11      to State Attorney General Bill Lockyer and his senior staff.

12      {SF 151.)     In March of 2005, Stein sent it to State Senator

13      Marta Escutia, and described it as "argu[ing] successfully I

14      think that our state-recognized tribe may conduct gaming on a

15      state Indian reservation without federal recognition."         (SF

16

17      41.   During the trial, Stein claimed to have developed "cutting-

18      edge" legal arguments for the Tribe by writing two law review

19      articles regarding state recognition.        (SF 152.)   Although the

        Tribe did not know it at the time, Stein's "cutting edge" legal

        theories allowed the SMDC Agreement to avoid review by the
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        National Indian Gaming Commission ("NIGC") which invalidates

23      agreements that provide significant ownership interest by non-

24      Native Americans like Stein in tribal gaming by federally




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1    recognized tribes.     (SF 11190-201.)   Stein skirted this scrutiny

2    by avoiding federal recognition altogether.      Significantly,

3    although Stein argued that the Tribe was state recognized, there

4    was no evidence that the Tribe was ever state recognized or that

 5   the State of California had state recognized tribes.

 6   The Tribe and Libra Executed a Funding Agreement.

 7   42.   In May of 2006, due in part to Stein's efforts, Libra

 8   Securities, LLC ("Libra"), a Los Angeles investment fund,

 9   decided to invest in the Tribe.     In preparation for the funding,

10   and at Libra's request, Stein drafted a constitution for the

11   Tribe with the help of Dunlap.     (SF 156.)

12   43.   Also, in preparation for the execution of the Libra funding

13   Agreement ("Libra Agreement"), Stein hired Marilyn Barrett, Esq.

14   ("Barrett"), an experienced tax and corporate lawyer to assist

15   the Tribe with the financing transaction.       Stein approached

16   Barrett about the engagement.      (SF 158.)   As he did with other

17   lawyers, Stein closely supervised and directed Barrett's work.

18   For example, in one email, dated March 22, 2006, Stein explained

19   to Barrett that he was contemplating hiring a new lawyer "to

     help with Indian issues", but he was not convinced one was

     needed because "you are here for all corporate issues and I can

     handle Indian issues well enough to respond to investor counsel.

23   In essence, the question is just the same as corporate law:

24   duly organized, validly existing and fully authorized."       (SF




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 1   159.)     The next day Stein emailed Barrett directing her to draft

 2   a •waiver" and specified five key provisions and suggested

 3   language to be included in those provisions.             (SF 160.)     As was

 4   Stein's practice, he did as much legal work as he was capable of

 5   handling and only hired outside counsel or delegated to in-house

 6   counsel when it was outside of his capacity or interest.

 7   44.     Stein fired Barrett a few days before the Libra Agreement

 8   was scheduled to close.       He fired her without the knowledge or

 9   consent of the Tribe.      (SF 161.)         Thus, Stein handled the

10   closing of the Libra Agreement for the Tribe personally, without

11   the benefit of any experienced corporate finance counsel, other

12   than himself.     (SF 166.)    In fact,       just before the Libra

13   Agreement was scheduled to close, on May 20, 2006, at the

14   request of Libra, Stein drafted another amendment to the SMDC

15   Agreement, which limited the personal liability of the Tribal

16   Councilmembers to SMDC, except for misappropriation.             (SF 157.)

17   45.     The Libra Agreement was worth up to $21 million.             (SF 186.)

18   In late May of 2006, the Tribe received $1,805,889, which was

19   the first tranche of the investment funds promised by Libra,

     less certain expenses which were contemplated by the Libra

     Agreement.     (SF 187.)



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 1   Stein Did Not Tell the Tribe About Key Parts of the Libra

 2   Agreement.

 3   46.   Pursuant to the Libra Agreement, only the Tribal Council

 4   had the power and authority to spend Libra Funds.        (SF 189.)

 5   Nonetheless, when he was on the witness stand, Stein denied that

 6   term of the Libra Agreement and stated that the funds were not

 7   intended for the Tribe, but for a separate, related, entity

 8   called the GTGA.    (SF 1232.)   He stated that the Libra investors

 9   were not interested in funding federal recognition on behalf of

10   the Tribe.    (SF 11233, 272.)   This was the first time that the

11   Tribe had been told that the Libra funds would not be used for

12   federal recognition.    (SF 1273.)      An argument arose between

13   Stein and Dunlap when Dunlap requested that the Tribe use Libra

14   funds to hire an Indian Law expert who could help the Tribe

15   achieve federal recognition.     (SF 1234.)

16   47.   There were several significant pieces of the Libra

17   Agreement, which Stein admitted were drafted by him, including

18   the Senate Bill that was attached as Exhibit B to that Agreement

19   which purported to be the Senate Bill 175 ("SB 175").       Although

ta   it was not marked as a draft, Stein admitted that he drafted

~    SB 175 and that it was a draft document that was never

~    introduced.   {SF 1271.)   At the time that Carmelo executed the

23   Libra Agreement on behalf of the Tribe, Carmelo, the Tribal

24   Council Chair, did not know that Exhibit B was merely a crude




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   1      draft by Stein, instead of an actual bill drafted by a member of

   2      the State Senate (or his staff).        (Id.)

   3      The Dispute Between SMDC/Stein and the Tribe Escalated After the

   4      Funding.

   5      48.   Lamothe stopped working with the Tribe in the spring of

   6      2006, and Liz Aronson ("Aronson") became Assistant General

   7      Counsel around that time.    (SF 155.)      After the Libra Agreement

   8      was executed and throughout the summer of 2006, disputes arose

   9      between Stein, the Tribal Council and Aronson.        The disputes

10        involved allegations from Aronson that Stein was improperly

11        billing (and double billing) his legal costs from his law

12        practice to the Tribe's Libra funds (SF 163) and that Stein was

13        unreasonably delaying finalization of the Morales Family faction

14        settlement in Dunlap, et al. v. Morales, et al.        (SF 164.)

15        There were also allegations from Stein that Dunlap was

16        requesting reimbursements to which he was not entitled (SF 165)

17        and allegations by Dunlap that Stein believed that as their

18        lawyer, he was the ultimate power and authority in the Tribe

19        (and not the Tribal Council).     (SF 167.)

:;f('.i   49.   During this time, Dunlap sent a number of emails to the

at        Tribal Council, sometimes copying Stein.        In these emails, he

27        complained about mistreatment by Stein, whom he described as

23        their lawyer.   (SF 1167, 68.)   In response to these emails, no

24        one contradicted Dunlap or corrected his statement (or




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 1   understanding) that Stein was the Tribe's lawyer -            not even

 2   Stein who was copied on those emails.            During testimony, many

 3   Tribal witnesses stated that they did not contradict Dunlap

 4   because in fact,     they believed that Stein was their lawyer.

 5   (SF 1110, 36, 37, 46, 129.)

 6   50.     During this time, Stein asked Aronson to resign and he

 7   drafted a termination letter and resolution terminating her, on

 8   behalf of the Tribe.      (SF 177.)     On September 9, 2006, the

 9   dispute came to a head:      at a meeting at Stein's law offices,

10   Stein demanded that the Tribal Council fire Aronson.            (SF 171.)

11   When the Tribal Council refused, Stein stated that he would

12   quit.     At that point, Dunlap requested that Stein put that in

13   writing.     (Id.)   In response, Stein hand-delivered a letter of

14   resignation to the Tribal Council, resigning his positions in

15   the Tribal Administration.      (Id.)        The Tribal Council then

16   attempted to move out of Stein's Law Offices, which had housed

17   its operations and tried to carry out whatever documents they

18   could, but many documents were left behind, including individual

19   tribal member records and financial records.            (SF 174.)

     51.     Nevertheless, Stein appeared to change his mind about his

     resignation; he told the Tribal Council that he had frozen its

     funds and would return them to the Libra investors and proposed

23   that Aronson be fired.     (SF 176.)

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 1    52.   On September 19, 2006, Stein held a meeting with the Tribal

 2    Council and Jim Mcshane, a lawyer from Sheppard Mullin whom he

 3    wanted to hire to replace Aronson.           Stein also drafted a

 4    "Fiduciary Dutiesn Report that he asked Mcshane to discuss with

 5    the Tribal Council.     (SF ,79.)    The Fiduciary Duties report came

 6    as a surprise to Mcshane.       Id.; Exh. 67 Fiduciary Duties

 7    Report).     In the Fiduciary Duties report, Stein advised the

 8    Tribe that certain conduct would constitute breaches of their

 9    fiduciary duty by the Tribal Councilmembers to the Tribe.

10    Stein also explained that certain debts owed to Dunlap would

11    constitute property of his bankruptcy estate.           (SF 179.)

12    53.   On September 29, 2006, the Tribal Council wrote to Stein,

13    directing him to "immediately suspend all of (his] activities

14    and those of [SMDC] on behalf of the Tribe and the Tribal Gaming

15    Authority."     (SF 183.)   The next day, September 30, 2016, Stein

16    sent yet another email, Exhibit 678 (re: Changing Horses

17    Midstream Email).     He explained that he was writing to

18    communicate to the Tribe that "$2 million is immediately due

19    SMDC from the Tribe and, hopefully Libra could finance that."

2:0   (SF 1274.)

      54.   Sulzer testified similarly.          He explained that SMDC and

46    Stein were aware that Libra was considering another $18 million

23    in total to the Tribe, with a second tranche (of $2 million)

24    imminent, so Stein wanted to ensure that SMDC would be first to




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   1     be paid out from those forthcoming Libra funds.         (SF ~166.)    So,

   2     while Stein did not think the Libra funds could fund federal

   3     recognition, he thought they could fund Stein and SMDC.

   4     55.      On October 3, 2006, at a Tribal Council meeting at Libra's

   5     office, the Tribe's new outside counsel, Jim Mcshane, told Stein

   6     (and later confirmed in a letter) that the Tribe had accepted

   7     Stein's September 9 letter of resignation and that to the degree

   8     Stein claimed he had not resigned, the Tribe was terminating

   9     him.      (SF ~84.)   Thus, by October 3, 2006, the Tribe had

10       unambiguously terminated any relationship with SMDC or Stein.

11       (Id.)

12       56.      While the dispute between Stein and the Tribe was becoming

13       more acrimonious, Stein used the Tribe's confidential membership

14       list and converted it for his personal use (without the consent

15       of the Tribal Council) to plead his case directly to the

16       membership.      (SF ~152.)   He wrote several letters to the

17       membership.      In one 1.etter, Stein explained that he personally

18       raised $21 million but was asked not to inform the Tribal

19       membership.      (SF 1152; Exh. 520 (Member Letter #1) .)    Tribal

2d       Councilmembers denied that they instructed Stein not inform the

2'.:l.   membership about the $21 million.         He wrote another letter

2}       unilaterally calling for a membership meeting about, among other

23       issues, his termination.       (SF 1152; Exh. 522 (Member Letter

24       #3) .)     He wrote another letter during this time informing that a




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 1   "Financial Oversight Committee" had been formed and sent a

 2   letter anticipating a November 18 meeting and a recall election.

 3   (Exh. 523 (Member Letter #4) .)

 4   As the Disputes Escalated, Stein Made Material

 5   Misrepresentations to the Tribe.

 6   57.   Stein testified that he drafted the October-November 2006

 7   letters to the Tribal membership during the dispute.

 8   (Exh. 523.)   The letters contained several material lies.         One

 9   letter stated:    "The investor group refuses to forward new

10   investor funds to the Tribe since termination of Mr. Stein and

11   refusal of Tribal Council to cooperate with Tribe accountants."

12   (SF ,100.)    The Tribe presented evidence that Libra never

13   thought of Stein as necessary for the deal with the Tribe and

14   were ready to move forward without Stein.       (SF   ,ss.)   In fact,

15   Tribal Chairperson Carmelo testified that during the

16   negotiations for the Libra Agreement, it had been agreed that

17   Stein/SMDC would not be paid from the Agreement because it would

18   consume too much of the funds.     (SF 1167.)   So, Stein

19   deliberately lied to the Tribal membership in order to gain

     political support for himself and undermine the Tribal Council

     in their dispute with him.



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1     Stein Failed to Tell the Tribe That the California Legislative

2     Counsel's Office Had Opined That the Tribe Was Not a State

3     Recognized Tribe for Purposes of Gaming.

4     58.   Stein's novel legal theory that the Tribe could conduct

 5    tribal gaming in California without federal recognition depended

 6    on Stein's repeated assertion that the Tribe was a state

 7    recognized tribe and the State of California could allow a state

 8    recognized Tribe to conduct gaming.     The statement that the

 9    Tribe was state recognized originated with Stein who placed that

10    statement on the cover of the SMDC Agreement.     (SF 119.)   At

11    some point during the summer of 2006, Stein learned that on May

12    22,   2006, the Legislative Counsel, which advises the California

13    state legislature on all legal matters, had issued an opinion

14    that the Tribe was not a state recognized tribe and that even if

15    it was, a state recognized tribe could not engage in gaming

16    without federal recognition.    Stein claimed that he told Libra

17    about the opinion in August but there was no evidence that he

18    did so.

19    59.    Stein simply ignored that opinion and published his law

      review article that was based on the false premise that the

      Tribe was state recognized and that the State of California

220   could allow it to engage in gaming without federal recognition.

23     (SF 1289.)   Stein's inability to represent the Tribe's interest

24    forthrightly and to do what was in the best interest of the




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 1   Tribe was exemplified by his stubbornness in pursuing a strategy

 2   that one of the foremost experts on California law told him was

 3   untenable and wrong.

 4   Stein Acts in Bad Faith to Cut Off the Tribal Council's

 5   Communications with the Tribal Membership and Retained All of

 6   Its Records.

 7   60.   Stein retained possession of the following:         confidential

 8   individual tribal membership records, tribal letterhead,

 9   website, cell phones, computers, confidential membership lists,

10   contact information for those members, and all the former

11   government filings which Stein had ever caused to be filed on

12   the Tribe's behalf.     (SF 1158.)     In addition to writing a letter

13   to the Tribal membership with material misrepresentations, Stein

14   also took significant steps to cut off all communications

15   between the Tribe's leadership, its Tribal Council and its

16   Tribal membership.     He did so by cutting off access to cell

17   phones, emails and website to the Tribal Councilmembers.          On the

18   stand, Stein admitted that he did so.        (SF 1256.)   Essentially,

19   he interfered with the Tribal Councilmembers ability to

     communicate with the entire membership and, in effect, to

     explain their side of the story, as he continued a one-sided

     dialogue with the Tribal membership.

23   61.   Barbara Garcia {"Garcia"), Stein's administrative assistant

24   and paralegal employed by his Law Offices, admitted that she




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 1   retained possession of the Tribe's records at Stein's Law

 2   Offices, after the split.   She stated that she did not return

 3   the records even when the individual Tribal Councilmembers asked

 4   her to return those records to them.      (SF 1163.)    She claimed

 5   that returning the records to the Tribal Council would be

 6   "stealing" because she mistakenly believed that they belonged to

 7   Stein and not the Tribe or Tribal Council.      (Id.)   Garcia, who

 8   kept the individual membership records of all of the members

 9   (which showed their familiar relationships and percentage of

10   Native American heritage and relationship to the Tribe), agreed

11   that the original information regarding the members (individual

12   membership files) came from Dunlap.      (SF 1161.)

13   62.   Stein admitted that these membership records,      (and the

14   membership as a whole) was developed as a consequence of the

15   efforts of individual Tribal Councilmembers, and not as a

16   consequence of his own efforts.    (SF 1160.)   Others recall that

17   the four main councilmembers were specifically chosen to serve

18   on the Tribal Council because they were considered influential

19   representatives of their family groups and they were responsible

     for recruiting their extended family to submit their individual

     family records to the Tribe.    (SF 1161.)
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     63.   The Tribe's membership records were highly confidential

23   documents, individually belonging to the members, but

24   collectively belonging to the Tribe.     The information consisted




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 1    of the membership list, contact information and membership

 2    records.

 3    64.     In Exhibit 520 (another letter to the membership), Stein

 4    stated that these membership records and the membership as a

 5    whole were developed as a consequence of the efforts of

 6    individual Tribal Councilmembers, and not as a consequence of

 7    his own efforts.     In that letter, he stated:   "With the

 8    excellent work of the Tribal Council, we built up tribal

 9    membership to over 1900 Gabrielinos."

10    65.     On November 2, 2006, both the Tribe and SMDC filed suits

11    against each other.

12    Stein Failed to Conduct a Recall of the Tribal Council So He

13    Registered a Competing Tribal Faction That Usurped the Tribe's

14    Name.

15    66.     After resigning, and after this litigation had already been

16    initiated, Stein began efforts to mount a recall election of the

17    Tribal Council.     However, that recall was never held.      Having

18    failed to orchestrate a coup, Stein pretended that the Tribal

19    Council had abandoned the Tribe and recruited a group of members

      so that they could to start their own competing tribal group,

2:1   using all of the tribal records he had withheld from the Tribe.

      (SF 1268.)

23    67.     On December 17, 2006, after Stein's relationship with the

24    Tribe had been terminated and after this case was already being




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 1   vigorously litigated, Stein registered an unincorporated

 2   association using the Tribe's exact name -      the "Gabrielino-

 3   Tongva Tribe."   (SF 1153.)    Linda Candelaria, a former member of

 4   the Tribe was listed as the Secretary of this new group (the

 5   "Candelaria Faction"}.    Stein's legal assistant, Garcia, was

 6   listed as the agent for service of process, and his Law Offices

 7   were listed as the entity's business address.      (SF 1154.)

 8   68.   Stein admitted that he was responsible for causing the new

 9   tribe to file a statement of unincorporated association usurping

10   the Tribe's name.     (SF 11155, 156.)   Stein chose to register the

11   Candelaria Faction with the same name that had been used by the

12   Tribe, while all sides were still deeply involved in this

13   instant litigation.    He also admitted that he brought that idea

14   to the Candelaria Faction but wanted to file such a document in

15   part so that the Tribe's mail could continue to be directed to

16   his Law Offices' address and to his legal assistant, Garcia.

17   (SF 1157.}

18   69.   That imposter entity which was first registered in December

19   of 2006 by Stein and Candelaria continued to exist until the

     instant trial in this action started.     The imposter entity was

     created by Stein and existed for the sole reason of attempting

     to deceive the Tribal members and the public about the true

23   identity of the Tribe, and to take all of the Tribe's legal

24   rights and obligations.     (SF 1263.)




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1    70.   After incorporating the Candelaria Faction with the same

2    name used by the Tribe, around March of 2008, Stein and SMDC

3    moved to enforce settlement of the instant litigation with the

4    Candelaria Faction.     (SF 1265.}    Stein claimed that SMDC had

5    entered into a settlement agreement for the instant action with

 6   "the Tribe," that is, the Candelaria Faction.       (Id.)   And, Stein

 7   claimed that Candelaria had a right to control this litigation.

 8   The Tribe Prevailed Against the Candelaria Faction As the True

 9   Tribe and Real Party in Interest.

10   71.   During the first part of this trifurcated trial, on July 5,

11   2016, a jury found that Plaintiff Tribe, and not the Candelaria

12   Faction, was the real party in interest in this case and had

13   standing to assert its fourteen claims against Stein and SMDC.

14   (And that Stein/SMDC could assert its claims against it.)

15   72.   After the first phase of the jury trial where the jury

16   found against him, Stein requested a bench trial for the balance

17   of the case.

18   Alter Ego Issues

19   73.   The Tribe proved that Stein and SMDC were each other 1 s

     alter ego.     Stein, the Law Offices, and SMDC (and for a time,

21   the Tribe) shared the same address of 501 Santa Monica Blvd., at

     a suite that Stein rented for his Law Offices -       Suite 500.

23   Likewise, they also shared the services of Garcia as either a

24   legal assistant (for SMDC and Stein) or volunteer "Tribal




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  1    Administrator"    (for the Tribe), even though she was employed by

  2    only one entity -        the Law Offices.     (SF 11246, 247.)

  3    74.     As the sole owner of SMDC, Stein paid the Tribe's attorneys

  4    for a time, before the Libra Agreement reimbursed him for those

  5    funds.     (SF 1249.)     Garcia admitted that she was appointed and

  6    paid by Stein during the time that she served as Tribal

  7    Administrator for the Tribe.         She stated that she reported to

  8    Stein for all of these various entities.           (SF 1247.)     She also

  9    agreed that there was no tribal resolution appointing her as

10     Tribal Administrator, but she contended the Tribe was aware that

11     she did administrative work for them, through Stein, and they

12     never complained.       (SF 1248.)

13     75.     In order to prove his quantum meruit claims against the

14     Tribe, Stein introduced a "quantum meruit worksheet" which was

15     heavily redacted and merely totaled the hours that Stein claimed

16     he worked on behalf of the Tribe.           (SF 1290.)   Stein called on

17     Steve Johnson, who acted as a controller for the imposter

18     Candelaria Faction to testify about that document.              During

19     trial, Mr. Johnson was asked whether when he "looked at all of

2rx    the -     all of those backup documents, were you able to determine

       if Mr. Stein was doing legal work for the tribe?"            He answered,

z;z,   yes.     He elaborated:     "I think he [referring to Stein] was using

23     his general legal knowledge but I think most of it was

24     development work for trying to get a gaming license."




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 1   Mr. Johnson also said that Stein was a "smart guy so he used his

 2   well oiled brain to try to do -       better the tribe in many

 3   different directions and if some of that involved legal

 4   expertise         ,,
                            (SF 1101.)

 5   76.   Significantly, the legal work, development work that Stein

 6   performed for the Tribe and perhaps other clients, was

 7   summarized in the "quantum meruit" documents that Stein sought

 8   to introduce.     The client identification and description of

 9   services were heavily redacted.       In the end, the Court was

10   unpersuaded that the document represented work which Stein had

11   done for the Tribe (only) and for which he was entitled to

12   compensation pursuant to the SMDC Agreement or otherwise.

13   Tribal Gaming Expert

14   77.   The Tribe's first expert, Phil Hoag, opined that if the

15   Tribe ever became a federal recognized tribe, the SMDC Agreement

16   would run afoul of the NIGC's "sole proprietary rule."         The sole

17   proprietary rule means that "if somebody other than [a federally

18   recognized] tribe has an ownership interest in the [tribe's]

19   game -   the profits -      then the tribe doesn't have the sole

     proprietorship interest.       In other words it's the Indian gaming

     regulatory act not the Indian gaming and Indian -        and their

     partners gaming         so you can't have a joint venture, a

23   partnership."

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 1      78.   He opined that the SMDC Agreement would not be subject to

 2      the regulations of 2001, when it was written, but it would fall

 3      under the regulations of an evolving NIGC at the time the SMDC

 4      Agreement would be reviewed by the NIGC.     (SF 1192.}     He

 5      explained that if somebody other than the federally recognized

 6      tribe has an ownership interest in the gaming profits, then the

 7      tribe doesn't have the sole proprietorship interest.

 8      The NIGC would view the 10% of net win of the gross gaming

 9      revenues to a third party (when there is no direct relationship

10      between the quantity of the services or the goods provided in

11      exchange for that 10%), such as Stein or SMDC in this instance,

12      as the third party having an ownership interest, thus depriving

13      the tribe of the sole proprietary interest.         Mr. Hoag opined

14      this arrangement would be unlawful.      (SF 1194.)

15      79.   He further opined that the SMDC agreement could not avoid

16      invalidity by invoking Section 4.J. of the SMDC agreement (which

17      states that the restrictions of the NIGC or IGRA do not apply to

18      the SMDC Agreement).   Such a provision would have raised an

19      immediate red flag with the NIGC.      (SF 1200.)     Thus, even if the

4Q      Tribe achieved federal recognition and the SMDC Agreement was

2:[     still in place, the SMDC Agreement would be invalidated and

22
,;'·r   unenforceable under the sole proprietary interest rule.

23      (SF 1201.)

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  1    Ethics Expert Opined That Stein Breached Numerous Fiduciary

  2    Duties.

  3    80.   Arthur Margolis ("Margolis"}, an ethics expert, was called

  4    as the Tribe's witness.   He provided opinions on ethics topics

  5    on the first day of his testimony (July 6, 2016).

  6    81.   First, Margolis opined that there was an attorney-client

  7    relationship between the Tribe and Stein despite the fact that

  8    there was no written agreement so stating and despite the fact

  9    that the SMDC Agreement stated that it did not create an

10     attorney-client relationship.   He opined the attorney-client

11     relationship was based on the conduct of the parties and

12     expectation of the parties outside of the SMDC Agreement.     Stein

13     provided legal services to the Tribe (as detailed above).     And

14     that led the Tribe to believe he was its lawyer.    He also opined

15     that Stein had acquired significant confidential information

16     belonging to the Tribe and that information was obtained both in

17     his capacity as a lawyer, and his capacity as a senior officer

18     and confidential employee (officer} of the Tribe.

19     82.   Second, Stein owed the Tribe fiduciary duties as (a) an

:io    attorney, and (b) also as an officer of the Tribe who had a

2::t   "trust relationship" with the Tribe;   (c} among those duties were

4h     the duties of loyalty, confidentiality, candor and complete

23     disclosure, which includes warning the client (or beneficiary)

24




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 1   against himself just as he would warn against a third party -

 2   all of which he breached with respect to the Tribe.

 3   83.     Third, whether Stein was acting as a lawyer or as another

 4   fiduciary, he was held to the same fiduciary duties/standard of

 5   care as a lawyer because he was subject to the standards of

 6   ethics and professionalism of a lawyer regardless of what

 7   capacity he was acting (lawyer/or non-lawyer fiduciary).

 8   84.     Fourth, Stein had several conflicts that violated the rules

 9   of professional conduct, including:

10           a.     violation of Rule 3-300 of the Rules of Professional

11   Conduct (advising clients regarding potential conflict because

12   lawyer is acquiring a financial interest that may be adverse to

13   the client and giving client disclosure about opportunity to

14   consult with another lawyer and meaningful opportunity to

15   actually do so).        This rule applied to Stein's/SMDC's 10%

16   interest in the Tribe's future gaming as detailed in the SMDC

17   Agreement.

18           b.     violation of Rules 3-310(A) and 3-310(B) (1) which

19   require a lawyer to advise any client thats/he has a legal,

     financial, business or personal relationship with a party in the

     same matter.        In this case, Stein admitted that he had a

     relationship with both SMDC and the Tribe and provided advice to

23   both.        Pursuant to Rule 3-310(A), he was required to provide

24   written disclosures to both.        Stein also violated Rule 3-




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 1   310(B} (3), which requires a written disclosure when an attorney

 2   has a legal, business, financial, personal or professional

 3   relationship with another person or entity that the attorney

 4   knows or reasonably should know would be affected substantially

 5   by resolution of the matter.

 6         C.   violation of Rule 3-310(B) (4), which requires a

 7   written disclosure when an attorney has a legal, business,

 8   financial, professional interest in the subject of a matter or

 9   representation.

10         d.   violation of Rule 3-310 (C) (1) and (2), which prohibit

11   concurrent representation (SMDC and the Tribe) when they had

12   adverse or potentially adverse interests, without written

13   disclosures and written consents from each client.

14   85.   In sum, these conflicts were based on Stein acting as the

15   legal representative of SMDC during the entire course and scope

16   of his relationship with the Tribe, including 1) when he entered

17   into the SMDC Agreement, where he represented both the Tribe and

18   SMDC (both sides of the Agreement) and 2) every time he drafted

19   a resolution, when he represent~d the interests of both the

     Tribe and SMDC when either reviewing or drafting each of those

     resolutions.   He also had a conflict every time he advocated for

     gaming in California without federal recognition.    Stein failed

23   to tell the Tribe that this advice was motivated by his

24   financial interest in the SMDC agreement which would be




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  1    extinguished if the Tribe achieved federal recognition because

  2    it would not survive scrutiny by the NIGC under the sole

  3    proprietorship rule.

  4    86.   Fifth/ Stein was required to comply with rules of

  s    professional responsibility, if he was acting as a fiduciary,

  6    even if he was not serving as an attorney.

  7    87.   Stein's legal ethics expert William Mills' opinion was

  8    unpersuasive for the factual reasons discussed above.

  9    88.   The Court finds that the clear and convincing evidence

10     proved that Stein's conduct -    individually and through his

11     alter ego, SMDC, and through his d.b.a., Law Offices, was

12     fraudulent, despicable, oppressive and malicious.       The Court

13     determined three things: 1) the reprehensibility of Stein's

14     conduct; 2) the amount of the award which would suffice to deter

15     future similar conduct by Stein given his financial condition;

16     3) the reasonableness of the amount given the harm Stein caused.

17     Neal v. Farmers Ins. Exchange, 21 Cal.3d 910, 928   &    fn.13

18     (1978).

19     89.   Stein committed many incidences of fraud.   Stein's fraud

       against the Tribe began with the inception of his relationship

21'.   with them.    He told the Tribal Council that Otto would serve as

22
 CJ    their general counsel for purposes of reviewing and advising on

23     the SMDC Agreement entering into that relationship with SMDC and

24     Stein.    Yet Otto told Stein, via email, telephone and letter




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 1   that he would not serve in such a role.     The fraud continued

 2   when Stein gave the Tribe advice concerning whether they were a

 3   state recognized tribe, and whether that status could give them

 4   a right to engage in gaming in California without federal

 5   recognition.   It continued after their relationship ended, when

 6   this litigation had already started.     Stein took the identity of

 7   the Tribe using membership records without permission, and

 8   registered a different group with the Secretary of State with

 9   the exact same name as the Tribe, as an unincorporated

10   association, and then tried to settle the instant lawsuit.

11   Evidence of fraud is extensive and at the center of this case.

12   90.   Stein engaged in oppressive and malicious conduct.    Stein

13   set up the Tribe's offices in his Law Offices and gave his law

14   office manager, Garcia, the job of Tribal Administrator, in

15   order to control the Tribe and its legal and financial affairs.

16   And when the Tribal Councilmembers confronted Stein in those

17   offices, Stein threatened them, threw objects at them, and cast

18   them out of their own offices.    In the Court's view, among the

19   worst things Stein did was his failure to return the Tribe's

~    original birth and family records to the Tribe after Stein was

~    fired/resigned.    Stein kept the Tribe's membership and family

~    records thus preventing the Tribe from pursuing federal

23   recognition (a 25-30 year process).     To this day, almost 15-20

24   years later, Stein has not returned the records.




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 1   91.   Stein is a recidivist in targeting Native Americans for

 2   exploitation.     Repeated actions are worse than and can be

 3   punished more severely than isolated incidents.     Johnson v. Ford

 4   Motor Co., 35 Cal.4th 1191, 1206 (2005).     The Tribe was not the

 5   first Native American group which was targeted by Stein's

 6   misconduct.     Stein preyed upon Native American groups, including

 7   the Morales Family faction, whom he tried to convince to join

 8   him in his endeavors, and when he could not persuade them, he

 9   later sued them to gain access to their records.     And after he

10   had a falling out with the Tribe, he recruited a different

11   group, the Candelaria Faction, to use as a vehicle for his

12   casino development plans.

13   92.   Stein used his status as a lawyer, a position of trust, as

14   a weapon against a less sophisticated client.     The Tribal

15   Councilmembers were relatively poor and unsophisticated, and

16   they trusted Stein's advice and his position as a high-status

17   lawyer.   Further, Stein used litigation as a weapon, including

18   against the Morales Family faction, and against the Tribe.      The

19   finder of fact is "free to conclude on this evidence that the

~    protracted degradation of an honest and hard-working

ti   businessman, and the conscious indifference to his suffering was

~    despicable."     George F. Hillenbrand, Inc. v. Insurance Co. of

23   North America, 104 Cal.App.4th 784, 818 (2002).

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1    93.   Stein oppressed the Tribe by using attachment proceedings,

2    including false statements in the applications, during the

3    litigation in order to deprive the Tribe of its assets and by

4    prolonging this litigation to deprive the Tribe from freedom to

 5   move on as a political entity pursuing their ultimate goal,

 6   federal recognition.

 7   94.   During the punitive damages phase of the trial, Stein

 8   failed to provide evidence of his assets and failed to be candid

 9   about his assets under oath.   Stein provided scant evidence of

10   his net worth.   This conduct is consistent with his conduct

11   throughout the course of this litigation and this trial.

12   95.   Indeed, Stein refused to take the stand or appear on April

13   5, 2019 to answer questions regarding his financial condition so

14   the Tribe had no meaningful opportunity to cross-examine him on

15   this topic.   Rather, during the punitive damage discovery phase,

16   his attorney provided a chart that aimed to show his net worth,

17   but that chart was without any backup or foundation and was

18   unreliable.   "Net worth is too easily subject to manipulation to

19   be the sole standard for measuring a defendant's ability to

m pay." Zaxis Wireless Communications, Inc. v. Motor Sound Corp.,
zl   89 Cal.App.4th 577, 582 (2001).     So, the finder of fact may

zz   disbelieve self-serving claims by the defendant that exaggerate

23   his or her liabilities and minimize his or her net worth.

24   Moore v. American United Life Ins. Co., 150 Cal.App.3d 610, 641




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   1     (1984).   Most importantly, "by failing to bring any records

   2     which would reflect his financial condition, despite being

   3     ordered to do so .      . defendant has waived any right to

   4     complain of the lack of such evidence."      Mike Davidov Co. v.

   5     Issod, 78 Cal.App.4th 601, 608-609 (2000).     Accordingly, the

   6     Court relied on the information already on the record, and

   7     concluded that Stein has ample ability to pay a multi-million

   8     dollar judgment.

   9     96.   Stein bragged about substantial assets during trial.     While

10       still on the record on July 22, 2016, Stein represented to the

11       Court that:

12             I'm in charge of the American Branch of my father-in-
               law -  I don't know if you've ever heard of a family
13             office from China, but we have a seven figure
               transaction and unfortunately, they look to money not
14             circumstances would be the best way to put it. And
               then of course we have the seven figure matter in Van
15             Nuys that this court has most graciously allowed me to
               handle, we settled out the second largest casino in
16             Iowa out of the New Orleans IP actions.   It's been a
               very difficult doing all that and of course preparing
17             for each witness each day. So I apologize to the
               court when my abilities have run short of what the
18             demands were and I apologize to the court that I'm not
               a little bit stronger given a week with you know 10
19             hours sleep over the course of five days.

;;;,:~   (Stein's comments on the record to the Court on July 22, 2016,

         p. 37, ln. 25-p. 38, ln. 20.)

         97.   The Tribe earlier identified a Cross-complaint against

23       Stein, from a former client who claims to have paid him $750,000

24       at the end of 2014 and in early 2015 (case number SC125747).       It



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 1   is a Cross-complaint because Stein sued his former client for an

 2   extra $400,000 that Stein claimed was still due to him.    A

 3   Notice of Settlement was filed in the case in June 2017, and

 4   then a dismissal of all of the claims and cross-claims in July

 5   of 2017, and a disbursement of funds was made in that case.

 6   98.   As the finder of fact, the Court reasonably deduced and

 7   considered all the facts available regarding Stein's veracity

 8   and credibility and his prior statements regarding his net worth

 9   and decided that Stein was untruthful about ability to pay a

10   judgment or punitive damages.

11   99.   In his discovery responses during the punitive damages

12   phase, Stein failed to describe the income he gets from his

13   father-in-law, Chinese assets in America, or any of the very

14   high net value items he was engaged in which he described to the

15   Court on the record on July 22, 2016.   Because Stein is not

16   forthcoming about the value of those holdings, the Court

17   reasonably placed a value of at least twice as much of the

18   litigation in California, equaling $3 million a year.

19   100. The Stein Family has substantial real estate holdings and

~    properties.   On April 5, 2019, the Tribe filed a Request for

~    Judicial Notice attaching documents that tend to show that Stein

~    has significant property holdings, in his own name, in

23   California.   The Court took judicial notice.   Those documents

24   show that Stein provided less than candid responses and perhaps




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 1   perjured himself when he provided those responses to the

 2   punitive damages discovery served on him by the Tribe.     For

 3   example, in response to Interrogatory Question 11 which

 4   requested information regarding any loan which he or his wife,

 5   singly or jointly received to pay for the real property located

 6   in Ashland Avenue in Santa Monica, California, Stein provided a

 7   verified response, under penalty of perjury that "he has never

 8   had an ownership interest in 2215 Ashland Avenue in Santa

 9   Monica, CA."   But that property is currently owned by Linda Hong

10   Sun Stein, his wife.    And, according to the inter-spousal

11   transfer deed, which Stein attached to those same discovery

12   responses where he denies ownership, Stein did indeed own that

13   property and transferred it to his wife on May 7, 2012 -      that

14   is, during the pendency of this litigation which started in

15   November of 2006.    The Ashland Avenue address is the same

16   address that Stein listed in verified responses to Form

17   Interrogatories in this action in 2015.    He obviously owned it

18   and lived in it during the pendency of this action.     Whether he

19   currently owns it or merely transferred it to his wife for zero

4§   consideration as recorded on the inter-spousal transfer deed

~t   reflected well on his financial condition.

     101. Linda Hong Sun Stein and Stein are also listed as joint

23   owners of a property at 2520 Murrell Road in Santa Barbara,

24   California, an address that Stein listed as his address of




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    1       record in this litigation before he was represented by John

    2       Rubiner, Esq.     More interestingly, as recently as last month,

     3      while Stein was supposed to be providing responses to this

    4       discovery, Linda Hong Sun Stein and Stein acquired a third

     5      property in California, a second in Santa Barbara.      That

     6      property is listed at 5222 Kirk Drive in Santa Barbara.         The

    7       grant deed on the property was signed on January 7, 2019 and was

    8       apparently recorded in the County of Santa Barbara on

    9       February 22, 2019.     The date is significant because Stein

10          provided responses to punitive damages questions, under penalty

11          of perjury on February 16, 2019, after he had formed an intent

12          to purchase another property, but he did not feel obliged to

13          disclose this in discovery which was designed to uncover

14          evidence of his net worth.     The Murrell Road Property is

15          assessed at $1 million by the County of Santa Barbara.         The Kirk

16          Drive Property was sold for $830,000 and the Steins took out a

17          loan for that property from Wells Fargo for $580,000 which was

18          recorded by Wells Fargo, and that document is public record.

19          The Steins have had access and still have access to a

2:a         substantial amount of cash.

1:1'.'.     102. Stein has repeatedly stated that all of these properties

22' J .•J
            are largely in his wife's name or belong to his wife's family

23          and not to him.    He has lived at these properties, does not

24          report that he paid any rent to live in these properties, and




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 1   whether or not they are in his name or not, all of these real

 2   estate holdings are part of what he can rely on for his

 3   lifestyle and to make a living.

 4   103. Lastly on this topic, Stein has been less than candid about

 5   his assets during the punitive damages phase of this trial and

 6   he continues to accumulate assets.       He is undeterred from his

 7   lawless behavior, evasiveness, and untruthfulness to opposing

 8   parties and to the Court.

 9   A Large Award Can Equal the Harm Already Caused and Deter Stein.

10   104. "' [F]ew awards' significantly exceeding a single-digit

11   ratio will satisfy due process to establish a type of

12   presumption:   ratios between the punitive damages award the

13   plaintiff's actual or potential compensatory damages

14   significantly greater than 9 or 10 to 1 are suspect and, absent

15   special justification (by, for example, extreme reprehensibility

16   or unusually small, hard-to-detect or hard-to-measure

17   compensatory damages), cannot survive appellate scrutiny under

18   the due process clause."    Simon v. San Paolo U.S. Holding Co.,

19   35 Cal.4th 1159, 1182 (2005).     The Court believes a $7 million

iB   punitive award is appropriate -     that is a third of the

ti   compensatory damages awarded here.       Stein is neither sorry nor

4b   contrite and has no misgivings about anything that occurred

23   here.   He refuses to change his conduct.      Clearly, he is

24   undeterred.




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 1                                     IV.

 2                             CONCLUSIONS OF LAW

 3   Stein Formed an Attorney-Client Relationship with the Tribe and

 4   Owed It a Fiduciary Duty.

 5   105. Whether Stein established an attorney-client relationship

 6   is generally a question of law, and not facts.       Meehan v. Hopps,

 7   144 Cal.App.2d 284, 287 (1956)    (existence of an attorney-client

 8   relationship is a question of law).      The facts and the law

 9   strongly support that Stein was the Tribe's lawyer.       Stein

10   defended himself by stating that the SMDC Agreement's express

11   language disclaimed any attorney-client relationship with the

12   Tribe.     There is no dispute that the SMDC Agreement contained

13   that language.     However, that language is not dispositive when

14   all the conduct between the parties that occurred outside the

15   scope of the SMDC Agreement and during the scope of the parties'

16   professional relationship contradicts it.

17   106. Margolis, the Tribe's expert witness, explained that an

18   attorney-client relationship could be formed without an express

19   agreement.     Lister v. State Bar, 51 Cal.3d 1117, 1126 (1990);

m Davis v. State Bar, 33 Cal.3d 231, 237 (1983). Neither a fee
ti   payment nor a formal agreement is required to show that an

~    attorney-client relationship existed.      Ibid.   Rather, an

23   attorney-client relationship may be "implied" between the

24   parties.     Westinghouse Elec. Corp. v. Kerr-McGee Corp., 580 F.2d




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 1       1311, 1319 ( 7th Cir. 1978}   (professional relationship "hinges

 2       upon the client's belief that he is consulting a lawyer in that

 3       capacity and his manifested intention to seek professional legal

 4       advice"   (internal quotations omitted).)

 5       107. To determine the existence of an implied attorney-client

 6       relationship, California courts look to "the intent and conduct

 7       of the parties."   Hecht v. Super. Ct.      (Ferguson), 192 Cal.App.3d

 8       560, 565 (1987).    These two factors are the most "critical [in]

 9       the formation of the attorney-client relationship."         Ibid.    We

10       deal with the second factor (conduct) first because it is

11       straightforward.

12       Stein's Conduct and the Tribe's Conduct Were Consistent with the

13       Expectation That Stein Was the Tribe's Lawyer.

14       108. To establish an implied attorney-client relationship, it is

15       enough to show that legal advice and assistance was sought and

16       received.    "When a party seeking legal advice consults an

17       attorney at law and secures that advice, the relation of

18       attorney and client is established prima facie."         Beery v. State

19       Bar, 43 Cal. 3d 802, 811-812 ( 1987)     (Beery)   (internal quotations

;fij     omitted).    Also, the practice of law includes giving "legal

         advice and legal instrument and contract preparation, whether or

22
 (,(,J
         not these subjects were rendered in the course of litigation. '1

23       Birbrower, Montalbano, Condon & Frank, P.C. v. Super. Ct.           (ESQ

24       Business Services, Inc.), 17 Cal.4th 119, 128 (1998).




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   1       Similarly, providing legal advice includes "the drawing of

    2      agreements, the organization of corporations and preparing

    3      papers connected therewith[.]"     People ex rel. Lawyers Institute

    4      of San Diego v. Merchants' Protective Corp., 189 Cal. 531, 535

    5      (1922).

    6      109. Here, all the credible evidence is that Stein provided

    7      legal advice and acted as the Tribe's lawyer.    A short non-

    8      exhaustive list includes that:

    9           a.   Stein was the principal drafter of the SMDC Agreement

10            with the assistance of one or two other lawyers, Mr. Watt and

11         Mr. Sulzer of Seyfarth Shaw.

12              b.   After the SMDC Agreement was purportedly in effect,

13         Stein became a trusted legal advisor who left a trail of written

14         legal opinions and work-product.

15              C.   Stein freely admitted to drafting the "cutting edge"

16         legal advice which he provided regarding engaging in gaming in

17         California without federal recognition.

18              d.   Stein drafted or closely supervised the drafting of

19         all tribal resolutions.

                e.   Stein provided advice on the initiation of the Morales

2'.f       Family litigation (and whether the Tribe, as an entity, should

22
 ,:1:::.   be a party to the litigation), and the negotiation of payments

23         for the Tribe's adverse judgment from that litigation.

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 1          f.     Stein advised the Tribe on the competence of other

 2    lawyers/ including the Tribe's lawyers such as Aronson.

 3         g.      Stein hired and fired the Tribe's lawyers without the

 4    express or implicit consent of the Tribe (including Lamothe,

 5    Barrett and Aronson, without the knowledge or consent of the

 6    Tribe) .

 7          h.     Stein conducted all final negotiations on important

 8    contracts, including the SMDC Agreement and the Libra Agreement,

 9    and any modifications to them.        (SF ~1100-132.)

10    110. Of significance was that he provided very detailed legal

11    opinion(s) advising the Tribe that it was legally possible for

12    the Tribe to build a casino in California even though they were

13    (according to Stein) only a state recognized Tribe and had not

14    yet achieved federal recognition.          Indeed, Stein was the sole

15    author of that shorter (four-page) legal opinion containing this

16    legal advice to the Attorney General (Bill Lockyer) and the

17    Tribe.     (SF 151.)

18    111. There was no evidence that the Tribe or any of its members

19    ever rejected Stein's legal services or that they did not think

20:   of him as their lawyer.       They had formed an opinion that he was

      their most trusted advisor and lawyer.         Even outside observers

2~    such as Mr. Johnson (who was called as Stein's witness) formed

23    the opinion that Stein was performing legal work for the Tribe.

24    (SF ~101.)    This opinion was reinforced when he hired and fired




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1    the Tribe's lawyers (Lamothe, Barrett and Aronson) and offered

 2   opinions as to their legal competence.

 3   112. Until this action was filed, Stein never clearly disclaimed

 4   his role as a lawyer for the Tribe.

 5   113. Disclaiming an attorney-client relationship, or fiduciary

 6   duties will not prevent the existence of such a relationship if

 7   the lawyer attempting to disclaim a relationship is in fact

 8   performing legal services or offering legal advice.

 9   Benninghoff v. Super. Ct.        (State Bar of California), 136

10   Cal.App.4th 61, 73   &   fn.10    (2006); Cal. State Bar Form. Opn.

11   2004-165, at p. 5.

12   114. Moreover, it is unclear whether the Tribal Council ever

13   understood the SMDC Agreement in detail, or in some, cases, at

14   all.   Some of them understood it in broad brushstrokes but none

15   of them were lawyers.      They did not pay any attention to the

16   language in SMDC Agreement disclaiming Stein's role as their

17   lawyer.   Indeed, they had no time to review it at all.           Carmelo

18   did not even recall seeing the original SMDC Agreement until

19   this litigation started.         She had been presented with amendments

     to sign, but not the entire document.

     115. It is worth restating the Tribe was not represented by an

     attorney (other than Stein) when it entered into the SMDC

23   Agreement.   Only during the amendments did the lawyers Stein

24   hired represent the Tribe, but the original SMDC Agreement did




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 1   not accompany the amendments.   Those lawyers who represented the

 2   Tribe, especially Lamothe, had conflicts of their own.    For

 3   example, Lamothe was not an independent lawyer as Stein, who

 4   used his own legal judgment to override Lamothe's legal

 5   judgment, was vigorously supervising her.

 6   116. "The attorney's duty to communicate with a client includes

 7   the duty to communicate to persons who reasonably believe they

 8   are clients to the attorney's knowledge at least to the extent

 9   of advising them that they are not clients."    Butler v. State

10   Bar, 42 Cal.3d 323, 329 (1986); see also Cal. State Bar Form.

11   Opn. 2001-155.   Stein offered no evidence that he ever clarified

12   to the Tribe, either orally or in writing, that he was not their

13   lawyer.

14   Stein Had Numerous Conflicts of Interest.

15   117. A lawyer's duties to a client begin when the relationship

16   starts.   Styles v. Mumbert, 164 Cal.App.4th 1163, 1167 (2008).

17   Stein began to provide legal services to the Tribe when he was

18   seeking to start a relationship with the Tribe, before the SMDC

19   Agreement was signed, when he prepared the SMDC Agreement, and

     when he prepared associated resolutions for the Tribal Council's

     execution.

     118. According to expert Margolis, when Stein advised the Tribe

23   that it did not need to achieve federal recognition to engage in

24   gaming, Stein had a conflict.   That advice was motivated by the




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 1   fact that if the Tribe achieved federal recognition, Stein's 10%

 2   interest in the Tribe's future gaming operations revenue under

 3   the SMDC Agreement would be scrutinized by the NIGC and

 4   rejected.     He was obliged to advise the Tribe that he had an

 5   adverse interest pursuant to Rule 3-310(B) (1) of the Rules of

 6   Professional Conduct and was required to provide a written

 7   disclosure to the Tribe.     He did not.   Thus, Stein violated his

 8   fiduciary duty.

 9   119. Expert Margolis opined that Stein also violated Rule 3-300

10   of the Rules of Professional Conduct by failing to advise the

11   Tribe that by acquiring a financial interest adverse to the

12   Tribe, Stein must give the Tribe a meaningful opportunity to

13   consult with another lawyer (or to provide the Tribe the same

14   advice as he would provide as against a third person).      Stein

15   did not.    Thus, Stein violated his fiduciary duty.

16   120. Expert Margolis also opined that Stein violated Rules 3-

17   310(A} and 3-310(B} (1) of the Rules of Professional Conduct,

18   which require a lawyer to advise any client that he has a legal,

19   financial, business or personal relationship with another party

     in the same matter.     In this case, Margolis noted that Stein

it   admitted that he had a relationship with both SMDC and the Tribe

     and (according to Stein's own testimony) provided concurrent

23   advice to both as to the SMDC Agreement or any of its

24   amendments.     Pursuant to Rule 3-310(A), Stein was required to




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   1     provide written disclosures to both but did not.    Margolis

   2     opined that Stein also violated Rule 3-310(B) (3) which prohibits

   3     a lawyer who has a legal, business, financial, personal or

   4     professional relationship with another person or entity that the

   5     attorney knows or reasonably should know would be affected

   6     substantially by resolution of the matter.

   7     121. Margolis opined that Stein also violated Rule 3-310(B) (4)

   8     which requires a written disclosure when an attorney has a

   9     legal, business, financial, professional interest in the subject

10       of a matter or representation.    Stein made no such disclosures.

11       122. Margolis opined that Stein also violated Rules 3-310(C) (1)

12       and (2) which prohibits concurrent representation (SMDC and the

13       Tribe) when they had adverse or potentially adverse interests

14       and requires that Stein provide not just written disclosures,

15       but written consents from the clients.    Stein neither made

16       disclosures nor obtained consents.

17       123. Most of these conflicts were based on Stein's own testimony

18       that he was acting as the legal representative of SMDC during

19       the entire course and scope of his relationship with the Tribe,

         including when he entered into the SMDC Agreement, where he

2:1:'.   represented both the Tribe and SMDC, and every time he drafted a

         resolution, when he represented the interests of both the Tribe

23       and SMDC when either reviewing or drafting each of those

24       resolutions.




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1    124. Stein also had a conflict every time he advocated for

2    engaging in gaming in California without federal recognition as

3    he failed to tell the Tribe that his advice was motivated by his

4    interest in the SMDC Agreement that would be extinguished if the

 5   Tribe achieved federal recognition.

 6   Stein Breached His Fiduciary Duty As an Officer of the Tribe

 7   Even If He Was Not the Tribe's Lawyer.

 8   125. Stein breached his fiduciary duties of loyalty to the Tribe

 9   by the conflicts of interest detailed above.     But, even if Stein

10   was not considered a lawyer of the Tribe, he still breached

11   fiduciary duties by his acts as an officer of the Tribe.        Stein

12   was an executive officer of the Tribe.      (He served as its

13   developer.)   The elements of a cause of action for breach of

14   fiduciary duty are the existence of a fiduciary relationship, its

15   breach, and damage proximately caused by that breach.      Knox v.

16   Dean, 205 Cal.App.4th 417, 432-433 (2012).

17   126. One of the essential fiduciary duties is the duty of

18   loyalty.   Indeed, "[e]very agent owes his principal the duty of

19   undivided loyalty.    During the course of his agency, he may not

2Q   undertake or participate in activities adverse to the interests

     of his principal.     In the absence     an agreement to the

     contrary, an agent is free to engage in competition with his

23   principal after termination of his employment but he may plan

24   and develop his competitive enterprise during the course of his




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 1   agency only where the particular activity engaged in is not

 2   against the best interests of his principal."     Sequoia Vacuum

 3   Systems v. Stransky, 229 Cal.App.2d 281, 287 (1964).      According

 4   to Margolis, Stein also owed the duty of candor, of

 5   confidentiality -    all of which he breached.

 6   127. Even if Stein were not the Tribe's lawyer, and his role was

 7   solely of that of a developer, he breached duties to the Tribe

 8   by pursuing a no-federal recognition strategy because it would

 9   affect his rights to recover 10% of the Tribe's future gaming

10   revenue.   Stein was an executive officer of the Tribe.     He acted

11   on his own interest and against the Tribe's interest for the

12   reason that it would be (in the long run) more financially

13   advantageous to him, despite the Tribe's repeatedly stated

14   wishes for federal recognition.

15   128. Moreover, all of Stein's behavior was against the interests

16   of the Tribe and was not dependent on Stein's conduct as a

17   lawyer, but as a fiduciary with divided loyalties.     For example:

18   Stein sent letters to the Tribe's membership, without the Tribal

19   Council's consent or knowledge; Stein froze the Tribe's bank

~    account; and Stein demanded that the Libra investors pay him

     instead of the Tribe, even though the Libra Agreement was for

~    the benefit of the Tribe.

23   II
24   II



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  1     Stein Committed Malpractice.

  2     129. It is malpractice for an attorney to breach the ethical

  3     duties of good faith and fidelity (loyalty).        T&R Foods, Inc. v.

  4     Rose, 47 Cal.App.4th Supp. 1, 8 (1996)       (failure to segregate

  5     client funds constitutes breach of fiduciary duty).

  6     130. Stein breached his ethical duties, willfully concealed

  7     information from the Tribe, and attempted to mislead the Tribe

  8     (about Stein's relationship with the Tribe as a lawyer, and

  9     about Otto being a lawyer for the Tribe).

10      131. Stein provided the Tribe with advice that benefitted Stein,

11      even if it was legally incorrect.        For all those reasons and

12      gross violations of ethics described herein, Stein is liable for

13      malpractice for violations of his fiduciary duties to the Tribe.

14      Stein Is Liable for a Number of Business Torts with Regard to

15      the Tribe.

16      132. Stein is liable for the tort of conversion of the Tribe's

17      property.     To prevail on a claim of conversion, a plaintiff must

18      show that "the essential elements of [] conversion . . . are [l]

19      the plaintiff's ownership or right to possession of the property

415'.   at the time of the conversion;     [2] the defendant's conversion by

2I      a wrongful act or disposition of property rights; and [3]

2'£     damages."     Shopoff & Cavallo LLP v. Hyon, 167 Cal.App. 4th 1489,

23      1507 (2008)    (internal quotations omitted).     Importantly,

24      "[c]onversion is a strict liability tort . .           Therefore,



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  1     questions of the defendant's good faith, lack of knowledge, and

  2     motive are ordinarily immaterial."       Burlesci v. Petersen, 68

  3     Cal.App.4th 1062, 1066 (1998).

  4     133. Stein admitted that he retained possession of the Tribe's

  5     membership and financial records and other business records

  6     after his relationship with the Tribe had unambiguously

  7     terminated.     Thus, he admitted all the essential facts of

  8     conversion (and also breach of fiduciary duty).

  9     134. During the confrontation between the Tribal Council and

10      Stein on September 9, 2006 in Stein's Law Offices (where he also

11      set up the Tribe's offices), the Tribal Councilmembers took

12      whatever documents they could, but many of the Tribe's documents

13      and its computers were left behind.      Stein used that

14      information, computers, and documents for his own purposes,

15      including sending letters to financial institutions and to the

16      membership to disparage the Tribal Council and gain support for

17      himself.     To this date, he has not returned those records or

18      computers.

19      135. The Tribe's damages are established because after twelve

iQ      years, the Tribe has not been able to use this property,

21      diminishing the value of some of these items (such as the

22'
 ·:f)   computers} and depriving the Tribe of the opportunity to conduct

23      business with others (their membership records) or pursue

24      federal recognition.




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 1   136. Stein is liable for the tort of misappropriation of trade

 2   secrets in the form of confidential membership records.        To

 3   establish a prima facie claim of misappropriation of trade

 4   secrets, the plaintiff must show:        1) plaintiff owned a trade

 5   secret; 2) defendant acquired, revealed or used the plaintiff's

 6   trade secret through improper means and; 3) plaintiff was

 7   damaged by defendant's actions.      Sargent Fletcher, Inc. v. Able

 8   Corp., 110 Cal.App.4th 1658, 1665 (2003).        In California, a

 9   trade secret is information that a) derives independent economic

10   value (actual or merely potential) from not being generally well

11   known to the public or others; and b) is the subject of

12   reasonable efforts to maintain its secrecy.        Civ. Code

13   §3426.l(d).     Significantly, this definition applies if the trade

14   secret was "[a]cquired under circumstances giving rise to a duty

15   to maintain its secrecy or limit its use.°        Civ. Code

16   §3426 .1 (B) (b) (ii).

17   137. The Tribe's membership records were highly confidential

18   documents that proved each member's familiar and Native American

19   ancestry and which individually belonged to the members.        In the

     aggregate, the membership records belonged to the Tribe and the

     extended family groups it represented.       These documents

     comprised the Tribe's membership list, contact information and

23   membership records.      With respect to Exhibit 520, Stein admitted

24   that the membership records and the membership as a whole were




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1    developed as a result of the efforts of individual Tribal

2    Councilmembers, and not as a consequence of his own efforts.

 3   Exhibit 520 was Stein's letter to the membership that stated:

 4   "With the excellent work of the Tribal Council, we built up

 5   tribal membership to over 1900 Gabrielinos."

 6   138. Similarly, Carmelo recalled that the Tribal Council records

 7   were the result of efforts by the four main tribal

 8   councilmembers (Alcala, Sam Dunlap, Shirley Machado, and Perez)

 9   who were specifically chosen to serve on the Tribal Council

10   because they were representatives of key family groups of

11   surviving Gabrielinos.    Each of these Tribal Council people, as

12   representatives of their family groups recruited their families

13   to join the Tribe.

14   139. Accordingly, these were the Tribe's trade secrets, and not

15   Stein's or SMDC's work product.      Yet, Stein maintained

16   possession of these records and refused to turn them over to

17   Tribe when it asked for them.

18   140. Stein and SMDC are liable for the tort of breach of

19   confidences of the Tribe.      Under California law, a breach of

     confidence claim arises when (1) an idea, whether or not

     protectable (as a trade secret, for example), is offered to

     another in confidence,   (2)   is voluntarily received in confidence

23   with the understanding that it is not to be disclosed, and

24   (3)   is not to be used by the receiving party beyond the limits




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 1   of the confidence, without express permission provided.

 2   Faris v. Enberg, 97 Cal.App.3d 309, 323 (1979).

 3   141. As noted above, the membership records were maintained

 4   confidentially.    Stein, SMDC, Stein's Law Offices, Garcia, the

 5   Tribe's leadership and GTGA had access, but access was

 6   restricted and not generally available to the public, or to

 7   members of the Tribe who did not serve in a leadership capacity.

 8   After Stein's relationship with the Tribe ended, Stein admitted

 9   that he used the Tribe's membership records for the benefit of

10   Stein and SMDC, and contrary to the rights of the Tribe and

11   GTGA.   So he breached the confidences of the Tribe.

12   142. Stein is liable or the tort of intentionally interfering

13   with economic and prospective relationships of the Tribe.

14   Because the two claims (intentional interference with

15   contractual relationship and prospective relationship) are

16   related, they are best considered together.

17   143. To prove a claim for intentional interference with a

18   contractual relationship, the Tribe must show:    (1) the existence

19   of a valid contract between plaintiff and a third party;    (2) the

4~   defendant knew of the contract;    (3) defendant intentionally

~    acted to induce a breach or disrupt the contractual

     relationship; and (4) there was an actual breach or disruption

23   of the relationship that resulted in damage.     Pacific Gas &

24   Electric Co. v. Bear Stearns & Co., 50 Cal.3d 1118, 1126 (1990);




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 1    accord Quelimane Co. v. Stewart Title Guaranty Co., 19 Cal.4th

 2    26,   55   (1998).

 3    144. Here, Stein/SMDC interfered with the Tribe's contract with

 4    the Libra investors.      The Libra Agreement between the Tribe and

 5    the Libra investors existed during the time in question.          Stein

 6    negotiated the Libra Agreement between the Tribe and the Libra

 7    Group.     Thus, he knew of that relationship.

 8    145. Stein disrupted the relationship with Libra intentionally,

 9    when the dispute between Stein and the Tribe first came to a

10    head.      Stein did not get to spend the Libra money as he wanted,

11    so Stein threatened to send the money back to Libra, rather than

12    continue working with the Tribe.          He followed through on that

13    threat by interfering with the Libra deal.

14    146. Stein's attorney, Sulzer, testified that once a dispute

15    with the Tribe started, Stein/SMDC wanted Libra to pay Stein any

16    monies owed by the Tribe (the monthly fee).          Stein/SMDC insisted

17    that Stein and SMDC be first in line for payment.          By insisting

18    to not go away until those monies were paid, even though he had

19    no right to payment from the Libra funds (a fact he was well

iii   aware of), Stein interrupted the Libra Agreement.          Because Libra

2f    did not deviate from the original intention of its agreement

zi    with the Tribe (which had nothing to do with payment to Stein)

23    and did not want to pay Stein, Stein's threat came to fruition.

24




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 1     147. Stein's demand to Libra also revealed that Stein and Sulzer

 2     had a high degree of confidence that the $18 million that Libra

  3    had promised to the Tribe would be forthcoming imminently.

 4     148. Stein interfered with a prospective economic advantage of

  5    the Tribe for the same reason, so the Tribe prevails on its

  6    claim for interference with prospective economic advantage.           To

  7    succeed, plaintiff must show:    "(l) an economic relationship

  8    between the plaintiff and a third party, with the probability of

  9    future economic benefit to the plaintiff;       (2) the defendant's

10     knowledge of the relationship;   (3)     an intentional act by the

11     defendant, designed to disrupt the relationship;       (4)   actual

12     disruption of the relationship; and (5) economic harm to the

13     plaintiff proximately caused by the defendant's wrongful act,

14     including an intentional act by the defendant that is designed

15     to disrupt the relationship between the plaintiff and a third

16     party."   Edwards v. Arthur Andersen LLP, 44 Cal.4th 937, 944

17     (2008).

18     149. Here,   the future economic prospect was the $18 million that

19     Libra had promised as subsequent tranches to the Tribe.          Stein

2:jS   wanted the Tribe and Libra to promise to use those subsequent

2~     tranches to pay him, or else he would disrupt the relationship.

4,£    He did disrupt the relationship.        The damages or economic harms

23     were the remainder of the $21 million of Libra funds that Libra

24     promised to the Tribe but that were cut-off because of Stein.




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 1    150. The SMDC Agreement is voidable and subject to rescission,

 2    but alternatively, Stein breached the SMDC Agreement.      The Tribe

 3    pled the breach of contract cause of action in the alternative.

 4    During the trial, the Tribe showed that Stein and SMDC breached

 5    the SMDC Agreement, but since the Court has found that the

 6    contract (SMDC Agreement) is voidable, and subject to rescission

 7    by election of the Tribe, this claim is not considered in detail

 8    here.

 9    151. Nonetheless, Stein and SMDC breached the SMDC Agreement.

10    To prove breach of contract, the Tribe must show and has shown:

11    (1) the existence of a contract,     (2) plaintiff's performance or

12    excuse for non-performance,   (3) defendant's breach, and (4)

13    damages to plaintiff therefrom.     Acoustics, Inc. v. Trepte

14    Constr. Co., 14 Cal.App.3d 887, 913 (1971).     "When a party's

15    failure to perform a contractual obligation constitutes a

16    material breach of the contract, the other party may be

17    discharged from its duty to perform under the contract."

18    Brown v. Grimes, 192 Cal.App.4th 265, 277 (2011).

19    152. SMDC repeatedly alleged that the contract is valid.        The

iti   Tribe alleged it is voidable (the Court agrees it is subject to

      rescission) but even so, the Tribe alleges, that SMDC and Stein

      breached the agreement.   The Tribe has duly performed all

23    conditions and obligations on its part to be performed under the

24




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 1    SMDC Agreement, except to the extent that performance was

 2    excused by SMDC.

 3    153. Stein/SMDC breached the Agreement by pursuing only one of

 4    the two material promises made in the SMDC Agreement, that is,

 5    the casino.   Indeed, Stein/SMDC abandoned the second promise,

 6    pursuit of federal recognition.     Stein did so without telling

 7    the Tribe that federal recognition was against Stein/SMDC's

 8    interest because federal recognition would cause the NIGC to

 9    invalidate Stein/SMDC's 10% gaming receipts incentive in the

10    SMDC Agreement.

11    154. And, while Stein/SMDC sought to modify or amend the SMDC

12    Agreement many times, Stein/SMDC never sought to modify the SMDC

13    Agreement in a way that would make it comply with the NGIC's

14    sole proprietary interest rule.     By never intending to perform

15    on the SMDC Agreement as to federal recognition, Stein breached

16    it.

17    155. Additionally, Stein/SMDC breached the SMDC Agreement by the

18    following conduct:

19          a.   usurping the authority of the Tribal Council described

20:   in the SMDC Agreement which guarantees that "all ultimate

2j:   decisions" in connection with the Economic Development Tasks

2i    "reside solely with the Tribe and their Council" by terminating

23    Tribal professionals, forcing Tribal Council members to resign,

24




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 1     and trying to get carte blanche power to spend Tribe investment

  2    monies,   in violation of p. 2, para. C.

  3         b.    terminating the Tribe's outside counsel, Barrett,

  4    without Tribal Council approval before the closing of the Libra

  5    Agreement in violation of p. 3, para. l(b) (ix).

  6         C.     terminating or attempting to terminate Aronson (Tribe

  7    General Counsel and outside counsel) in violation of p. 5,

  8    para. 2(c) (ii).

  9         d.    refusing to explore federal recognition in violation

10     of p. 5, para. 3(a).

11          e.    trying to force tribal council members to resign and

12     attempting to gain sole signatory authority of Tribe investment

13     monies in violation of p. 6, para. 2(f).

14          f.    attempting to claim reimbursement of unreasonable

15     expenses, including, but not limited to, expenses incurred by

16     the Law Offices and/or double billing for expenses in violation

17     of p. 7, para. 4(b).

18     156. Stein/SMDC breached the implied covenant of good faith and

19     fair dealing as well.    Since the Court has found that the SMDC

1B     Agreement is voidable, and subject to rescission by election of

       the Tribe, this claim is not considered in detail here.

2;2,   157. Nonetheless,    "(t]he covenant of good faith and fair

23     dealing, implied by law in every contract, exists merely to

24     prevent one contracting party from unfairly frustrating the




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 1   other party's right to receive the benefits of the agreement

 2   actually made."     Guz v. Bechtel Nat., Inc., 24 Cal.4th 317, 349

 3   ( 2000)   ( emphasis in original) .    The covenant "cannot impose

 4   substantive duties or limits on the contracting parties beyond

 5   those incorporated in the specific terms of their agreement."

 6   Id. at 349-350.

 7   158. By failing to pursue federal recognition and by failing to

 8   tell the Tribe and Tribal Council that the 10% incentive would

 9   be unenforceable if the Tribe achieved federal recognition,

10   Stein breached the covenant for good faith and fair dealing

11   implied in the SMDC Agreement.

12   159. Also, by attempting to usurp the power of the Tribal

13   Council to supervise and hire and fire all professionals,

14   including attorneys, Stein/SMDC breached the implied covenant of

15   good faith and fair dealing.

16   160. Stein violated Penal Code §502(c) and committed computer

17   fraud.    Penal Code §502(c) forbids actions by anybody who

18   "[k]nowingly accesses and without permission alters, damages,

19   deletes, destroys, or otherwise uses any data, computer,

     computer system, or computer network in order to either (A)

     devise or execute any scheme or artifice to defraud, deceive, or

     extort, or (B) wrongfully control or obtain money, property, or

23   data" and who "[k]nowingly and without permission uses the

24   Internet domain name or profile of another individual,




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 1   corporation, or entity in connection with the sending of one or

 2   more electronic mail messages or posts and thereby damages or

 3   causes damage to a computer, computer data, computer system, or

 4   computer network."      Pen. Code §502(c) (1)    &   (9).   Subdivision

 5   (e) (1) of the same Penal Code section provides that a person

 6   affected by this section may "bring a civil action against the

 7   violator for compensatory damages and injunctive relief or other

 8   equitable relief."

 9   161. Stein acknowledged that after his relationship with the

10   Tribe ended, he kept the Tribe's computer which contained all of

11   the Tribe's relevant data, without the Tribe's permission.

12   Stein also retained custody of the Tribe's email and web

13   address.   (SF 1188.)

14   162. Moreover, he used the website for the benefit of the

15   Candelaria Faction, even though he knew that they had no legal

16   right to it.

17   163. Stein/SMDC is liable for the tort of unfair competition in

18   violation of Business and Professions Code §17200.             "[U]nfair

19   competition shall mean and include any unlawful, unfair or

     fraudulent business act or practice and unfair, deceptive,

     untrue or misleading advertising and any act prohibited by

     Chapter 1[.J"   Bus.    &   Prof. Code §17200.   Accordingly, a

23   violation of another law or unfair practice may premise a

24   violation of this statute.




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 1     164. Here, the claim against Stein/SMDC is based on a number of

 2     other claims stated against Stein, including unlawfully

 3     retaining the Tribe's books and records, misappropriation of

 4     trade secrets, and fraud.

 5     165. Accordingly, the Tribe is entitled to restitution of the

 6     amounts paid to Stein/SMDC under the SMDC Agreement.

 7     The SMDC Agreement is Subject to Rescission.

 8     166. The SMDC Agreement is subject to rescission because Stein

 9     violated an important California Rule of Ethics.       California law

10     does not prohibit attorneys from entering into business

11     transactions with clients.    However, because of the strict

12     fiduciary duties imposed on attorneys, those transactions are

13     strictly scrutinized for fairness and for full and specific

14     disclosure.   Beery, supra, 43 Cal.3d at 812; Mayhew v.

15     Benninghof f, 53 Cal.App. 4th 1365, 1369 ( 1997)   {Mayhew) .

16     167. Consistent with these principles, Rule 3-300 of the Rules

17     of Professional Conduct provides that:

18          A member shall not enter into a business transaction
            with a client; or knowingly acquire an ownership,
19          possessory, security, or other pecuniary interest
            adverse to a client, unless each of the following
4~          requirements has been satisfied:

2t          (A) The transaction or acquisition and its terms are
            fair and reasonable to the client and are fully
22
:,c;        disclosed and transmitted in writing to the client in
            a manner which should reasonably have been understood
23          by the client;

24




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 1           (B) The client is advised in writing that the client
             may seek the advice of an independent lawyer of the
 2           client's choice and is given a reasonable opportunity
             to seek that advice; and
 3
             (Cl The client thereafter consents in writing to the
 4           terms of the transaction or the terms of the
             acquisition.
 5
     Rules Prof. Conduct, rule 3-300.            Failure to comply with Rule 3-
 6
     300 will not automatically invalidate an attorney-client
 7
     transaction, but it does render the transaction "voidable" at
 8
     the client's option.       BGJ Associates v. Wilson, 113 Cal.App.4th
 9
     1217, 1226 (2003)      (BGJ).   Stein failed to comply with each
10
     subsection of Rule 3-300.         Stein acquired an ownership interest
11
     in the Tribe because he was guaranteed 10% of future casino
12
     gaming revenue per the SMDC Agreement, and he drafted Tribal
13
     resolutions and the SMDC Agreement at the outset of his
14
     relationship with the Tribe.
15
     168. The Tribal members who reviewed the SMDC Agreement in
16
     February 2001 or March 2001 did not understand the SMDC
17
     Agreement, and it was not explained to them in a manner in which
18
     they could understand it (in violation of Section {A) of Rule 3-
19
     300).     In fact,   they were not even given copies of the Agreement

     to take home to review.         So they had no meaningful opportunity

     to get an independent lawyer to help them review the document,

     or anybody else for that matter, to help explain it to them,
23
     other than Stein.
24




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 1   169. Stein misled the original signatories of the SMDC Agreement

 2   about the fact that they had a lawyer representing them (Otto).

 3   As Otto stated in his letters, he was not the Tribe's lawyer and

 4   had not reviewed the SMDC Agreement, and he should not be

 5   considered as having reviewed it.        So, the Tribe had no lawyer

 6   other than Stein at the time that it entered into the original

 7   SMDC Agreement.     And, the Tribal Council members were not

 8   allowed to take the Agreement home, so they could not search for

 9   their own lawyer to help them review the document and understand

10   it.     The Tribe had no reasonable opportunity to get legal

11   assistance to review the SMDC Agreement, in violation of

12   Section (B) of Rule 3-300.

13   170. Stein did not overcome the presumption that the SMDC

14   Agreement was without adequate consideration and was therefore a

15   result of undue influence.     Mayhew, supra, 53 Cal.App.4th at

16   1369.     The burden is on the attorney to show that the dealings

17   were fair and reasonable.     BGJ, supra, 113 Cal.App.4th at 1228.

18   Stein did not overcome the presumption or meet the burden of

19   fairness.     If Stein had complied with the Rule, it was likely

     that independent counsel competent in the myriad complex matters

ti   covered by the SMDC Agreement would have provided different

     advice to the Tribe.     Independent counsel would have pointed out

23   that the twin goals of federal recognition and a casino were

24   incompatible under the SMDC Agreement because of the sole




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1     proprietary interest rule.     The sole proprietary rule is meant

2     to protect Native American tribes from the type of unfairness

3     embodied in the SMDC Agreement.     And the fact that Stein sought

4     to evade the rule by not pursuing federal recognition -        an

 5    important goal of the Tribe -     compounded the unfairness.        Thus,

 6    the Court has voided the SMDC Agreement at the Tribe's election.

 7    Stein, SMDC, and the Law Offices Are Alter Egos.

 8    171. In California, the alter ego doctrine allows a party to

 9    pierce the corporate veil and pursue the shareholders of the

10    corporation based on the manner in which they have dealt with

11    the corporation.   Associated Vendors, Inc. v. Oakland Meat Co.,

12    210 Cal.App.2d 825, 836-837 (1962).      Alter ego liability usually

13    involves the commingling of corporate funds,      failure to observe

14    corporate formalities including maintaining minutes and failure

15    to contribute sufficient capital.       Id. at 838-839.   Where

16    injustice would result but for the finding of alter ego

17    liability, courts tend to find for piercing the veil, especially

18    in the context of a tort.     Mesler v. Bragg Management Co., 39

19    Cal.3d 290, 300 (1985).      "The essence of the alter ego doctrine

      is that justice be done."      Id. at 301.
',,
21    172. The Court found that Stein and SMDC and Stein's d.b.a., the

      Law Offices of Jonathan Stein, are alter egos.        Stein is the

23    sole shareholder and manager of SMDC.        Law Offices of Jonathan

24    Stein is even more closely identified with Stein, as it is




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 1   merely his "doing business as"   (d.b.a.) entity.    He created SMDC

 2   for the sole purpose of entering into the SMDC Agreement with

 3   the Tribe and to perform the functions promised by SMDC.       Law

 4   Offices of Jonathan Stein was Stein's solo law practice.       But

 5   all three of them operated out of the same office, used the same

 6   staff, and accessed the same funds.     SMDC is inadequately

 7   capitalized and has no assets whatsoever.    Stein disregarded

 8   corporate formalities on behalf of SMDC.     It still exists only

 9   for purposes of this litigation but probably will not exist for

10   purposes of collection of any judgment resulting therefrom.

11   173. Garcia testified that she was an employee of Law Offices of

12   Jonathan Stein, and yet, at Stein's direction, she performed

13   work for the Tribe as the Tribe Administrator.      The Tribe, the

14   Law Offices of Jonathan Stein and SMDC all shared employees, an

15   office, and resources.   Stein testified that he paid expenses

16   for the Tribe either out of SMDC's funds or his own pocket (as

17   an individual) .

18   174. Former Senator Polanco, a consultant, testified that the

19   Law Offices of Jonathan Stein paid him and that the Law Office

     was then reimbursed by the Libra funds.

     175. Stein, SMDC, and the Law Offices of Jonathan Stein were one

22   and the same, and they all must be treated that way for purposes

23   of liability.

24   II



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 1   Stein Committed Fraud Against the Tribe.

 2   176. To prove its fraud claim, the Tribe must show:     (1) a false

 3   representation or concealment of a material fact susceptible of

 4   knowledge,    (2) made with knowledge of its falsity or without

 5   sufficient knowledge on the subject to warrant a representation,

 6   (3) with the intent to induce the person to whom it is made to

 7   act upon it; and this person must (4) act in reliance upon the

 8   representation (5) to his or her damage.     Reed v. King, 145

 9   Cal.App.3d 261, 264 (1983).

10   177. Stein fraudulently claimed that the Candelaria Faction was

11   the real Tribe.     Since October 2006, Stein began making

12   representations to the members of the Tribe which he knew were

13   false,    that is, that the faction of the Tribe represented by

14   Linda Candelaria was the real tribe.     Even after the jury found

15   that Plaintiff Tribe was the real party in interest,     Stein

16   continued to represent that:

17        a.      Plaintiff's Tribal Council members abandoned the

18   Tribe.

19        b.      The entity that he registered with the Secretary of

~    State in December 2006 and shared a similar name with Plaintiff

~    was the duly elected tribal entity, and that Plaintiff was a

~    false entity.

23

24




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 1        C.    The Candelaria Faction which was first registered (by

 2   Stein) in December 2006 continued to exist until the trial

 3   started.

 4        d.    The Candelaria Faction was created by Stein and

 5   existed for the sole reason of attempting to succeed to all of

 6   the legal rights and obligations of Plaintiff.

 7        e.    Stein and SMDC negotiated and entered into a

 8   settlement agreement in this litigation {later voided) with the

 9   Candelaria Faction.

10   178. Stein knew that all of these representations were false.

11   He made these representations in order to defraud and confuse

12   Gabrielinos who were members of Plaintiff and Gabrielinos who

13   were not in order to dissuade them from joining Plaintiff.

14   179. Stein had no reasonable basis for believing that these

15   representations were true.   He made them knowingly in order to

16   deceive and defraud Plaintiff's tribal members, other

17   Gabrielinos who were potential members, the public at large,

18   former investors, potential investors and the Court.      Stein made

19   these false representations in order to usurp all of Plaintiff

     Tribe's legal rights and obligations.

     180. Stein damaged the Tribe by deceiving the Tribe's members

     about the split between Stein and the Tribe thereby causing the

23   Libra investors, who had committed to supporting the Tribe, from

24   withdrawing its financial and other support.     The loss is more




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 1   than $18,000,000 which had been pledged by the Libra investors

2    but was lost because of Stein's fraudulent conduct.

 3   181. The Tribe also suffered through loss of reputation as it

 4   was forced to deny charges from Stein that the Tribal Council

 5   members had stolen money from the Tribe.

 6   182. Stein also committed fraud by attaching to the Libra

 7   Agreement dated May 20, 2006, as Exhibit B, a document which

 8   purports to be California Senate Bill 175, as allegedly

 9   introduced and amended by Senator Vincent.    Exhibit B to the

10   Libra Agreement led the Tribe (via Council Chair Carmelo) to

11   believe that it could game in California because actual

12   legislation had been introduced on its behalf.

13   183. However, Stein failed to disclose to the Tribe that two

14   days after the Libra Agreement was executed, on May 22, 2006,

15   the California Legislative Counsel of California issued an

16   opinion to Senator Vincent finding that "the Legislature has no

17   power to authorize a non-federally recognized Indian tribe to

18   operate slot machines, lottery games, and banking and percentage

19   card games in California, even if the state gives the tribe the

     designation of a state-recognized tribe[.]"    (Exh. 53, at

     p. 10.)   The opinion concluded with footnote 7, which explained

~?   that "the state of California may recognize a tribe that is not

23   federally recognized, but it has not done so."    Accordingly,

24   Stein's repeated representation that the Tribe was "state




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 1     recognized" was not true.       Stein knew about this opinion and yet

  2    failed to rectify this representation he made to Libra and to

  3    the Tribe.

  4    184. On July 15, 2006, Stein wrote to the Tribal Council to

  5    complain about "a lot of alleged misconduct on the part of the

  6    Tribe," and in a short statement, item number 6, he stated that

  7    "we recently suffered a huge defeat in Sacramento.             . we

  8    previously assured [the investors] that SB 175 was authored by

  9    Senator Vincent and would be introduced publicly, a major step

10     toward the casino.        In the August 9 report, we are likely going

11     to state that Sen. Vincent refused to author SB 175 and it will

12     not be publicly introduced."        {SF 1301.)     Accordingly, Stein

13     knew that his prior representation that SB 175 was authored was

14     a lie.

15     185. In fact, he admitted the above in Exhibit 54.           In that

16     email, he admitted that despite the fact that he represented to

17     the Libra investors that the legislation was authored and

18     introduced by a lawmaker, he had lied.           On the stand at trial,

19     Stein admitted that he drafted the document attached as an

1;Q    exhibit.     {Exh. 54.)    Moreover, the statements he made in that

if     email were untrue.        It was Stein who had made that

4_t,   representation on behalf of the Tribe.           The Tribe did not know

23     whether SB 175 had been introduced by Senator Vincent until

24




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 1   Stein in that email told them that he had lied to the Libra

 2   investors (purportedly) on their behalf.

 3   186. Stein also committed fraud by all of the following conduct:

 4        a.   accusing the Tribal Council of stealing funds, and

 5   freezing their banking accounts when he had no good faith basis

 6   for doing so and after he had ceased to have any actual

 7   authority over any aspect of the Tribe.     (Exhs. 107, 251.)

 8        b.   causing Ms. Candelaria to file the Statement of

 9   Unincorporated Association with the Secretary of State on

10   December 18, 2006, claiming she was the representative of the

11   Tribe, when he had no good faith bases of believing that she had

12   a right to do so.     (Exh. 107.)

13        C.   telling the Tribal Council who executed the SMDC

14   Agreement in March of 2001 that Otto had agreed to review the

15   Agreement and to act as their lawyer, and had approved of the

16   SMDC Agreement as a transaction on their behalf when he knew

17   that was a lie.     (Exhs. 16, 240.)

18   d.   failing to advise the Tribe (fraud by omission) that the

19   SMDC Agreement would be rejected by the NIGC if it ever achieved

     federal recognition.     (Stein, by his own description, was an

     expert on tribal gaming, yet he failed to advise the Tribe on

     this basic fact because it was against Stein's own interest.)

23   II
24   II



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1    Stein and SMDC's Cross-claims Fail.

2    187. Stein and SMDC filed, but never served, what would have

3    been the Cross-complaint in this action (Cross-complaint dated

4    August 20, 2007).     There is no proof of service despite the

 5   Court order giving leave to Stein to file proof of service years

 6   after it was filed.     (SF 11276-288.)

 7   188. The Court found that the SMDC Agreement was voidable by the

 8   Tribe and subject to rescission.     So even if Stein/SMDC's cross-

 9   claims were not inoperative for failure to serve, Stein/SMDC's

10   cause of action for breach of contract would be extinguished as

11   voidable and subject to rescission at the Tribe's election.

12   189. If Stein/SMDC's Cross-complaint had been served and the

13   breach of contract claim extinguished, Stein and SMDC would have

14   only two remaining claims:     one for account stated and another

15   for quantum meruit.     Those claims are similarly extinguished

16   because Stein failed to proffer any persuasive evidence that he

17   did the work that he claimed to have done.     He submitted two

18   documents which were incomplete and heavily redacted.

19   (Exhs. 1560-1562.)     Those documents had no indicia of

     reliability and failed to persuade the Court.     Without more than

     that, Stein failed to carry his burden that he had done the work

     he claimed to have done.     Stein refused to produce unredacted

23   copies of those documents.     If Stein had produced unredacted

24   records, the Court infers that they likely contained evidence




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 1   that Stein was either billing work for other (legal) clients and

 2   wrongfully charging it to the Tribe, or that Stein was doing

 3   extensive legal work for the Tribe as the Tribe's lawyer -

 4   which is what the Tribe contended all along.     The facts remain

 5   that Stein never produced unredacted copies of those documents,

 6   and what he produced contained no indicia of reliability that

 7   they were what he contended that they were.     Stein's claims for

 8   account stated and quantum meruit fail.

 9   Crane's Claims Also Fail.

10   190. Crane failed to submit competent, persuasive evidence that

11   it had done any work whatsoever for the Tribe.

12   191. Crane's contract stated that no money would be due until

13   the Tribe received more than $2 million in investment funds,

14   which it did not.    The Tribe only received one tranche from the

15   Libra investors that was less than $2 million ($1.8 million).

16   192. Crane was the federal lobbyist hired by Stein for the

17   Tribe.   Oddly, Stein represented Crane during this litigation.

18   Crane's case was consolidated with the main action.     Crane's

19   principal, Daniel Crane, testified that he had done some federal

     work for the Tribe, but other than his testimony which was

     elicited by Stein, he was unable to point to any tangible work

     product that he produced for the Tribe.     He also failed to show

23   any other evidence that he had actually done any work for the

24




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1    Tribe.     Thus, the Court concluded that he failed to carry his

2    burden and show that he had done the work he claimed he did.

3    193. Additionally, Crane's contract stated that it would only be

4    paid if the Tribe ever acquired more than $2 million in investor

 5   money.     The Tribe never did acquire more than $2 million in

 6   investor money because Stein interfered with the Libra contract.

 7   194. The Tribe only received the first tranche that had always

 8   been contemplated to be $1.8 million, less than the $2 million

 9   that would trigger any obligation to pay Crane.

10                                        V.

11                                   CONCLUSION

12   195. Given all of the findings of facts and law detailed above,

13   the Court renders the following Judgment:

14   1.   On the Fourth Amended Complaint 5 at case number BC361307:

15         a.     On all causes of action, in favor of Plaintiff

16   Gabrielino-Tongva Tribe (the "Tribe") and against Defendants

17

18

19   5 On August 20, 2007, a Cross-complaint was filed by Cross-complainants
     Jonathan Stein, Law offices of Jonathan Stein, St. Monica Development
     Company, LLC (SMDC) against Cross-defendants Gabrielino/Tongva Nation,
     Virginia Carmelo, Martin Alcala, Edgar Perez, Shirley Machado Adam Loya,
     Samuel Dunlap, Elizabeth Aronson and Richard G. Polanco, alleging the
     following causes of action: Breach of Contract (SMDC Agreement); breach of
     contract (FPPC contract); intentional interference with contractual
     relations; negligent interference with contractual relations; fraudulent
     conveyance; account stated; quantum meruit; declaratory relief (SMDC
23   Agreement); total indemnity; equitable indemnity and apportionment;
     contribution; declaratory relief (indemnification). However, there are no
     proofs of service of summons and complaint of such Cross-complaint upon any
24   Cross-defendant.




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1    Jonathan Stein, Law Offices of Jonathan Stein, and St. Monica

2    Development Company, LLC ("SMDC"), jointly and severally.

 3        b.    On all causes of action, the Court declares as

 4   follows:

 5              l}   Defendants Jonathan Stein and the Law Offices of

 6   Jonathan Stein violated California Rules of Professional

 7   Conduct, Rules 3-300 (avoiding interests adverse to client), 3-

 8   310 (avoiding the representation of adverse interests) and 3-100

 9   (confidential information of client);

10              2)   At the election of Plaintiff, the SMDC

11   Development Agreement is rescinded and void.

12        c.    On all causes of action, the Court enjoins and

13   restrains Defendants from:

14              1)   Retaining possession, custody or control of any

15   files, documents or other property of the Tribe, including but

16   not limited to (a) the Tribe's membership records, whether in

17   hard copy or electronic form,   (b) the Tribe's financial records,

18   whether in hard copy or electronic form,   (c) the Tribe's

19   internet domain name, www.tongvatribe.org, and (d) the Tribe's

     website;

                2)   Using any of the Tribe's confidential

     information, including but not limited to its membership records

23   or financial information;

24




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 1              3}      Contacting or soliciting any member of the Tribe

 2    for any purpose relating to any tribal membership or casino

 3    gaming project;

 4              4)      Disclosing or disseminating any of the Tribe's

 5    confidential information, including but not limited to its

 6    membership information or financial information;

 7              5)      Destroying, discarding, altering or otherwise

 8    making unavailable to the Tribe or its agents any documentary,

 9    computer or other evidence relevant to this litigation in

10    Defendants' and/or their agents' possession, custody or control;

11              6)      Holding themselves out to be the offices of or

12    affiliated in any manner with the Tribe, including but not

13    limited to (a) receiving telephone calls for the Tribe,

14    (b) answering their telephones as the Tribe or as any affiliate

15    of the Tribe, or as any other person, entity, or organization

16    using the words "Gabrielino-Tongva Tribe," "Gabrielino-Tongva,"

17    "Gabrielino Tribe," "Gabrielino," "Tongva Tribe 1 "   "Tongva," or

18    other phrase likely to create the impression that Defendants

19    have any relationship whatsoever to the Tribe,    (c) using the

26    Tribe's stationery, or any other stationery that uses the words

it    "Gabrielino-Tongva Tribe," "Gabrielino-Tongva," "Gabrielino

~~'   Tribe," "Gabrielino," "Tongva Tribe," "Tongva," and (d) using

23    the Tribe's logo;

24




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1                 7)   Using the Tribe's membership records, or any

2    document derived therefrom, to contact any member or members of

 3   the Tribe; and

 4                8)   Executing upon any order/writ for any of

 5   Plaintiff's property.

 6           d.   On all causes of action, the Court commands/orders

 7   Defendants to:

 8                1)   Deliver to the Tribe all of the Tribe's

 9   information in documentary or electronic form, or any other

10   form,    including but not limited to any all originals and copies

11   of the Tribe's membership records and financial records;

12                2}   Deliver to the Tribe all of the Tribe's

13   computers, disks and electronic equipment in the form and

14   condition in which they were taken from the Tribe;

15                3)   Deliver all of the above within 30 days of

16   service of this Judgment.

17           e.   On the first through sixth, ninth, eleventh, twelfth

18   and fifteenth causes of action, in favor of Plaintiff

19   Gabrielino-Tongva Tribe and against Defendants Jonathan Stein,

     Law Offices of Jonathan Stein, and St. Monica Development

     Company, LLC, jointly and severally, in the amount of

     $20,411,067.23    [$21,000,000 minus $800,000 (Libra}, minus

23   $161,067.23 (Tribe payments} minus $50,000 (Crane payment)]

24




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 1           f.   On the tenth cause of action, in favor of Plaintiff

 2   Gabrielino-Tongva Tribe and against Defendants Jonathan Stein,

 3   Law Offices of Jonathan Stein, and St. Monica Development

 4   Company, LLC, jointly and severally, the Court declares:

 5                1)   Pursuant to the jury 1 s verdict in the first phase

 6   of trial, Plaintiff is the real party in interest with standing

 7   to pursue the litigation;

 8                2)   Pursuant to the jury's verdict in the first phase

 9   of trial, Bernard Acuna, Linda Candelaria, Martha Gonzales-

10   Lemos, Laurie Salse, and Suzanne Rodriguez are not the Plaintiff

11   Gabrielino-Tongva Tribe, the real party-in-interest.

12           g.   On the fourteenth cause of action, in favor of

13   Plaintiff Gabrielino-Tongva Tribe and against Defendants

14   Jonathan Stein, Law Offices of Jonathan Stein, and St. Monica

15   Development Company, LLC, jointly and severally, the Court finds

16   that:

17                1)   Defendants Jonathan Stein, Law Offices of

18   Jonathan Stein, and St. Monica Development Company, LLC, are

19   alter egos of each other;

                  2)   Defendants Jonathan Stein, Law Offices of

     Jonathan Stein, and St. Monica Development Company, LLC, jointly

     and severally, are responsible for the obligations of each

23   other.

24




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 1           h.    Plaintiff Gabrielino-Tongva Tribe shall recover

 2   attorney fees and costs as provided by law.

 3           i.    Defendants Jonathan Stein, Law Offices of Jonathan

 4   Stein, and St. Monica Development Company, LLC, acted with

 5   malice, oppression, and fraud.

 6   2.      On the Cross-complaint filed on September 26, 2017 at case

 7   number BC361307, 6 on all causes of action, in favor of Cross-

 8   defendants Virginia Carmelo, Martin Alcala, Edgar Perez, Shirley

 9   Machado, Adam Loya, Samuel Dunlap, Elizabeth Aronson, and

10   Richard G. Polanco and against Cross-complainants Jonathan

11   Stein, Law Offices of Jonathan Stein, and St, Monica Development

12   Company, LLC.       Cross-complainants shall take nothing.

13   3.      On the First Amended Complaint at case number SC091633, 7 on

14   all causes of action, in favor of Defendants Virginia Carmelo,

15   Martin Alcala, Edgar Perez, Shirley Machado, Adam Loya, Samuel

16   Dunlap, Elizabeth Aronson, and Richard G. Polanco and against

17   Plaintiff St. Monica Development Company, LLC.              Plaintiff shall

18   take nothing.

19   4•      On the First Amended Cross-complaint at case number

     SC091644, on all causes of action, in favor of Cross-defendants

     Jonathan Stein, Law Offices of Jonathan Stein, and St. Monica



23   6
         Defendant Gabrielino-Tongva Tribe was dismissed on April 30, 2008.
     7
      Defendant Sheppard Mullin Richter and Hampton, LLP was dismissed on
24   December 1, 2011.




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1    Development Company, LLC, Bernard Acuna, Linda Candelaria,

 2   Martha Gonzales-Lemos, Laurie Salse, and Suzanne Rodriquez and

 3   against Cross-complainant Sam Dunlap.           Cross-complainant shall

 4   take nothing.

 5   5.    On the Complaint at case number SC092615, 8 on the second

 6   through fourth causes of action only, in favor of Defendants

 7   Virginia Carmelo, Martin Alcala, Edgar Perez, Shirley Machado,

 8   Adam Loya, Samuel Dunlap, Elizabeth Aronson, and Richard G.

 9   Polanco and against Plaintiff The Crane Group, Inc.             Plaintiff

10   shall take nothing.

11   6.    Defendants Jonathan Stein, Law Offices of Jonathan Stein,

12   and St. Monica Development Company, LLC, jointly and severally,

13   shall pay Plaintiff Gabrielino-Tongva Tribe punitive damages in

14   the amount of $7 million.

15         CLERK TO GIVE NOTICE TO ALL PARTIES.

16         IT IS SO ORDERED.

17   DATED:      August 27, 2019

18

19
                                                 YVETTE M. PALAZUELOS
                                                 JUDGE OF THE SUPERIOR COURT




23
     8
24     Defendants Gabrielino-Tongva Tribe and Gabrielino Tribal Gaming Authority
     were dismissed on October 19, 2011.



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        I.      ISSUE ONE- STEIN OWES THE PLAINTIFF (TRIBE) FIDUCIARY DUTIES AS A
                                    LAWYER/ATTORNEY
   2

   3                Material Fact/Evidence With Specific Citations to Testimony or Exhibits
   4    I.      Sam Dunlap ("Dunlap"), a former long-standing member of the Plaintiffs Tribal Council met
   5    Stein in early 2000. (Samuel Dunlap ("Dunlap"), June 29, 2016, Page 38, Lines 21-25) (Dunlap,
        7-7-2016, P. 51, L. 15-16)
   6
        2.      Al some point in early 2000, Dunlap received a notice from Arter & Hadden, LLP
   7    announcing that Stein was associated with them. The announcement stated that "Mr. Stein shall
        continue his groundbreaking work with tribal sovereigns and their related entities, including joint
   8
        agency-sovereign infrastructure financings, casino and resort financings, ... ". This announcement
   9    backed up Stein's representation of himself as an experienced litigator and sophisticated transactional
        lawyer with extensive experience in tribal gaming and financing. (Dunlap, 7-7-2016, P. 51, L. 6-28;
  10    P. 52, L. 5-15; P. 52, L. 25 -P. 54, L. 15) (Exh. 10 (Arter & Hadden LLP Announcement Re Stein))

   I    3.     When Stein first approached the tribe in 2000, he had the intention of entering into an
        attorney-client relationship. He offered to help them achieve federal recognition, but changed his
  12
        mind, deciding he wanted to be a real estate developer, be on the business end. (Jonathan Stein
  13    ("Stein"), June 27, 2016, Page 8, Line 18-26)

  14    4.      In 2000, Stein had an idea of developing tribal casino gaming in Los Angeles County by
        helping the Gabrielino-Tongva people achieve federal recognition.           Dunlap is a registered
   5    Gabrielino-Tongva Indian. At that time, Dunlap was familiar with a lot of the Gabrielino family
   6    groups in Southern California and Stein enlisted Dunlap in helping him with this idea. (Virginia
        Carmelo ("Carmelo"), June 28, 2016, Page 2, Linc 5 - Page 3, Linc 1) (Dunlap, 6-29-2016, P. 39,
  17    L. 6 P. 40, L. 5; P. 46, L. 2-18) (Patricia Nerninski ("Neminski"), July 6, 2016, Page 34, Line 1-8;
        P. 54. L. 8-11; P. 79, L. 25 - P. 80, L. 3) (Edgar Perez ("Perez"), July 6, 2016, Page 102, Line 18-
  18    24) (Victor Velasquez ("Velasquez"), July 6, 2016, Page 141, Line 19 - P. 142, L. 13) (Dunlap, 7-
        7-2016, P. 51, L. 6-28)
   9

  20    5.     Dunlap introduced Stein to other people with knowledge and expertise on Gabrielino Indians
        and to certain family groups. After one such meeting, Stein sent Dunlap an invoice for legal services.
  21    The invoice was sent from the Law Offices of Jonathan Stein ("LOJS"). (Dunlap, 6-29-2016, P. 39,
        L. 13-22; P. 41, L. 10-23) (Dunlap, 7-7-2016, P. 54, L. 16 - P. 55, L. 6) (Exh. 7 (Invoices for
  22    Services for Stein to Dunlap dated April 30, 2000))
  23
        6.      The invoice reflects legal work allegedly conducted on April 19, 2000, including a meeting
  24    with Dunlap and others, and then some legal research, including Westlaw research conducted by
        Stein. (Dunlap, 7-7-2016, P. 54, L. 16 - P. 55, L. 6) (Exh. 7 (Invoices for Services for Stein to
  25    Dunlap dated April 30, 2000))

   26   7.     On May 26, 2000, Stein sent Dunlap a letter explaining that "[y]our Tribe was sent an internal
        accounting by mistake, and of course no payment is due." The same letter goes on to explain that
   27
        "Payment on Stein Structure Financings is often made in whole or part from the proceeds of the
   28   financing. Until that happens, I keep internal records of my time, to be fair and accurate in setting

                                                               1
                               Exh. C -- Appendix of Evidence In Support of Statement of Decision




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                               Material Fact/Evidence With Seecific Citations to Testimony or Exhibits
       --····-··-·-··-·-·
   2     the legal costs for each separate financing transaction. If the transaction fails to go through, this time
         is often written off." Dunlap understood that Stein was not billing for any legal services provided -
   3     at that time but would try to do so later. (Dunlap, 7-7-2016, P. 55, L. 14 - P. 56, L. 15) (Exh. 8
         (May 26, 2000 letter retracting the prior invoice))
   4
         8.      Stein and Dunlap had no written agreement of any kind between them at that time that Stein
   5
         sent a billing invoice and then retracted it. (Dunlap, 7-7-2016, P. 98, L. 7-11; P. 99, L. 3-9)
   6
         9.     The May 26, 2000 retraction letter was not addressed to any tribe it was just addressed to Sam
   7     Dunlap. Also, the letterhead was that of a different law firm, Arter & Hadden, LLP. (Dunlap, 7-7-
         2016, P. 55, L. 14- P. 56, L. 15) (Exh. 8 (May 26, 2000 letter retracting the prior invoice))
   8
          10.     As a result of the Arter & Hadden, LLP announcement and the billing invoices from Stein
   9
          and the explanation regarding the billing announcement from Stein, Dunlap formed a reasonable
  10      understanding that Stein's work as a "developer" for any Tribe was done in the context of his other
          legal work and as part of his practice of the law. (Dunlap, 7-7-2016, P. 51, L. 6-28; P. 52, L. 5-15;
  11      P. 52, L. 25 - P. 54, L. 4; P. 54, L. 16 - P. 55, L. 6; P. 55, L. 14 - P. 56, L. 15; P. 57, L. 4- P. 58, L.
          22; P. 59, L. 12 - P. 60, L. 3) (Exh. 7 (Invoices for Services for Stein to Dunlap dated April 30,
  12      2000)) (Exh. 8 (May 26, 2000 letter retracting the prior invoice)) (Exh. 10 (Arter & Hadden LLP
  13      Announcement Re Stein)) (Exh. l1 (2000, June 6, Letter from Stein to S. Dunlap Re Misstatements
          by R. Milanovich))
  14
          11.    In 2000, Dunlap introduced Stein to the Morales group of Gabrielino Indians who were
  15      organized and primarily located in the San Gabriel Valley. They took a dislike and distrust to Stein
          and rejected their overtures. (Dunlap, 6-29-2016, P. 39, L. 13-22)
  16

  17       12.              The Morales Family faction was a group of competing Gabrielinos. (Linda Candelaria
          ("Candelaria"), June 21, 20 l 6, Page 23, Line 11-23; P. 25, L. 9-11)
  18
          13.    In late 2000, Dunlap introduced Stein to Jim Velasquez the patriarch for another group of
  19      Indians who were known as Coastal group of the Gabrielino-Tongva Tribe or the Coastal
          Gabrielino/Diegueno Council. (Dunlap, 6-29-2016, P. 41, L. 20-28)
  20

  21      14.    The tribal council for this group also took a dislike and distrust to Stein, but Velasquez
          persuaded them to he open to the idea of federal recognition and to Lhe idea of a casino. (Dunlap, 6-
  22      29-2016, P. 41, L. 25-28) (Neminski, 7-6-2016, P. 37, L. 27 - P. 38, L. I; P. 49, L. 1-6; P. 60, L. 7-
          17) (Velast1uez, 7-6-2016, P. 149, L. 19 - P. 150, L. 17; P. 152, L. 19-25; P. 154, L. 2-4; P. 155, L.
  23      6-20; P. 156, L. 20 - P. 157, L. 4; P.161, L. 17 - P.162, L. I) (Dianna Simental ("Simental"), July
          7, 2016, Page 18, Line 9-16; P. 31, L. 27 P. 33, L. 9) (Exh. 1542 (Resolution IO - Originally
  24
          attached to Exh. 569 - SMDC Agreement))
  25
           15.     The Coastal faction of the Gabrielino-Tongva Tribe eventually decided to move forward with
  26       Stein. (Dunlap, 6-29-2016, P. 41, L. 25-P. 42, L. 3)

  27       16.   In March 2001, SMDC executed a contract ("SMDC Agreement") with the "Gabrielino-
           Tongva Tribal Nation." (Dunlap, 6-29-2016, P. 43, L. 7-9) (Velasquez, 7-6-2016, P. 143, L. 21 - P.
  28
                                                                        1
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   2    144, L. 2) (Stein, 7-13-2016, P. 24, L. 18-21) (Exh. 569 (SMDC Agreement- at page 1))

   3    17.    Stein drafted the SMDC Agreement that was eventually signed in March 2001 by the Tribe
        with the help of a senior lawyer named "Thomas Watt" from Seyfarth Shaw. Together, Stein and Mr.
   4    Watt also drafted the March 4, 200 l series of Tribal resolutions that approved the SMDC Agreement.
        (Neminski, 7-6-2016, P. 43, L. 9-16) (Simental, 7-7-2016, P. 18, L.13-14; P. 22, L. 27 - P. 23, L.
   5    28; P. 24, L. 4-24) (Dunlap, 7-7-2016, P. 60, L. 23 - P. 61, L. 1; P. 71, L. 5-16) (Ken Sulzer
   6    ("Sulzer"), July 18, 2016, Page 5, Line 14-21; P. 5, L. 22-23; P. l l; L. 2-6; P. l l, L. 7-16; P. 11, L.
        17-23; P 11, L. 24 P. 12, L. 7) (Exh. 6 (2000 April 21 Stein to Dunlap, et al regarding SMDC
   7    Development Agreement)) (Rxh. 16 (2001, March 8, Letter dated from Stephen Otto, Esq. to Tribal
        Council and Stein))
   8
        18.     During Trial, Stein's long-time lawyer, Ken Sulzer, formerly of Seyfarth Shaw testified that
   9
        Stein and a law partner of Seyfarth Shaw named Thomas Watt worked on the draft of the SMDC
  10    Agreement; but he did so only minimally More specifically, according to Mr. Sulzer, "Mr. Stein and
        Mr. Watts worked through it a lot, I worked through it some." He also stated that he did not
    1   remember whether any of the resolutions were prepared by Seyfarth, but when pressed by the Court
        he stated that "It's my best recollection that Mr. Stein and Mr. Watts worked on them together, that's
   12
        my best recollection." (Sulzer, July 18, 2016, Page 5, Line 14-21; P. 5, L. 22-23; P. 11; L. 2-6; P. 11,
   13   L. 7-16; P. 11, L. 17-23; P 11, L. 24-P. 12, L. 7)

   14   19.   The SMDC Agreement stated in its very first paragraph of the actual agreement that it was
        between:
   15
               GABRIELINO-TONGV A NATION, a tribal sovereign for the Gabrielino aboriginal
    6
              tribe of Los Angeles Basin, formerly known as the San Gabriel Band of Mission
    7         Indians and now recognized by Legislative Resolution Chapter 146 of the California
              Code (the "Tongva" or "Tribe"), acting by and through their legal and traditional
    8         governing body, their duly-elected Tribal Council ("Council"), and ST. MONICA
              DEVELOPMENT COMPANY ... "
    9
        (Ex. 569 (SMDC Agreement - at page 1))
  20
   21   20.    Indeed, pursuant to the 200 l SMDC Agreement, Stein, through SMDC proposed to serve as
        the Tribe's developer, assist it in achieving federal recognition and develop a casino in Los Angeles
   22   County. (Dunlap, 6-29-2016, P. 39, L. 23 - P. 40, L. 5) (Neminski, 7-6-2016, P. 34, L. 5-8; P. 54, L.
        8-18) (Velasquez, 7-6-2016, P. 141, L. 23-27; P. 157, L. 9-15) (Loya, 7-6-2016, P. 165, L. 7-27)
   23   (Lamothe, 1-25-2017, P. 31, L. 10-15) (Exh. 569 (SMDC Agreement at pp. 2-3))
   24
        21.     The SMDC Agreement gave Stein a significant ownership interest in any future Tribal
   25   gaming casino by the Tribe. It guaranteed him $25,000 a month for each month that the term was in
        effect compensation and a 10% of the "net win" for all Gaming Devices in operation at any
   26   enterlainment facilities, as defined in the contract. (Neminski, 7-6-2016, P. 34, L. 5-8; P. 54, L. 8-18)
        (Velasquez, 7-6-2016, P. 141, L. 23-27) {Skin, 2-1-2017, P. 32, L. 4-7) (Stein, 3-15-2017, P. 27, L.
   27   6) (Stein, 3-16-2017, P. 45, L. 26 - P. 46, L. 7). Exh. 569 (SMDC Agreement at p. 7, Section 4, c,
        subsection I) (monthly amount) and subsection 2) (10% incentive)
   28

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   2   22.    Jonathan Stein signed the SMDC Agreement on behalf of SMDC. (Stein, 6-27-2016, P. 8, L.
       27 - P. 9, L. I; P. 10, L. 20-23; P. 26, L. 7-9) (Velasquez, 7-6-2016, P. 143, L. 21 - P. 144, L. 2)
   3
       (Exh. 569 (SMDC Agreement p. 18))
   4
       23.     St. Monica Development Company ("SMDC") is a California limited liability that is owned
   5   100% by Jonathan Stein. (Barbara Garcia ("Garcia"), June 23, 2016, Page 51, Line 24 - Page 52,
       Line 1) (Stein, 6-27-2016, P. 26, L. 23-28) (Stein, 2-15-2017, P. 6, L. 24 - P. 7, L. 7) (Marilyn
   6   Barrett ("Barrett"), March 7, 2017, Page 4, Lines 9-27) (Stein, 3-14-2017, P. 13, L. 10-19) (Exh. 6
       (2000 April 21 Stein to Dunlap, ct al regarding SMDC Development Agreement and stating that Ken
   7
       Sulzer is viewing it for the first time.)) (Exh. 252 (Stein Declaration January 28, 2008)) (Exh. 1508
   8   (Unsigned Conflict of Waiver - Barrctt/SMDC)) (Exh. 1561 (Stein Declaration on Time Slips dated
       Sept. 8, 2008))
   9
       24.     The Tribe's tribal secretary Mary Aguilera signed lhe SMDC Agreement on behalf of the
  10   Gabrielino-Tongva Tribal Nation. At that time, Ms. Aguilera was part of a group of Gabriclinos that
       called themselves the Coastal Gabrielinos. (Stein, 6-27-2016, P. 8, L. 27 - P. 9, L. 1; P. 10, L. 20-
   l
       23; P. 26, L. 7-9) (Velasquez, 7-6-2016, P. 143, L. 21 - P. 144, L. 2) (Exh. 569 (SMDC Agreement
  12   p. 18))

  13   25.     On March 4, 2001, the tribal council of the Coastal Gabriclinos signed a resolution enacting,
       adopting and approving the SMDC Agreement. (Dunlap, 6-29-2016, P. 43, L. 27 - P. 44, L. 26)
  14   (Neminski, 7-6-2016, P. 43, L. 17-28; P. 63, L. 26 - P. 64, L. 5; P. 88, L. 6-10) (Velasquez, 7-6-
  15   2016, P. 144, L. 3-12; P. 144, L. 26 - P. 146, L. 18) (Simental, 7-7-2016, P. 20, L. 17 - P. 21, L. 3)
       (Stein, 7-13-2016, P. 6, L. 11-14) (Exit. 1542 (Resolution 10 - Originally attached to Exh. 569 -
  16   SMDC Agreement))

  17   26.    On March 4, 2001, the tribal council of the Coastal Gabrielinos consisted of Sam Dunlap,
       Chief Jim Ernie Velasquez, Richard C. Aguilera, Victor Velasquez, Mary Ellen Arreola, Mary I.
  18
       Aguilera, David B. Velasquez, Connie Marie Torres, Robert Aguilar, Dianna Simental, Patricia M.
  19   Neminski, and Mary Aguilera. (Dunlap, 6-29-2016, P. 44, L. 11-26) (Neminski, 7-6-2016, P. 65,
       L. 7-18) (Velasquez, 7-6-2016, P. 144, L. 26 - P. 146, L. 18) (Simental, 7-7-2016, P. 27, L. 9-18)
  20   (Exh. 1542 (Resolution IO - Originally attached to Exh. 569- SMDC Agreement))
  21   27.     On March 1, 2001, Stephen Otto wrote a letter to Jim Ernest Velasquez, the Tribal council
       chief and chairman, expressing his regret that "I am unable to represent the Gabrieleno Tongva (the
  22
       "Tribe") as Tribal Counsel and in connection with the St. Monica Development Company, LLC
  23   (Jonathan Stein) proposal agreement." He also encloses a copy of a $2,500 retainer check from an
       entity entitled "Professional Native American Cultural Resources Monitors." (Simental, 7-7-2016, P.
  24   18, L. 23 P. 19, L. 2; P. 22, L 27 - P. 23, L. 13; P. 46, L. 27 - P. 48, L. 9.)(Exh. 240 and 241
       (200 l, March I, Letter from Stephen Otto, Esq, to Tribal Council declining to be Counsel for the
  25
       Tribe). (This exhibit was apparently marked twice.)
  26
       28.    On or about March 8, 2001, Stephen B. Otto, Esq. wrote a second letter to the Gabrielino
  27   Tribal Council, Chief Velasquez and Stein to disclaim his role in the SMDC transaction because
       Stein had prepared a resolution appointing Otto as tribal general counsel despite the fact that Otto's
  28   had earlier explicitly declined to accept that position. He also states that he wouldn't forward any
                                                             3
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   2   written comments, that he was not forwarded an engagement agreement. He forcefully states (in the
       second page of the letter) that: "I was not representing the Tribe in any capacity on March 4, 200 I,
   3   nor had I under the circumstances provided the Tribe with comments or advice on the agreement or
       resolutions when the Tribe through its Tribal Council purportedly approved or agreed lo the
   4   agreement with St. Monica Development Company LLC and the related resolutions."
   5   The first page of the March 8, 200 l Otto letter stales that Stein replied to his disclaiming any role as
   6   general counsel via ema1l him on February 26, 2001 saying, "I am sorry to see your resignation, .. "
       that was before the March 1, Otto Letter, and before the March 8, 2001 Otto letter.
   7
       (Neminski, 7-6-2016, P. 46, L. 1-11; P. 81, L. 21-24; P. 82, L. 20 - P. 84, L. 7; P. 85, L. 2-28.)
   8   (Simental, 7-7-2016, P. 18, L. 23 - P. 19, L. 2; P. 22, L. 27 - P. 23, L. 13.) (Dunlap, 7-7-2016, P.
       66, L. 4-15; P. 67, L. 1-17.) (Exh. 16 (2001, March 8, Letter dated from Stephen Otto, Esq. to Tribal
   9
       Council and Stein declining appointment of General Counsel of Tribe)).
  10
       29.     Mr. Stein was the only attorney presenl at the meeting when the Tribe signed the SMDC
  II   Agreement. There was no attorney representing for the Tribe or the Tribe's interests, other than
       Stein who was advocating for the SMDC Agreement's execution. (Neminski, 7-6-2016, P. 43, L. 9-
  12   16; P. 45, L. 12-19; P. 46, L. 1-15; P. 60, L. 16-17; P. 97, L. 13 - P. 98, L. 17) (Velasquez, 7-6-
       2016, P. 150, L. 20-25) (Simental, 7-7-2016, P. 18, L. 18-22; P. 36, L. 26 -- P. 37, L. 1) (Dunlap, 7-
  13
       7-2016, P. 66, L. 2-6) (Stein, 7-13-2016, P. 26, L. 27 - P. 27, L. 6) (Stein, 1-19-2017, P. 20, L. 8-
  14   15; P. 21, L. 17 -P. 22, L. 2)

  15   30.     The Tribal Councilmembers did not understand the SMDC Agreement as was presented to
       them. They were not given the necessary time to read the document. Likewise, they were not
  16   allowed to take a copy home, therefore, they did not have a meaningful opportunity to have a lawyer
  17   (or anybody else) review the document. Nonetheless, the Tribe executed the SMDC Agreement in
       March of 20()1, without the benefit of any legal assistance or advice whatsoever other than Stein's.
  18   (Neminski, 7-6-2016, P. 44, L. 4-24; P. 46, L. 5-13; P. 60, L. 16-17; P. 70, L. 27 -P. 71, L. I; P. 87,
       L. 11-18; P. 97, L. 24 - P. 98, L. 17) (Velasquez, 7-6-2016, P. 149, L. 14-23; P. 150, L. 5-9; P. 157,
  19   L. 18-25; P. 163, L. 4-12) (Simental, 7-7-2016, P. 13, L. 14-26; P. 14, L. 1-3; P. 14, L. 6-13; P. 18,
       L. 6-8; P. 18, L. 18-22; P. 20, L. 3-7; P. 22, L. 18-25; P. 37, L. 22-27; P. 38, L. 21-25; P. 41, L. 5-20;
  20
       P. 48, 5-17) (Dunlap, 7-7-2016, P. 83, L. 6-14; P. 127, L. 2-21) (Exh. 16 (2001, March 8, Letter
  21   dated from Stephen Otto, Esq. to Tribal Council and Stein declining appointment of General Counsel
       of Tribe)) (Exh. 241 (2001, March I, Letter from Stephen Otto, Esq. to Tribal Council declining to
  22   be Counsel for the Tribe))
  23   31.     The Tribal Councilmembers were told they would be removed from the Tribal Council if they
  24   failed to sign the SMDC Agreement. They described this as being "under duress" and believed that
       Mr. Stein's presence was to encourage the signing of the SMDC Agreement. (Velasquez, 7-6-2016,
  25   P. 150, L. 2-4; P. 152, L. 20-25; P. 155, L. 18-20; P. 159, L. 4-5; P. 161, L. 23-25; P. 161, L. 28-P.
       162, L. 1) (Simental, 7-7-2016, P. 14, L. 24 - P. 15, L. 3; P. 18, L. 13-16; P. 32, L. 1-22) (Stein, 7-
  26   13-2016, P. 25, L. 16-21; P. 26, L. 27 -P. 27, L. 4)
  27
       32.     There is no record of Mr. Ed Hamburger ever agreeing to be general counsel. (Dunlap, 7-7-
  28   2016, P. 64, L. 5 -- P. 65, L. 9) (Exh.1543 (Resolution 15 unsigned Hamburger/Resolution 15 signed

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   2    Lamothe)

   3    33.     The SMDC Agreement was entered into before Virginia Carmelo started acting as a Tribal
        Councilmember, and before she was elected as a Tribal Councilmernber in November of 2005.
   4    (Stein, 6-27-2016, P. 26, L. 12-22) (Carmelo, 6-28-2016, P. 2, L. 10-13)
   5    34.     The 200 l SMDC Agreement provides that no attorney-client relationship is created by the
   6    contract or ever existed between the Tongva and either Stein or the law firm or Arter & Hadden LLP.
        (Velasquez, 7-6-2016, P. 157, L. 9-17) (Simental, 7-7-2016, P. 41, L. 5-20) (Dunlap, 7-7-2016, P.
   7    98, L. 9-l l; P. 99, L. 3-9; P. 102, L. 25-P. 103, L. 8) (Exh. 569 (SMDC Agreement at pp. 5, section
        2.e))
   8
        35.     Stein acted as the main attorney for the tribe, even though he made it clear in the SMDC
   9
        Agreement that he was not entering into an attorney-client relationship. (Perez, 7-6-2016, P. 109, L.
  10    10-14; P. 114, L. 15 -P. 115, L. 1) (Adam Loya ("Loya"), July 6, 2016, Page 178, Line 21- P. 179,
        L. 13) (Dunlap, 7-7-2016, P. 85, L. 7-19; P. 94, L. 21-28; P. 98, L. 19-26; P. 100, L. 4-8; P. 100, L.
  11    14-16~ P. l0O, L. 24-25) (Carmelo, 7-7-2016, P. 136, L. 19 - P. 137, L. 13) (Carmelo, 7-11-2016,
        P. 2, L. 14-22; P. 31, L. 22- P. 32, L. 6; P. 33, L. 11-19) (Carmelo, 7-12-2016, P. 17, L. 26- P. 18,
  12    L. 24; P. 62, L. 19-25; P. 64, L. 17 - P. 65, L. 2) (James McShane ("McShane"), July 15, 2016,
  13    Page 3, Line 13 - P. 4, L. 13) (Elizabeth Aronson ("Aronson"), March 2, 2017, Page 39, Line 10-
        14) (Exh. 32 (An unsigned letter by Stein apparently written for Attorney General Bill Lockyer
  14    providing a legal opinion regarding tribal gaming)) (Exh. 55 (Email Dunlap to Tribal Council))
        (Exh. 56 (Email Dunlap lo Polanco - August 4th, 2006))
  15
        36.     Dunlap believed that Stein was the Tribe's lawyer. (Dunlap, 7-7-2016, P. 83, L. 22 - P. 84,
  16
        L. 4; P. 85, L. 7-19; P. 94, L. 21-28; P. 98, L. 19-26; P. 100, L. 4-25; P. 101, L. 5-8) (Exh. 32 (An
   17   unsigned letter by Stein apparently written for Attorney General Bill Lockyer providing a legal
        opinion regarding tribal gaming)) (Exh. 55 (Email Dunlap to Tribal Council)) (Exh. 56 (Email
   18   Dunlap to Polanco - August 4th, 2006))

   19   37.     Carmelo always believed that Stein was the Tribe's main advisor and lawyer. He provided
        the Tribe with a lot of advice, including legal advice. For example, he conceived, initiated and
  20
        litigated the Morales litigation (case number BC280605). (Carmelo, 7-7-2016, P. 128, L. 25 - P.
  21    129, L. 23; P. 129, L. 27 - P. 132, L. 17) (Carmelo, 7-11-2016, P. 2, L. 12-22) (Carmelo, 7-12-
        2016, P. 62, L. 19-25; P. 64, L. 17 - P. 65, L. 2)
  22
        38.      Stein advised the plaintiffs in the Morales litigation and was the primary strategist in that
   23   litigation. He advised the Tribe that three individual leaders of the Tribe (who were acting as Tribal
   24   Council) should bring a lawsuit against Morales group and sue in their own name, instead of in the
        name of the Tribe. (Perez, 7-6-2016, P. 106, L. 2-8; P. 107, L. 9-20; P. 107, L. 27 - P. 108, L. 3; P.
   25    108, L. 24 - P. 109, L. 11; P. 110, L. 3-12; P. 120, L. 2-10) (Dunlap, 7-7-2016, P. 73, L. 16- P. 74,
        L. 20; P. 75, L. 4-16; P. 76, L. 27 - P. 77, L. 18; P. 80, L. 4-10; P. 123, L. 11-16; P. 124, L. 7-24)
   26   (Carmelo, 7-7-2016, P. 128, L. 25 - P. 129, L. 23; P. 130, L. 21 - P. 131, L. 19) (Carmelo, 7-12-
        2016, P. 62, L. 19-25) (Rae Lamothe ("Lamothe"), July 22, 2016, Page 12, Line 9 - P. 13, L. 13;
   27
        P. 22, L. 11-23) (Lamothe, 1-24-2017, P. 7, L. 10-17) (Exh. 18 (2002, Aug. 29 Complaint in
   28   Morales Litigation (case number BC280605) (caJled as exhibit 19 later separated from exhibit 19

                                                              5
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     2    19))) (Exh. 22 (Substitution of Attorney - Lamothe for Stein))

     3    39.   A month after the SMDC Agreement was entered into, Stein hired Lamothe as the Tribe's
          "General Counsel." (Dunlap, 7-7-2016, P. 118, L. 7-18) (Lamothe, 1-24-2017, P. 31, L. 8-14)
     4
          40.      Rae Lamothe, who was the Tribe's official "General Counsel" also worked on the Morales
     5    litigation, but she was only part-time and worked directly and exclusively under the supervision of
     6    Stein. (Perez, 7-6-2016, P. I 19, L. 15 - P. 120, L. 1; P. 125, L. 27 - P. 126, L. 14; P. 135, L. 17 -- P.
          136, L. 17) (Dunlap, 7-7-2016, P. 76, L. 2-6; P. 76, L. 26-27; P. 123, L. 15-16) (Carmelo, 7-7-2016,
     7    P. 128, L. 24- P. 129, L. 3; P. 131, L. 12-16) (Carmelo, 7-12-2016, P. 61, L. 3-16) (Lamothe, 7-22-
          2016, P. 14, L. 5-9) (Lamothe, 1-24-2017, P. 7, L. 23 - P. 8, L. 12) (Exh. 18 (2002, Aug. 29
     8    Complaint in Morales Litigation (case number BC280605) (called as exhibit 19 later separated from
          exh. 19))) (Exh. 1543 (Resolution 15)) (Exh. 1546 (Resolution 37))
     9
     10   41.     Stein served as Dunlap's attorney of record in the Morales litigation and gave the Tribe
          advice about how to bring the Morales litigation (on the names of the individual Plaintiffs, instead of
     11   the Tribe). Rae Lamothe represented Alcala, Carmelo and Perez. Stein advised that the Tribe (as an
          entity) should not be a party to the litigation. (Dunlap, 6-29-2016, P. 120, L. 8-9) (Perez, 7-6-2016,
     12   P. 120, L. 26- P. 121, L. 9) (Dunlap, 7-7-2016, P. 73, L. 3 - P. 75, L. 10) (Cai·melo, 7-7-2016, P.
     13   128, L 25 - P. 129, L. 23) (Lamothe, 7-22-2016, P. 10, L. 1-4; P. 12, L. 9 - P. 13, L 13; P. 13, L.
          19-23) (Lamothe, 1-24-2017, P. 6, L. 15; P. 6, L. 28- P. 7, L. I) (Exh.18 (2002, Aug. 29 Complaint
     14   in Morales Litigation (case number BC280605) (called as exhibit 19 later separated from exh. 19)))

     15   42.     Stein told Dunlap that the Morales litigation was going poorly and that he did not want to
          serve as counsel of record for Dunlap anymore. Stein did not want a litigation loss on his record.
     16
          Consequently, Dunlap, Stein and Lamothe all executed a substitution of attorney so that Rae
     17   Lamothe could substitute in as Dunlap attorney of record. (Dunlap, 7-7-2016, P. 87, L. 26 - P. 88,
          L. 6) (Lamothe, 7-22-2016, P.10, L.10-P. 11, L. 4) (Lamothe, 1-24-2017, P. 9, L. 10-17) (Exh. 22
     18   (2003 Aug. 12 Morales Substitution of Attorney (case number BC280605)))

     19   43.     Eventually, the plaintiffs in the Morales litigation lost all of their claims against the Morales
          Group and became liable for the fees and costs owing to the Morales Group. The costs were beyond
     20
          what Dunlap could handle and was forced to file for personal bankruptcy. (Dunlap, 6-29-2016, P.
     21   119, L. 28 P. 120, L. 13) (Dunlap, 7-7-2016, P. 77, L. 23 - P. 78, L. 11) (Lamothe, 7-22-2016, P.
          16, L. 13-26) (Lamothe, 1-24-2017, P. 9, L 18-22)
     22
          44.      Stein insisted on handling the settlement negotiations with the Morales faction over the
/I   23   judgment due and owing to Morales faction (even after a judgment was entered against the plaintiffs)
          even though he was no longer counsel of record in that litigation. (Dunlap, 7-7-2016, P. 124, L. 7-
     24
          24) (Carmelo, 7-7-2016, P. 134, L. 27 P. 135, L. 9) (Aronson, 3-1-2017, P. 32, L. l l - P. 33, L.
     25    18; P. 34, L. 12-19) (Aronson, 3~2-2017, P. 42, L. 28-P. 43, L. 8) (Aronson, 3-6-2017, P. 32, L. 22
          -P. 33, L. 16) (Exh. 254 (Aronson Response Letter to Geoffrey Long))
     26
          45.    On Novemher 30, 2005, Stein sends an e-mail to Rae Lamothe explaining that they cannot let
     27   Dunlap's bankruptcy counsel do all the work on Dunlap's bankruptcy. He tells Ms. Lamothe that he
     28   will supervise her in doing the work on the bankruptcy for on behalf of the tribe and will represent

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  2    the tribe's point of view.

  3    He writes that: "Sam needs to have his attorney to be the attorney of record for his adversary
       proceeding' However, we have to represent the tribe's point of view which can probably be done
  4    through a declaration from the tribal GC, backed up with an intensive list of exhibits.

  5    "The key points are 1) we are the tribe and not the Inc., 2) the B K court should not decide any such
       controversy as to who is quote the tribe and 3) the exact nature of the judgment, which makes it
  6
       dischargeablc. I would like to be sure that you do most of the work under my supervision. Sam's
  7    attorney should work with us, but must follow our direction, ... "

  8    (Lamothe, l-24-2017, P. 11, L. 15~ P. 16, L. 10); (Exh 36 email chain dated Nov. 30, 2005 between
       Stein and Ms. Lamothe. (Emphasis added.)
  9
       46.     When Stein introduced himself to Richard Polanco (around 2004), he described himself as the
 10
       Tribe's developer and its lawyer. He told him that he hired and fired all of the Tribe's consultants
 11    and lawyers that the Tribal Council trusted him without reservation. He said that they had never
       failed to follow his advice on any issue. Thus, it was unnecessary for Polanco to meet the Tribe for
  12   them to hire me. (Richard Polanco ("Polanco"), June 28, 2016, Page 74, Lines 23 - Page 75, Lines
       6; P. 76, L. 13-16; P. 76, L. 24 - P. 77, L. l) (Polanco, 7-12-2016, P. 97, L. 19-24; P. 99, L. 13-16;
  13   P. 102, L. 19-28) (Exh. 25 (2004, March 1, Consulting Agreement between the Tribe and Tres Es,
  14   LLC))

  15   47.    Polanco believed that Stein prepared the contract (agreement) which embodied the Political
       Consulting Agreement between the Tribe and Polanco's (and his wife's) company. (Polanco, 7-12-
  16   2016, P. 99, L. l - P. 100, L. 10) (Exh. 25 (2004, March 1, Consulting Agreement between the
       Tribe and Tres Es, LLC))
  17
  18   48.     Polanco was engaged to consult on behalf of the Tribe from approximately May 2004 to June
       2005, and again from February l, 2006 through October 31, 2006. He was hired by Stein. (Polanco,
  19   6-28-2016, P. 74, L. 23 - P. 75, L. 6; P. 75, L. 17-21; P. 77, L. 10-14: P. 78, L. 9-27; P. 79, L. 18-26;
       P. 80, L. 7-11) (Polanco, 7-12-2016, P. 99, L. 6-12; P. 100, L. 18-25; P. 103, L. 8-10) (Polanco, 7-
 20    13~2016, P. 16, L. 6-26) (Exh. 25 (2004, March 1, Consulting Agreement between the Tribe and Tres
       Es, LLC))
  21

  22   49.    Around March of 2005, Stein blind carbon copied (BCC) Polanco on a letter to State Senator
       Martha M. Escutia. With that letter, Stein attaches a copy of a 120 page brief which he had written
  23   regarding the Tribe's ability to conduct gaming in California even before it achieves federal
       recognition. Specifically, in that letter, Stein tells Escutia that the brief "argues, successfully, I think,
  24   that our state-recognized tribe may conduct gaming on a state Indian reservation without federal
  25   recognition." (Candelaria, 6-22-2016, P. 46, L. 11-21) (Loya, 7-6-2016, P. 165, L. 7-22) (Polanco,
       7-13-2016, P. 35, L. 12-15) (Stein, 3-15-2017, P. 44, L. 22 - P. 45, L. 13) (Exh. 30 (Excutia Letter))
  26
       50.     Polanco was aware that Stein had drafted a long brief arguing that a state recognized tribe,
  27   such as the Plaintiff (Tribe) could engage in gaming in a state reservation. (Polanco, 7-13-2016, P.
       35, L. 12-15)
  28
                                                              7
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  2    51.    Stein drafted a shorter letter (or 3-4 pages) which is apparently addressed to California's then
       Attorney General Bill Lockyer and makes a similar argument: that a California recognized tribe can
  3    engage in gaming operations as long as they get certain approval from the State, even without federal
  4    recognition. (Dunlap, 7-7-2016, P. 83, L. 22 - P. 84, L. 2; P. 84, L. 20-26; P. 85, L. 7-19)
       (Carmelo, 7-7-2016, P. 135, L. 16-25; P. 136, L. 1-6) (Carmelo, 7-12-2016, P. 66, L. 22 -P. 67, L.
  5    22) (Stein, 1-31-2017, P. 32, L. 21 - P. 33, L. 10) (Stein, 2-1-2017, P. 16, L. 22- P. 17, L. 2) (Exh.
       32 (An unsigned letter by Stein apparently written for Attorney General Bill Lockyer providing a
  6    legal opinion regarding tribal gaming))
  7
       52.     Stein had drafted two substantial briefs, law review articles arguing that a state recognized
  8    tribe, such as the Plaintiff (Tribe) could engage in gaming in a state reservation. During trial, he
       stated that it was "cutting edge" legal advice regarding how a state-recognized Tribe could engage in
  9    gaming without federal recognition. (Stein, 6-27-2016, P. 27, L. 22 - P. 29, L. 7) (Exhibit 738 -
       Law Review Article)
 10                                                                                                          ·-·~

       53.    The Gabrielino-Tongva Tribal Nation held elections in October 2005 wherein six Tribal
 11
       members were elected to the Tribal Council - Virginia Carmelo, Sam Dunlap, Martin Alcala, Shirley
 12    Machado, Adam Loya and Edgar Perez. This Tribal Council of the Gabrielino-Tongva Tribal Nation
       that was elected in October 2005 shall be referred to as the "Tribal Council." (Garcia, 6-22-2016, P.
 13    69, L. 7-9) (Stein, 6-27-2016, P. 26, L. 12-14) (Dunlap, 6-29-2016, P. 47, L. 14-19) (Perez, 7-6-
       2016, P. 100, L. 17-18) (Loya, 7-6-2016, P. 164, L. 27 -P. 165, L. 6)
 14

 15    54.     Thus, the SMDC Agreement was entered into before Carmelo and many of the key
       councilmembers in this dispute started acting as a Tribal Councilmembers, and before they were
  16   elected as a Tribal Councilmember in November of 2005. Virginia Carmelo testified that she didn't
       see the SMDC Agreement in whole, including the original agreement which was entered into in
  17   March of 2001, until this litigation broke out and she became a party to it. (Stein, 6-27-2016, P. 26,
       L. 12-14) (Virginia Carmelo ("Carmelo"), June 28, 2016, Page 2, Line 10 - Page 3, Line 8) (
  l8
       Carmelo, 7-7-2016, P. 139, L. 9- P. 140, L. 24. And 7-11-2016, P. 16, L. 12-17. and 7-12-2016, P.
 19    3, L. 23 - P. 4, L. 4.)

 20    55.     Stein hired Elizabeth Aronson as an Associate General Counsel at around April of 2006.
       (Aronson, 3-1-2017, P. 15, L. 13 -P. 16, L. 8)
 2l
       56.    Stein, with the help of Sam Dunlap, drafted the constitution to secure Libra investment
 22
       funding. (Stein, June 30, 2016, P. 36, L. 16-20; P. 37, L. 26 - P. 39, L. 2.) (Exh. 44 (Candelaria
 23    Faction Constitution))

 24    57.     On May 20, 2006, Stein drafted, at the request of Libra, a legal document in the form of a
       letter agreement that purports to modify the SMDC Agreement and states that Tribe members and
 25    Tribal Council members had no 12ersonal liability_ for any_ damages that SMDC may suffer as a result
 26    of any breach of the SMDC Agreement, or otherwise, exceQt to the extent that such individuals
       misa1mrop_riated funds. (Carmelo, 6-28-2016, P. 10, L.15- P. 11, L. 9)
 27
       58.    In preparation for the execution of the Libra Funding Agreement, Stein hired Marilyn Barrett,
 28    Esq., an experienced tax and corporate lawyer to assist with the financing transaction. Stein
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  2   approached Barrett about the engagement. (Barrett, 7-8-2016, P. 5, L. 24-28; P. 6, L. 7-17) (Barrett,
      3-7-2017, P. 41, L. 27 P. 42, L. 4)
  3
      59.     As he did with other lawyers, Stein directed Barrett's work. For example, in one email, dated
  4   March 22, 2006, Stein explained to Barrett that he was contemplating hiring a new lawyer "to help
      with Indian issues", but he was not convinced one was needed because "you are here for all corporate
  5   issues and I can handle Indian issues well enough to respond to investor counsel. In essence, the
  6   question is just the same as corporate law: duly organized, validly existing and fully authorized."
      (Barrett, 7-8-2016, P. 8, L. 18 - P. 9, L. 9) (Exh. 38 (March 22, 2006 email from Stein to Marilyn
  7   Barrett, describing specific legal tasks to be performed by either Marilyn or Stein))

  8   60.     On March 23, 2006 Stein sends Barrett another email directing her to draft a waiver and
      specifies five key provisions and suggest language to be included in the provisions. (Barrett, 7-8-
  9
      2016, P. 15, L. 24- P. 16, L. 16; P. 49, L. 21 P. 50, L. 7) (Exh. 40 (March 23, 2006 email from
 10   Stein to Barrett))

 11   61.     A few days before a $22 million investment agreement with former defendant Libra
      Securities Holdings, LLC ("Libra") was to be executed, Stein unilaterally terminated the Tribe's
 12   outside counsel, Marilyn Barrett of McGuire Woods, without consulting the Tribal Council. He
 13   handled the closing of the Libra deal, on behalf of the Tribe, without the assistance of any other
      experienced corporate counsel, other than himself. (Carmelo, 6-28-2016, P. 14, L. 1- 20) (Loya, 7-6-
 14   2016, P. 185, L. 27 - P. 186, L. 15) (Barrett, 7-8-2016, P. 19, L. 6-7; P. 19, L. 24- P. 20, L. 19; P.
      21, L. 7-11; P. 32, L. 8-10; P. 42, L. 26-28; P. 43, L. 2 l-28; P. 48, L. 24-25; P. 49, L. 2-6; P. 54, L. 4-
 15   8; P. 59, L. 10-16; P. 59, L. 17-22) (Carmelo, 7-11-2016, P. 11, L. 4-14) (Carmelo, 7-12-2016, P.
      14, L. 11-20) (Aronson, 3-1-2017, P. 17, L. 11-25) (Barrett, 3-7-2017, P. 2, L. 26-27; P. 3, L. 16-
 16
      19; P. 6, L. 1 - P. 8, L. 6; P. 38, L. 6-10; P. 63-64, L. 25-28 and 1-7)
 17
      62.    Aronson believed that Stein terminated Ms. Barrett for unethical reasons. (Aronson, 3-1-
 18   2017, P. 17, L. 11-25; P. 18, L. 14 - P. 19, L. 2) (Aronson, 3-2-2017, P. 36, L. 1 -P. 38, L. 1) (Exh.
      254 (Aronson Letter to Geoffrey Long))
 19
      63.     Aronson located multiple attempts by Stein to double bill for the same expenses in the ledger
 20
      that Stein kept for his "tribal expenses". Aronson questioned some of the expenses as being those of
 21   his law office, not the Tribe's. Stein agreed to remove the questionable expenses. Soon thereafter,
      Aronson came to the office and saw David Dekorte, a summer intern, making entries in QuickBooks
 22   and the Tribal Miscellaneous Account. Realizing the entries were the same questionable expenses
      Stein had agreed to remove, Aronson questioned Dekorte. He confirmed that Stein had told him to
 23
      enter the transactions into QuickBooks. (Aronson, 3-1-2017, P. 58, L. l - P. 59, L. 28)

      64.      Aronson sought the tribal council's permission to and was granted authority to take over the
 25   Morales settlement to cut and deliver a check for the settlement amount to Mr. Morales. Stein was
      still trying to add stipulations to the agreement on the day the check was to be delivered. (Aronson,
 26   3-1-2017, P. 32, L. 11 P. 33, L. 18; P. 34, L. 12-19) (Aronson, 3-2-2017, P. 42, L. 28 P. 43, L. 8)
      (Aronson, 3-6-2017, P. 32, L. 22 - P. 33, L. 16) (Exh. 254 (Aronson Response Letter to Geoffrey
 27
      Long))
 28
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  2   65.    On July 15, 2006, Stein e-mailed the Tribal Council as well as Elizabeth Aronson about a
      dispute with Tribal Councilperson Sam Dunlap. Accusing Dunlap of seeking reimbursement which
  3   he was not entitled to and making other accusations against Dunlap. (Carmelo, 7-11-2016, P. 22, L.
  4   17-20; P. 23, L. 24 - P. 26, L. 7) (Exit. 54 (July 15, 2006 email from Mr. Stein to Tribal Council and
      Ms. Aronson re Confidential re Dunlap proposal))
  5
      66.     Throughout the summer of 2006 up until Stein's September 9, 2006 resignation letter, Stein
  6   made anti-Muslim remarks in order to insult Mr. Dunlap and his religious beliefs, and began a
      vicious campaign to have Dunlap removed from the Tribal Council. Stein alleged that Dunlap was a
  7
      terrorist with ties to Hezbollah and, rather inconsistently, that Dunlap was a CIA agent who had plans
  8   to bomb Hezbollah. In outrageous attempts to extort a resignation from Dunlap, Stein threatened to
      report Dunlap for bankruptcy fraud and to the office of Homeland Security. (Dunlap, 6-29-2016, P.
  9   93, L. 11-19; P. 119, L. 21-27) (Carmelo, 7-11-2016, P. 22, L. 17 - P. 23, L. 19; P. 25, L. 15 -P. 26,
      L. 3) (Aronson, 3-1-2017, P. 53, L. 20- P. 56, L. 6) (Exh. 54 (July 15, 2006 email from Mr. Stein to
 10   Tribal Council and Ms. Aronson re Confidential re Dunlap proposal))
 11
      67.     On August 4, 2006, Dunlap sent an e-mail to the Tribal Council and Mr. Polanco, Mr. Stein et
 12   al. re "Tongva Council Meeting - John Velie." He wrote, "[p]erhaps attorneys like Jonathan Stein
      are the true empowerment of our tribe. Perhaps, we as his clients, are to be dictated to and coerced as
 13   we have been in the past by him. Am I wrong to question Jonathan Stein's practice and treatment of
      his clients?" (Carmelo, 7-11-2016, P. 31, L. 2 - P. 32, L. 6) (Exh. 55 (Email Dunlap to Tribal
 14
      Council))
 15
      68.     On August 4, 2006, Dunlap sent an e-mail to Polanco, et al. asking him if "any other elected
 16   tribal officials, like myself, that you may have interacted with have similar issues with their
      attorneys, i.e. Jonathan Stein? Or does the Gabrielino Tongva Just happen to be in a unique
 17   situation?" (Carmelo, 7-11-2016, P. 33, L. 1-19) (Exh. 56 (Email Dunlap to Polanco - August 4th,
      2006)) (emphasis added.))
 18
 19   69.     On August 23, 2006, Jonathan Stein, Esq., President of SMDC and CEO of Gabrielino Tribal
      Gaming Authority, confirmed in a letter to the Tribe that he had resigned his position with the Tribe
 20   as Tribal Development Officer and that the only posilion he, acting through SMDC, held was Chief
      Executive Officer of the GTGA. (Stein, 2-2-2017, P. 4, L. 14-27; P. 6, L. 6-18; P. 7, L. 5-11) (Stein,
 21   2-16-2017, P. 26, L. 3-17) (Aronson, 3-2-2017, P. 57, L. 25 -P. 59, L. 12; P. 63, L. 1-6; P. 66, L. 4-
 22   12; P. 83, L. 27 - P. 84, L. 5) (Stein, 3-16-2017, P. 57, L. 25 - P. 58, L. 1) (Exh. 64 (Sept. 9, 2006,
      Stein's letter confitming his resignation)) (Exh. 254 (Aronson Response Letter to Geoffrey Long))
 23
      70.     Prior to a Tribal Council meeting scheduled for September 9, 2006, Stein demanded that the
 24   Tribal Council fire Aronson. He accused her of professional misconduct and incompetence, and said
      that he could not work with her. Stein told the Tribal Council "it's either her or me," and said that if
 25
      the Tribe did not terminate Ms. Aronson as its general counsel, be would "take my investors and
 26   walk." The Tribal Council refused to fire Aronson. (Carmelo, 6-28-2016, P. 13, L. 9-17) (Loya, 7-
      6-2016, P. 169, L. 1-8) (Carmelo, 7-11-2016, P. 10, L. 18-P. 11, L. 1) (Carmelo, 7-12-2016, P. 79,
 27   L. 8 - P. 80, L. 13; P. 89, L. 7-22; P. 90, L. 3-15) (Stein, 7-13-2016, P. 54, L. 11-17) (Stein, 2-1-
      2017, P. 49, L. 21- P. 50, L. 2) (Stein, 2-2-2017, P. 2, L. 5-27; P. 35, L. 10-P. 36, L. 5) (Stein, 2-7-
 28   2017, P. 18, L. 25-28) (Aronson, 3-1-2017, P. 25, L. 6 - P. 26, L. 8) (Aronson, 3-2-2017, P. 32, L.
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       2    7-25) (Aronson, 3-6-2017, P. 57, L. 27- P. 58, L. 9) (Exh. 60 (An unsigned letter, drafted by Stein
            purpmting Termination for Cause letter addressed to Ms. Elizabeth Aronson))
       3
            71.     At the Tribal Council's request, Aronson attended the Tribal Council meeting on September
       4    9, 2006. Stein presented the Tribal Council with a letter to approve the termination of Ms. Aronson
            as general counsel. The Tribal Council refused to sign it. Stein then told the Tribal Council that he
       5
            resigned, and that he refused to work any further with people tlll11 the Tribal Council lilfil that he
       6    despised. Dunlap asked Stein to put his resignation in writing, and he did so. (Carmelo, 6-28-2016,
            P. 16, L. 18 P. 17, L. 21) (Dunlap, 6-29-2016, P. 117, L. 20 - P. 118, L. 6) (Carmelo, 7-12-2016,
       7    P. 79, L. 8 - P. 80, L. 13; P. 89, L. 7-22) (Stein, 2-2-2017, P. 35, L. 10- P. 36, L. 5) (McShane, 7-
            15-2016, P. 51, L. 5-15) (Aronson, 3-1-2017, P. 22, L. 21 - P. 24, L. 22; P. 28, L. 15 - P. 29, L. 13;
        8   P. 30, L. 4-P. 31, L. I; P. 64, L. 28 -P. 65, L. 8) (Aronson, 3-2-2017, P. 32, L. 7-25) (Aronson, 3-
            6-2017, P. 58, L. 7-9) (Exh. 60 (An unsigned letter, drafted by Stein purporting Termination for
       9
            Cause letter addressed to Ms. Elizabeth Aronson)) (Exh. 71 (Sept. 12, 2006 letter prepared by Mr.
       10   Stein to Elizabeth Aronson re Termination For Cause))

       11   72.     At the conclusion of the September 9, 2006 meeting, after telling the Tribal Council that he
            despised them and delivering his resignation letter, Stein demanded that the Tribal Council
       12
            immediately leave his office. (Dunlap, 6-29-2016, P. 118, L. 3-6) (Loya, 7-6-2016, P. 168, L. 14-
       13   20) (Aronson, 3-1-2017, P. 24, L. 18-22) (Aronson, 3-2-2017, P. 28, L. 13-20; P. 32, L. 7-25; P. 60,
            L. 1-4) (Aronson, 3-6-2017, P. 37, L. 26-27; P. 58, L. 7-9)
       14
            73.     On September 9, 2006, Stein on behalf of SMDC resigned his position as CEO of the
       15   Gabrielino Tribal Gaming Authority, which was the only position with the Tribe he held at the lime
            because he resigned as Tribal Development officer on August 23, 2006. (Carmelo, 6-28-2016, P.
       16
            17,L. l0-2l;P.19,L. l4-P.20,L. l)(Stein,6-28-2016,P.46,L.1-4;P.46,L.24-28;P.63,L. l8-
       17   25) (Dunlap, 6-29-2016, P. 117, L. 20- P. 118, L. 6) (Stein, 6-30-2016, P. 3, L. 19-26) (Stein, 2-2-
            2017, P. 2, L. 21-27; P. 4, L. 14-20; P. 5, L. 11-12; P. 6, L. 6-20; P. 6, L. 25 - P. 7, L. 19; P. 50, L.
       18   13-23) (Stein 2-6-2017, P. 62, L. 22-28) (Stein, 2-7-2017, P. 18, L. 12-14; P. 39, L. 23-P. 40, L. 5;
            P. 50, L. 19-25) (Stein, 2-8-2017, P. 2, L. 24- P. 3, L. 2) (Stein, 2-16-2017, P. 21, L. 16-19; P. 22,
       19
            L. 3-15; P. 26, L. 14-17) (Stein, 2-21-2017, P. 20, L. 1) (Aronson, 3-1-2017, P. 24, L. 16-22)
       20   (Aronson, 3-2-2017, P. 28, L. 13-20; P. 32, L. 15-16; P. 59, L. 6-12; P. 60, L. 1-4; P. 61, L. 28 - P.
            63, L. 6; P. 83, L. 27 - P. 84, L. 5) (Aronson, 3-6-2017, P. 37, L. 3-9) (Stein, 3-16-2017, P. 57, L. 25
       2l   - P. 58, L. I) (Exh. 71 (Sept. 12, 2006 letter prepared by Mr. Stein to Elizabeth Aronson re
            Termination For Cause)) (Exh. 64 (Sept. 9, 2006, Ste.in's letter confirming his resignation)) {Exh.
       22   571 (October 3, 2006 - SMDC Termination Letter))
       23
            74.     After September 9, 2006, the Tribal Council of the Tribe no longer maintained its offices at
       24   501 Santa Monica Blvd., Suite 500. The Tribal Council then auempled to move out of Stein's law
i ,)        offices, which had housed its operations and tried to carry whatever documents they could, but many
       25   documents were left behind, including individual tribal member records and other financial records.
            (Carmelo, 6-28-2016, P. 18, L. 7 - P. 19, L. 13) (Dunlap, 6-29-2016, P. 118, L. 21-28) (Carmelo,
       26   7-19-2016,P. 141,L.S~P. 142,L. ll)
       27
            75.    Following the September 9, 2006 meeting, and in reliance on Stein's statements and letter of
       28   resignation, the Tribal Council prepared and executed resolutions removing Stein as signatory on the

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  2    Tribal and GTGA checking accounts, and appointing Aronson as account signatory. (McShane, 7-
       15-2016, P. 9, L. 12-15; P. 12, L. 4-7; P. 15, L. 15-19; P. 36, L. 19-23; P. 44, L. 7-12) (Aronson, 3-2-
  3    2017, P. 61, L. 15-27; P. 63, L. 16 - P. 64, L. 5) (Aronson, 3-6-2017, P. 28, L. 26 - P. 29, L. 6)
       (Exh. 65 (Sept. 9, 2006 Resolution No. 106: Authorization to Establish and Maintain Financial
  4    Accounts of the Gaming Authority and Trihal Administration.-Removes Stein from signatory
       authority))
  5
  6    76.     On September 10, 2006, Stein told the Tribal Council via an e-mail that he had "frozen" the
       Tribe's money for two weeks, and would return it to the investors "if the current problems are not
  7    sorted out." Stein said that he would once again propose to the Tribal Council that Ms. Aronson be
       terminated as the Tribe's General Counsel. (Aronson, 3-2-2017, P. 51, L. 21- P. 52, L. 10; P. 55, L.
  8    18 - P. 56, L. 4) (Aronson, 3-6-2017, P. 60, L. 17-20; P. 62, L. 19 - P. 63, L. 5) (Exh. 68 (Sept. 10,
  9    2006 Mr. Stein's email explaining that he had frozen the Tribe's accounts)) (Exh. 701 (Aronson
       Cashier Check Receipts))
 10
       77.     In an unsigned draft letter from the Tribal Council to Aronson that Stein drafted and urged the
  11   Tribal Council to sign, but which they refused to sign, Stein set forth the bases he believed existed to
       terminate Aronson for cause. (Carmelo, 7-12-2016, P. 79, L. 8 - P. 80, L. 15; P. 89, L. 17-22)
 12
       (Stein, 2-1-2017, P. 49, L. 21 - P. 50, L. 19) (Aronson, 3-6-2017, P. 36, L. 5-16) (Exh. 60 (An
  13   unsigned letter, drafted by Stein purporting Termination for Cause letter addressed to Ms. Elizabeth
       Aronson))
  14
       78.    On September 14, 2006, Aronson submitted a letter of resignation to the Tribal Council.
  15   However, the Tribal Council did not accept her resignation. (Aronson, 3-1-2017, P. 47, L. 15 - P.
       48, L. 3; P. 50, L. 3 - P. 51, L. 2; P. 51, L. IO - P. 52, L. 9; P. 64, L. 9-27) (Aronson, 3-6-2017, P.
  16
       39, L. 25     P. 40, L. 12; P. 47, L. 21 - P. 48, L. 6) (Exh. 675 (September 14, 2006 Aronson
  17   Resignation Letter))

  18   79.    On September 19, 2006, Stein held a meeting with the Tribal Council and Jim McShane a
       lawyer from Sheppard Mullin, whom he wanted to hire to replace Aronson. He also drafted a
  19   "fiduciary duties" report which he wanted McShane to discuss with the Tribe, a matter which came
 20    as a surprise to McShane. In that report, Stein advises them that certain conduct, would constitute
       breaches of their fiduciary duty to the Tribe. Id. At a certain point, he also explained that certain
 21    debts owed to Sam Dunlap would constitute property of his bankruptcy estate. (McShane 7-15-
       2016, P. 5, L. 1-16; P. 6, L. 2-P. 7, L. 2; P. 7, L. 12- P. 10, L. 13; P. 10, L. 14-P. 11, L. 28; P.
  22   31, L. 26 - P. 32, L. 8; P. 32, L. 19-22; P. 41, L. 16- P. 42, L. 18; P. 52, L. 26 - P. 53, L. 5)
       (Exh. 67 (Sept. 9, 2006 Stein's "Fiduciary Duties Report" to Tribal Council)) (Exh. 245 (2006, Sept.
  23
       19 email from Stein to McShane Re GTGA- Jim Here are bullet points to reformulate))
  24
       80.      At a meeting with Mr. Stein on September 19, 2006, Stein presented the Tribal Council with a
  25   proposed resolution purporting to ''irrevocably" (a) appoint himself as sole signatory on the GTGA's
       institutional banking account, (b) appoint Barbara Garcia, a Law Offices employee, as sole signatory
  26   on a checking account for the Tribe, and (c) appoint himself as sole signatory on a checking account
       for the GTGA. The Tribal Council refused to approve Stein's proposed resolution. (Perez, 7-6-2016,
  27
       P. 113, L. 9-18) (Loya, 7-6-2016, P. 177, L. 2-11; P. 178, L. 7-16) (McShane, 7-15-2016, P. 4, L.
  28   14-28; P. 7, L. 9-21; P. 42, L. 26-P. 43, L. 13; P. 50, L. 18-P. 51, L. 25) (Exh. 649 (Sept. 26, 2006

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  2    Stein email to Tribal Council))

  3    81.    Stein often drafted Resolutions for the Tribe. (Neminski, 7-6-2016, P. 43, L. 9-16) (Perez, 7-
       6-2016, P. 103, L. 9-13) (Simental, 7-7-20L6, P. 23, L. 14-28) (Dunlap, 7-7-2016, P. 71, L. 1-16)
  4    (Carmelo, 7-7-2016, P. 140, L. 10 - P. 141, L. 3; P. 141, L. 11-26; P. 142, L. 7 - P. 143, L. 12)
       (McShane, 7-15-2016, P. 42, L. 27 P. 43, L.3; P. 43, L. 21-27; P. 44, L. 7-12) (Lamothe, 7-22-
  5
       2016, P. 3, L. 10-14; P. 3, L. 25 - P. 4, L. 10) (Aronson, 3-1-2017, P. 41, L. 12- P. 42, L. 12)
  6
       82.    On September 27, 2006, Mr. Stein sent an e-mail to Ms. Aronson, Tribal Council, et al. re
  7    "Pending litigation." By then, Stein was essentially threatening to sue everybody on the Tribal
       Council and its advisors if resolution with Stein was not arrived at by Sunday night. (Stein, 6-27-
   8   2016, P. 58, L. 7 - P. 59, L. 9) (Exh. 570 (Sept 27, 2006 Stein Email to Tribal Council re they plan to
       terminate SMDC without payment))
  9
  10   83.    On September 29, 2006, the Tribal Council wrote a letter to Stein, stating "The Tribal Council
       has not taken a position on whether you have resigned or whether your actions constitute grounds for
  11   termination of our arrangement." The Tribal Council further requested that Stein "immediately
       suspend all of your activities, and those of St. Monica Development Company, on behalf of the Tribe
  12   and the Tribal Gaming Authority." The Tribal Council copied Libra Investors and Richard Polanco,
  13   who at that time was sti!l under contract as a consultant for the Tribe. (Carmelo, 6-28-2016, P. 25,
       L. 2-13) (Polanco, 6-28-2016, P. 89, l-3) (Carmelo, 7-12-2016, P. 77, L. 18 P. 78, L. 4) (Stein, 2-
  14    16-2017, P. 22, L. 21-27; P. 24, L. 27-P. 25, L. 12)

  15   84.     On October 3, 2006, James F. Mcshane of Sheppard, Mullin, Richter & Hampton LLP wrote
       a letter to Jonathan Stein, stating that the Tribal Council of the Tribe had accepted Mr. Stein's
  16
       resignation and that to the degree Mr. Stein took the position that he did not intend to resign, that the
  17   Tribal Council on behalf of the Tribe was terminating any relationship between SMDC and the Tribe,
       effective immediately. (Stein, 6-27-2016, P. 63, L. 13 - P. 64, L. l) (Polanco, 6-28-2016, P. 89, L.
  18   1-3) (Stein, 6-30-2016, P. 3, L. 19 - P. 4, L. 3) (McShane, 7-15-2016, P. 21, L. 20- P. 22, L. 5; P.
       53, L. 13 - P. 54, L. 3) (Stein, 2-16-2017, P. 22, L. 3-7) (Exh. 571 (Oct 3, 2006 SMDC Termination
  19   Letter from Sheppard Mullin))
  20
       85.    After the October 3, 2006 meeting at Libra's offices, the Tribal Council asked Polanco to be
  21   Chief Executive Officer of the Tribe. Tribal councilperson Sam Dunlap had asked Polanco to attend
       the October 3, 2006 meeting at Libra's offices to provide the Tribe a legislative update. Polanco had
  22   been acting as a political consultant and lobbyist for the Tribe. (Carmelo, 6-28-2016, P. 20, L. 11-
       19) (Polanco, 6-28-2016, P. 81, L. 11-19; P. 81, L. 23 -P. 82, L. 25; P. 83, L.10-18; P. 84, L. 8-12)
  23   (Polanco, 7-12-2016, P. 98, L. 12-28) (Rxh. 25 (2004, March 1, Consulting Agreement between the
  24   Tribe and Tres Es, LLC (Polanco) (Ex. 40 to Greeley)))

  25   86.     On May 20, 2006, Libra Investors, LLC ("Libra") and the Tribe executed a Funding
       Agreement ("Libra Funding Agreement") for up to $2 l million in investment funds. (Stein, 6-27-
  26   2016, P. 31, L. 8-12; P. 31, L. 22- P. 32, L. 14) (Stein, 6-28-2016, P. 30, L. 7-10; P. 30, L. 19 - P.
       31, L. 6) (Carmelo, 6-28-2016, P. 5, L. 1-4; P. 11, L. 13-16) (Dunlap, 6-29-2016, P. 47, L. 1 l - P.
  27
       48, L. 12) (Loya, 7-6-2016, P. 165, L. 28 - P. 166, L. 6) (Barrett, 7-8-2016, P. 24, L. 2-10)
  28   (Aronson, 3-2-2017, P. 16, L. 26 - P. 17, L. 4; P. 17, L. 14-17) (Rxh. 644 (GT Tribe - Libra

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  2    Investors Agreement))

  3    87.     In late May 2006, the Tribe received $ I ,805,889 which represented the first tranche of that
       $2,150,000 in investment funds pursuant to the Libra Funding Agreement, less certain expenses.
  4    (Stein, 6-27-2016, P. 45, L. 11-14) (Carmelo, 6-28-2016, P. 4, L. 13-16) (Stein, 6-30-2016, P. 24, L.
       11-13) (Loya, 7-6-2016, P. 165, L. 28 - P. 166, L. 6) (Aronson, 3-2-2017, P. 16, L. 26 - P. 17, L. 4;
  5
       P. 17, L. 14-17) (Exh. 644 (GT Tribe - Libra Investors Agreement))
  6
       88.    The Libra Funding Agreement required that SMDC confirm that no individuals were
  7    personally liable under the SMDC Agreement (except for embezzlement or misappropriation.
       (Carmelo, 6-28-2016, P. 10, L.15 - P. 11, L.9)
  8
       89.     Only the Tribal Council has the power and authority to spend Tribal funds, including the
  9
       Investment Funds. (Carmelo, 6-28-2016, P. 46, L. 26- P. 47, L. 3) (Stein, 6-30-2016, P. 24, L. 8 -
 10    P. 25, L. 5)

 II    90.     Arthur Margolis began as a prosecutor for the State Bar of California on disciplinary matters
       and ethic matters in 1973. He investigated hundreds of complaints against attorneys, prosecuted
 12    informal disciplinary proceedings, and represented the State Bar in disciplinary proceedings before
       the State Bar review department which is the internal appellate division of the State Bar Court. He
 13
       also represented the State Bar before the California Supreme Court in attorney disciplinary matters.
 14    He answered the ethics line when the attorneys had questions regarding ethics and as a representative
       of the State Bar he spoke at various bar associations on disciplinary matters and ethical issues. When
 15    he left the State Bar in 1986, he had the title of Senior Trial Counsel. After leaving in 1986, the State
       Bar asked Margolis to come back to prosecute two more cases. (Arthur Margolis ("Margolis"),
 16
       July 15, 2016, Page 4, Line 17 - P. 5, L.5; P. 5, L. 16-28) (Margolis, 3-3-2017, P. 5, L. 22-28)
 17    (Margolis, 3-8-2017, P. 54, L. 2-11)

 18    91.     After Margolis left the State Bar in 1986, his practice has been almost entirely, although not
       entirely, devoted to State Bar issues, ethics, professional responsibility and defending attorneys who
  19   are being investigated or prosecuted at the state bar and in consulting with attorneys so that they can
       avoid ethical issues. He served as a consultant with the Los Angeles County District Attorney's
 20
       office on certain ethical issues. From 1986 to the present, he has had dozens of speaking
 21    engagements where he discussed ethical issues with various bar associations and groups including
       giving a speech at the State Bar convention. His practice also consists, to an extent, of doing expert
 22    witnessing. (Margolis, 7-15-2016, P. 6, L. 2-20)
 23    92.     Stein drafted the SMDC agreement in such a way that he would protect himself. (Margolis,
       7-20-2016, P. 30, L. 21-24; P. 32, L. 9-15; P. 32, L. 21 - P. 33, L. 1; P. 33, L. 24-P. 34, L. 16; P.
 24
       35, L. 22- P. 36, L. 2) (Margolis, 3-3-2017, P. 32, L. 27 - P. 33, L. 2) (Margolis, 3-8-2017, P.
 25    20, L. 6-13)

 26    93.     The 200 l SMDC Agreement provides that no attorney-client relationship is created by the
       contract or ever existed between the Tongva and either Stein or the law firm or Arter & Hadden LLP.
 27    (Velasquez, 7-6-2016, P. 157, L. 9-17) (Simental, 7-7-2016, P. 41, L. 5-20) (Dunlap, 7-7-2016, P.
  28   98, L. 9-11; P. 99, L. 3-9; P. 102, L. 25 - P. 103, L. 8) (Exh. 569 (SMDC Agreement at pp. 5, section

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         2    2.e))

         3    94.     The SMDC agreement applies only to the relationship that would have been created by that
              contract or by Stein's role in SMDC, but it docs not apply to any of his independent actions outside
         4    of those roles. The agreement itself is limited, because it only deals with what is created by the
              agreement and by the specific roles that are defined in the agreement, but it does not deal with his
         5
              independent actions outside of those roles or outside of the contract. Any legal work or legal advice
          6   he does outside of that role creates an attorney-client relationship and a fiduciary duty. [Lewis versus
              state bar, 1973, nine Cal third '70 four at seven 13] [Beery versus state bar, 1987, 43 Cal third 802 at
         7    813]. (Margolis, 7-15-2016, P. 53, L. 26 - P. 54, L. 4; P. 57, L. 21-28; P. 58, L. 8 - 59, L. 5)
              (Margolis, 7-20-2016, P. 27, L. 8-16; P. 28, L. 4-14; P. 30, L. 27 - P. 31, L. 15; P. 51, L. 14-21; P.
          8   52, L. 19-24; P. 56, L. 19-P. 57, L. 18; P. 58, L. 12-28; P. 60, L. 8-12; P. 60, L. 19-28; P. 63, L. 14-
          9   18; P. 101, L. 1-6; P. 109, L. 21-24) (Margolis, 3-8-2017, P. 10, L. 14-16; P. 15, L. 17-21; P. 16, L.
              9-13; P. 56, L. 8-20) (Margolis, 3-9-2017, P. 43, L. 1-8) (Exh. 569 (SMDC Agreement dated March
         10   4, 2001 - Section 2E and Section 3D))

         11   95.     Even though the SMDC Agreement states that all modifications to the agreement have to be
              in writing, Stein could still create an implied attorney-client relationship agreement outside of the
         12
              SMDC Agreement. (Margolis, 7-20-2016, P. 51, L. 14-21; P. 52, L. 19-24; P. 53, L. 11 - P. 54, L.
         13   16; P. 54, L. 23 - P. 55, L. 3; P. 56, L. 19 - P, 57, L. 18; P. 58, L. 12-28; P. 60, L. 8-12; P. 60, L. 19-
              28) (Margolis, 3-8-2017, P. 10, L. 14-16; P. 15, L. 17-21; P. 16, L. 1-13) (Exh. 569 (SMDC
         14   Agreement dated March 4, 2001))

         15   96.     An attorney-client relationship is formed informally, through an implied agreement even if
              there is an understanding that an attorney and an individual are not in a previous attorney-client
         16
              relationship, by conduct and by course of dealing. IL is formed if an attorney provides legal services
         17   and the person symptoms them, or the speculation of the client, based on how the situation appears to
              a reasonable person in the client's situation, or when a person reasonably believes that the attorney is
         18   representing him based on the attorney's representation or conduct. [Agran versus Shapiro, 127
              Cal.App.2d 807 at 809) [People versus Merchants Protective corporation, 1922, it's at 189 Cal 531,
         19   535J [Mallen on malpractice)]. (Margolis, 7-15-2016, P. 14, L. 14-26) (Margolis, 7-20-2016, P. 19,
         20   L. 6-10; P. 23, L. 12-15; P. 24, L. 4-12; P. 24, L. 22-P. 25, L. 8; P. 36, L. 3-18; P. 37, L. 18-P.
              38, L. 15; P. 38, L. 23-27; P. 40, L. 5 - P. 41, L. 6; P. 60, L. 22-23; P. 67, L. 3-9; P. 72, L.4-11; P.
         21   72, L. 18 - P. 73, L. 22; P. 74, L. 28 P. 75, L. 18; P. 76, L. 9-28; P. 77, L. 24 - P. 78, L. 15; P. 79,
              L. 27 - P. 80, L. 4; P. 80, L. 10-18; P. 80, L. 20-26; P. 80, L. 27 - P. 81, L 5; P. 82, L. 15 - P. 83,
         22   L. 1; P. 83, L. 2-28) (Margolis, 3-3-2017, P. 16, L. 19-24; P. 17, L. 6-17; P. 20, L. 13 - P. 21, L.
              28; P. 23, L. 16-20; P. 23, L. 24- P. 24, L. 15) (Margolis, 3-8-2017, P. 7, L. 14-28; P. 9, L. 4-6; P.
         23
              24, L. 2-4) (Margolis, 3-9-2017, P. 2, L. 9-23; P. 4. L. 4-10; P. 4, L. 13 - P. 5, L. 6; P. 5, L. 28 -
i"', j
         24   P.6,L.11)

         25   97.     You don't have to call it an attorney-client relationship for an attorney-client relationship to
              be one. If everyone accounts with all elements of an attorney-client relationship, that is the request
         26   for advice, the giving of advice, the acceptance of the advice, if you have that, when you say you
         27   aren't my attorney, or you are, whatever, it's still an attorney-client relationship. It's the practice of
              law that creates an attorney-client relationship. Likewise, you don't have to call a fiduciary
         28   relationship, a fiduciary relationship for it to be one. (Benninghoff versus superior court it's 2006
                                                                    15
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  2    136 Cal.App.4th '61.) A written disclaimer does not by itself prevent the existence of an attorney-
       client relationship. A retention agreement is like any other contract creating a legal relationship. The
  3    nature of the instrument is not to be determined by what the parties called it, its nature is to be
       determined by the legal effecl. The label placed by the parties on the relationship is not dispositive
  4    and subterfuges are not countenanced, the law respects form less than substance. (Margolis, 7-20-
       2016, P. 22, L. 26-P. 23, L. 2; P. 30, L. 12-15; P. 36, L. 14-18; P. 57, L. 12-15; P. 72, L. 4-8; P. 72,
  5
       L. 28 - P. 73, L. 6; P. 73, L. 15-22; P. 76, L. 18-28) (Margolis, 3-3-2017, P. 23, L. 16-22)
  6    (Margolis, 3-8-2017, P. 18, L. 16     P. 19, L. 3) (Margolis, 3-9-2017, P. 2, L. 9-23; P. 4, L. 1-13; P.
       34, L. 3-25)
  7
       98.     One important indicia as to whether an attorney-client relationship has been formed, which is
  8    stated in particular in the Responsible Citizens case is that Stein used his law office to hold and
  9    control the tribe's books, records, including confidential membership records and financial records.
       [Responsible Citizens versus Superior Comt 1993, 16 Cal. App. 4th 17 17 at 732 to 733]. (Margolis,
 10    7-15-2016, P. 25, L. 18 -P. 26, L. 17)

 11    99.     Stein secured and controlled the tribal records at his law offices. On the night he resigned in
       September of 2009, the tribal council took what they could carry of the business and financial
  12
       records. They could not reach the membership confidential records in the storage room.
  13   (Candelaria, 6-21-2016, P. 96, L. 28 - P. 97, L. 24; P. 98, L. 24-27; P. 126, L. 19- P. 127, L. 5; P.
       129, L. 19 - P. 130, L. 2; P. 130, L. 8-14; P. 132, L. 16-20; P. 148, L. 24-28; P. 154, L. 10-24)
  14   (Candelaria, 6-22-2016, P. 8, L. 20-P. 9, L. 14; P. 51, L. 9-15; P. 51, L. 23-P. 52, L. 16; P. 54, L.
       15 - P. 55, L. 22; P. 55, L. 26 - P. 56, L. lO; P. 63, L. 12 - P. 64, L. 6; P. 66, L. 12 - P. 67, L. 1)
  15   (Garcia, 6-22-2016, P. 7, L. 8 - P. 8, L. 12; P. 14, L. 27 - P. 15, L. 4; P. 34, L. 2-8; P. 41, L. 1 - P.
  16   42, L. 23; P. 44, L. 13-23) (Garcia, 6-23-2016, P. 6, L. 9-15; P. 8, L. 12 - P. 9, L. 7; P. 9, L. 28 - P.
       10, L. 2; P. 29, L. 2 - P. 30, L. 3; P. 30, L. 26 - P. 31, L. 3; P. 31, L. 21-26; P. 32. L. 1-11)
  17   (Sandonne Goad ("Goad"), June 23, 2016, Page 32, Line 22-28; P. 61, L. 26 - P. 62, L. 5; P. 62, L.
       19- P. 63, L. 5; P. 63, L. 18-27) (Carmelo, 6-28-2016, P. 18, L. 28 -P. 19, L. 7; P. 20, L. 25- P.
  18   21, L. 12; P. 31, L. 14-22; P. 38, L. 15 -P. 39, L. 4; P. 44, L. 13-P. 45, L. 17) (Polanco, 6-28-2016,
       P. 84, L. 13-25; P. 89, L. 26 - P. 90, L. 3) (Dunlap, 6-29-2016, P. 48, L. 23 - P. 49, L. 15; P. 69, L.
  19
       13 - P. 70, L. 1; P. 70, L. 14-23) (Garcia, 6-30-2016, P. 5, L. 2-16) (Ncminski, 7-6-2016, P. 65, L.
  20   23-27; P. 66, L. 3-14) (Perez, 7-6-2016, P. 112, L. 18 - P. 113, L. 3) (Carmelo, 7-11-2016, P. 16, L.
       9-20; P. 17, L. 8 - P. 18, L. 25) (Carmelo, 7-12-2016, P. 37, L. 19-20; P. 40, L. 2-12; P. 45, L. 5-9;
 21    P. 45, L. 24-26) (McShane, 7-15-2016, P. 22, L. 6-15; P. 25, L. 28 - P. 26, L. 4) (Steven Johnson
       ("Johnson"), July 19, 2016, Page 75, Lines 5-21) (Carmelo, 7-19-2016, P. 125, L. 22-26; P. 141, L.
  22   11 - P. 142, L. 11) (Lamothe, 7-21-2016, P. 43, L. 12 - P. 44, L. 12; P. 44, L. 26 - P. 46, L. 7)
  23   (Stein, 2-8-2017, P. 35, L. 12-17; P. 44, L. l-15) (Stein, 2-17-2017, P. 5, L. 13-26; P. 6, L. 25-P. 7,
       L. 2; P. 7, L. 26 -P. 10, L. 4) (A1·onson, 3-2-2017, P. 56, L. 11-26) (Aronson, 3-6-2017, P. 38, L. 2-
  24   26) (Exh. 507 (GT TRIBE Membership List March 2007 Class B and C (after termination of
       members who left to join New GT Nation))) (Exh. 508 (2006-2008 Sample "Blue Card" from GT
  25   Tribe member requesting records)) (Exh. 514 (GT TRIBE Election Results Talley Certification 2007
       and 2008))) (Exh. 520 (Member Letter #1 - raised $21 million but never informed the Tribe)) (Exit.
  26
       578 (2007 Talley Certification 2007 Election Candelaria Group)) (Exh. 784 (April 4, 2007 Writ of
  27   Attachment - Terminal St. Address)) (Exh. 785 (Writ of Attachment and Right to Attach Order
       against Gabrielino-Tongva Tribe in Amount of $812,500- Santa Monica address))
  28
                                                             16
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  2    100. Margolis concluded that yes Stein was an attorney for the tribe, that there was an attorney-
       client relationship, even though there was no written agreement, because Stein performed legal
  3    services for the tribe. [Butler versus State Bar case, 1986, 42 Cal third 323 at Page 329)] [Ben 2006
  4    it's 136 Cal.App.4th '61 al Page 3] (Margolis, 7-15-2016, P. 14, L. 12-16; P. 14, L. 26- P. 15, L.I;
       P. 24, L. 13-17; P. 40, L. 21 - P. 41, L. l; P. 54, L. 7-21) (Margolis, 7-20-2016, P. 19, L. 3-6; P. 19,
  5    L. 27 - P. 21, L. 2; P. 21, L. 17 -P. 22, L. 14; P. 22, L. 26- P. 23, L. 11; P. 24, L. 4-12; P. 24, L.
       22-P. 25, L. 8; P. 30, L. 12-17; P. 31. L. 28- P. 32, L. 2; P. 38, L. 17-25; P. 40, L. 5-P. 41, L.
  6    6; P. 42, L. 13 - P. 43, L. 8; P. 44, L. 9-P. 45, L. 20; P. 51, L. 19-21; P. 60, L. 8-12; P. 60, L. 19-28;
  7
       P. 81, L. 17 - P. 82, L. 10; P. 89, L. 9-12; P. 107, L. 3-4; P. 113, L. 3-9) (Margolis, 3-3-2017, P. 16,
       L. 19-24; P. 23, L. 16-22; P. 28, L. 10-15; P. 33, L. 4-22; P. 36, L. 27 -P. 37, L. 10; P. 39, L. 26-
  8    P. 40, L. 4; P. 43, L. 13-19) (Margolis, 3-8-2017, P. 12, L. 1-7; P. 16, L. 1-13; P. 16, L. 18-19; P. 18,
       L. 7-9; P. 36, L. 6-13) (Margolis, 3-9-2017, P. 7, L. 10-15; P. 8, L. 27        P. 9, L. 2; P. 43, L. 1-8)
  9    (Exh. 30 (March 25, 2005 letter from Stein to Escutia with a BCC to Polanco)) (Exh. 32 (An
       unsigned letter by Stein apparently written for Attorney General Bill Lockyer providing a legal
 IO
       opinion regarding tribal gaming)) (Exh. 569, (SMDC Agreement dated March 4, 2001)) (Exh. 1547
 11    (Resolution 46 approving SMDC Agreement and Modification Agreement dated September 28,
       2003. (Note was called as 1548 in testimony))) (Exh. 1548 (2003 Modification agreement and
 12    ratification of SMDC Agreement dated September 28, 2003. (Note was called as 1549 in
       testimony)))
  13
       IOJ. Stein preformed legal work for the Tribe after the SMDC Agreement was executed on March
  14
       4, 2001. In fact, one of Mr. Stein's witnesses at trial, Mr. Steven Johnson (testified on July 18, 2016)
  15   was asked whether when he "looked at all of the -- all of those backup documents, were you able to
       determine if Mr. Stein was doing legal work for the tribe'?" He answered: "yes." And when asked if
  16   he concluded if he was doing legal work, he again responded yes. In fact, he elaborated: "I think he
       was using his general legal knowledge but I think most of it was development work for trying to get a
  17
       gaming license." He also said that: Stein was a "smart guy so he used his well oiled brain to try to
  18   do -- better lhe tribe in many different directions and if some of that involved legal expertise, ... ",
       (Perez, 7-6-2016, P. 103, L. 9-13; P. 126, L. 8-14) (Dunlap, 7-7-2016, P. 71, L. 8-16; P. 96, L. 4; P.
  19   98, L. 19-26; P. 100, L. 14-16; P. 100, L. 24-25; P. 121, L. 10-12; P. 123, L. 17-21; P. 123, L. 28 -
       P. 124, L. 2; P. 124, L. 5-6; P. 125, L. 27 - P. 126, L. 20) (Carmelo, 7-7-2016, P. 140, L. 28       P.
 20    141, L.16; P. 142, L. 17-21) (Barrett, 7-8-2016, P. 16, L. 1-20) (Carmelo, 7-12-2016, P. 91, L. 3-
 21    16) (McShane, 7-15-2016, P. 10, L. 14-- P. 11, L. 8; P. 41, L. 21 P. 42, L. 18; P. 42, L. 26- P.
       43, L. 13; P. 43, L. 21-27; P. 44, L. 7-12) (Johnson, 7-19-2016, P. 101, L. 8-13) (Lamothe, 7-21-
 22    2016, P. 35, L. 4 - P. 36, L. 17) (Lamothe, 7-22-2016, P. 2, L. 13 - P. 4, L. 10; P. 11, L. 25 - P.
       12, L. 1; P. 25, L. 14- P. 26, L. 6; P. 27, L. 11    P. 30, L. 17) (Lamothe, 1-24-2017, P. 5, L. 1-11)
 23    (Aronson, 3-1-2017, P. 34, L. 8-14; P. 34, L. 25 - P. 35, L. 13; P. 41, L. IO- P. 42, L. 12; P. 42,
       L. 13-23; P. 43, L. 3 - P. 44, L. 13) {Barrett, 3-7-2017, P. 63, L. 25 - P. 64, L. 16) (Exh. 40
 24
       (March 23, 2006 email from Stein to Barrett)) (Exh. 41 (March 23, 2006 Email (at about 11:03 a.m.)
  25   from Stein to Rae Lamothe)) (Exh. 60 (An unsigned letter, drafted by Stein purporting Termination
       for Cause letter addressed to Ms. Elizabeth Aronson)) (Exh. 67 (Sept. 9, 2006 Stein's "Fiduciary
  26   Duties Report" to Tribal Council)) (Exh. 71 (Sept. 12, 2006 letter prepared by Mr. Stein to Elizabeth
       Aronson re Termination For Cause)) (Exh. 245 (2006, Sept. 19 email from Stein to McShane Re
  27   GTGA - Jim Here are bullet points to reformulate)) {Exh. 1547 (Resolution 46 - Originally attached
  28   to Exh. 569 - SMDC Agreement))

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  2    102. Stein represented himself as an experienced attorney very skilled in Indian matters, an expert
       at all issues relating to the tribe and so when the tribe entered into that agreement they reasonably
  3    believe that Stein was the tribe's attorney, that they could rely on him and his advice, regardless of
  4    his title with the organization. (Margolis, 7-15-2016, P. 24, L. 15-25; P. 25, L. 16-18; P. 27, L. 14-
       20; P. 28, L. 13-18; P. 40, L. 26- P. 41, L 11) (Margolis, 7-20-2016, P. 42, L. 20-23; P. 42, L. 24-
  5    27; P. 44, L. 15-22; P. 45, L. 2-14) (Margolis, 3-3-2017, P. 16, L. 19-21; P 33, L. 5-11) (Margolis,
       3-9-2017, P. 35, L. 24-26)
  6
       103. Stein acted as the main attorney for the tribe, even though he made it clear in the SMDC
  7
       Agreement that he was not entering into an attorney-client relationship. (Perez, 7-6-2016, P. 109, L.
  8    10-14; P. 114, L. 15 - P. 115, L. I) (Loya, 7-6-2016, P. 178, L. 21- P. 179, L. 13) (Dunlap, 7-7-
       2016, P. 85, L. 7-19; P. 94, L. 21-28; P. 98, L. 19-26; P. 100, L. 4-8; P. 100, L. 14-16; P. 100, L. 24-
  9    25) (Carmelo, 7-7-2016, P. 136, L. 19- P. 137, L. 13) (Carmelo, 7-11-2016, P. 2, L. 14-22; P. 31,
       L. 22 - P. 32, L. 6; P. 33, L. 11-19) (Carmelo, 7-12-2016, P. 17, L. 26- P. 18, L. 24; P. 62, L. 19-
 10    25; P. 64, L. 17 - P. 65, L. 2) (McShane, 7-15-2016, P. 3, L. 13 P. 4, L. 13) (Aronson, 3.2-2017, P.
 11    39, L. 10-14) (Exh. 32 (An unsigned letter by Stein apparently wrillen for Attorney General Bill
       Lockyer providing a legal opinion regarding tribal gaming)) (Exit. 55 (Email Dunlap to Tribal
 12    Council)) (Exh. 56 (Email Dunlap to Polanco - August 4th, 2006))

  13   104. Advising the tribal council on their standing in the Morales case, advising on the Morales
       settlement, and negotiating the costs from lhe Morales case with Libra during the investment
  14
       transaction are all legal services and representation. (Margolis, 7-15-2016, P. 15, L. 1-18; P. 17, L.
  15   25- P. 18, L. l; P. 19, L. 8-20)

  16   105. Stein advised the plaintiffs in the Morales litigation and was the primary strategist in that
       litigation. He advised the Tribe that three individual leaders of the Tribe (who were acting as Tribal
  17   Council) should bring a lawsuit against Morales group and sue in their own name, instead of in the
       name of the Tribe. (Perez, 7-6-2016, P. 106, L. 2-8; P. 107, L. 9-20; P. 107, L. 27 -P. 108, L. 3; P.
  18
       108, L. 24-P. 109, L. 11; P. 110, L. 3-12; P. 120, L. 2-10) (Dunlap, 7-7-2016, P. 73, L. 16- P. 74,
  19   L. 20; P. 75, L. 4-16; P. 76, L. 27 - P. 77, L. 18; P. 80, L. 4-10; P. 123, L. 11-16; P. 124, L. 7-24)
       (Carmelo, 7-7-2016, P. 128, L. 25 - P. 129, L. 23; P. 130, L. 21 - P. 131, L 19) (Carmelo, 7-12-
 20    2016, P. 62, L. 19-25) (Lamothe, 7-22-2016, P. 12, L. 9 - P. 13, L. 13; P. 22, L. 11-23) (Lamothe,
       1-24-2017, P. 7, L. 10-17) (Exh. 18 (2002, Aug. 29 Complaint in Morales Litigation (case number
 21
       BC280605) (called as exhibit 19 later separated from exh. 19))) (Exh. 22 (Substitution of Attorney
 22    - Lamothe for Stein))

 23    106. Stein insisted on handling the Morales settlement negotiations (even after a judgment was
       entered against the plaintiffs) even though he was no longer counsel of record in that litigation.
 24    (Dunlap, 7-7-2016, P. 124, L. 7-24) (Carmelo, 7-7-2016, P. 134, L. 27 - P. 135, L. 9) (Aronson, 3-
       1-2017, P. 32, L. 11 - P. 33, L. 18; P. 34, L. 12-19) (Aronson, 3-2-2017, P. 42, L. 28 - P. 43, L. 8)
  25
       (Aronson, 3-6-2017, P. 32, L. 22 - P. 33, L. 16) (Exh. 254 (Aronson Response Letter to Geoffrey
  26   Long))

  27   107. An email from Stein to Rae Lamothe, dated November 30, 2005, says that he will do the legal
       work on behalf of the tribe and will represent the tribe's point of view on the Dunlap bankruptcy.
  28
                                                            18
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  2    (Margolis, 7-15-2016, P. 27, L. 10-14)

  3    108. Eventually, the plaintiffs in the Morales litigation lost all of their claims against the Morales
       Group and became liable for the fees and costs owing to the Morales Group. The costs were beyond
  4    what Dunlap could handle and he was forced to file for personal bankruptcy. (Dunlap, 6-29-2016, P.
       119, L. 28 - P. 120, L. 13) (Dunlap, 7-7-2016, P. 77, L. 23 - P. 78, L. 11) (Lamothe, 7-22-2016, P.
  5
        _______________ ___
       16, L. 13-26) (Lamothe, 1-24-2017, P. 9, L. 18-22)
      ,__                                         ,



  6
       109. Stein gave legal advice when he told the tribal council that certain debts owed to a council
  7    member constituted property of a bankruptcy estate. (Margolis, 7-15-2016, P. 18, L. 21-26)

  8    I IO. On July 15, 2006, Stein e-mailed the Trtbal Council as well as Elizabeth Aronson about a
       dispute with Tribal Councilperson Sam Dunlap. Accusing Dunlap of seeking reimbursement which
  9
       he was not entitled to and making other accusations against Dunlap. (Carmelo, 7-11-2016, P. 22, L.
 10    17-20; P. 23, L. 24 - P. 26, L. 7) (Exh. 54 (July 15, 2006 email from Mr. Stein to Tribal Council and
       Ms. Arnnson re Confidential re Dunlap proposal))
 II
       111. The course of the relationship and the conduct would indicate that Stein intended for the tribe
 12    to rely on his legal capabilities, and he intended for the tribe to give him authority to use his legal
       skills to supervise other attorneys and to override their advice at his sole discretion. (Margolis, 7-15-
 13
       2016, P. 26, L. 18-23) (Margolis, 7-20-2016, P. 20, L. 13 - P. 21, L. 2; P. 21, L. 17-22; P. 22, L. 26
 14    - P. 23, L. 15; P. 33, L. 18-23; P. 45, L. 2-6; P. 96, L. 27 - P. 97, L. 2) (Margolis, 3-3-2017, P. 16,
       L. 19-21; P. 33, L. 5-11) (Margolis, 3-8-2017, P. 32, L. 9-10) (Margolis, 3-9-2017, P. 35, L. 23-27;
 15    P. 36, L. 25-28)
 16    112. Stein had the authority to hire the tribe's various attorneys and to supervise them, but the
 17    arrangement was that he would have control over the final product, he would have the final say as to
       what was going to be presented, so what came out of the legal work was his. (Margolis, 7-15-2016,
 18    P. 17, L. 7-9; P. 20, L. 21-25; P. 23, L. 18-23) (Margolis, 7-20-2016, P. 20, L. 13 - P. 21, L. 2; P.
       21, L. 17 - P. 22, L. 14; P. 22, L. 26-P. 23, L. 15; P. 96, L. 27 -P. 97, L. 2) (Margolis, 3-8-2017,
 19    P. 32, L. 9-10) (Margolis, 3-9-2017, P. 20, L. 24-25)
 20    ) )3. Stein introduced, hired, and fired all lawyers who served as the Tribe's inside and outside
 21    counsel, supervised them closely and vetted all legal opinions before they were presented to the
       Tribal Council. (Carmelo, 6-28-2016, P. 13, L. 9-17; P. 14, L. 1- 20; P. 23, L. 23 - P. 24, L. l)
 22    (Perez, 7-6-2016, P. 126, L. 11-14) (Loya, 7-6-2016, P. 166, L. 18 - Page 167, Line 11; P. 168, L.
       14-23; P. 169, L. 3-8; P. 179, L. 8-25; P. 184, L. 28 - P. 185, L. 2; P. 185, L. 24 - P. 186, L. 18)
 23    (Dunlap, 7-7-2016, P. 61, L. 21 - P. 62, L. 14; P. 63, L. 20-P. 64, L. 19; P. 126, L. 8-15) (Barrett,
       7-8-2016, P. 16, L. 1-5; P. 19, L. 6-7; P. 19, L. 24- P. 20, L. 19; P. 21, L. 7-11; P. 24, L. 9-10; P. 30,
 24
       L. 14-27; P. 31, L. 2-5; P. 32, L. 8-10; P. 42, L. 26-28; P. 43, L. 23-24; P. 48, L. 24-25; P. 49, L. 2-6;
 25    P. 50, L. 1-3; P. 54, L. 4-8; P. 59, L. 10-16; P. 59, L. 19-22) (Carmelo, 7-11-2016, P. 11, L. 4-14)
       (Carmelo, 7-12-2016, P. 14, L. 11-20; P. 79, L. 23 -P. 80, L. 13) (McShane, 7-15-2016, P. l, L. 7-
 26    25; P. 7, L. 9-21; P. 49, L. 6 - P. 50, L. 13) (Lamothe, 7-21-2016, P. 51, L. 9-17) (Aronson, 3-1-
       2017, P. 15, L. 13-25; P. 17, L. 11-14; P. 21, L. 19 - P. 22, L. 5; P. 22, L. 21-28; P. 23, L. 6-12; P.
 27
       25, L. 17 - P. 26, L. 2; P. 64, L. 28 - P. 65, L. 2) (Aronson, 3-2-2017, P. 45, L. 3-8; P. 45, L. 24-27)
 28    (Aronson, 3-6-2017, P. 84, L. 9-18) (Barrett, 3-7-2017, P. 2, L. 26-27; P. 7, L. 21-24; P. 8, L. 1-6;

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  2    P. 38, L. 6-10) (Exh. 40 (March 23, 2006 email from Stein to Barrett)) (Exh. 60 (An unsigned letter,
       drafted by Stein purporting Termination for Cause letter addressed to Ms. Elizabeth Aronson.)) (Exh.
  3    71 (Sept. 12, 2006 letter prepared by Mr. Stein to Elizabeth Aronson re Termination For Cause.))
       (Exh. 254 (Aronson Letter to Geoffrey Long))
  4
       114. Ms. Lamothe served part-time and did only the legal work that Stein delegated to her.
  5
       (Perez, 7-6-2016, P. 125, L. 27 - P. 126, L. 14; P. 135, L. 17 -- P. 136, L. 17) (Dunlap, 7-7-2016, P.
  6    126, L. 6-15) (Carmelo, 7-7-2016, P. 141, L. 17-19) (Carmelo, 7-12-2016, P. 17, L. 26-P. 18, L.
       24; P. 84, L. 14-27) (Lamothe, 7-21-2016, P. 26, L. 7-25; P. 36, L. 4-17) (Lamothe, 7-22-2016, P. 2,
  7    L. 13 - P. 4, L. 10; P. 25, L. 25 - P. 26, L. 6; P. 27, L. 11 - P. 29, L. 25) (Lamothe, 1-24-2017, P. 2,
       L. 23-28; P. 5, L. 1-26) (Lamothe, 1-25-2017, P. 33, L. 15 - P. 34, L. 4) (Exh. 41 (March 23, 2006
  8    Email (at about 11 :03 a.m.) from Stein to Rae Lamothe)) (Exh. 1547 (Resolution 46 - Originally
  9    attached to Exh. 569 - SMDC Agreement))

 10    115. Hiring another attorney from Washington, D.C. to handle the Indian issues did not prevent
       Stein from also acting as an attorney for the same. This was legal services. (Margolis, 7-15-2016, P.
 11    17, L. 10-20) (Margolis, 3-8-2017, P. 18, L. 7-9)
 12    116. After hiring Marilyn Barrett, a tax and corporations attorney, to assist in the Libra Securities
 13    investment transaction, Stein did some of the legal work himself while directing Barrett on other
       matters having final say as to what was to be presented. (Margolis, 7-15-2016, P. 17, L. 4-10)
  14
       117. As he did with other lawyers, Stein directed Barrett's work. For example, in one email, dated
  15   March 22, 2006, Stein explained to Barrett that he was contemplating hiring a new lawyer "to help
       with Indian issues", but he was not convinced one was needed because "you are here for all corporate
  16   issues and I can handle Indian issues well enough to respond to investor counsel. In essence, the
  17   question is just the same as corporate law: duly organized, validly existing and fully authorized."
       {Barrett, 7-8-2016, P. 8, L. 18 - P. 9, L. 9) (Exh. 38 (March 22, 2006 email from Stein to Marilyn
  18   Barrett, describing specific legal tasks to be performed by either Marilyn or Stein))

  19   118. Stein gave legal advice regarding the competence of outside counsel and general counsel,
       further advising that general counsel had acted illegally. This is legal services. (Margolis, 7-15-
 20
       2016, P. 19, L. 1-6)
 21
       119. Stein preparing a letter of statement in an effort to get rid of or to have the tribe terminate
 22    Aronson, is legal services. (Margolis, 7-15-2016, P. 19, L. 22  P. 20, L. 2)
  23   120. In an unsigned draft letter from the Tribal Council to Aronson that Stein drafted and urged the
       Tribal Council to sign, but which they refused to sign, Stein set forth the bases he believed existed to
 24
       terminate Aronson for cause. (Carmelo, 7-12-2016, P. 79, L. 8 - P. 80, L. 15; P. 89, L. 17-22)
  25   (Stein, 2-1-2017, P. 49, L. 21 - P. 50, L. 19) (Aronson, 3-6-2017, P. 36, L. 5-16) (Exh. 60 (An
       unsigned letter, drafted by Stein purporting Termination for Cause letter addressed to Ms. Elizabeth
  26   Aronson))
  27   121. In May of 2006, when Stein fired Barrett or caused her to be fired, the state of the
       negotiations with Libra were down to the attorneys. These were not negotiations that didn't require
  28
                                                            20
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  2    an attorney. There was no other attorney who was at those negotiations representing the tribe except
       for Stein. Stein handled the closing of the Libra funding transaction himself. Stein was doing this on
  3    behalf of the tribe, giving him ultimate say as to what that contract was going to look like at that
       time. This was very technical, very legal work. (Margolis, 7-15-2016, P. 17, L. 20-P. 18, L. 11)
  4
       122. After terminating Ms. Barrett, Stein handled the closing of the Libra Funding Agreement,
  5
       personally, without the benefit of experienced, corporate counsel, other than himself. (Carmelo, 7-
  6    11-2016, P. 11, L. 19- P. 13, L. 23) (Stein, 7-13-2016, P. 60, L. 1-7; P. 61, L. 5-26; P. 67, L. 11- P.
       68, L. 28) (Exh. 644 (GT Tribe - Libra Investors Agreement)
  7
       123. There were several significant pieces of the Libra Agreement, which Stein admits were
  8    drafted by him, including: the bill that is attached as exhibit l;!, and which purports to be the Senate
       Bill that would be introduced and be a prerequisite for future funding. Although it is not marked as
  9
       draft, it is clearly a draft bill and Mr. Stein admitted that he drafted it and that it was never
 10    introduced. (Stein, 7-13-2016, P. 63, L. 7 - P. 65, L. 14; P. 65, L. 22 -P. 67, L. 2; P. 68, L. 23-28;
       P. 69, L. 6-13) (Exh. 644 (GT Tribe -Libra Investors Agreement))
 11
       124. Stein held himself out as the tribe's attorney to the public and the press, to competing
 12    organizations and factions of the Gabrielino-Tongva Indians, and to elected officials and other
  13   political representatives. (Margolis, 7-15-2016, P. 25, L. 8-12) (Margolis, 7-20-2016, P. 45, L. 17-
       20; P. 45, L. 24 - P. 46, L. 23) (Margolis, 3-3-2017, P. 39, L. 26 - P. 40, L. 4; P. 40, L. 19-27; P.
  14   43, L. 12-19) (Exh. 30 (March 25, 2005 letter from Stein to Escutia w1th a BCC to Polanco)) (Exh.
       32 (An unsigned letter by Stein apparently written for Attorney General Bill Lockyer providing a
  15   legal opinion regarding tribal gaming))
  16
       125. Around March of 2005, Stein blind carbon copied (BCC) Polanco on a letter to State Senator
  17   Martha M. Escutia. With that letter, Stein attaches a copy of a 120 page brief which he had written
       regarding the Tribe's ability to conduct gaming in California even before it achieves federal
  18   recognition. Specifically, in that letter, Stein tells Escutia that the brief "argues, successfully, I think,
       that our state-recognized tribe may conduct gaming on a state Indian reservation without federal
  19   recognition." (Candelaria, 6-22-2016, P. 46, L. 11-21) (Loya, 7-6-2016, P. 165, L. 7-22) (Polanco,
 20    7-13-2016, P. 35, L. 12-15) (Stein, 3-15-2017, P. 44, L. 22-P. 45, L. 13) (Exh. 30 (Excutia Letter))

 21    126. Stein drafted a shorter letter (or 3-4 pages) which is apparently addressed to California's then
       Attorney General Bill Lockyer and makes a similar argument: that a California recognized tribe can
 22    engage in gaming operations as long as they get certain approval from the State, even without federal
       recognition. (Dunlap, 7-7-2016, P. 83, L. 22 - P. 84, L. 2; P. 84, L. 20-26; P. 85, L. 7-19)
  23
       (Carmelo, 7-7-2016, P. 135, L. 16-25; P. 136, L. 1-6) (Carmelo, 7-12-2016, P. 66, L. 22- P. 67, L.
 24    22) (Stein, 1-31-2017, P. 32, L. 21 -P. 33, L. 10) (Stein, 2-1-2017, P. 16, L. 22- P. 17, L. 2) (Exh.
       32 (An unsigned letter by Stein apparently written for Attorney General Bill Lockyer providing a
  25   legal opinion regarding tribal gaming))

  26   127. After the SMDC agreement was entered into, Stein never denied being the tribe's attorney.
       When members of the public and members of the tribe identified Stein as the tribe's attorney, he
  27
       never corrected them. He told Richard Polanco in 2004 that he was the tribal attorney, that the tribal
  28   council would do anything he asked, and that they never failed to follow his advice. In the summer

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  2    of 2006, Dunlap sent an email to other members of the tribe and a copy to Stein, complaining about
       Stein, referring to him as the tribe's attorney. Stein never denied being the tribe's attorney and no
  3    one else contradicted it or denied it. (Margolis, 7-15-2016, P. 26, L. 23 - P. 27, L. 10; P. 27, L. 18-
       19) (Margolis, 7-20-2016, P. 20, L. 7-13; P. 45, L. 17-20; P. 45, L. 24- P. 46, L. 23) (Margolis, 3-
  4    3-2017, P. 39, L. 26- P. 40, L. 27; P. 43, L. 12-19) (Exh. 30 (March 25, 2005 letter from Stein to
       Escutia with a BCC to Polanco)) (Exh. 32 (An unsigned letter by Stein apparently written for
  5
       Attorney General Bill Lockyer providing a legal opinion regarding tribal gaming))
  6
       128. Stein told Polanco that the Tribal Council had never failed to follow his advice on any issue.
  7    (Polanco, 6-28-2016, P. 76, L. 24-P. 77, L. 1)

  8    129. Carmelo never heard anybody say that Stein was not the Tribe's lawyer. (Carmelo, 7-11-
       2016, P. 31, L. 3 - P. 32, L. 6; P. 32, L. 12 P. 33, L. 14) (Exh. 55 (Email Dunlap to Tribal
  9
       Council)) (Exh. 56 (Email Dunlap to Polanco - August 4th, 2006))
                                                                                                               ~-
 10
       130. You can't get a client to agree in an effective way that the attorney is not going to be liable for
  11   what his duties are as an attorney and as a fiduciary. It would be against public policy for an attorney
       to enter into an agreement with a client that the attorney would not be held lo the rules of
  12   professional conduct or fiduciary standards. That agreement would be against public policy and it
  13   would be unconscionable. (Margolis, 7-20-2016, P. 64, L. 7-28; P. 73, L. 12-16; P. 95, L. 20-22)

  14   131. The 2001 SMDC Agreement provides that no attorney-client relationship or fiduciary duty is
       created by the agreement. (Velasquez, 7-6-2016, P. 157, L. 9-17) (Simental, 7-7-2016, P. 41, L. 5-
  15   20) (Dunlap, 7-7-2016, P. 98, L. 9-ll; P. 99, L. 3-9; P. 102, L. 25- P. 103, L. 8) (Exh. 569 (SMDC
       Agreement at pp. 5, section 2.e))
  16

  17   132. Stein can't absolve himself from the consequences of his legal attorney activities by saying
       I'm not acting as an attorney. (Margolis, 7-20-2017, P. 37, L. 1-6; P. 37, L. 12-17; P. 57, L. 15-18)
  18

  19
       Stein is Liable for Breach of Fiduciary Duty
  20
       133. The fiduciary relationship is one in which the fiduciary owes complete loyalty to the
  21
       beneficiary and to maintain confidences, to look out after their interests and to support the interests of
  22   the fiduciary to the detriment of himself, it's the same fiduciary duties that an attorney would have.
       (Mai·golis, 7-15-2016, P. 43, L. 17-23; P. 44, L. 16-25) (Margolis, 7-20-2016, P. 84, L. 19-23)
  23   (Margolis, 3-8-2017, P. 54, L. 28- P. 55, L. 2; P. 55, L. 11-15; P. 56, L. 11-20)
  24   134. Whether you arc an attorney or a CEO, you owe the same duty of loyalty to the beneficiary,
  25   to the organization or to the members, to your own detriment if that has to be and also it involves
       complete candor, full disclosure, no concealment and a situation where the fiduciary must warn the
  26   beneficiary against himself just as he would warn the beneficiary against a third party. (Margolis, 7-
       15-2016, P. 44, L. 16-25) (Margolis, 7-20-2016,P. 59, L. 17-22; P. 64, L. 7-28; P. 84, L. 19-23)
  27   (Margolis, 3-3-2017, P. 14, L. 21 - P. 15, L. 2; P. 15, L. 5-16) (Margolis, 3-8-2017, P. 30, L. 2-10;
       P. 31, L. 3-19; P. 45, L. 10-27; P. 56, L. 11-20) (Margolis, 3-9-2017, P. 27, L. 1-5; P. 27, L. 14-17;
  28

                                                             22
                             Exh. C -- Append ix of Evidence In Support of Statement of Decision




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  2    P. 28, L. 1-2; P. 40, L. 15-22)

  3    135. Even if you put aside the creation of an attorney-client relationship and the fiduciary duty
       created by that relationship, Stein still owed a fiduciary duty to the Tribe as the development officer
  4    from March 4, 2001 until August 23, 2006 and then as the CEO of the Gabrielino Tribal Gaming
       Authority established in May of 2006 through September of 2006. (Margolis, 7-15-2016, P. 42, L.
  5    28 - P. 43, L. 11; P. 54, L. 6-8) (Margolis, 7-20-2016, P. 64, L. 7-14) (Margolis, 3-8-2017, P. 7, L.
  6    6-1 I; P. 56, L. 8-20)

  7    136. On September 9, 2006, Stein on behalf of SMDC resigned his position as CEO of the
       Gabrielino Tribal Gaming Authority, which was the only position with the Tribe he held at the time
  8    because he resigned as Tribal Development officer on August 23, 2006. (Carmelo, 6-28-2016, P.
       17, L. l0-21; P. 19, L. 14- P. 20, L. 1) (Stein, 6-28-2016, P. 46, L. 1-4; P. 46, L. 24-28; P. 63, L. 18-
  9
       25) (Dunlap, 6-29-2016, P. 117, L. 20- P. 118, L. 6) (Stein, 6-30-2016, P. 3, L. 19-26) (Stein, 2-2-
  10   2017, P. 2, L. 21-27; P. 4, L 14-20; P. 5, L. I 1-12; P. 6, L 6-20; P. 6, L. 25 - P. 7, L. 19; P. 50, L.
       13-23) (Stein 2-6-2017, P. 62, L. 22-28) (Stein, 2-7-2017, P. 18, L. 12-14; P. 39, L. 23 -P. 40, L. 5;
  11   P. 50, L. 19-25) (Stein, 2-8-2017, P. 2, L. 24-P. 3, L. 2) (Stein, 2-16-2017, P. 21, L. 16-19; P. 22,
       L. 3-15; P. 26, L. 14-17) (Stein, 2-21-2017, P. 20, L. 1) (Aronson, 3-1-2017, P. 24, L. 16-22)
  12   (Aronson, 3-2-2017, P. 28, L. 13-20; P. 32, L. 15-16; P. 59, L. 6-12; P. 60, L. 1-4; P. 61, L. 28 - P.
  13   63, L. 6; P. 83, L. 27-P. 84, L. 5) (Aronson, 3-6-2017, P. 37, L. 3-9) (Stein, 3-16-2017, P. 57, L. 25
       - P. 58, L. l) (Exh. 64 (Sept. 9, 2006, Stein's letter confirming his resignation)) (Exh. 71 (Sept 12,
  14   2006 letter prepared by Mr. Stein to Elizabeth Aronson re Termination For Cause)) (Exh. 571
       (October 3, 2006 - SMDC Termination Letter))
  15
       137. An attorney-client relationship, no matter how it is formed, comes with all the obligations
  16
       under the Rules of Professional Conduct and fiduciary duties. (Margolis, 7-15-2016, P. 45, L. 15-28)
  17   (Margolis, 7-20-2016, P. 25, L. 16-22; P. 59, L. 17-22; P. 64, L. 7-28; P. 84, L. 19-23} (Margolis, 3-
       9-2017, P. 2, L. 10-27)
  l8
       138. There is a third fiduciary relationship that can be formed by special formal relationships like
  19   attorney-client or guardian and ward, conservator agent, principal and so on, but it can also be
       formed informally through trust. In the course of the relationship one person is entrusted and has
  20
       earned the trust of the other person, so that that person (beneficiary) believes that they can trust the
  21   other person. A fiduciary relationship would have been established. [Barbara A versus John G, it's
       1983, it's 145 Cal. App. 3d 369] [Beery versus state bar, it's 1987, 43 Cal third 802]. (Margolis, 7-
  22   15-2016, P. 43, L. 24     P. 44, L. 15; P. 44, L. 25-28) (Margolis, 3-8-2017, P. 57, L. 5-7~ P. 59, L. 2-
       13)
  23

  24   139. Tribal Councilmembers trusted Stein. (Dunlap, 7-7-2016, P. 83, L. 11-14; P. 127, L. 18-28)
       (Carmelo, 7-7-2016, P. 140, L. 25-27) (Carmelo, 7-11-2016, P. 25, L. 28 -P. 26, L. 15)
  25
       140.    Stein told Polanco that the Tribal Council had never failed to follow his advice on any issue.
  26   (Polanco, 6-28-2016, P. 76, L. 24- P. 77, L. 1)
  27   141. When Stein made clear to Polanco that the tribe never failed to follow his advice, that he
  28   could convince them to do whatever he told them to do, that this is evidence of a trust relationship.

                                                             23
                              Exh. C -- Appendix of Evidence In Support of Statement of Decision




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  2   Further, the tribe placed ultimate trust in Stein as the tribe's closest and longest serving advisor. The
      relevance of this is that because there was a fiduciary duty as an attorney, as an officer, and
  3   independently or simply having a trust relationship, Stein was held to the standards that attorneys are
      held to. [Beery versus state bar case, it's I 987, 43 Cal third 802] [Lewis case versus state bar 1973, 9
  4   Cal third 704 at 713, it says when an attorney assumes a administrative fiduciary relationship and
      violates his duty in a manner that would justify discipline action if the relationship had been that of
  5
      an attorney and client, he would properly be disciplined for his conduct. The attorney would be held
  6   to the rules of professional conduct and any other state bar enacted rules that govern an attorney's
      ethical conduct]. (Margolis, 7-15-2016, P. 44, L. 25 -P. 46, L. 3) (Margolis, 7-20-2016, P. 5, L. 5-
  7   9; P. 42, L. 20-27; P. 45, L. 2-6; P. 59, L. 17-22; P. 63, L. 14-18; P. 63, L. 22 - P. 64, L. 28; P. 84,
      L. 19-23) (Margolis, 3-3-2017, P. 32, L. 6-13) (Margolis, 3-8-2017, P. 7, L. 6-11; P. 54, L. 28-P.
  8
      55, L. 2; P. 55, L. 11-17; P. 56, L. 8-20)
  9
      142. A mere breach of the rules does not necessarily mean that there is a breach of fiduciary duty.
 10   However, if there are other matters surrounding it, like concealment or advice which is not unbiased
      or a conflict which pervades the relationship and the client is not even informed of it, then that would
 11   be a breach of fiduciary duty. There were fiduciary breaches of 3-300 by Stein from the beginning.
      (Margolis, 7-15-2016, P. 20, L. 28 - P. 21, L. 5; P. 23, L. 4-13) (Margolis, 7-20-2016, P. 94, L. 9-
 12
      16; P. 110, L. 7-17; P. 114, L. 16-20; P. 134, L. 28     P. 135, L. 4) (Margolis, 3-8-2017, P. 13, L. 17
 13   - P. 14, L. 11; P. 20, L. 6-13; P. 33, L. 22-25) (Margolis, 3-9-2017, P. 20, L. 2-13; P. 20, L. 24-
      P. 21, L. 8; P. 22, L. 20-25; P. 26, L. 20-21; P. 32, L. 5 - P. 33, L. 12; P. 33, L. 16-20; P. 33, L. 28
 14   - P. 34, L. 25; P. 35, L. 23-27; P. 37, L. 9-14; P. 39, L. 21      P. 40, L. 1; P. 40, L. 10-13; P. 40, L.
       15-22; P. 40, L. 28 - P. 41, L. 8; P. 50, L. 19 - P. 52, L. 4; P. 52, L. 19-25; P. 53, L. 4-21; P. 53, L.
 15   26-P. 54, L. 13)
 l6
      143. If it is true that when originally presented with the SMDC agreement in 2001, the tribal
 17   council members were not allowed to take home the agreement, this would add an clement of
      concealment and overreaching that would add to the issue of moral turpitude, 6106 in the Business
 18   and Professions code. (Margolis, 7-15-2016, P. 20, L. 18- P. 21, L. 5; P. 23, L. 4-13) (Margolis,
      7-20-2016, P. 114, L. 16-20; P. 134, L. 28 - P. 135, L. 4) (Margolis, 3-9-2017, P. 37, L. 9-14; P.
 19
      53, L. 26-P. 54, L. 13)
 20
      144. Stein controlled the SMDC Agreement from day one. The Tribal Councilmembers were not
 21   allowed to take a copy home; therefore, they did not have a meaningful opportunity to have a lawyer
      (or anybody else) review the document. (Neminski, 7-6-2016, P. 60, L. 16-17; P. 70, L. 27 P. 71,
 22   L. I; P. 87, L. 11-18; P. 97, L. 24- P. 98, L. 17) (Velasquez, 7-6-2016, P. 149, L. 14-23; P. 157, L.
 23   18-25; P. 163, L. 4-12) (Simental, 7-7-2016, P. 14, L. 1-3; P. 18, L. 18-22; P. 20, L. 3-7; P. 22, L.
      18-25; P. 37, L. 22-27; P. 38, L. 21-25; P. 41, L. 5-20; P. 48, 5-17) (Exh. 16 (2001, March 8, Letter
 24   dated from Stephen Otto, Esq. to Tribal Council and Stein declining appointment of General Counsel
      of Tribe))
 25
      145. Carmelo didn't receive or see the SMDC Agreement in whole, until this litigation broke out
 26   and she became a party to it on November 2, 2006. (Carmelo, 7-7-2016, P. 139, L. 9 - P. 140, L.
 27   24) (Carmelo, 7-11-2016, P. 16, L. 12-17) (Carmelo, 7-12-2016, P. 3, L. 23-P. 4, L. 4)

 28
                                                            24
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  1                Material Fact/Evidence With Specific Citations to Testimony or Exhibits

  2    Stein & SMDC are Liable for Conversion of the Tribe's Property
  3    146. In its Tentative Decision/Statement of Decision, the Court also found that: "Prior to the split,
       the Gabrielino-Tongva Tribe's offices were in Jonathan Stein's Law offices in Santa Monica. After
  4
       the split, the Gabrielino-Tongva tribe changed the location of their office to 761 Terminal St. Los
  5    Angeles CA 9002 l. At the time of the split and relocation of their office, Gabrielino-Tongva Tribe
       councilmembers took the Tribe's check books from the SMDC offices; there was nothing
  6    impermissible or wrong with their action. Other financial documents, membership books and
       records, and computers belonging to the Gabrielino-Tongva Tribe remained in Jonathan Stein's law
  7
       offices and were apparently the subject of other litigation." (Candelaria, 6-21-2016, P. 29, L. 15-21;
   8   P. 34, L. 19-22; P. 39, L. 15 -P. 40, L. 18; P. 83, L. 28- P. 84, L. 17; P. 96, L. 28 - P. 97, L. 24; P.
       98, L. 24-27; P. 126, L.-19 - P. 127, L. 5; P. 129, L. 19- P. 130, L. 2; P. 130, L. 8-14; P. 132, L. 16-
   9   20; P. 148, L. 24-28; P. 154, L. 21-25) (Candelaria, 6-22-2016, P. 8, L. 20-P. 9, L. 14; P. 51, L. 9-
       15; P. 51, L. 23 - P. 52, L. 16; P. 54, L. 15-P. 55, L. 22; P. 55, L. 26- P. 56, L. 19; P. 63, L. 12- P.
       64, L. 6; P. 66, L. 12 - P. 67, L. 1) (Garcia, 6-22-2016, P. 7, L. 8 - P. 8, L. 12; P. 8, L. 25 - P. 9, L.
  11   7; P. 13, L. 22-P. 14, L. 10; P. 14, L. 27- P. 15, L. 4; P. 34, L. 2-7; P. 41, L. 1-P. 42, L. 23; P. 44,
       L. 13-23) (Garcia, 6-23-2016, P. 6, L. 9-15; P. 8, L. 12- P. 9, L. 7; P. 9, L. 28- P. 10, L. 5; P. 29, L.
  12   2 - P. 30, L. 3; P. 30, L. 26 - P. 31, L. 3; P. 31, L. 21-26; P. 32. L. 1-11) (Goad, 6-23-2016, P. 4, L.
       26 - P. 5, L. 6; P. 32, L. 22-28; P. 61, L. 26 - P. 62, L. 5; P. 63, L. 21-27) (Carmelo, 6-28-2016, P.
  13    18, L. 11- P. 19, L. 7; P. 20, L. 25 - P. 21, L. 12; P. 24, L. 23-27; P. 26, L. 28 - P. 27, L. 7; P. 31,
  14
       L. 14-22; P. 38, L. 15- P. 39, L. 4; P. 44, L. 13-P. 45, L. 17) (Polanco, 6-28-2016, P. 84, L. 13-25;
       P. 89, L. 26 P. 90, L. 3) (Stein, 6-28-2016, P. 48, L. 5-19) (Dunlap, 6-29-2016, P. 48, L. 23 - P.
  15   49, L. 15; P. 69, L. 13 - P. 70, L. l; P. 70, L. 14-23) (Garcia, 6-30-2016, P. 5, L. 2-16) (Neminski,
       7-6-2016, P. 65, L. 23-27; P. 66, L. 3-14) (Perez, 7-6-2016, P. 112, L. 18 - P. 113, L. 3) (Carmelo,
  16   7-11-2016, P. 16, L. 9-20; P. 17, L. 8-P. 18, L. 25) (Carmelo, 7-12-2016, P. 37, L. 19-20; P. 40, L.
       2-12; P. 45, L. 5-9; P. 45, L. 24-26) (McShane, 7-15-2016, P. 22, L. 6-15; P. 25, L. 28- P. 26, L. 4)
  17
       (Johnson, 7-19-2016, P. 75, L. 5-21) (Carmelo, 7-19-2016, P. 125, L. 22-26; P. 141, L. 11 - P. 142,
  18   L. 11) (Lamothe, 7-21-2016, P. 43, L. 12-P. 44, L. 12; P. 44, L. 26-P. 46, L. 7) (Stein, 2-1-2017,
       P. 73, L. 13 -P. 74, L. 18) (Stein, 2-8-2017, P. 35, L. 12-17; P. 44, L. 1-15; P. 51, L. 19 -P. 52, L.
  19    1) (Stein, 2-17-2017, P. 5, L. 13-26; P. 6, L. 25 - P. 7, L. 2; P. 7, L. 26- P. IO, L. 4; P. 9, L. 12- P.
        10, L. 4) (Aronson, 3-2-2017, P. 56, L. 11-26) (Aronson, 3-6-2017, P. 38, L. 2 - P. 39, L. 13) (Exh.
  20   507 (GT TRIBE Membership List March 2007 Class Band C (after termination of members who left
  21   to join New GT Nation))) (Exh. 508 (2006-2008 Sample "Blue Card" from GT Tribe member
       requesting records)) (Exh. 514 (GT TRIBE Election Results Talley Certification 2007 and 2008)))
  22   (Exh. 520 (Member Letter #1 - raised $21 million but never informed the Tribe)) (Exh. 578 (2007
       Talley Certification 2007 Election Candelaria Group)) (Exit. 784 (April 4, 2007 Writ of Attachment -
  23   Terminal St. Address)) (Exh. 785 (Writ of Attachment and Right to Attach Order against Gabrielino-
  24   Tongva Tribe in Amount of $812,500 - Santa Monica address))

  25   147. Similarly, the trial court at the bench trial found that "After his termination Jonathan Stein
       had no authority to act on behalf of the Gabrielino-Tongva Tribe. Nonetheless, he sent out at least
  26   three 'member letters' on Gabrielino-Tongva Tribe stationary to the members of the tribe."
       (Candelai•ia, 6-21-2016, P. 26, L. 15-19; P. 27, L. 27 - P. 28, L. 3; P. 29, L. 1-21; P. 29, L. 27 - P.
  27   30, L. 3; P. 30, L. 27 - P. 31, L. 5; P. 123, L. 16-27; P. 124, L. 19- P. 125, L. 8; P. 129, L. 19-27; P.
       135, L. 7-11) (Candelaria, 6-22-2016, P. 6, L. 20-28; P. 7, L. 11-24; P. 8, L. 2-12; P. 17, L. 7-12; P.
  28

                                                             25
                              Exh. C •· Appendix of Evidence In Support of Statement of Decision




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  2    29, L. 10-16) (Garcia, 6-23-2016, P. 15, L. 11-22; P. 16, L. 18-P. 17, L. 2) (Goad, 6-23-2016, P. 4,
       L. 26-27) (Stein, 6-27-2016, P. 67, L. 12-23) (Carmelo, 6-28-2016, P. 26, L. 28- P. 27, L. 19; P. 33,
  3    L. 4-13)(Polanco, 6-28-2016, P. 89, L. 16-25) (Stein, 6-28-2016, P. I, L. 19 - P. 2, L. 2; P. 35, L. 26
       - P. 36, L. 10; P. 48, L. 5-16) (Polanco, 6-29-2016, P. 30, L. 23 -P. 31, L. 13) (Dunlap, 6-29-2016,
  4    P. 100, L. 12-21) (Stein, 6-30-2016, P. 4, L. 12-26; P. 27, L. 11-19) (Exh. 520 (Member Letter#! -
       raised $21 million but never informed the Tribe)) (Exh. 522 (Member Letter #3 - poll results
  5
       summarized and Nov 18 meeting announced)) (Exit. 523 (Member Letter #4 - Financial Oversight
  6    Committee formed and sends first letter anticipating Nov 18 meeting and then recall election))

  7    148.   Stein kept both the tribal hard copies of the membership records and the electronic database.
       In turn, he gave them to the Candelaria group. The Candelaria group believed the records were theirs
  8    and used them for their group's benefit. (Candelaria, 6-21-2016, P. 39, L. 15 - P. 40, L. 18; P. 82,
  9    L. 28 - P. 84, L. 17; P. 96, L. 28 - P. 97, L. 5; P. 97, L. 22 - P. 98, L. 27; P. 126, L. 19 -· P.
       127, L. 13; P. 127, L. 26- P. 128, L. 7; P. 129, L. 19- P. 130, L. 2; P. 130, L. 8-14; P. 132, L. 16-
  10   20; P. 154, L. 21-24) (Candelaria, 6-22-2016, P. 9, L. 3-14; P. 54. L. 3 - P. 55, L. 10; P. 55, L. 19-
       25; P. 66, L. 12 - P. 67, L. 1) (Garcia, 6-22-2016, P. 7, L. 8-24; P. 8, L. 3-12; P. 13, L 22-28; P.
  11    14, L. 1-10; P. 34, L. 2-5) (Garcia, 6-23-2016, P. 8, L. 22- P. 9, L. 7; P. 9, L. 28-P. 10, L. 5; P.
       30, L. 26- P. 31, L. l; P. 31, L. 21-26; P. 32, L. 1-7) (Neminski, 7-6-2016, P. 66, L. 9-14) (Perez,
  12
       7-6-2016, P. 112, L. 18-27) (Exh. 507 (GT TRIBE Membership List March 2007 Class B and C
  13   (after termination of members who left to join New GT Nation))) (Exh. 514 (GT TRIBE Election
       Results Talley Certification 2007 and 2008)))
  14
       149. Garcia testified that she kept all of the business records of the tribe: "That included
  15   everything, contracts, resolutions, we had a copy of the contract and resolution, usually if it had one
  16   approving it." She further testified that they contained one bookcase that went all the way up to the
       ceiling filled with notebooks; and filing cabinets that were about three or four rows of filing cabinets.
  17   And, they were also full of notebooks. And all of these were not SMDC's records, they were the
       Tribe's records. (Garcia, 6-22-2016, P. 41, L. 6-8; P. 41, L. 13-P 42, L. 23; P. 44, L. 13-15)
  18
       150. Garcia testified that she never returned these records to the tribal council, even when they
  19
       asked her to do so because Mr. Stein wouldn't allow her to return those records to the Tribal
  20   Councilmembers and she felt she had no discretion to do anything that was not authorized by Mr.
       Stein and she felt that returning these documents to the tribal councilmembers would be stealing.
  21   (Garcia, 6-23-2016, P. 26, L. 7-24)

  22   151. Garcia specifically offered an unsolicited legal opinion that giving those documents to the
       tribal councilmembers "in fact they did take some things so for them lo ask me specifically to make
  23
       copies of database information, that was had not legal." (Garcia, 6-23-2016, P. 27, L. 12-14)
  24
       152. After Stein and the Tribe terminated their relationship, Stein had no right to take the Tribe's
  25   letterhead and convert it for his use. Yet, he did, in order to send letters to the Tribe membership in
       order to plead his side of the case. These letters - which contained only Stein's side of the story
  26   regarding his dispute with the Tribe (and possible also included falsehoods) - had lasting damage in
       the relationship between the Tribe and its membership. (Candelaria, 6-21-2016, P. 27, L. 27 - P.
  27
       28, L. 3; P. 29, L. 15-21; P. 30, L. 25-P. 31, L. 5; P. 124, L. 24- P. 125, L. 8; P. 125, L. 23 - P.
  28   126, L. 2; P. 126, L. 20-23; P. 129, L. 19- P. 130, L. 2) (Candelaria, 6-22-2016, P. 6, L. 20- P.

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  2    7, L. 24; P. 8, L. 2-12) (Garcia, 6-22-2016, P. 8, L. 25 - P. 9, L. 7) (Garcia, 6-23-2016, P. 15, L.
       11-22; P. 16, L. 18-22) (Exh. 520 (Member Letter #l - raised $21 million but never informed the
  3    Tribe)) (Exh. 522 (Member Letter #3 - poll results summarized and Nov 18 meeting announced))
       (Exh. 523 (Member Letter #4 - Financial Oversight Committee formed and sends first letter
  4    anticipating Nov 18 meeting and then recall election))
  5
       153. Stein registered an unincorporated association using the name the "Gabrielino-Tongva Tribe."
  6    (Stein, 6-28-2016, P. 58, L. 4-11) (Garcia, 7-18-2016, P. 44, L. 22- P. 45, L. 24) (Exh.107 (Dec.
       17, 2006 document titled "Registration of Unincorporated Association" using the name the
  7    "Gabrielino-Tongva Tribe"))

  8    154. Linda Candelaria, a former member of the Plaintiff (Tribe) is listed as the Secretary of this
       "new" group; Stein's legal assistant Barbara Garcia is listed as the agent for service of process and
  9
       his law offices arc listed as the entity's business address. (Stein, 6-28-2016, P. 54, L. 20-23; P. 55,
       L. 21-26; P. 55, L. 27 - P. 56, L. 13) (Exh. 107 (Dec. 17, 2006 document tit.led "Registration of
       Unincorporated Association" using the name the "Gabrielino-Tongva Tribe"))
  11
       155. Stein admitted that he was responsible for causing the "new" tribe to file a statement of
  12   unincorporated association. (Stein, 6-28-2016, P. 58, L. 4-11; P. 58, L. 16-18)
  13
       156. Stein stated that he took initiative of doing "research" on whether the statement of
  14   unincorporated association should be filed. (Stein, 6-28-2016, P. 58, L. 13-20; P. 59, L. 10-20)

  15   157. Stein chose to register the new Tribe with the same name which had been used by the Tribe,
       while all sides were still deeply involved in this instant litigation. He also admitted that he "brought"
  16   that idea to the new tribe (hereinafter referred to as the "Candelaria Faction") but wanted to file such
       a document in part to "make it clear where the address is and in part that had become an issue
  17
       because of the postal inspector trick that Mr. Polanco had played." (Stein, 6-28-2016, P. 58, L. 13-
  18   26) (Exh. 107 (Dec. 17, 2006 document titled "Registration of Unincorporated Association" using
       the name the "Gabrielino-Tongva Tribe"))
  19

  20

  21   Stein is Liable For Misappropriation of Trade Secrets

  22   158. With regards to those same documents (membership records, financial documents, it is
       established that Stein also misappropriated those same documents, which were trade secrets, namely,
  23   the confidential membership records. (Candelaria, 6-21-2016, P. 39, L. 22          P. 40, L. 18; P. 83, L.
       28     P. 84, L. 17; P. 96, L. 28-P. 97, L. 5; P. 126, L. 19- P. 127, L. 13; P. 127, L. 26-P. 128,
  24   L. 7; P. 129, L. 28- P. 130, L. 2; P. 132, L. 16-20; P. 154, L. 21-24) (Candelaria, 6-22-2016, P. 9,
  25   L. 3-14; P. 54. L. 15 - P. 55, L. 10; P. 55, L. 19-25; P. 66, L. 12- P. 67, L. 1) (Garcia, 6-22-2016,
       P. 7, L. 8-24; P. 8, L. 3-12; P. 13, L. 22   P. 14, L. 6; P. 34, L. 2-5; P. 41, L. 6-8; P. 41, L. 13 - P
  26   42, L. 23; P. 44, L. 13-15) (Garcia, 6-23-2016, P. 8, L. 22-P. 9, L. 7; P. 9, L. 28 - P. 10, L 5; P.
       30, L. 26 - P. 31, L. l; P. 31, L. 21-26; P. 32, L. 1-7) (Exh. 507 (GT TRIBE Membership List
  27   March 2007 Class B and C (after termination of members who left to join New GT Nation)))
  28
                                                             27
                              Exh. C -- Appendix of Evidence In Support of Statement of Decision




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  2    159. GT Tribe's membership records were highly confidential documents, which individually
       belonged to the members, as individuals, but the collection of them in aggregate belonged to the
  3    Tribe. (Carmelo, 6-28-2016, P. 38, L. 21   P. 39, L. 4)
  4
       160. Stein admits that these membership records, and the membership as a whole was developed
  5    as a consequence of the efforts of individual Tribal Councilmembers, and not as a consequence of his
       own efforts. "With the excellent work of the Tribal Council, we built up tribal membership to over
   6   1900 Gabrielinos." In a letter, where Mr. Stein otherwise brags about every single other effort he has
       undertaken, he freely gives all credit to the Tribal Council. (Candelaria, 6-21-2016, P. 27, L. 27 -
  7
       P. 28, L. 3; P. 29, L. 15-21; P. 30, L. 25 - P. 31, L. 5; P. 39, L. 10-27; P. 124, L. 24-25) (Exh. 520
   8   (Member Letter #1 - raised $21 million but never informed the Tribe))

  9    161. Carmelo recalled that the tribal council records were the result of efforts by the five main
       tribal councilmembers (Martin Alcala, Sam Dunlap, Cindi Alvitre, Edgar Perez, and Carmelo) and
  10   who were specifically chosen to serve on the tribal council because they were representatives of key
       family groups of surviving Gabrielinos. And each of these tribal council people, as representatives of
  11
       their family groups recruited their families to join the Tribe. Ms. Garcia who kept the individual
  12   membership records of all of the members (which showed their familiar relationships and native
       American heritage and relationship to the Tribe) agreed that the original information regarding the
  13   members (individual membership files) came from Sam Dunlap. (Carmelo, 6-28-2016, P. 2, L. 1-6;
       P. 2, L. 14-23; P. 3, L. 5-8; P. 3, L. 20-23) (Garcia, 6-23-2016, P. 31, L. 16-P. 32, L. 15)
  14

  15   162.    Stein kept both the tribal hard copies of the membership records and the electronic database.
       (Candelaria, 6-21-2016, P. 39, L. 25 -     P. 40, L. 18; P. 96, L. 28   P. 97, L. 5; P. 126, L. 24 - P.
  16   127, L. 13; P. 129, L. 28        P. 130, L. 2; P. 130, L. 8-14; P. 132, L. 16-20; P. 154, L. 21-24)
       (Candelaria, 6-22-2016, P. 9, L. 3-14; P. 54. L. 15-16; P. 55, L. 19-25; P. 66, L. 12 - P. 67, L. l)
  17   (Garcia, 6-22-2016, P. 7, L. 8-24; P. 8, L. 3-12; P. 13, L. 22 - P. 14, L. 10; P. 34, L. 2-5) (Garcia,
       6-23-2016, P. 8, L. 22     P. 9, L. 7; P. 9, L. 28 - P. 10, L. 5; P. 30, L. 26-P. 31, L. 1; P. 31, L.
  18
       21-26; P. 32, L. 1-7) (Neminski, 7-6-2016, P. 66, L. 9-14) (Perez, 7-6-2016, P. 112, L. 18-27) (Exh.
  19   507 (GT TRIBE Membership List March 2007 Class Band C (after termination of members who left
       to join New GT Nation))) (Exh. 514 (GT TRIBE Election Results Talley Certification 2007 and
  20   2008)))
  21

  22
       Breach of Confidence
  23
       163. Stein, SMDC, Law Offices, Garcia, the Tribe's leadership and GTGA had access to the
  24   membership records, which were maintained confidentially. After Stein's relationship with the Tribe
       ended Stein admitted to using the Tribe's membership records for the benefit of Stein and SMDC,
  25   and directly contrary to the rights of the Tribe and GTGA. And Ms. Garcia admitted that she did not
       returned the records even when the individual Tribal Councilmembers asked her to return those
  26
       records to them because she believed they belonged to Stein. (Candelaria, 6-21-2016, P. 39, L. 25
  27   -P. 40, L. 18; P. 83, L. 28 - P. 84, L. 17; P. 96, L. 28     P. 97, L. 5; P. 126, L. 24 - P. 127, L.
       13; P. 127, L. 26    P. 128, L. 7; P. 129, L. 28 - P. 130, L. 14; P. 132, L. 16-20; P. 154, L. 21-24)
  28   (Candelaria, 6-22-2016, P. 9, L. 3-14; 1=:?4:L. 15 -P. 55, L. 10; P. 55, L. 19-25; P. 66, L. 12-P.
                                                            28
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  1                Material Fact/Evidence With SQecific Citations to Testimon:y or Exhibits

  2    67, L. 1) (Garcia, 6-22-2016, P. 7, L. 8-24; P. 8, L. 3-12; P. 13, L. 22   P. 14, L. 6; P. 34, L. 2~5)
       (Garcia, 6-23-2016, P. 8, L. 22- P. 9, L. 7; P. 9, L. 28 - P. IO, L. 5; B. Garcia, 6-23-2016, p. 26,
  3    L. 15-L. 28 B. Garcia, June 23, 2016, p. 27, L. 5- L. 23 P. 30, L. 26- P. 31, L. l; P. 31, L. 21-
       26; P. 32, L. l-7) (Exh. 507 (GT TRIBE Membership List March 2007 Class B and C (after
  4    termination of members who left to join New GT Nation)))
  5
                                                                                                         . ···- ·-·-··-·
  6
       Intentional Interference with Economic Relationships
  7
       164. It is undisputed that the Libra Agreement between the Tribe and lhe Libra investors existed
   8   during the time in question. (Stein, 6-27-2016, P. 31, L. 8-12; P3 l, L. 28 - P. 32, L. 4; P. 45, L. 8-
       12) (Stein, 6-28-2016, P. 30, L. 7 - P. 31, L. 6) (Carmelo, 6-28-2016, P. 5, L. 1-4; P. 7, L. 4-6; P.
  9    12, L. 26 - P. 13, L. 5) (Polanco, 6-28-2016, P. 76, L. 4-8) (Polanco, 6-29-2016, P. 7, L. 26-27)
  IO   (Exh. 644 (GT Tribe - Libra Investors Agreement))

  11   165. Stein admitted that he negotiated the Libra Agreement between the Tribe and Libra Group.
       Thus, he knew of that relationship. (Stein, 7-13-2016, P. 60, L. 1-7; P. 61, L. 5-26; P. 63, L. 7 - P.
  12   64, L. 19; P. 68, L. 14-28) (Exh. 644 (GT Tribe - Libra Investors Agreement)
  13
       166. Stein's attorney, Ken Sulzer testified (under a waiver of the attorney-client privilege) that
  14   once a dispute with the Tribe started, Stein/SMDC wanted to be paid of any monies owed by the
       Tribe by Libra from the 18 million funds that Libra had promised to the Tribe. Stein/SMDC insisted
  15   that Stein and SMDC be first in line for payment. (Stein, 6-28-2016, P. 38, L. 9 -23; P. 42, L. 13-27)
       (Stein, 7-13-2016, P. 100, L. 1-10) (Sulzer, 7-18-2016, P. 25, L. 2 -11; P. 29, L. 24-P. 30, L. 1)
  16
       167. Ms. Virginia Carmelo testified that during the negotiations for the Libra Agreement, it had
  17
       been agreed that Stein/SMDC would not be paid from the Agreement because it would eat up a
  18   chunk of the funds. (Carmelo, 6-28-2016, P. 73, L. 2  P. 74, L. 2)

  19   168. Moreover, separate and apart from his demand to be paid from the first tranche of the Libra
       funds, when he did not get to spend the Libra money as he wanted, Stein threatened to send the
  20   money back to Libra, and therefore, intentionally disrupt the Libra agreement between the Tribe and
 21    Libra. (Aronson, 3-2-2017, P. 55, L. 18 - P. 56, L. 4) (Exh. 68 (Sept. 10, 2006 Mr. Stein's email
       explaining that he had frozen the Tribe's accounts))
  22
       169. Even though Libra wanted to continue its relationship with the Tribe and made the decision to
  23   do so, Stein was intent on frustrating that relationship. (Stein, 6-27-2016, P. 60, L. 1-16) (Stein, 6-
       28-2016, P. 34, L. 13-22; P. 38, L. 5-23) (Carmelo, 6-28-2016, P. 20, L. 11-12; P. 33, L. 12-20; P.
  24
       46, L. 26- P. 47, L. 7) (Polanco, 6-28-2016, P. 81, L. 11 -P. 82, L. 3; P 82, L. 9-25; P. 83, L. 10-
  25   18; P. 85, L. 7-27) (Exh. 647 (Stein Email to Tribal Council "casino project dead in water")) (Exh.
       678 (Email Stein to Tribal Council re willing to be terminated but $2 million payment is due and will
  26   cooperate in transition to new casino project leader))

  27   170. The future economic prospect was the 18 million dollars that Libra had promised as
       "subsequent" tranches to the Tribe and that Stein wanted to be used to pay him, or else he would
  28
                                                            29
                             Exh. C -- Appendix of Evidence 111 Support of Statement of Decision




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  2    disrnpt the relationship. The act that actually disrupted the relationship was Stein's demand that he
       be paid out of the first tranche and that he be made signatory to the Tribe. (Stein, 6-27-2016, P. 61,
  3    L.11-P.62,L.6)

  4    171. The tribe was supposed to imminently receive a two (2) million dollar tranche from the Libra
       investors; but they never received that tranche because Stein interfered with that contract. Moreover,
  5    it is undisputed between the parties that the Libra Agreement was ultimate worth 21 million dollars
  6    in damages. (Carmelo, 6-28-2016, P. 33, L. 14-25) (Stein, 6-28-2016, P. 34, L. 13-22) (Loya, 7-6-
       2016, P. 166, L. 2-6; P. 170, L. 24 - P. 171, L. I; P. 177, L. 2-5) (McShane, 7-15-2016, P. 39, L.
  7    12-20; P. 40, L. 6-14) (Exh.1515 (Sept 18, 2006 McShane email conflict check to "Records" - #4 &
       6) (Stein, 2-1-2016, P. 45, L. 24, P. 46, L. 7) (Aronson, 3-2-2017, P. 75, L. 26- P. 76, L. 7, P. 76,
  8    L. 28 - P. 77, L. 2) (Aronson, 3-6-2017, P. 25, L. 12-25) (Exh. 649 (Sept. 26, 2006 Stein email to
       Tribal Council re delay, items to do to resolve dispute and continue casino project with or without
  9
       Stein.)) (Exh. 1510 (Sept. 18, 2003 McShane emails to various, including JAS and Carmelo re
  10   Council Meeting on Gaming Issues))

  11

  12   Negligent Interference with Economic Relationships
  13
       172. It is undisputed that the Libra Agreement between the Tribe and the Libra investors existed
  14   during the time in question. (Stein, 6-27-2016, P. 31. L. 8-12; P31, L. 28 - P. 32, L. 4; P. 45, L. 8-
       12) (Stein, 6-28-2016, P. 30, L. 7 - P. JI, L. 6) (Carmelo, 6-28-2016, P. 5, L. 1-4; P. 7, L. 4-6; P.
  15   12, L. 26 - P. 13, L. 5) (Polanco, 6-28-2016, P. 76, L. 4-8) (Polanco, 6-29-2016, P. 7, L. 26-27)
       (Exh. 644 (GT Tribe - Libra Investors Agreement))
  16

  17   173. Stein admitted that he negotiated the Libra Agreement between the Tribe and Libra Group.
       Thus, he knew of that relationship. (Stein, 7-1.3-2016, P. 60, L. 1-7; P. 61, L. 5-26; P. 63, L. 7-P.
  18   64, L. I 9; P. 68, L. 14-28) (Exh. 644 (GT Tribe - Libra Investors Agreement)

  19   174. Stein's attorney, Ken Sulzer testified (under a waiver of the attorney-client privilege) that
       once a dispute with the Tribe started, Stein/SMDC wanted to be paid of any monies owed by the
  20
       Tribe by Libra from the 18 million fonds that Libra had promised to the Tribe. Stein/SMDC insisted
  21   that Stein and SMDC be first in line for payment. (Stein, 6-28-2016, P. 38, L. 9 -23; P. 42, L. 13-27)
       (Stein, 7-13-2016, P. 100, L. 1-10) (Sulzer, 7-18-2016, P. 25, L. 2 -11; P. 29, L. 24-P. 30, L. 1)
  22
       175. Ms. Virginia Carmelo testified that during the negotiations for the Libra Agreement, it had
  23   been agreed that Stein/SMDC would not be paid from the Agreement because it would eat up a
       chunk of the funds. (Carmelo, 6-28-2016, P. 73, L. 2 - P. 74, L. 2)
  24

  25   176. Moreover, separate and apart from his demand to be paid from the first tranche of the Libra
       funds, when he did not get to spend the Libra money as he wanted, Stein threatened to send the
  26   money back to Libra, and therefore, intentionally disrupt the Libra agreement between the Tribe and
       Libra. (Aronson, 3-2-2017, P. 55, L. 18 - P. 56, L. 4) (Exh. 68 (Sept. 10, 2006 Mr. Stein's email
  27   explaining that he had frozen the Tribe's accounts))
  28
                                                            30
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  2    177. Even though Libra wanted to continue its relationship with the Tribe and made the decision to
       do so, Stein was intent on frustrating that relationship. (Stein, 6-27-2016, P. 60, L. 1-16) (Stein, 6-
  3    28-2016, P. 34, L. 13-22; P. 38, L. 5-23) (Carmelo, 6-28-2016, P. 20, L. 11-12; P. 33, L. 12-20; P.
  4    46, L. 26 - P. 47, L. 7) (Polanco, 6-28-2016, P. 81, L. 11 -P. 82, L. 3; P 82, L. 9-25; P. 83, L. 10-
       18; P. 85, L. 7-27) (Exh. 647 (Stein Email to Tribal Council "casino project dead in water")) (Exh.
  5    678 (Email Stein to Tribal Council re willing to be terminated but $2 million payment is due and will
       cooperate in transition to new casino project leader))
  6
       178. The future economic prospect was the 18 million dollars that Libra had promised as
  7
       "subsequent" tranches to the Tribe and that Stein wanted to be used to pay him, or else he would
   8   disrupt the relationship. The act that actually disrupted the relationship was Stein's demand that he
       be paid out of the first tranche and that he be made signatory to the Tribe. (Stein, 6-27-2016, P. 61,
   9   L. 11-P. 62, L. 6)
  10   179. The tribe was supposed to imminently receive a two (2) million dollar tranche from the Libra
       investors; but they never received that tranche because Stein interfered with that contract. Moreover,
  11
       it is undisputed between the parties that the Libra Agreement was ultimate worth 21 million dollars
  12   in damages. (Carmelo, 6-28-2016, P. 33, L. 14-25) (Stein, 6-28-2016, P. 34, L. 13-22) (Loya, 7-6-
       2016, P. 166, L. 2-6; P. 170, L. 24- P. 171, L. 1; P. 177, L. 2-5) (McShane, 7-15-2016, P. 39, L.
  13    12-20; P. 40, L. 6-14) (Exh. 1515 (Sept 18, 2006 McShane email conflict check to "Records" - #4 &
       6) (Stein, 2-1-2016, P. 45, L. 24, P. 46, L. 7) (Al'Onson, 3-2-2017, P. 75, L. 26- P. 76, L. 7, P. 76,
  14
       L. 28 - P. 77, L. 2) (Aronson, 3-6-2017, P. 25, L. 12-25) (Exh. 649 (Sept. 26, 2006 Stein email to
  15   Tribal Council re delay, items to do to resolve dispute and continue casino project with or without
       Stein.)) (Exh. 1510 (Sept. 18, 2003 McShane emails to various, including JAS and Carmelo re
  16   Council Meeting on Gaming Issues))

  17
  18
       Breach of Contract
  19
       180. Stein attempted to usurp the decision-making ability of the Tribal Council in violation of
  20   Paragraph C of Page 2 of the Development Agreement which states " ... understanding that all
       ultimate decisions in connection therewith (the accomplishment of the Economic Development
  21   Tasks) shall at all times reside solely with the Tribe and their Council" by among other things,
       attempting to terminate Tribal professionals, force tribal council members to resign and have carte
  22
       blanch power to spend Tribe investment monies. (Perez, 7-6-2016, P. 139, L. 7-26) (Loya, 7-6-
  23   2016, P. 184, L. 5- P. 185, L. 2; P 185, L. 24-P. 186, L. 22)

  24   181. Stein violated Paragraph I(b )(ix) on Page 3 of the Development Agreement by terminating
       the Tribe's outside counsel without Tribal Council approval and prior to the negotiation of the final
  25   terms of the investment agreement with Libra Securities. (Barrett, 7-8-2016, P. 19. L. 6-7; P. 31, L.
  26   2-5) (Aronson, 3-1-2017, P. 17, L. 11-14)

  27   182. Stein terminated or attempted to terminate third party professionals, including but not limited
       to, the Tribe's Outside Counsel and Tribal General Counsel in violation of Paragraph 2(c)(ii) on Page
  28   5 of the Development Agreement. (Loya, 7-6-2016, P. 184, L. 5 - P. 185, L. 2; P 185, L. 24- P.
                                                            31
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  1                Material Fact/Evidence With SI:!ecific Citations to Testimonr or Exhibits

  2    186, L. 22) (Barrett, 7-8-2016, P. 19, L. 6-7; P. 31, L. 2-5) (Aronson, 3-1-2017, P. 17, L. 11-14; P.
       22, L. 19- P. 23, L. 15)
  3
       183. Stein violated Paragraph 3(a) on Page 5 of the Development Agreement (regarding economic
  4    development tasks) by refusing to explore federal recognition. (Stein, 6-28-2016, P. 33, L. 13-20; P.
       33, L. 23-24) (Margolis, 7-15-2016, P. 46, L. 27 - P. 47, L. 21) (Margolis, 3-3-2017, P. 45, L. 18-
  5
       25; P. 46, L. 8-16)
  6
       184. Stein attempted to usurp the Tribal Council's authority in violation of Paragraph 2(f) on Page
  7    6 of the Development Agreement by, among other things, terminating tribal professionals, attempting
       to force tribal council members to resign, and attempting to gain sole signatory authority of Tribe
  8    investment monies; (Perez, 7-6-2016, P. 113, L. 9-18) (Loya, 7-6-2016, P. 177, L. 2-11; P. 178, L.
       7-16) (McShane, 7-15-2016, P. 42, L. 26- P. 43, L. 13; P. 50, L. 18 P. 51, L. 25) (Exh. 649 (Sept.
  9
       26, 2006 Stein email to Tribal Council))
  10
       185. Stein attempted to claim reimbursement of unreasonable expenses, including but not limited
  11   to, expenses incurred by the Law Office of Jonathan Stein and/or double billing for expenses outlaid
       in violation Paragraph 4(b) on Page 7 of the Development Agreement; and (Aronson, 3-1-2017, P.
  12   58, L. J - P. 59, L. 28)
  13

  14
       Breach of Implied Covenant of Good Faith and Fair Dealing
  15
       186.
  16
       187.
  17

  18

  19   Violation of' Penal Code Sec. 502 (c) Computer Fraud

  20   188. The Tribe is also asserting a claim against Stein and SMDC for illegally accessing the Tribe's
       computer data, after Stein/SMDC's legal right to access that data had expired. Specifically, after the
  21   Tribe relationship with Stein and SMDC had unambiguously ended, Stein and SMDC accessed the
  22   Tribe's confidential computer data, which included, the Tribe's confidential membership records and
       business files. (Candelat·ia, 6-21-2016, P. 27, L. 27 - P. 28, L. 3; P. 29, L. 15-21; P. 30, L. 25 -
  23   P. 31, L. 5; P. 39, L. 15-P. 40, L. 12; P. 83, L. 28- P. 84, L. 17; P. 96, L. 28-P. 97, L. 2; P. 97,
       L. 22-P. 98, L. 27; P. 124, L. 24- P. 125, L. 8; P. 126, L. 19- P. 127, L. 13; P. 127, L. 26 -
  24   P. 128, L. 3; P. 129, L. 19 - P. 130, L. 2) (Candelaria, 6-22-2016, P. 9, L. 3-14; P. 55, L. 9-10; P.
       55, L. 19-22; P. 66, L. 12-P. 67, L. 1) (Garcia, 6-22-2016, P. 8, L. 3-12; P. 8, L. 25 - P. 9, L. 7;
  25
       P. 13, L. 22 - P. 14, L. 6; P. 34, L. 2-5) (Garcia, 6-23-2016, P. 9, L. 28 - P. 10, L. 5; P. 16, L. 18-
  26   22) (Exh. 507 (GT TRIBE Membership List March 2007 Class B and C (after termination of
       members who left to join New GT Nation))) (Exh. 514 (GT TRIBE Election Results Talley
  27   Certification 2007 and 2008))) (Exh. 520 (Member Letter #1 - raised $21 million but never informed
       the Tribe))
  28
                                                            32
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  2    189. During the trial, Stein admitted that he took possession of the Tribe's computer along with all
       the information contained within it and disposed of it at some point. He does not remember where or
  3    how. (Candelaria, 6-21-2016, P. 97, L. 22 - P. 98, L. 27) ( Lamothe, 1-25-2017, P. 28, L. 15
  4    P. 29, L. 10) (Stein, 2-1-2017, P. 27, L. 26 - P. 28, L. 6) (Stein, 2-8-2017, P. 35, L. 9-20, P. 44, L.
        l-15) (Stein, 2-15-2017, P. 30, L. 2-9) (Stein, 2-16-2017, P. 42, L. 15-19) (Stein, 2-17-2017, P. 2, L.
  5    4 - P. 3, L. 1; P. 3, L. 12- P. 5, L. 27; P. 9, L. 25 - P. 10, L. 4; P. 15, L. 2 - P. 16, L. 26) (Stein,
       2-21-2017, P. 29, L. 20-25, P. 30, L. 9-12)
  6
  7

  8    Unfair Competition (B&P Code Sec. 17200) For Unlawful Conduct by Stein/SMDC and
       Because the Purpose of the SMDC Agreement is Illegal
  9
       190. Philip Hogan was appointed to the National Indian Gaming Commission ("NIGC") in 1995,
  10   by the Secretary of the Interior, where he served as Associate Commissioner until 1999. (Philip
       Hogan ("Hogan"), July 14, 2016, Page 9, Linc 27 - P. 10, L. 2; P. 10, L. 21 - P. 11, L. 1)
  11

  12   191. Hogan was asked to serve as the associate solicitor for the Bureau of Indian Affairs in the
       Department of the Interior in 2001. He served one year before being appointed as the chair of the
  13   NIGC by President George W. Bush. Hogan held this position until 2009. (Hogan, 7-14-2016, P.
       11, L. 8 -P. 12, L. 16)
  14
       192. The SMDC agreement would not be subject to the regulations of 2001, when it was written,
  15
       but it would fall under the regulations of an evolving NIGC at the time the SMDC agreement gets
  16   reviewed by the NIGC. (Hogan, 7-14-2016, P. 68, L. 19-P. 69, L. 6; P. 71, L. 11-19)

  17   193. The Indian Gaming Regulatory Act and the regulations promulgated by the NIGC pursuant to
       that act, address the proposition that the tribe must have sole proprietary interest in the gaming to be
  18   conducted on those Indian lands. If somebody other than the tribe has an ownership interest in the
       game, the profits, then the tribe doesn't have the sole proprietorship interest. (Hogan, 7-14-2016, P.
  19
       21, L. 2-21; P. 47, L. 21 - P. 48, L. 1)
  20
       194. The NIGC would view a 10 percent of net win or the gross gaming revenues to a third party
  21   (and there is no direct relationship between the quantity of the services or the goods provided in
       exchange for that 10 percent) as the third party having an ownership interest, thus depriving the tribe
  22   of the sole proprietary interest. This arrangement is unlawful. (Hogan, 7-14-2016, P. 22, L. 21- P.
  23   23, L. 19; P. 24, L. 3-22; P. 47, L. 21-25; P. 51, L. 9 - P. 52, L. 3)

  24   195. Net win or gross gaming revenues is all the money that comes in from the gaming floor less
       the amount of money prizes going out. Net win or gross gaming revenue less the amount to pay the
  25   operation costs of running the casino, establishes the net gaming. (Hogan, 7-14-2016, P. 12, L. 25-
       27; P. 42, L. 20-26; P. 43, L. 1-4; P. 44, L. 27-28)
  26

  27   196. Typically, a developer that provides the funding to construct the facility and to assist in the
       management of the facility would have their compensation based on net gaming revenues, which are
  28   dramatically different than net win or the gross gaming revenues. (Hogan, 7-14-2016, P. 42, L. 7-

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  2    16)

  3    197. There is a limitation of 30 percent of net gaming for management agreements. These
       agreements require the review and approval of the NIGC. (Hogan, 7-14-2016, P. 47, L. 5-10)
  4
       198. The SMDC agreement compensation is 10 percent of net win of slot machines. (Hogan, 7-
  5    14-2016, P. 45, L. 1-3; P. 45, L. 7-14; P. 46, L. 18-22)
  6
       199.   Slot machines arc the highest revenue generator with the lowest overhead, in the casino.
  7    (Hogan, 7-14-2016, P. 43, L. 13 - P. 44, L. 18)

  8    200. The SMDC agreement would not avoid invalidity with Section 4 J of the SMDC agreement.
       This provision would have raised an immediate red flag with the NlGC, as it is trying to structure the
  9    SMDC agreement so that the restrictions of the NIGC or IGRA don't apply. A good trustee would
 10    not stand by and permit an arrangement like that to be entered into by its ward. (Hogan, 7-14-2016,
       P. 49, L. 16   P. 51, L. 26)
 11
       201. The SMDC agreement would be invalidated and unenforceable under the sole proprietary
 12    interest, if a determination by the commission or under IGRA was pushed. (Hogan, 7-14-2016, P.
       27, L. 15-26; P. 29, L. 1-10; P. 29, L. 26- P. 30, L. 15; P. 37, L. 20 -P. 38, L. 26; P. 47, L. 21 -
  13
       P. 48, L. 1; P. 51, L. 7 -P. 52, L. 3; P. 55, L. 2-9; P. 57, L. 10-13; P. 61, L. 13-15; P. 68, L. 19-27;
 14    P. 70,     19-P. 71, L. 4)

  15   202. Although developer agreements have been voluntarily amended with a tribe's cooperation in
       other situations, the SMDC agreement is not enforceable as is. An amended agreement is a new
  16   agreement that stands on its own. (Hogan, 7-14-2016, P. 32, L. 2-8; P. 34, L. 24 - P. 35, L. 8; P.
       52, L. 6~9; P. 53, L. 16- P. 54, L. 6; P. 55, L. 24- P. 57, L. 15)
  17

  18   203. If the parties renegotiated or amended the SMDC agreement, as soon as the amendments were
       made, the agreement would be considel'ed by the NIGC to be a new or different agreement. (Hogan,
  19   7-14-2016, P. 32, L. 2-8; P. 34, L. 24-P, 35, L. 8; P. 54, L. 4-6; P. 57, L. 4-15)

 20

 21
       Rescission - Cal Bus. & Prof. Code 3-300
 22
       204. Stein had an obligation under 3-300, 3-310 B-1, B-3, and B-4, and 3-310 C-1 and C-2 to
 23    provide full disclosure to and to get a waiver from the tribe, when all parties executed the SMDC
       agreement. Likewise, he had the same obligation with each amendment and modification and
 24    resolution to the agreement. Therefore, the contract is not binding or enforceable. (Margolis, 7-15-
       2016, P. 47, L. 22 - P. 50, L. 1) (Margolis, 7-20-2016, P. 59, L. 17-22; P. 63, L. 22 - P. 64, L. 28;
 25
       P. 92, L. 19- P. 93, L. 1; P. 94, L. 1-5; P. 94, L. 9-16; P. 95, L. 5-11; P. 96, L. 1-26; P. 100, L. 5-7;
  26   P. 100, L. 22 - P. 101, L. 1; P. 101, L. 21-26; P. 102, L. 9-18; P. 104, L. 10- P. 105, L. 6; P. 110,
       L. I 1-17; P. 114, L. 9 -P. 115, L. 3; P. 115, L. 8-12; P. 125, L. 2-10; P. 127, L. 27 - P. 128, L. 16;
  27   P. 128, L. 12-16; P. 130, L. 22- P. 131, L. 24; P. 131, L. 14-24; P. 133, L. 3-21; P. 137, L. 1-11; P.
       137, L. 26 - P. 138, L. 1) (Margolis, 3-3-2017, P. 13, L. 24 - P. 14, L. 3; P. 14, L. 9        P. 15, L.
  28
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  2    16; P. 28, L. 5 - P. 29, L. 3; P. 29, L. 18-19, P. 32, L. 6-13) (Margolis, 3-8-2017, P. 7, L. 6-11; P.
       30, L. 15-22; P. 31, L. 3-19; P. 33, L. 15-17; P. 33, L. 22-25; P. 34, L. 20-21; P. 36, L. 6-13; P. 60, L.
  3    20- P. 61, L. 1) (Margolis, 3-9-2017, P. 10, L. 11-12; P. 20, L. 2-13; P. 20, L. 24-P. 21, L. 8; P.
       22, L. 20-25; P. 26, L. 20-21; P. 32, L. 5-10; P. 33, L. 13-20; P. 33, L. 28 - P. 34, L. 25; P. 35, L.
  4    23-27; P. 39, L. 21 - P. 40, L. I; P. 40, L. 10-13; P. 40, L. 15-22; P. 40, L. 28- P. 41, L. 8; P. 50,
       L. 12-16; P. 50, L. 19 - P. 52, L. 4; P. 52, L. 19-25; P. 53, L. 4-21) (Exh. 1547 (Resolution 46
  5
       approving SMDC Agreement and Modification Agreement dated September 28, 2003. (Note was
  6    called as 1548 in testimony))) (Exh. 1548 (2003 Modification agreement and ratification of SMDC
       Agreement dated September 28, 2003. (Note was called as 1549 in testimony)))
  7
       205. Item 3-300 A of the Rules of Professional Conduct states the transaction or acquisition and its
  8    terms are fair and reasonable to the client and are fully disclosed and transferred in writing to the
  9    client in a manner that should have been reasonably understood with the client. Case laws clarifies
       that fully disclosed refers to the terms of the transaction and the fact of a conflict and a discussion or
  10   a disclosure to the client as to pros and cons that are reasonably foreseeable. [Beery versus State
       Bar]. (Margolis, 7-20-2016, P. l I 1, L. 11 - P. 112, L. 8; P. 113, L. 19-21) (Margolis, 3-8-2017, P.
  lI   30, L. 15-21; P. 31, L. 3-19) (Margolis, 3-9-2017, P. 25, L. 13 - P. 26, L. 14; P. 27, L. l-5; P. 27, L.
        14-17; P. 28, L. 1-2)
  12

  13   206. Stein has a problem with Rules of Professional Conduct 3-300, which involves adverse
       interests. As a fiduciary he had the duty to tell the tribe the pros and cons and to warn them against
  14   himself to the same extent he would have warned them against a third party. He was under an
       obligation to disclose everything. [Beery versus state bar it's 1987, 43 Cal third 802 at 813].
  15   (Margolis, 7-15-2016, P. 46, L. 27      P. 48, L. 4) (Margolis, 7-20-2016, P. 63, L. 22     P. 64, L. 28;
       P. 94, L. 9-16; P. 95, L. 5-11; P. 96, L. 1-26; P. JOO, L. 5-7; P. 100, L. 22 - P. 101, L. l; P. 101, L.
  16
       21-26; P. 102, L. 9-18; P. 104, L. 10-26; P. 110, L. 7-17; P. 114, L. 9- P. 115, L. 3; P. 115, L. 8-12;
  17   P. 125, L. 2-10; P. 127, L. 27 - P. 128, L. 16; P. 128, L. 12-16; P. 137, L. 1-11; P. 137, L. 26- P.
       138, L. 1) (Margolis, 3-3-2017, P. 13, L. 24-P. 14, L. 3; P. 14, L. 9-P. 15, L. 16; P. 28, L. 5-15;
  18   P. 29, L. 18-19; P. 31, L. 12-22; P. 32, L. 6-13) (Margolis, 3-8-2017, P. 7, L. 6-11; P. 30, L. 2-10; P.
       30, L. 15-22; P. 31, L. 3-19; P. 33, L. 15-17; P. 33, L. 22-25; P. 36, L. 6-13; P. 60, L. 20-P. 61, L.
  19
        1) (Margolis, 3-9-2017, P. 20, L. 13; P. 20, L. 24-P. 21, L. 8; P. 22, L. 20-25; P. 26, L. 20-21; P.
  20   27, L. 1-5; P. 27, L. 14-17; P. 28, L. 1-2; P. 32, L. 5-10; P. 33, L. 13-20; P. 33, L. 28 - P. 34, L. 2;
       P. 35, L. 23-27; P. 39, L. 21 - P. 40, L. l; P. 40, L. 10-13; P. 40, L. 15-22; P. 40, L. 28 -P. 41, L.
  21   8; P. 50, L. 12-16; P. 50, L. 19- P. 52, L. 4; P. 52, L. 19-25; P. 53, L. 4-21) (Exh. 1547 (Resolution
       46 approving SMDC Agreement and Modification Agreement dated September 28, 2003. (Note was
  22   called as 1548 in testimony))) (Exh. 1548 (2003 Modification agreement and ratification of SMDC
  23   Agreement dated September 28, 2003. (Note was called as 1549 in testimony)))

  24   207. You don't need an independent attorney to meet the requirements of 3-300, just the advice
       has to be given that they have the right to go out and get an attorney. If there is independent counsel,
  25   then independent counsel relieves the attorney who is offering the contract of the responsibility of
       discussing the pros and cons of the client taking the transaction, but it does not relieve the fiduciary
  26
       duty of full and unbiased disclosure from the attorney of having to alert and describe that in fact there
  27   is a conflict there and what that conflict is. [Rose versus State Bar, 1989, 49 Cal third six 46 at 6:30 -
       - at '66 three]. (Margolis, 7-20-2016, P. 110, L. 22 - P. 111, L. l; P. 11 l, L. 11 - P. 112, L. 8)
  28   (Margolis, 3-3-2017, P. 12, L. 8-14; P. 12, L. 21 - P. 13, L. 14; P. 14, L. 21 - P. 15, L. 2; P. 15,
                                                             35
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  2    L.5-16; P. 15, L. 17 - P. 16, L. 12) (Margolis, 3-8-2017, P. 30, L. 11-21; P. 30, L. 24-P. 31, L.
       19; P. 31, L. 23 - P. 32, L. 2; P. 33, L. 19) (Margolis, 3-9-2017, P. 27, L. 1-5; P. 27, L. 14-17; P.
  3    28, L. 1-2)

  4    208. The tribe was led to believe they had independent counsel from the beginning. (Margolis, 3-8-
       2017, P. 32, L. 6-8; P. 32, L. 27- P. 33, L. 8; P. 33, L. 18-25) (Margolis, 3-9-2017, P. 20, L. 24-
  5
       P. 21, L. 2; P. 39, L. 23 - P. 40, L. I; P. 40, L. 10-13; P. 40, L. 28-P. 41, L. 8)
  6
       209. Stein wanted Hugh McMullin to be the atlorney for the Morales faction. Dunlap helped
  7    arrange a meeting. McMullin walks away. (Dunlap, 7-7-2016, P. 61, L. 14 - P. 63, L. 6) (Exh. 12
       (2000, June 27, Letter to Samuel H. Dunlap from Hugh S. McMullen, Esq. clarifying he no longer
   8   represents the Tribe))
  9
       210. On or about March 4, 2001, Stephen B. Otto, Esq. wrote a letter to the Gabrielino Tribal
  IO   Council, Chief Velasquez and Stein to disclaim his role in the SMDC transaction because Stein had
       prepared a resolution appointing Otto as tribal general counsel despite the fact that Otto had earlier
  11   explicitly declined to accept that position, (Neminski, 7-6-2016, P. 46, L. 1-13; P. 60, L. 23-26; P.
       63, L. 16-19; P. 70, L. 27 - P. 71, L. 1; P. 78, L. 5-28; P. 81, L. 21     P. 82, L. 6; P. 85, L. 2-28; P.
  12   90, L. 27 - P. 91, L. 13) (Velasquez, 7-6-2016, P. 150, L. 18 -P. 151, L. 2) (Simental, 7-7-2016,
  13   P. 18, L. 23 - P. 19, L. 18; P. 22, L. 18- P. 23, L. 13; P. 46, L. 7 - P. 48, L. 17) (Dunlap, 7-7-2016,
       P. 66, L. 4-15; P. 66, L. 24-P. 67, L. 17) (Exh.16 (2001, March 8, Letter dated from Stephen Otto,
  14   Esq. to Tribal Council and Stein declining appointment of General Counsel of Tribe)) (Exh. 241
       (2001, March 1, Letter from Stephen Otto, Esq., to Tribal Council declining to be Counsel for the
  15   Tribe))
  16
       21 L Ed Hamburger was never hired by the Tribe. (Perez, 7-6-2016, P. 128, L. 23-26; P. 130, L.
  17   17-21) (Dunlap, 7-7-2016, P. 64, L. 22- P. 65, L. 17; P. 92, L. 19-25) (Carmelo, 7-12-2016, P. 70,
       L. 22 - P. 71, L. 10) (Stein, 1-23-2017, P. 50, L. 12-17) (Exh. 1537 (Resolution 15 appointing Rae
  18   Lamothe as Tribal General Counsel Unsigned)) (Exh. 1543 (Resolution 15 appointing Ed Hamburger
       as Tribal General Counsel Unsigned))
  19
       212. Lamothe was not independent counsel. She had a compensation provision in her retainer
  20
       agreement that was similar to Stein's. Stein's compensation agreement was part of what the conflict
  21   was about. It was in her interest to further the same interests and the same approach that Stein was
       interested in, even if it was not to the tribe's benefit. An independent attorney would have been
  22   someone from the outside, that had no relationship like that or an economic interest in the matter of
       that kind. The opportunity for independent counsel was not satisfied for 3-300. (Margolis, 7-20-
  23   2016, P. 122, L. 20-26) (Margolis, 3-3-2017, P. 11, L. 23- P. 12, L. I; P. 28, L. 16-19; P. 29, L.
  24    I 1-13; P. 43, L. 22- P. 45, L. 5; P. 45, L. 18-25; P. 46, L. 7-22; P. 46, L. 27 - P. 47, L. 21; P. 48,
       L. 1-21) (Margolis, 3-8-2017, P. 32, L. 2-12; P. 32, L. 27 - P. 33, L. 8) (Margolis, 3-9-2017, P. 20,
  25   L. 9-l l; P. 20, L. 24-28)

  26   213. Lamothe states that she didn't do a "Monday Morning Quarterback'' review of the SMDC
       Agreement, she only researched what was necessary for the amendments and modifications. She
  27
       further states the Tribal Councilmcmbcrs did not bring any inaccuracies to her attention. (Lamothe,
  28   1-24-2017, P. 22, L. 13-22) (Lamothe, 1-25-2017, P. 9, L. 9-P. 10, L. 5; P. 10, L. 21-24; P. 14, L.

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   2    13 - P. 15, L. 11; P. 15, L. 25 - P. 16, L. 24; P. 45, L. 17-28) (Exh. 16 (2001, March 8, Letter
        dated from Stephen Otto, Esq. to Tribal Council and Stein declining appointment of General Counsel
   3    of Tribe)) (Exh. 1542 (Resolution IO approving SMDC Agreement Dated 3-4-2001))

   4    214. You also have to give the client an opportunity to obtain independent counsel. (Margolis, 3-
        8-2017, P. 32, L. 4-5)
   5

   6    215. Stein controlled the SMDC Agreement from day one. The Tribal Councilmembers were not
        allowed to take a copy home; therefore, they did not have a meaningful opportunity to have a lawyer
   7    (or anybody else) review the document. (Neminski, 7-6-2016, P. 60, L. 16-17; P. 70, L. 27 - P. 71,
        L 1; P. 87, L. 11-18; P. 97, L. 24 - P. 98, L. 17) (Velasquez, 7-6-2016, P. 149, L. 14-23; P. 157, L.
   8    18-25; P. 163, L. 4-12) (Simental, 7-7-2016, P. 14, L. 1-3; P. 18, L. 18-22; P. 20, L. 3-7; P. 22, L.
        18-25; P. 37, L. 22-27; P. 38, L. 21-25; P. 41, L. 5-20; P. 48, 5-17) (Exh. 16 (2001, March 8, Letter
   9
        dated from Stephen Otto, Esq. to Tribal Council and Stein declining appointment of General Counsel
  10    of Tribe))

  11    216. Carmelo didn't see the SMDC Agreement in whole, until this litigation broke out and she
        became a party to it. (Carmelo, 7-7-2016, P. 139, L. 9- P. 140, L. 24) (Carmelo, 7-11-2016, P. 16,
  12    L. 12-17) (Carmelo, 7-12-2016, P. 3, L. 23 - P. 4, L. 4)
  13
        217. If it is true that when originally presented with the SMDC agreement in 2001, the tribal
  14    council members were not allowed to take home the agreement, this would add an element of
        concealment and overreaching that would add to the issue of moral turpitude, 6106 in the Business
  15    and Professions code. (Margolis, 7-15-2016, P. 20, L. 18 - P. 21, L. 5; P. 23, L. 4-13) (Margolis,
        7-20-2016, P. 114, L. 16-20; P. 134, L. 28 - P. 135, L. 4) (Margolis, 3-9-2017, P. 37, L. 9-14; P.
  16
        53, L. 26- P. 54, L. 13)
  17
        218. Stein knew and recommended the attorneys that were hired by him to be the Tribe's general
  18    counsel. (Dunlap, 7-7-2016, P. 61, L. 20-26; P. 62, L. 5-14; P. 63, L. 1-6; P. 63, L. 20 - P. 64, L.
        11; P. 92, L. 19-25) (Lamothe, 1-25-2017, P. 10, L. 10-19) (Aronson, 3-1-2017, P. 15, L. 19-25)
  19    (Exh. 12 (2000, June 27, Letter to Samuel H. Dunlap from Hugh S. McMullen, Esq. clarifying he no
        longer represents the Tribe))
  20

  21    219. The tribe had no independent counsel, therefore, the disclosure had to be far broader than it
        was. (Margolis, 7-20-2016, P. 99, L. 3-5; P. 104, L. 19- P. 105, L. 6; P. 113, L. 13-18; P. 123, L. l l
  22    -P. 124, L. 17; P. 125, L. 2-10; P. 129, L. 2-5; P 137, L. 3-11) (Margolis, 3-3-2017, P. 28, L. 10-19)
        (Margolis, 3-8-2017, P. 32, L. 2-12; P. 34, L. 20-21) (Margolis, 3-9-2017, P. 20, L. 2-P. 21, L. 8;
  23    P. 26, L. 16-21; P. 39, L. 21 - P. 40, L. 1; P. 40, L. 10-22; P. 40, L. 28 - P. 41, L. 8) (Exh. 1547
  24    (Resolution 46 approving SMDC Agreement and Modification Agreement dated September 28,
        2003. (Note was called as 1548 in testimony))) (Exh. 1548 (2003 Modification agreement and
  25    ratification of SMDC Agreement dated September 28, 2003. (Note was called as 1549 in
        testimony)))
  26
        220. Violations of 3-300 of the Professional Rules of Conduct is an automatic voiding and setting
  27    aside of the contract and quantum mernit can be denied, all fees can be denied depending upon the
 _ 28   egregiousness. The Bakhtiari case is an example of a case dealing with a business relationship with a

                                                             37
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  2    client. (Margolis, 7-20-2016, P. 130, L. 22-26; P. 132, L. 24-28; P. 133, L. 22 -           P. 134, L. 7)
       (Margolis, 3-8-2017, P. 38, L.10- P. 39, L. 16; P. 45, L. 28-P. 46, L. 14)
  3

  4
       3-310
  5
       221. Stein had an obligation under 3-300, 3-310 B-1, B-3, and B-4, and 3-310 C-1 and C-2 to
  6
       provide full disclosure to and to get a waiver from the trihe, when all parties executed the SMDC
  7    agreement. Likewise, he had the same obligation with each amendment and modification and
       resolution to the agreement. Therefore, the contract is not binding or enforceable. (Margolis, 7-15-
  8    2016, P. 47, L. 22 - P. 50, L. I) (Margolis, 7-20-2016, P. 59, L. 17-22; P. 63, L. 22 - P. 64, L. 28;
       P. 92, L. 19-P. 93, L. l; P. 94, L. 1-5; P. 94, L. 9-16; P. 95, L. 5-11; P. 96, L. 1-26; P. 100, L. 5-7;
  9
       P. 100, L. 22- P. 101, L. 1; P. 101, L. 21-26; P. 102, L. 9-18; P. 104, L. 10- P. 105, L. 6; P. 110,
  IO   L. 11-17; P. 114, L. 9 - P. 115, L. 3; P. 115, L. 8-12; P. 125, L. 2-10; P. 127, L. 27 -P. 128, L. 16;
       P. 128, L. 12-16; P. 130, L. 22- P. 131, L. 24; P. 131, L. 14-24; P. 133, L. 3-21; P. 137, L. 1-11; P.
  11   137, L. 26 - P. 138, L. l) (Margolis, 3-3-2017, P. 13, L. 24 - P. 14, L. 3; P. 14, L. 9 -P. 15, L.
       16; P. 28, L. 5 - P. 29, L. 3; P. 29, L. 18-19, P. 32, L. 6-13) (Margolis, 3-8-2017, P. 7, L. 6-11; P.
  12   30, L. 15-22; P. 31, L. 3-19; P. 33, L. 15-17; P. 33, L. 22-25; P. 34, L. 20-21; P. 36, L. 6-13; P. 60, L.
  13   20- P. 61, L. I) (Margolis, 3-9-2017, P. 10, L. 11-12; P. 20, L. 2-13; P. 20, L. 24- P. 21, L. 8; P.
       22, L. 20-25; P. 26, L. 20-21; P. 32, L. 5-10; P. 33, L. 13-20; P. 33, L. 28 - P. 34, L. 25; P. 35, L.
  14   23-27; P. 39, L. 21 - P. 40, L. 1; P. 40, L. 10-13; P. 40, L. 15-22; P. 40, L. 28 - P. 41, L. 8; P. 50,
       L. 12-16; P. 50, L. 19 - P. 52, L. 4; P. 52, L. 19-25; P. 53, L. 4-21) (Exh. 1547 (Resolution 46
  15   approving SMDC Agreement and Modification Agreement dated September 28, 2003. (Note was
       called as I548 in testimony))) (Exh. 1548 (2003 Modification agreement and ratification of SMDC
  16
       Agreement dated September 28, 2003. (Note was called as 1549 in testimony)))
  17
       222. Rules of Professional Conduct 3-310 A states that disclosure means informing the client or
  18   former client of the relevant circumstances of the actual and reasonably foreseeable adverse
       consequences to the client or former client. (Margolis, 7-15-2016, P. 48, L. 18-21) (Margolis, 7-20-
  19   2016, P. 112, L. 10-15) (Margolis, 3-8-2017, P. 34, L. 2-11)
  20
       223. Stein violated 3-310 B-1 of the Rules of Professional Conduct, which refers to, if an attorney
  21   has a legal business, financial, or personal relationship with a party or witness in the same matter, he
       is required to provide written disclosure. Stein didn't do this. (Margolis, 7-15-2016, P. 48, L. 5-21)
  22   (Margolis, 7-20-2016, P. 63, L. 22- P. 64, L. 28; P. 104, L. 27 - P. 105, L. 6; P. 110, L. 7-17; P.
       112, L. 10-25) (Margolis, 3-3-2017, P. 14, L. 9-13; P. 28, L. 5-15; P. 29, L. 19; P. 31, L. 12-22; P.
  23   32, L. 6-13) (Margolis, 3-8-2017, P. 7, L. 6-11; P. 30, L. 2-10; P. 34, L. 20-21; P. 36, L. 6-13)
  24   (Margolis, 3-9-2017, P. 35, L. 23-27; P. 37, L. 9-14; P. 39, L. 21-22; P. 50, L. 12-16) (Exh. 1547
       (Resolution 46 approving SMDC Agreement and Modification Agreement dated September 28,
  25   2003. (Note was called as 1548 in testimony))) (Exh. 1548 (2003 Modification agreement and
       ratification of SMDC Agreement dated September 28, 2003. (Note was called as 1549 in
  26   testimony)))
  27
       224. Stein's compensation agreement was part of what the conflict was about. The tribe was to a
  28   very great extent very interested in federal recognition, which would have precluded Stein's and

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  2     Lamothe's getting their share of the profits. Instead of pursuing federal recognition, Stein pursued
        state recognition which wouldn't have the same problem for his and Lamothe's profits. (Margolis, 7-
  3     15-2016, P. 15, L. 27 - P. 16, L. 10) (Margolis, 3-3-2017, P. 43, L. 28-7; P. 44, L. 12 - P. 45, L.
        5; P. 45, L. 18-25; P. 46, L. 7-16) (Margolis, 3-8-2017, P. 21, L. 16-22)
  4
        225. Stein created a conflict because he had an adverse interest with the tribe. The tribe's main
   5
        interest was federal recognition and what he didn't tell the tribe was if they got federal recognition he
   6    would be economically harmed by that because the federal rules would have kept him from getting
        the profits that he was anticipating. (Margolis, 7-15-2016, P. 46, L. 27 - P. 47, L. 21) (Margolis, 3-
  7     3-2017, P. 45, L. 18-25; P. 46, L. 8-16)

   8    226. Indeed, pursuant to the 2001 SMDC Agreement, Stein, through SMDC proposed to serve as
        the Tribe's developer, assist it in achieving federal recognition and develop a casino in Los Angeles
   9
        County. (Carmelo, 6-28-2016, P. 73, L. 20- P. 74, L. 2) (Dunlap, 6-29-2016, P. 39, L. 23 - P. 40,
 10     L. 5) (Neminski, 7-6-2016, P. 34, L. 5-8; P. 54, L. 8-18) (Velasc1uez, 7-6-2016, P. 141, L. 23-27; P.
        157, L. 9-15) (Loya, 7-6-2016, P. 165, L. 7-27) (Lamothe, 1-25-2017, P. 31, L. 10-15) (Exh. 569
 11     (SMDC Agreement at pp. 2-3))
 12     227. A prerequisite for an agreement to be reviewed by the NIGC would be the tribe has to be
  13    federally recognized. (Hogan, 7-14-2016, P. 58, L. 17-20)

  14    228.    The NIGC has no authority over a state recognized tribe or an unincorporated association.
        (Hogan, 7-14-2016, P. 30, L. 24-27; P. 58, L. 21-27)
  15
        229. A tribe has to be federally recognized for the sole proprietary interest restriction to be applied
  16)   by the NIGC. (Hogan, 7-14-2016, P. 30, L. 19-P. 31, L. 2)
  17
        230. The sole proprietary interest standard would not necessarily have application to a state
  18    recognized tribe that has no Indian land, no casino, and no federal recognition. (Hogan, 7-14-2016,
        P.29,L.14-19;P.30,L.19-P.31,L.2)
  19
        231. The NIGC would determine that the SMDC agreement was invalid for a federally recognized
 2()    tribe. (Hogan, 7-14-2016, P. 29, L. 1-13
  21
        232. Stein stated the Libra money was for the benefit of the casino project. The casino project wa-;
  22    given a separate name and identity, the Gabrielino Tribal Gaming Authority or "GTGA". (Stein, 6-
        28-2016, P. 33, L. 1-8)
  23
        233. Stein claimed that the Libra investors were not interested in funding federal recognition on
  24    behalf of the Tribe. The reason the Libra investors were interested in state recognition project was
  25    that they knew federal recognition would take 30 years. (Stein, 6-28-2016, P. 33, L. 13-20)

  26 ·234, Indeed, a key argument occurred between Stein and Sam Dunlap when Dunlap requested that
      Stein hire a Indian Law expert who could help the Tribe achieve federal recognition. (Stein, 6-28-
                                                                                               I
  27 2016,P.33,L.23-24)

  28    235.    Stein never explained to the Tribal members, at the time, that no such expert could be hired
                                                              39
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  2    with Libra Funds because the investors had not authorized money for that purpose. (Stein, 6-28-
       2016, P. 33, L. 23-24)
  3
       236.   Stein violated Rules of Professional Conduct 3-310 B-3. This is when a member of the state
  4    bar has a legal business, financial, personal or professional relationship with another person or entity
       that the attorney knows or reasonably should know would be affected substantially by resolution of
  5
       the matter. (Margolis, 7-15-2016, P. 48, L. 21       P. 49, L. 14) (Margolis, 7-20-2016, P. 63, L. 22-
  6    P. 64, L. 28; P. 104, L. 27 -P. 105, L. 6; P. 110, L. 7-17; P. 112, L. 10-25) (Margolis, 3-3-2017, P.
       14, L. 9-13; P. 28, L. 5-15; P. 29, L. 19; P. 31, L. 12-22; P. 32, L. 6-13) (Margolis, 3-8-2017, P. 7, L.
  7    6-11; P. 30, L. 2-10; P. 34, L. 20-21; P. 36, L. 6-13) (Margolis, 3-9-2017, P. 35, L. 23-27; P. 37, L.
       9-14; P. 39, L. 21-22; P. 50, L. 12-16) (Exh.1547 (Resolution 46 approving SMDC Agreement and
  8    Modification Agreement dated September 28, 2003. (Note was called as 1548 in testimony))) (Exh.
  9    1548 (2003 Modification agreement and ratification of SMDC Agreement dated September 28, 2003.
       (Note was called as 1549 in testimony)))
  IO
       237. Stein violated Rules of Professional Conduct 3-310 B-4. Stein was required to give a written
  11   disclosure, the same kind described before, that comes into play when an attorney has a legal,
       business, financial, or professional interest in the subject matter of the representation, and Stein did
  12
       have an interest. He should have put that in writing and provided the disclosure that is required.
  13   (Margolis, 7-15-2016, P. 49, L. 14-21) (Margolis, 7-20-2016, P. 63, L. 22 - P. 64, L. 28; P. 104, L.
       27 -P. 105, L. 6; P. 110, L. 7-17; P. 112, L. 10-25) (Margolis, 3-3-2017, P. 14, L. 9-13; P. 28, L. 5-
  14   15; P. 29, L. 19; P. 31, L. 12-22; P. 32, L. 6-13) (Margolis, 3-8-2017, P. 7, L. 6-11; P. 30, L. 2-10; P.
       34, L. 20-21; P. 36, L. 6-13) (Margolis, 3-9-2017, P. 35, L. 23-27; P. 37, L. 9-14; P. 39, L. 21-22; P.
  ]5   50, L. l 2-16) (Exh. 1547 (Resolution 46 approving SMDC Agreement and Modification Agreement
       dated September 28, 2003. (Note was called as 1548 in testimony))) (Exh. 1548 (2003 Modification
  16
       agreement and ratification of SMDC Agreement dated September 28, 2003. (Note was called as
  17   1549 in testimony)))

  18   238. Stein violated Rules of Professional Conduct 3-310 C-1 and C-2, because there was
       concurrent representation, he was representing both SMDC and the tribe. That kind of concurrent
  19   representation of potential or actual conflicts requires not just that he provide a written disclosure
  20   which he didn't do but also that he obtain the clients written consent (Margolis, 7-15-2016, P. 42, L.
       9-20; P. 49, L. 21 -- P. 50, L. 1) (Margolis, 7-20-2016, P. 63, L. 22 - P. 64, L. 28; P. 104, L. 27 -
  21   P. 105, L. 6; P. 110, L. 7-17; P. 112, L. 25 - P. 113, L. 2) (Margolis, 3-3-2017, P. 14, L. 9-13; P.
       28, L. 5-15; P. 29, L. 19; P. 3 I, L. 12-22; P. 32, L. 6-13) (Margolis, 3-8-2017, P. 7, L. 6-11; P. 30, L.
  22   2-10; P. 34, L. 20-21; P. 36, L. 6-13) (Margolis, 3-9-2017, P. 35, L. 23-27; P. 37, L. 9-14; P. 39, L.
       21-22; P. 50, L. 12-16) (Exh. 1547 (Resolution 46 approving SMDC Agreement and Modification
  23
       Agreement dated September 28, 2003. (Note was called as 1548 in testimony))) (Exh. 1548 (2003
  24   Modification agreement and ratification of SMDC Agreement dated September 28, 2003. (Note was
       called as 1549 in testimony))) (Exh. 1553 (William Mills expert opinions and their explanation))
  25
       239. Stein created a conflict with the Tribe because he was acting as the attorney for the Tribe and
  26   SMDC. He was representing both sides of the deal. (Margolis, 7-15-2016, P. 42, L. 9-20; P. 46, L.
  27   13-26; P. 49, L. 21 - P. 50, L. 1) (Margolis, 7-20-2016, P. 42, L. 20    P. 43, L. I; P. 45, L. 24 -
       P. 46, L. 23; P. 113, L. 3-9) (Margolis, 3-3-2017, P. 13, L. 28 - P. 14, L. 3; P. 28, L. 10-15)
  28
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   2   (Margolis, 3-8-2017, P. 12, L. 1-7) (Margolis, 3-9-2017, P. 35, L. 23-27; P. 36, L. 25-28)

   3   240. Stein had a conflict, because at the time of the SMDC contract, he prepared the tribe's
       resolution approving it and as it went on, Stein drafted all the resolutions and the amendments on
  4    behalf of the tribe. He was representing both sides of the deal. (Margolis, 7-15-2016, P. 46, L. 11-
       26) (Margolis, 7-20-2016, P. 96, L. 20-24) (Margolis, 3-3-2017, P. 13, L. 28 - P. 14, L. 3; P. 28, L.
   5
       10-26) (Margolis, 3-8-2017, P. 12, L. 1-7) (Margolis, 3-9-2017, P. 35, L. 23-27; P. 36, L. 25-28; P.
   6   37, L. 9-14) (Exh. 1547 (Resolution 46 approving SMDC Agreement and Modification Agreement
       dated September 28, 2003. (Note was called as 1548 in testimony))) (Exh. 1548 (2003 Modification
   7   agreement and ratification of SMDC Agreement dated September 28, 2003. (Note was called as
       1549 in testimony)))
   8
       241. Violations of 3-310 of the Professional Rules of Conduct, in equity, could set aside the
   9
       contract but it's not as clear as with 3-300. (Margolis, 7-20-2016, P. 130, L. 22 - P. 131, L. 13; P.
  10   132, L. 18-28; P. 133, L. 22- P. 134, L. 7) (Margolis, 3-8-2017, P. 41, L. 2-24; P. 43, L. 24-P.
       44, L. 2)
  11
       242. In the Sheppard Mullin case the court said that you can't quote any fee if the conflict is
  12   egregious enough. What's egregious enough? When there's a conflict, when there's an actual conflict
  13   that's pretty much egregious enough, so if there's an actual conduct of Sheppard Mullin, that would
       be sufficiently egregious to preclude fees in quantum meruit, particularly in a case like this where the
  14   conflict pervades the relationship.        [Sheppard Mullin Richter Hampton LLP versus J M
       manufacturing company Inc., it was decided January 29, 2016, 244 Cal.App.4th 59 zero and it deals
  15   exactly with this subject, it deals wilh rule 3-310. Now that's a case that was accepted for review by
       the California Supreme Comt hut it can be cited under the new appellate rules, not as precedent hut
  16
       for its persuasive effect]. (Margolis, 3-8-2017, P. 41, L. 2-24; P. 43, L. 24- P. 44, L. 2)
  17
       243. Under the Sheppard Mul1in case, you would separate out the part which is fees and that would
  18   be precluded, but other damages could be dealt with separately. (Margolis, 3-8-2017, P. 44, L. 8 -
       P. 45, L. 9)
  19
       244. Being the only attorney in the room, Mr. Stein failed to give full disclosure as provided in 3-
  20
       300 and 3-310 to the Tribe for the SMDC Agreement. (Neminski, 7-6-2016, P. 46, L. 12-15; P. 97,
  21   L. 13- P. 98, L. 17) (Simental, 7-7-2016, P. 13, L. 14-26; P. 37, L. 14- P. 38, L. 6; P. 41, L. 5-
       20) (Stein, 7-13-2016, P. 26, L. 27  P. 27, L. 6) (Exh. 569 (SMDC Agreement))
  22

  23

  24

  25   Alter Ego

  26   245. St. Monica Development Company ("SMDC") is a California limited liability that is owned
       100% by Jonathan Stein. (Garcia, 6-23-2016, Page 5l, Line 24 - Page 52, Line 1) (Stein, 6-27-
  27   2016, Page 26, Lines 23-28) (Stein, 2-15-2017, P. 6, L. 24 - P. 7, L. 7) (Barrett, 3-7-2017, Page 4,
       Lines 9-27) (Stein, 3-14-2017, P. 13, L. 10-19) (Exh. 6 (2000 April 21 Stein to Dunlap, et al
  28
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  2    regarding SMDC Development Agreement and stating that Ken Sulzer is viewing it for the first
       time.)) (Exh. 252 (Stein Declaration January 28, 2008)) (Exh. 1508 (Unsigned Conflict of Waiver -
  3    Barrett/SMDC)) (Exh. 1561 (Stein Declaration on Time Slips dated Sept. 8, 2008))

  4    246. The Law Offices of Jonathan A. Stein, Esq. and the offices of SMDC, shared the same
       address of 50 l Santa Monica Blvd., Suite 500. Likewise, they also shared Barbara Garcia as an
  5
       employee. Stein paid her wages. (Aronson, 3-6-2017, P. 80, L. 22-P. 83, L. 8)
  6
       247. Garcia worked as Stein's paralegal and SMDC's office manager, and was appointed by Stein
  7    to be the Tribal Administrator. Stein paid Garcia's wages. (Garcia, 6-22-2016, P. 4, L. 23 - P. 7,
       L. 1) (Garcia, 6-23-2016, P. 18, L. 12-27;)
  8
       248. Although, there was no resolution appointing Garcia as the Tribal Administrator, the Tribe
  9
       never complained about Garcia's role. (Garcia, 6-23-2016, P. 18, L. 12"-22, P. 19, L. 10 -- P. 20, L.
  lO   9) (Garcia, 7-18-2016, P. 42, L. 10-21) (Stein, 2-8-2017, P. 34, L. 21-- P. 35, L. 20) (Aronson, 3-6-
       2017, P. 80-81, L. 22-28 and 1-18, P. 82, L. 8-16)
  11
       249. Stein through being the sole owner of SMDC, paid the Tribe's attorneys. (Stein, 1-23-2017,
  12   P. 62, L. 14-18)
  13
       250. Polanco was engaged to provide the tribe with both consulting and political lobbying. He
  14   received monthly payments from the Law Offices of Jonathan Stein. This continued until the Libra
       agreement was signed and the investor funds transferred to the tribe's accounts. (Polanco, 6-28-
  15   2016, P. 75, L. 17 - P. 76, L. 8)

  16   251. Stein was not introduced to the Tribe as a representative or the CEO of SMDC. (Candelaria,
       6-21-2016, P. 118, 15-20)
  17

  18   252. Some of the Tribal Councilmernbers believed that Stein and SMDC were one in the same.
       (Neminski, 7-6-2016, P. 73, L. 17-23) (Perez, 7-6-2016, P. 124, L. 13-20; P. 124, L. 25 -P. 126, L.
  19   3)

  20   253. Stein did not discuss SMDC with McShane before the September 19, 2006, meeting.
       (McShane, 7-15-2016, P. 38, L. 7-11; P. 47, L. 4-6; P. 52, L. 2-11; P. 52, L. 22 -P. 53, L. 5)
  21

  22   254. A Los Angeles Sheriff's officer executed a Writ of Attachment to 501 Santa Monica Blvd.,
       Suite 500 location. (Garcia, 6-23-2016, P. 8, L. 22 - P. 9, L. 7) (Exh. 785 (Writ of Attachment and
  23   Right to Attach Order against Gabrielino-Tongva Tribe in Amount of $812,500 - Santa Monica
       address))
  24

  25                                -
  26   Fraud

  27   255. Stein claimed that Plaintiff's Tribal Council members "abandoned" the Plaintiff Tribe.
       (Candelaria, 6-21-2016, P. 26, L. 16-19; P. 34, L. 23-26; P. 47, L. 8-27; P. 53, L. 22-27; P. 122, L.
  28   7-20; P. 130, L. 3 - P. 13 l, L. 2) (Candelaria, 6-22-2016, P. 60, L. 9-14; P. 75, L. 9-13; P. 78, L.
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  2    16-20) (Garcia, 6-23-2016, P. 2, L. 5-16) (Stein, 6-27-2016, P. 24, L. 1-8; P. 60, L. 17-22; P. 72, L.
       2-4) (Garcia, 6-30-2016, P. 7, L. 18 - P. 8, L 14) (Stein, 6-30-2016, P. 12, L. 23 - P. 5, L. 3; P.
  3    22, L. 2-6; P. 22, L. 13-24; P. 31, L. 23-28; P. 32, L. 1-13) (Exh. 520(MemberLetter#l -raised $21
       million hut never informed the Tribe))
  4
       256. Stein admits to cutting off access to cell phones, emails, and the website to the Tribal
  5
       Councilmembers. (Stein, 6-28-2016, P. 51, L.15-28; P. 52, L. 1-28; P. 53, L. 1-28; P. 54, L. 1-7)
  6
       257.   Stein registered an unincorporated association using the name the "Gabrielino-Tongva Tribe."
  7    (Stein, 6-28-2016, P. 58, L. 4-11) (Garcia, 7-18-2016, P. 44, L. 22 - P. 45, L. 24) (Exh.107 (Dec.
       17, 2006 document titled "Registration of Unincorporated Association" using the name the
  8    "Gabrielino-Tongva Tribe"))
  9
       258. Stein stated that he took initiative of doing "research" on whether the statement of
  IO   unincorporated association should be filed. (Stein, 6-28-2016, P. 58, L. 13-20; P. 59, L. 10-20)

  11   259. Stein admitted that he was responsible for causing the "new" tribe to file a statement of
       unincorporated association. (Stein, 6-28-2016, P. 58, L. 4-11; P. 58, L. 16-18)
  12
       260. Stein chose to registerthe new Tribe with the same name which had been used by the Tribe,
  13
       while all sides were still deeply involved in this instant litigation. He also admitted that he "brought"
  14   that idea to the new tribe (hereinafter refened to as the "Candelaria Faction") but wanted to file such
       a document in part to "make it clear where the address is and in part that had become an issue
  15   because of the postal inspector trick that Mr. Polanco had played." (Stein, 6-28-2016, P. 58, L. 13-
       26) (Exh. 107 (Dec. 17, 2006 document titled "Registration of Unincorporated Association" using
  16   the name the "Gabrielino-Tongva Tribe"))
  17
       261. Linda Candelaria, a former member of the Plaintiff (Tribe) is listed as the Secretary of this
  18   "new" group; Stein's legal assistant Barbara Garcia is listed as the agent for service of process and
       his law offices are listed as the entity's business address. (Stein, 6-28-2016, P. 54, L. 20-23; P. 55,
  19   L. 21-26; P. 55, L. 27 - P. 56, L. 13) (Exh. 107 (Dec. 17, 2006 document titled "Registration of
       Unincorporated Association" using the name the "Gabrielino-Tongva Tribe"))
  20

  21   262. Stein claimed that the entity which he registered with the Secretary of State in December of
       2006 which shared a similar name as Plaintiff was the duly elected tribal entity and that the Plaintiff
  22   was a false entity. (Candelaria, 6-21-2016, P. 47, L. 28 - P. 48, L. 5; P. 71, L. 1-22; P. 81, L. 28
       - P. 82, L. 10; P. 82, L. 15-P. 83, L. 7; P. 86, L. 1-16) (Candelaria, 6-22-2016, P. 15, L. 10-26;
  23   P. 21, L. 15- P. 22, L. 11; P. 70, L. 13- P. 71, L. 12) (Stein, 6-27-2016, P. 73, L. 5-12) (Stein, 6-
       28-2016, P. 58, L. 12 - P. 59, L. 20) (Stein, 6-30-2018, P. 47, L. 23 - P. 48, L. 14) (Exh. 107
  24
       (Dec. 17, 2006 document titled "Registration of Unincorporated Association" using the name the
  25   "Gabrielino-Tongva Tribe")) (Exh. 514 (GT TRIBE Election Results Talley Certification 2007 and
       2008))) (Exh. 541 (GT Tribe Constitution))
  26
       263. That (imposter) entity which was first registered in December of 2006 continues to exist until
  27   this very day. The imposter entity was created by Stein and exists for the sole reason of attempting
       to succeeded to all of the legal rights and obligations of Plaintiff (Tribe). (Candelaria, 6-21-2016, P.
  28
                                                             43
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  2    30, L. 10-16; P. 31, L. 10-16; P. 34, L. 9-13; P. 46, L. 28-P. 47, L. 7; P. 48, L. 13 -P. 49, L. 4; P.
       86, L. 1-16) (Candelaria, 6-22-2016, P. 15, L. 10-26; P. 19, L. 14 - P. 20, L. 28; P. 22, L. 12-26)
  3    (Stein, 6-27-2016, P. 73, L. 5-12) (Carmelo, 6-28-2016, P. 48, L. 27 - P. 49, L. 9) (Stein, 6-28-
       2016, P. 58, L. 12 - P. 59, L. 20) (Stein, 6-30-2018, P. 47, L. 23 - P. 48, L. 14) (Exh. 107 (Dec.
  4    17, 2006 document titled "Registration of Unincorporated Association" using the name the
       "Gabrielino-Tongva Tribe")) (Exh. 541 (GT Tribe Constitution))
  5

  6    264. Outside of the context of this litigation, Stein claimed that imposter entity was the "real party
       in interest" to the rights and obligations of the real Tribe. For example, Stein claimed that Plaintiff's
  7    individual tribal members who sent "blue cards" to Stein requesting that their personal tribal records
       be returned to them were actually attempting to sever their relationship with Plaintiff (and not just
  8    with Stein). Despite the clearly worded demand of the Blue Cards. In furtherance of that fraud, Stein
  9    purposely misrepresented the intent and the meaning of the "Blue Cards." (Candelaria, 6-21-2016,
       P.34,L.28-P.35,L.16;P.40,L.19-2l;P.148,L.14-P.151,L.14)(Candelaria,6-22-2016,
 10    P. 10, L. 15 -P. 11, L. 4; P. 11, L. 22 -P. 12, L. 2; P. 12, L. 6-16; P. 12, L. 20- P. 13, L. 25; P.
       14, L. 1-23; P. 17, L. 16-25; P. 68, L. 9 - P. 69, L. 20; P. 69, L. 22- P. 70, L. 12) (Garcia, 6-22-
 11    2016, P. 14, L. 13 -P. 15, L. 12; P. 24, L. l l-19; P. 25, L. IO, L. 14)(Garcia, 6-23-2016, P. 28, L.
       9 - P. 29, L. 1; P. 32, L. 16- P. 33, L. 19; P. 33, L. 22- P. 34, L. 24; P. 61, L. 13-28) (Carmelo,
 12
       6-28-2016, P. 28, L. 3 - P. 29, L. 5; P. 29, L. 26 - P. 30, L. 19; P. 31, L. 14 - P. 32, L. 2)
 13    (Polanco, 6-28-2016, P. 84, L. 19 - P. 85, L. 6; P. 87, L. 3-4) (Garcia, 6-30-2016, P. l, L. 21 - P.
       2,                 L.                 1)                (Exh.               508                (Sample
 14    Blue Card" from GT Tribe member requesting records to be transferred to New GT Nation)) (Exh.
       509 (GT Tribe Sample Return of Membership Records Form by Barbara Garcia)) (Exh. 511 (GT
 15    Tribe List of Terminated Members))
 16
       265. Stein also claimed (and continues to claim) that he and SMDC entered into a settlement
 17    agreement with a group that is the "real" Plaintiff. (Candelaria, 6-21-2016, P. 72, L. 20 - P. 73, L.
       2; P. 73, L. 16 - P. 74, L. 9; P. 74, L. 12-23; P. 79, L. 4 - P. 80, L. 3) (Candelaria, 6-22-2016, P.
 18    31, L. 3 - P. 33, L. 13; P. 73, L. 21 - P. 6) (Jason Meyers ("Meyers"), June 23, 2016, Page 3,
       Line 6-22; P. 4, L. 9-11; P. 7, L. 15-27; P. 8, L. 12-13; P. 8, L. 17-19: P. 9, L. 10-22) (Stein, 6-28-
  19
       2016, P. 8, L. 22-P. 9, L. 14) (Johnson, 7-19-2016, P. 78, L. 1-7; P. 78, L. 19-P. 79, L. 6; P. 79,
 20    L. 19-28; P. 98, L. 20- P. 100, L. 4; P. 100, L. 12 - P. 101, L. 5; P. 103, L. 10-18) (Exh. 582 (GT
       Tribe - SMDC -Stein Settlement Agreement and Tribal Council Resolutions of approval)) (Exh.
 21    583 (March 18, 2007 Candelaria Group Estoppel Agreement)) (Exh. 584 (GT Tribe - Steve
       Johnson accounting for Estoppel Agreement))
 22
 23    266. Stein also claimed (and continues to claim) that Plaintiff (Tribe) is not the "real party in
       interest" in this case, but instead, is a rogue group composed of imposters. (Stein, 6-27-2016, P. 73,
 24    L. 5-12) (Stein, 2-8-2017, P. 38, L. 5-27)

 25    267. A judge presiding over a bench trial in earlier proceedings in this same action found that all of
       these Stein contentions were false. And, yet, Stein continued to make these representations inside
 26    and outside of court, as if they were true. He made these representations in order to defraud and
 27    confuse Gabrielinos who were members of Plaintiff and Gabrielinos who are not members of
       Plaintiff from joining Plaintiff. (Candelaria, 6-21-2016, P. 26, L. 8-20; P. 30, L. 10-16)
 28    (Candelaria, 6-22-2016, P. 16, L. 26-P. 17, L. 15; P. 60, L. 9-18) (Garcia, 6-30-2016, P. 9, L. 22
                                                             44
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  2    - P. 10, L. 15) (Exh. 520 (Member Letter #1 -raised $21 million but never informed the Tribe))

  3    268. After resigning, and after this litigation had already been initiated, Stein began efforts to
       mount a recall election of the Tribal Council. However, that recall was never held. Nonetheless,
  4    having failed to orchestrate a coup, Stein simply recruited a group of members and then organized
       them so that rhcy could start their own competing tribal group. (Candelaria, 6-21-2016, P. 25, L.
  5
       20 - P. 26, L. 14; P. 32, L. 12-16; P. 81, L. 28 - P. 83, L. 7; P. 83, L. 28 - P. 84, L. 3)
  6    (Candelaria, 6-22-2016, P. 15, L. 10-22; P. 20, L. 8-P. 21, L. 14; P. 22, L. 3-26; P. 27, L. 22- P.
       28, L. 19; P. 71, L. 13-27) (Garcia, 6-23-2016 P. 34, L. 10-16) (Stein, 6-28-2016, P. 2, L. 4 - P. 3,
  7    L. 16; P. 4, L. 7-12; P. 42, L. 28- P. 43, L. 14; P. 57, L. 7-13) (Stein, 6-30-2016, P. 11, L. 5-7; P.
       21, L. 12-19)
  8
       269.    Garcia believed that she had the authority to continue representing the tribe and acting as
  9
       tribal administrator. Her authority came from the members, then the Financial Oversight Committee,
 10    and finally from the Candelaria council. (Garcia, 6-23-2016, P. 38, L. 23 - P. 40, L. 4) (Garcia, 9-
       30-2016, P. l l, L. 18- P. 12, L. 6)
 11
       270. Stein had no reasonable basis for believing that the representations he made until 2016 were
 12    true. He made them knowingly in order to knowingly deceive and defraud Plaintiff's tribal members,
 13    the public, former investors; any potential investors and the court. Stein made these false
       representations in order usurp all of Plaintiff's legal rights and obligations. (Stein, 6-30-2016, P. 4,
  14   L. 12-20) (Exh. 520 (Member Letter #I raised $21 million but never informed the Tribe))

  15   271.     There were several significant pieces of the Libra Agreement, which Stein admits were
       drafted by him, including: the bill that is attached as exhibit B, and which purports to be the Senate
  16   Bill that would be introduced and be a prerequisite for future funding. Although it is not marked as
  17   draft, it is clearly a draft bill and Mr. Stein admitted that he drafted it and that it was never
       introduced. (Stein, 7-13-2016, P. 63, L. 7 - P. 65, L. 14; P. 65, L. 22- P. 67, L. 2; P. 68, L. 23-28; P.
  18   69, L. 6-13) (Exh. 644, Exh. B).

  19   272. According to Stein, there was no provision in the Libra Agreement for federal recognition.
       He explained: "They were -- this money was to go the state route. Federal recognition would have
 20
       taken 30 years easily, we spoke with that specifically with the Libra investors about that possibility
 21    and they said don't use our money for that stuff, they might have used other more colorful terms.
       "They wanted the state recognition project, if it failed they'd lose their money, but they thought it
 22    would succeed and they were willing to back it.
 23    "Q. Did it expressly forbid using this money for federal recognition?
 24    ''A. It expressly forbid using this money for anything other than what was in the budget, ... "
  25
       (Stein, 6-28-2016, P. 33, L. 13 -24)
  26
       273. This was the first time that the Tribal Councilmembers, especially, its Chair, had heard that
  27   the Libra Agreement was not intended to fund the Tribe's effo1ts for federal recognition. (Carmelo,
       6-28-2016, P. 4, L. 17 - P. 5, L. 4; P. 46, L. 23 - P. 47, L. 3) (Carmelo, 7-11-2016, P. 40, L. 24-
  28
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  2    P. 41, L. 5.)

  3    274.    On September 30, 2016, Stein sent yet another email, Exh. 678 (re Changing Horses
       Midstream Email). In that email, he explained that "$2 million is immediately due SMDC from the
  4    Tribe and, hopefully Libra could finance that." (Exhibit 678 September 30, 2016 (Changing Horses
       Midstream Email) Stein Knew that Libra Would Fund a Second Tranche)
  5

  6    275.    Mr. Sulzer testified similarly. He explained that SMDC and Stein wanted to ensure that since
       Libra was considering another $18 million to the Tribe that SMDC would be paid out of that
  7    additional funding. (Sulzer, July 18, 2016, P. 25 L. 2 -1 l)

  8    276. On August 17, 2007, Judge Aragon ruled: "SMDC (I) for leave to file a cross-complaint and
       (2) to continue the trial date. Both sides agree (a) that the proposed cross-complaint reiterates the
  9
       claims made by defendants as plaintiffs in action number SC09 l 644 ("the Santa Monica action"),
  10   and (b) that it makes sense that the claims and cross-claims of all parties should be adjudicated in a
       single action. Therefore, the motion to allow filing of the proposed cross-complaint is conditioned
  11   on defendants' dismissal of the Santa Monica action without prejudice, but only as to the parties who
       are named as plaintiffs in this action and as cross-defendants in the proposed cross-complaint in this
  12   action. This voluntary dismissal must be filed in the Santa Monica action by Monday, August 20,
  13   2007. Upon filing of the request for dismissal, the defendants' cross-complaint shall be deemed
       served and filed in this action."
  14
       277. On August 20, 2007, an Ex parte was granted on behalf of Stein. Judge Aragon modified his
  15   ruling on August 17, 2007 to show that the complaint and cross-complaint in case number:
       SC091644 will be dismissed without prejudice to the further prosecution of those claims in this case,
  16
       but those requests for dismissal need not be filed until August 28, 2007 or as soon as the Honorable
  17   Joseph S. Biderman rules on the pending motion regarding the right to attach order.

  18   278.    On August 20, 2007, Stein files his cross-complaint, but does not serve it on anyone.

  19   279.    On August 24, 2007, Michael Gonzalez gave a Notice of Ruling.

  20   280.    On August 26, 2007, Stein gave Notice of Rulings.
 21
       281.    Stein gave Notice of Entry of Orders by Department "C" on August 28, 2007.
  22
       282.    On or about September 28, 2007, Stein filed a cross-complaint for indemnity.
  23
       283.    October 24, 2007. Candelaria tried to substitute Jason Meyers for Cardenas and Gonzalez.
  24
       284. Polanco filed an answer to the Sep. 26-28 cross-complaint for indemnity, not the Aug. 20th
  25
       cross-complaint, on October 24, 2007.
  26
       285. On October 30, 2007, Stein gave Notice of Rulings. The Candelaria substitution of attorney
  27   was not deemed effective. They had to file a "Section 284 Application" and both sides were ordered
       to provide appropriate discovery for the Section 284 Application to be exchanged on Nov. 2, 2007.
  28   Sam Dunlap was allowed an additional two weeks (beginning Oct. 26) to file a first amended cross-
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  2    complaint, but only after the parties meet and confer, and to respond to SMDC's cross-complaint.

  3    286. On November 13, 2007, Dunlap and Aronson file General Denials and Affirmative Defenses
       of Cross-Defendants. This is in answer to the September 26-28, 2007 indemnity cross-complaint
  4    filing.
  5    287. On December 5, 2007, Stein filed Notice of Unavailability. The dates are Dec. 21, 2007 -
  6    Jan. 14, 2008.

  7    288. December 7, 2007, the Stay was lifted. Stein shall proceed to file and serve his motion to
       enforce a purported settlement and shall reserve the earliest available date with the calendar clerk for
  8    hearing. In addition, the real party in interest issue having now been temporarily abandoned, there
       appears to be no need for the stay previously imposed by the court; it is now lifted as to all parties
  9
       and as to all discovery, pending and prospective.
 10
       289. At some point during the summer of 2006, Stein learned that on May 22, 2006, the Legislative
 11    Counsel which advises the California state legislature had issued an opinion that stated that the Tribe
       was not state recognized tribe. Stein claims he told Libra about the opinion in August. Yet, Stein
 12    otherwise, ignored that opinion, disregarded their authority and published his law review article up
       until 2007 which still was premised on the idea that the Tribe was state recognized and the State of
 13
       California could allow them to engage in gaming without federal recognition. (Stein, 7-13-2016, P.
 14    64, L. 20 - P. 65, L. 14; P. 77, L. 6 - P. 79, L. 8; P. 79, L. 10- P. 81, L. l l; P. 82, L. 23 - P. 84, L. 9)
        (Exh. 53 (May 22, 2006 Legislative Counsel Opinion Addressed to Senator E. Vincent.))
 15

  16

  17

  18   290. In order to prove his "quantum meruit" claims against the Tribe, Stein introduced a quantum
       meruit worksheet which was heavily redacted and merely had a total of hours which Stein claimed he
  19   worked on behalf of the Tribe. (Stein, 3-13-2017, P. 1, L. 25-28; P. 3, L. 11 - P. 5, L. 1; P. 7, L. 2-
       13) (Johnson, 3-17-2017, P. 9, L. 19- P. 10, L. 5; P. 13, L. 8-1.6; P. 16, L. 1-28; P. 21, L. 7-11)
 20
       291. In the Lewis case versus state bar, it says when an attorney assumes a administrative fiduciary
 21
       relationship and violates his duty in a manner that would justify discipline action if the relationship
 22    had been that of an attorney and client, he would properly be disciplined for his conduct. The
       attorney would be held to the rules of professional conduct and any other state bar enacted rules that
 23    govern an attorney's ethical conduct. (Margolis, 7-15-2016, P. 45, L. 19 - P. 46, L. 3) (Margolis,
       7-20-2016, P. 59, L. 17-22; P. 63, L. 14-18; P. 64, L. 7-28, P. 84, L. 19-23) (Margolis, 3-8-2017, P.
 24    7, L. 6-11; P. 54, L. 28 - P. 55, L. 2; P. 55, L. 10-15; P. 56, L. 8-20)
  25
       292. Stein repeatedly advised the tribe that they could get state recognition and didn't need federal
 26    recognition in order to proceed with the casino project. Stein provided a written statement to
       Attorney General Lockyer in 2004, and State Senator Escutia in 2005, advocating the same position,
  27   under the law offices of Jonathan Stein, on behalf of the tribe. This was a legal issue, it was legal
       advice. (Margolis, 7-15-2016, P. 15, L. 27 - P. 16, L. 10) (Margolis, 7-20-2016, P. 25, L. 4-8; P.
  28
                                                               47
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  2    45, L. 24 -     P. 46, L. 23) (Margolis, 3-3-2017, P. 39, L. 7 -             P. 40, L. 27; P. 43, L. 12-19)
       (Margolis, 3-8-2017, P. 21, L. 19-21) (Margolis, 3-9-2017, P. 7, L. 10-15, P. 8, L. 10-20) (Exh. 30
  3    (Escutia Letter)) (Exh. 32 (Lockyer Letter))

  4    293. Stein drafted all of the tribe's resolutions, including the resolutions approving the SMDC
       agreement and the supplemental resolutions. On the first resolution Stein had the final say and
  5
       controlled access to it. When a request was made to have the SMDC agreement and resolutions
  6    overnight to have an opportunity to possibly present it to an attorney for review, Stein said no, it had
       to be done that day. Fmther, Stein never provided the SMDC agreement with a resolution that
  7    related to the agreement. This is legal advice. (Margolis, 7-15-2016, P. 20, L. 18 - P. 21, L. 5; P.
       23, L. 7-17. P. 46, L. 11-26) (Margolis, 7-20-2016, P. 113, L. 3-9; P. 114, L. 16-20; P. 134, L. 28 -
  8    P. 135, L. 4) (Margolis, 3-9-2017, P. 37, L. 9-14; P. 53, L. 26    P. 54, L. 13)
  9
       294. Stein drafted an ordinance which established the Gabrielino-Tongva Gaming Authority or the
 10    GTGA, which was an instrumentality of the tribe for furthering the interests of the casino project.
       This is an instance oflegal services. (Margolis, 7-15-2016, P. 16, L. 12-15)
  1I
       295. Stein prepared the contract on behalf of the tribe for hiring the political consulting firm of Mr.
  12   Polanco's wife. This was legal services. (Margolis, 7-15-2016, P. 18, L. 13-16)
  13
       296. Margolis states the problem with the ethics opinion provided by Mr. Mills is that Mills says that
  14   there was no attorney-client relationship, there was no evidence of there being legal services
       provided to the tribe or attorney-client services provided to the tribe, and that there is no reasonable
  15   basis for the tribe to believe that Stein was ils attorney. Mills opinion relies on the SMDC
       agreement, which deals with whether the developer (SMDC) is going to be the attorney or is the
  16
       attorney or has been the attorney and also, it seems with whether the SMDC agreement creates an
  17   attorney-client relationship between the tribe and Stein. (Margolis, 7-15-2016, P. 50, L. 17-25; P.
       51, L. 18-21; P. 51, L. 26 - P. 52, L. 4; P. 52, L. 24     P. 53, L. 1) (Margolis, 3-8-2017, P. 7, L. 12
  18       P. 8, L. 10; P. 8, L. 23 -- P. 9, L. 6; P. 9, L. 26 - P. IO, L. 22; P. 12, L. l0-28; P. 16, L. 1-18)
       (Exh. 1553 (Mills Opinion)) (Exh. 1554 (Basis For Mills' Opinions))
  19
       297. Mr. Mills' opinion is based primarily on his assumption lhat because there was no attorney-
  20
       client relationship, that there wasn't any fidnciary relationship. Mills also states that there was no
  21   fiduciary relationship created by the contract in Stein's role with SMDC. His opinion does not deal
       with the question of whether a fiduciary relationship was created outside of the SMDC agreement
  22   and it also ignores Stein's role as officer of the tribe and it ignores Stein's trust relationship that was
       created with the tribe. (Margolis, 7-15-2016, P. 52, L. 14-24) (Margolis, 7-20-2016, P. 56, L. 19-
  23   P. 57, L. 18) (Margolis, 3-8-2017, P. 7, L. 12-28; P. 10, L. 14-16; P. 56, L. 8-20; P. 57, L. 1-5; P. 57,
  24   L. 27 - P. 58, L. 11; P. 59, L. 2-14) (Margolis, 3-9-2017, P. 43, L. 1-8) (Exh. 1553 (Mills
       Opinion)) (Exh. 1554 (Basis For Mills' Opinions))
  25
       298. Mr. Mills' opinion says that there was no obligation to comply with the Rules of Professional
  26   Conduct or other rules regarding attorney conduct, because it ignores that there was an attorney-
       client relationship, it ignores that there was a fiduciary relationship that is separate from the attorney-
  27
       client relationship, and it ignores the law holding that attorneys will be held to the Rules of
  28   Professional Conduct if there's a fiduciary relationship. (Margolis, 7-15-2016, P. 53, L. 1-9)

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  2   (Margolis, 7-20-2016, P. 64, L. 7-28) (Margolis, 3-8-2017, P. 7, L. 6-28; P. 30, L. 1-10; P. 34, L
      13-21; P. 35, L. 8-12; P. 54, L. 28 - P. 55, L. 2; P. 55, L. 4-17; P. 56, L. 8-20) (Exh. 1553 (Mills
  3   Opinion)) (Exh. 1554 (Basis For Mills' Opinions))

  4   299. Mr. Mills' opinion states that the continuing amendments and resolutions showed no attorney-
      client relationship, but that ignores that the amendments and the resolutions confirmed only that there
  5
      was no attorney-client relationship up to March of 2001. The resolutions confirm what was stated in
  6   the first agreement, that there was no attorney-client relationship up to the time of the SMDC
      agreement. Also, there isn't any language which purports to extend the period of there being no
  7   attorney-client relationship to a time after the initial SMDC agreement was completed in 2001. The
      resolutions were not moving the date of when there was no attorney-client relationship, they were
  8   simply confirming what had already been said. (Margolis, 7-15-2016, P. 53, L. 9-26; P. 55, L. 11-
  9   27, P. 56, L. 23 - P. 57, L. 8; P. 57, L. 14-21) (Margolis, 7-20-2016, P. 109, L. 5-21) (Margolis, 3-
      8-2017, P. 12, L. 14-28) (Margolis, 3-9-2017, P. 16, L. 28      P. 17, L. 10; P. 17, L. 25-27; P. 18, L.
 10   5-14; P. 18, L. 27 - P. 19, L. 3) (Exh. 1553 (Mills Opinion)) (Exh. 1554 (Basis For Mills'
      Opinions))
 11
      300. Mills assumes that Stein's role as officer was simply nominal, that he didn't perform any of the
 12
      duties and it was just a title. However, evidence shows that Stein was extremely and intensely
 13   involved in the management of the tribe so it was not just nominal. (Margolis, 3-8-2017, P. 60, L. l-
      18)
 14
      30 I. In an email on July 15, 2006, Stein wrote to the council to complain about a lot of alleged
 15   misconduct on the part of the Tribe. He also informed the council that Sen. Vincent refused to author
      SB 175, and further that it would not be publicly introduced. Stein had already assured the investors
 16
      of Sen. Vincent's authoring of SB 175. (Stein, 7-13-2016, P. 82, L. 21 P. 84, L. 9) (Exh. 54 (July
 17   15, 2006 email from Mr. Stein to Tribal Council and Ms. Aronson re Confidential re Dunlap
      proposal))
 18
      302. Daniel Crane was the federal Jobbyist hired by Stein. (Carmelo, 7-12-2016, P. 51, L. 21 - P.
 19   52, L. 3) (Exh. 599 (Resolution 71 - Approving and Ratifying Consulting Agreement with the Crane
 20   Group))

 21   303. Daniel Crane testified that he had done .some federal work for the Tribe but, other than his
      testimony, which was solicited by Jonathan Stein, during the trial, he wasn't able to point to any
 22   tangible work product that he had produced for the Tribe. He al.so failed to .show any other evidence
      that he had actually done any work on behalf of the Tribe. (Daniel Crane "Crane", July 11, 2016,
 23
      Page 18, Line 1 - Page 19, Line 9; P. 21, L. 2 - P. 22, L. 2; P. 31, L. 21 - P. 32, L. 4)
 24
      304. After transaction costs for the Libra Agreement, the tribe received $1.8 million in funding. The
 25   trigger for the Crane Group payments ($2 million) never took place, because the contingency and
      transactional fees never transferred out of escrow account to the tribe's banking accounts, but
 26   transferred to McGuire Woods LLP, M01Tison and Foerster LLP, Libra Securities, and Wilmer Cutler
      Pickering Hale and Door LLP. (Barrett, 7-8-2016, P. 30, L. 1 - P. 31, L. 7; P. 34, L. 7-27; P. 58,
 27
      L. 1-28) (Stein, 7-13-2016, P. 70, L. 6 P. 77, L. 4) (Carmelo, 7-19-2016, P. 118, L. 24-27) (Stein,
 28   2-7-2017, P. 29, L. 3 - P. 30, L. 7) (Exh. 644 (Libra Funding Agreement Exhibit E - "Budget" -

                                                           49
                            Exh. C -- Appendix of Evidence In Support of Statement of Decision




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   1               Material Fact/Evidence With Specific Citations to Testimony or Exhibits

  2    Transaction Costs; and Exhibit 2 - "Flow Fund Agreement" (i)-(iv) and - "Resolution 96: Approval
       of Development Funding Agreement"))
  3
  4
  5
       Dated: January 22, 2019                 ALBRIGHT, YEE & SCHMIT, APC
  6

  7

  8
                                                   Delia Ibarra, Esq.
                                                   Attorneys for PLAINTIFF Gabrielino-Tongva Tribe
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                            Exh. C -- Appendix of Evidence In Support of Statement of Decision




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 1                                  PROOF OF SERVICE OF DOCUMENT
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
 2   address is:
     650 Sierra Madre Vila Ave., Ste. 304, Pasadena, CA 91107
 3
     A true and correct copy of the foregoing document entitled (specify): ADVERSARY
 4   COMPLAINT FOR DETERMINATION THAT DEBT IS EXCEPTED FROM, DISCHARGE
     UNDER 11 U.S.C. § 523 AND DENIAL OF DISCHARGE UNDER 11 U.S.C. § 727 will be served or
 5   was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
     the manner stated below:
 6
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
 7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
     hyperlink to the document. On (date) June 23, 2023, I checked the CM/ECF docket for this bankruptcy
 8   case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
     List to receive NEF transmission at the email addresses stated below:
 9
     David B Golubchik on behalf of Debtor Jonathan Alan Stein: dbg@lnbyg.com, stephanie@lnbyb.com
10
                                                                              Service information continued on attached page
11
     2. SERVED BY UNITED STATES MAIL:
12   On (date) June 23, 2023, I served the following persons and/or entities at the last known addresses in this
     bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
13   in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
     constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
14   document is filed.

15   Debtor                                                  Honorable Ronald A. Clifford III
     Jonathan Alan Stein                                     United States Bankruptcy Court, Central District of California
16   2520 Murrell Rd.                                        1415 State St., Suite 233/Crtrm 201
     Santa Barbara, CA 93109                                 Santa Barbara, CA 93101
17                                                                           Service information continued on attached page
18   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
     (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
19   __________, I served the following persons and/or entities by personal delivery, overnight mail service, or
     (for those who consented in writing to such service method), by facsimile transmission and/or email as
20   follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
     judge will be completed no later than 24 hours after the document is filed.
21
22
23                                                                           Service information continued on attached page

24   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

25      June 23, 2023             Mandi Peach                                              /s/ Mandi Peach
        Date                        Printed Name                                           Signature
26
27
28   This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


     June 2012                                                                     F 9013-3.1.PROOF.SERVICE

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     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
 1
     William C Beall on behalf of Creditor Linda Hong Sun Stein: will@beallandburkhardt.com,
 2   carissa@beallandburkhardt.com

 3   Anthony A. Friedman on behalf of Debtor Jonathan Alan Stein: aaf@lnbyg.com

 4   Karen L Grant on behalf of Creditor Glenn Golden: kgrant@silcom.com

 5   Sarah Rose Hasselberger on behalf of Interested Party Courtesy NEF:
     shasselberger@marshackhays.com, shasselberger@ecf.courtdrive.com; cbastida@marshackhays.com;
 6   kfrederick@ecf.courtdrive.com

 7   D Edward Hays: ehays@marshackhays.com, ehays@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com;
     cmendoza@marshackhays.com; cmendoza@ecf.courtdrive.com
 8   Armen Manasserian on behalf of Creditor Gabrielino-Tongva Tribe: armen@cym.law,
     jennifer@cym.law; cameron@cym.law; paul@cym.law
 9
     Laila Masud on behalf of Interested Party Courtesy NEF: lmasud@marshackhays.com,
10   lmasud@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com
11   Laila Masud on behalf of Trustee Jerry Namba: lmasud@marshackhays.com,
     lmasud@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com
12
     Jerry Namba (TR): jnambaepiq@earthlink.net, jnambalaw@yahoo.com;
13   jn01@trustesolutions.net;paknamba@gmail.com

14   Arvind Nath Rawal on behalf of Creditor BMW Financial Services NA, LLC, c/o AIS Portfolio
     Services, LLC: arawal@aisinfo.com
15
     Alan G Tippie on behalf of Interested Party Courtesy NEF: Alan.Tippie@gmlaw.com,
16   atippie@ecf.courtdrive.com; Karen.Files@gmlaw.com, patricia.dillamar@gmlaw.com,
     denise.walker@gmlaw.com
17
     United States Trustee (ND): ustpregion16.nd.ecf@usdoj.gov
18
     Paul P Young on behalf of Creditor Gabrielino-Tongva Tribe: paul@cym.law, jaclyn@cym.law
19   Paul P Young on behalf of Interested Party Courtesy NEF: paul@cym.law, jaclyn@cym.law
20   Nikko Salvatore Stevens on behalf of Creditor Gabrielino-Tongva Tribe: nikko@cym.law,
     mandi@cym.law
21
22
23
24
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26
27
28   This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


     June 2012                                                                     F 9013-3.1.PROOF.SERVICE

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